Case 1:18-cv-01434-CFC-JLH Document 231 Filed 05/04/21 Page 1 of 199 PageID #: 12502




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

   CHROMADEX, INC. and TRUSTEES )
   OF DARTMOUTH COLLEGE,        )
                                )                       REDACTED PUBLIC VERSION
                                )
                Plaintiffs,     )
                                )                      C.A. No. 18-1434-CFC
       v.                       )
                                )
   ELYSIUM HEALTH, INC.,        )
                                )
                Defendant.      )

          DECLARATION OF MARCO J. QUINA IN SUPPORT OF
     ELYSIUM HEALTH’S MOTION FOR SUMMARY JUDGMENT (NO. 1)
                OF INVALIDITY UNDER 35 U.S.C. § 101


            I, Marco J. Quina, declare as follows:

            1.      I am counsel for Defendant Elysium Health, Inc. and I submit this

   Declaration in Support of Elysium Health’s Motion for Summary Judgment (No.

   1) of Invalidity Under 35 U.S.C. § 101.

            2.      Attached as Exhibit A is a true and correct copy of U.S. Patent No.

   8,197,807.

            3.      Attached as Exhibit B is a true and correct copy of U.S. Patent No.

   8,383,086.

            4.      Attached as Exhibit C is a true and correct copy of excerpts from the

   Deposition Transcript of Robert W. Sobol, PhD, taken Apr. 13, 2021.



   {01683102;v1 }
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            5.      Attached as Exhibit D is a true and correct copy of excerpts from the

   Deposition Transcript of Zhaohui Sunny Zhou, Ph. D., taken Aug. 2, 2018, in

   IPR2017-01795.

            6.      Attached as Exhibit E is a true and correct copy of excerpts from the

   Opening Expert Report of Robert W. Sobol, Ph.D.

            7.      Attached as Exhibit F is a true and correct copy of excerpts from the

   Rebuttal Expert Report of Robert W. Sobol, Ph.D.

            8.      Attached as Exhibit G is a true and correct copy of an excerpt from

   the Transcript of Markman Hearing, ChromaDex, Inc. v. Elysium Health, Inc.,

   C.A. No. 18-1434 (D. Del. Dec. 17, 2020).

            9.      Attached as Exhibit H is a true and correct copy of excerpts from

   Plaintiffs ChromaDex, Inc. and Trustees of Dartmouth College’s First

   Supplemental Responses to Defendant’s Second Set of Interrogatories (Nos. 14–

   17), dated Jan. 26, 2021.

            10.     Attached as Exhibit I is a true and correct copy of excerpts from the

   Final Written Decision in IPR2017-01795 (U.S. Patent and Trademark Office Jan.

   16, 2019).

            11.     Attached as Exhibit J is a true and correct copy of an excerpt of

   Trustees of Dartmouth College’s Unopposed Motion to Terminate Cross-Appeal,




   {01683102;v1 }
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   Elysium Health, Inc. v. Trs. of Dartmouth Coll., No. 2019-1682 (Fed. Cir. Aug. 14,

   2019).

            12.     Attached as Exhibit K is a true and correct copy of the Federal

   Circuit’s August 19, 2019 Order in Elysium Health, Inc. v. Trs. of Dartmouth

   College, No. 2019-1682 (Fed. Cir. Aug. 19, 2019).

            13.     Attached as Exhibit L is a true and correct copy of Samuel AJ

   Trammell et al., Nicotinamide Riboside is a Major NAD+ Precursor Vitamin in

   Cow Milk, 146 J. OF NUTRITION 965 (2016).

            14.     Attached as Exhibit M is a true and correct copy of the print out from

   the truniagen.com website entitled “What Does Nature-Identical Mean _ Tru

   Niagen®,” https://www.truniagen.com/blog/what-does-nature-identical-mean/ (last

   visited on Feb. 5, 2021), ELY_DEL0036883–86.

            15.     Attached as Exhibit N is a true and correct copy of excerpts from a

   ChromaDex, Inc. slide deck entitled “TruNiagen® for Mother and Child,” dated

   January 2019 (CDXDE_000057017, CDXDE_000057025).

            16.     Attached as Exhibit O is a true and correct copy of the document

   entitled “Small Molecule Production Questionnaire,” dated Aug. 13, 2005,

   Brenner_000022837–41.

            17.     Attached as Exhibit P is a true and correct copy of an excerpt from

   the document entitled “ChromaDex’s (CDXC) CEO Frank Jaksch on Q1 2017



   {01683102;v1 }
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   Results – Earnings Call Transcript,” dated May 11, 2017 (CDXDE_000038390,

   CDXDE_000038406–07).

            I declare under penalty of perjury that the foregoing is true and correct.

   Executed this 27th day of April, 2021, in Waltham, MA.

                                                                 /s/ Marco J. Quina

                                                              _______________________

                                                                     Marco J. Quina




   {01683102;v1 }
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                          EXHIBIT A
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                                                                           Illlll llllllll Ill lllll lllll lllll lllll lllll 111111111111111111111111111111111
                                                                                                         US008197807B2


    c12)   United States Patent                                                     (10) Patent No.:                      US 8,197,807 B2
           Brenner                                                                  (45) Date of Patent:                             Jun.12,2012

    (54)    NICOTINAMIDE RIBOSIDE KINASE                                       NCBI Accession No. NP_733778 [gi:24762248] with Revision His-
            COMPOSITIONS AND METHODS FOR                                       tory-Nov. 2, 2002-Jul. 5, 2007.
                                                                               NCBI Accession No. NM_Ol 7881 [gi:8923529] with Revision His-
            USING THE SAME                                                     tory-Jul. 4, 2000-Nov. 17, 2006.
    (75)    Inventor:    Charles M. Brenner, Lyme, NH (US)                     NCBI Accession No. AK000566 [gi:7020748] with Revision His-
                                                                               tory-Feb. 22, 2000-Sep. 12,2006.
    (73)    Assignee: Trustees of Dartmouth College,                           NCBI Accession No. BC001366 [gi: 33876100] with Revision His-
                      Hanover, NH (US)                                         tory-Dec. 12, 2000-Jul. 15, 2006.
                                                                               NCBI Accession No. BC036804 [gi:22477870] with Revision His-
    ( *)    Notice:      Subject to any disclaimer, the term ofthis            tory-Aug. 26, 2002-Mar. 25, 2004.
                         patent is extended or adjusted under 35               NCBI Accession No. BC026243 [gi:20072207] with Revision His-
                                                                               tory-Apr. 8, 2002-Mar. 25, 2004.
                         U.S.C. 154(b) by 213 days.                            NCBI Accession No. NM_l70678 [gi:24762247] with Revision
    (21)    Appl. No.:         11/912,400                                      History Nov. 7, 2002-Nov. 17, 2006 NM_l 70678.2 which replaces
                                                                               NM_l 70678 is provided.
    (22)    PCT Filed:         Apr. 20, 2006                                   NCBI Accession No. CAG61927 [gi:49528270] with Revision His-
                                                                               tory-Jun. 30, 2004-Nov. 14, 2006.
    (86)    PCT No.:           PCT/US2006/015495
                                                                               NCBI Accession No. Z71405 [gi: 1302065] with Revision History-
            § 371 (c)(l),                                                      May 6, 1996v-Aug. 11, 1997.
            (2), (4) Date:     Nov. 20, 2007                                   NCBI Accession No. AX877238 [gi:40031974]-Dec. 17, 2003.
                                                                               NCBI Genbank Accession No. AX877238 [gi:40031974]Dec. 17,
    (87)    PCT Pub. No.: W02006/116322                                        2003.
                                                                               Bieganowski et al., "Discoveries of Nicotinamide Riboside as a
            PCT Pub. Date: Nov. 2, 2006                                        Nutrient and Conserved NRK Genes Establish a Preiss-Handler
                                                                               Independent Route to NAD+ in Fungi and Hunams", Cell 2004
    (65)                     Prior Publication Data
                                                                               117:495-502.
            US 2008/0206221 Al            Aug. 28, 2008                        Farquhar et al., "Synthesis and antitumor evaluatiobn of
                                                                               bis[ (pivaloyloxy)methyl]2' -deoxy-t-fluoroudine 5' -monophosphate
    (51)    Int. Cl.                                                           (F dUMP): a stategy to introduce nucleotides into cells", J Med Chem
            A61K 38145                 (2006.01)                               1994 37(23):3902-3909.
            C07H 17100                 (2006.01)                               Sasiak et al., "Purification and Properties of a Human Nicotinamide
            A61P 35100                 (2006.01)                               Ribonucleoside Kinas", Archives of Biochemistry and Biophysics
                                                                               1996 333(2):414-418.
    (52)    U.S. Cl. .............. 424/94.5; 514/45; 514/25; 435/15           Saunders et al., "Phosphorylation of 3-Deazaguanosine by
    (58)    Field of Classification Search ........................ None       Nicotinamide Riboside Kinse in Chinese Hamster Ovary Cells",
            See application file for complete search history.                  Cancer Research 1989 49:6593-6599.
                                                                               Bieganowski et al., "Eukaryotic NAD+ Synthetase Qnsl Contains an
    (56)                     References Cited                                  Essential,      Obligate      Intramolecular      Thiol     Glutamine
                                                                               Amidotransferase Domain Related to Nitrilase", J. Biol. Chem. 2003
                                                                               278(35):33049-33055.
                      U.S. PATENT DOCUMENTS                                    Boon et al., "An anatomy of normal and malignant gene expression",
           7,491,743 B2 *     212009 Cuny et al.               514/397         Proc. Natl. Acad. Sci. 2002 99(17):11287-11292.
                                                                               Burkle, Alexander, "Physiology and pathophysiology ofpoly(ADP-
                 FOREIGN PATENT DOCUMENTS                                      ribosyl)ation", BioEssays 2001 23:795-806.
    WO                  0132888         5/2001                                 Fleischmann et al., "Whole-Genome Random Sequencing and
                                                                               Assembly of Haemophilus infiuenzae Rd", Science 1995 269:496-
                        OTHER PUBLICATIONS                                     512.
                                                                               Gingrich et al., "Codehydrogenase I and other Pyridinium Com-
    Saunders et al 1 Tiazofurin is phosphorylated by three enzymes from        pounds as V-Factor for Hemophilus infiuenzae and H
    Chinese Hamster Ovary Cells. Cancer Research 50, 5269-5274, Sep.           parainfiuenzae", J. Bacteriol. 1944 47:535-550.
    1, 1990.*                                                                  Godek et al., "In Vitro Evaluation ofNicotinamide Riboside Analogs
    Saunders et al 2 Phosphorylation of 3-Deazaguanosine by                    against Haemophilus infiuenzae", Antimicrobal Agents and Chemo-
    nicotinamide riboside kinase in Chinese Hamster Ovary Cells.*              therapy 1990 34(8):1473-1479.
    Tanimori et al, Bioorganic. Med. Chem Lett. 12:1135-1137, 2002.*
    Stubberfield et al NAD+ depletion and cytotoxicity in isolated
                                                                                                               (Continued)
    hepatocytes. Biochemical Pharmacology 1988; 37(20): 3967-74                Primary Examiner - Kagnew H Gebreyesus
    Abstract included.*                                                        (74) Attorney, Agent, or Firm - Licata & Tyrrell P.C.
    Stubberfield et al (NAD+ depletion and cytotoxicity in isolated
    hepatocytes (Biochemical Pharmacology 1988; 37(20): 3967-74 see             (57)                     ABSTRACT
    abstract.*                                                                  The present invention relates to isolated nicotinamide ribo-
    Berger NA et al. (Poly (ADP-ribose in the cellular response to DNA          side kinase (Nrk) nucleic acid sequences, vectors and cul-
    damage), Radiation research Jan. 1985; 101(1): 4-15 see abstract.*
    Berger et al., "Modulation of Nicotinamide Adenine Dinucleotide
                                                                                tured cells containing the same, and Nrk polypeptides
    and Poly(Adenosine Diphosphoribose) Metabolism by the Synthetic             encoded thereby. Methods for identifying individuals or
    "C" Nucieoside Analogs, Tiazofurin and Selenazofurin", J. Clin.             tumors susceptible to nicotinamide riboside-related prodrug
    Invest. 1985 75:702-705.                                                    treatment and methods for treating cancer by administering
    Han et al., "Cellular Uptake Mechanism of Amino Acid Ester                  an Nrk nucleic acid sequence or polypeptide in combination
    Prodrugs in Caco-2/hPEPT 1 Cells Overexpressing a Human Peptide             with a nicotinamide riboside-related prodrug are also pro-
    Transporter", Pharmaceutical Research 1998 15(9):1382-1386.                 vided. The present invention further provides screening meth-
    GenbankAccession No. AK001663 Jan. 9, 2008.                                 ods for isolating a nicotinamide riboside-related prodrug and
    GenbankAccession No. YNL129W-Nov. 7, 2005.
                                                                                identifying a natural source of nicotinamide riboside.
    NCBI Accession No. NP_060351 [gi:8923530] with Revision His-
    tory Jul. 4, 2000-Jun. 3, 2007.                                                                 3 Claims, 1 Drawing Sheet
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                                                                 US 8,197,807 B2
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    Holdsworth et al., "A fraction derived from brewer's yeast inhibits        Chinese Hamster Ovary Cells, Cancer Research 1990 50:5269-5274.
    cholesterol synthesis by rat liver preparations in vitro", British Jour-   Shifrine et al., "A Growth Factor for Haemophilus Species secreted
    nal of Nutrition 1991 65:285-299.                                          by a Pseudomonad", Nature 1960 187:623.
    Leder et al., "Synthesis ofNicotinamide Mononucleotide by Human            Ziegler, Mathais, "New functions of a long-known molecule-
    Erythrocytes in Vitro", J. Biol. Chem. 1951189:889-899.                    Emerging roles ofNAD in cellular signaling", Eur. J. Biochem. 2000
    Li et al., "A Novel Muscle-specific Beta! Integrin Binding Protein         267: 1550-1564.
    (MIBP) that Modulates Myogenic Differentiation", J. Cell Biol. 1999        Sasiak et al., "Purification and Properties of a Human Nicotinamide
    147:1391-1397.                                                             Ribonucleoside Kinase", Archives of Biochemistry and Biophysics
    Li et al., "The muscle integrin binding protein (MIBP) interacts with      1996 333(2):414-418.
    alpha7Betal integrin and regulates cell adhesion and larninin matrix
    deposition", Developmental Biology 2003 261:209-219.                       * cited by examiner
                                                                                 ~
                                                                                 00
                                                                                 •
Hsapi Nrkl     MKTFIIGISGVTNSGKTTLAKNLQKHLPN---CSVISQDDFFKPES-EIETD-KNGFLQYDVL   ~
Hsapi~rk2      MK-LIVGIGGMTNGGKTTLTNSLLRALPN---CCVIHQDDFFKPQD-QIAVG-EDGFKQWDVL   ~
                                                                                 ~
Scere-Nrkl MTSKKVILVALSGCSSSGKTTIAKLTASLFTK---ATLIHEDDFYKHDN-EVPVDAKYNIQNWDSP    ~
Spornb-Nrkl MT-RKTIIVGVSGASCSGKSTLCQLLHAIFEG---SSLVHEDDFYKTDA-EIPV--KNGIADWDCQ
                                                                                 ~
                                                                                 =
Scere-Urkl      TPYIIGIGGASGSGKTSVAAKIVSSINVP-WTVLISLDNFYNPLGPEDRARAFKNEYDFDEP
Ecoli panK      QTLMTPYLQFDRNQWAALRDSVPMTLSEDEIARLKGINEDLSLEEVAEIYLPLSRLLNFYIS

Hsapi Nrkl     EALNMEKMMSAISCWMES---ARHSVVSTDQES-----------------------AEEIPIL
Hsapi-Nrk2     ESLDMEAMLDTVQAWLSSPQKFARAHGVSVQPE-----------------------ASDTHIL
Scere-Nrkl     EALDFKLFGKELDVIKQTGKIATKLIHNNNVDDPFTKFHIDRQVWDELKAKYDSINDDKYEVV
Spornb-Nrkl    ESLNLDAFLENLHYIRDHGVLPTHLRNRENKNVAPEALIEYADIIKEFKAP--AIPTLEQHLV
Scere-urkl     NAINLDLAYKCILNLKEGKRTNIPVYSFVHHNRVPDK----------------NIVIYGASVV
Ecoli panK     SNLRRQAVLEQFLGTNGQRIPYIISIAGSVAVGKSTTARVLQALLSR------WPEHRRVELI
Hsapi Nrkl     IIEGFLLFNYKPLDTIWNRSYFLTIPYEECKRRRSTR-VYQPPD-----SPGYFDGHVWPMYL
Hsapi-Nrk2     LLEGFLLYSYKPLVDLYSRRYFLTVPYEECKWRRSTR-NYTVPD--PPGLFDGHVWPMYQKYR   ~
Scere~rkl      IVDGFMIFNNTGISKKFDLKILVRAPYEVLKKRRASRKGYQTLDSFWVDPPYYFDEFVYESYR   =
Spornb~rkl     FVDGFMMYVNEDLINAFDIRLMLVTDFDTLKRRREARTGYITLEGFWQDPPHYFENYVWPGYV   :=
Scere-Urkl     VIEGIYALYDRRLLDLMDLKIYVDADLDVCLARRLSR-DIVSRGRDLDGCIQQWEKFVKPNAV
                                                                                 ....
                                                                                  N
                                                                                 "'
Ecoli panK     TTDGFLHPNQVLKERGLMKKKGFPESYDMHRLVKFVS---DLKSGVPNVTAPVYSHLIYDVIP   N
                                                                                 0
                                                                                  ....
                                                                                  N
Hsapi Nrkl     KYRQEMQDITWEVVY-LDGTKSEEDLFLQVYEDLIQELAKQK-------------------CL
Hsapi-Nrk2     QEMEANGVEVVYLDGMKSREELFREVLEDIQNSLLNRSQESAPSPARPARTQGPGRGCGHRTA
ScereNrkl      ANHAQLFVNGDVEG--LLDPRKSKNIKEFINDDDTPIAKPLS-----------------WVCQ
Spornb-Nrkl    HGHSHLFVNGDVTGK-LLDKR-----IQLSPSSKMSVRDNVQ-----------------WAIN
Scere-Urkl     KFVKPTMKNADAIIPSMSDNATAVNLIINHIKSKLELKSNEHLRELIKLGSSPSQDVLNRNII
Ecoli panK     DGDKTVVQPDILILEGLNVLQSGMDYPHDPHHVFVSDFVDFS--------------------I
                                                                                  d
                                                                                  rJl
Hsapi Nrkl    ,QVTA                                                               00
Hsapi-Nrk2     RPAASQQDSM                                                        "'
Scere-Nrkl     EILKLCKD                                                           \C
                                                                                  "'""
Spornb-Nrkl    SILNAL                                                             -....l
Scere-Urkl     HELPPTNQVL                                                        Oo
Ecoli panK     YVDAPEDLLQ                                                         =
                                                                                  -....l

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                                                                                  =
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                                                               US 8, 197 ,807 B2
                                   1                                                                             2
             NICOTINAMIDE RIBOSIDE KINASE                                   NAD+ was initially characterized as a co-enzyme for oxi-
            COMPOSITIONS AND METHODS FOR                                 doreductases. Though conversions between NAD+, NADH,
                    USING THE SAME                                       NADP and NADPH would not be accompanied by a loss of
                                                                         total co-enzyme, it was discovered that NAD+ is also turned
                            INTRODUCTION                              5 over in cells for unknown purposes (Maayan (1964) Nature
                                                                         204: 1169-1170). Sirtuin enzymes such as Sir2 of S. cerevi-
       This invention was made in the course of research spon-           siae and its homologs deacetylate lysine residues with con-
    sored by the National Cancer Institute (Grant No. CA77738).          sumption of an equivalent of NAD+ and this activity is
    The U.S. government may have certain rights in this inven-           required for Sir2 function as a transcriptional silencer (Imai,
    tion.                                                             10
                                                                         et al. (2000) Cold Spring Harb. Symp. Quant. Biol. 65:297-
       This application claims benefit of priority to PCT/US2006/
                                                                         302). NAD+-dependent deacetylation reactions are required
    015495, filed Apr. 20, 2006, which claims benefit from U.S.
                                                                         not only for alterations in gene expression but also for repres-
    patent application Ser. No. 11/113,701, filed Apr. 25, 2005,
    now abandoned which is a continuation-in-part of PCT appli-          sion of ribosomal DNA recombination and extension of
    cation No. PCT/US2005/004337, filed Feb. 9, 2005, which 15 lifespan in response to calorie restriction (Lin, et al. (2000)
    claims benefit under 35 U.S.C. §119 to U.S. Provisional              Science 289:2126-2128; Lin, et al. (2002) Nature 418:344-
    Patent Application Ser. No. 60/543,347, filed on Feb. 10,            348). NAD+ is consumed by Sir2 to produce a mixture of
    2004, whose contents are incorporated herein by reference in         2'-and 3' 0-acetylatedADP-ribose plus nicotinamide and the
    their entireties.                                                    deacetylated polypeptide (Sauve, et al. (2001) Biochemistry
                                                                      20 40:15456-15463). Additional enzymes, including poly(AD-
               BACKGROUND OF THE INVENTION                               Pribose) polymerases and cADPribose synthases are also
                                                                         NAD+-dependent and produce nicotinamide andADPribosyl
       Nicotinic acid and nicotinamide, collectively niacins, are        products (Ziegler (2000) Eur. J. Biochem. 267:1550-1564;
    the vitamin forms of nicotinamide adenine dinucleotide               Burkle (2001) Bioessays 23:795-806).
    (NAD+ ). Eukaryotes can synthesize NAD+ de nova via the 25
                                                                            The non-coenzymatic properties of NAD+ has renewed
    kynurenine pathway from tryptophan (Kreh!, et al. (1945)
    Science 101 :489-490; Schutz and Feigel son (1972) J. Biol.          interest in NAD+ biosynthesis. Four recent publications have
    Chem. 247:5327-5332) and niacin supplementation prevents             suggested what is considered to be all of the gene products
    the pellagra that can occur in populations with a tryptophan-        and pathways to NAD+ in S. cerevisiae (Panozzo, et al.
    poor diet. It is well-established that nicotinic acid is phospho- 30 (2002) FEES Lett. 517:97-102; Sandmeier, et al. (2002)
    ribosylated to nicotinic acid mononucleotide (NaMN), which           Genetics 160:877-889; Bitterman, eta!. (2002) J. Biol. Chem.
    is then adenylylated to form nicotinic acid adenine dinucle-         277:45099-45107; Anderson, et al. (2003) Nature 423:181-
    otide (NaAD), which in tum is amidated to form NAD+                  185) depicting convergence of the flux to NAD+ from de nova
    (Preiss and Handler (1958) J. Biol. Chem. 233:488-492; Pre-          synthesis, nicotinic acid import, and nicotinamide salvage at
    iss and Handler (1958b) J. Biol. Chem. 233:493-50).                  NaMN (Scheme 1).


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                                                              o-
                                                                   Nrnal, 2


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                                                                                                            n
                                                                                                             Qnsl


                                                                                                           ATP
                                                                                                           Gln
                                                                                                                 ATP
                                                                                                                 PPi
                                                                                                                        Cf  w
                                                                                                                            I
                                                                                                                        ADPrbo
                                                                                                                                              NH2




                                                                                                                 Gln




                                  '")         SALVAGE
                                                Nptl                                                                        jf~' Sir2
                                                                                                                                          Lys +
                                                                                                                                        ADPrboAc
                              PrboPP




                                           d'o
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                                                                                        Pncl                           ~

                                                                                     n
                          Nicotinic acid                                                                                                NH2

                                                                                                                        #
                                             N                                    NJLi+         H20                    N
                                             H+                                                                        H+




                                                                   Plasma membrane
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                                                        US 8, 197 ,807 B2
                                 3                                                                    4
              SUMMARY OF THE INVENTION                               mide riboside kinase polypeptide or expression vector con-
                                                                     taining an isolated nucleic acid sequence encoding an eukary-
     It has now been shown that nicotinamide riboside, which         otic nicotinamide riboside kinase polypeptide wherein the
  was known to be an NAD+ precursor in bacteria such as              nicotinamide riboside kinase polypeptide phosphorylates the
  Haemophilus influenza (Gingrich and Schlenk (1944) J. Bac-         prodrug thereby performing the first step in activating the
  terial. 47:535-550; Leder and Handler (1951) J. Biol. Chem.        prodrug so that the signs or symptoms of said cancer are
  189:889-899; Shifrine and Biberstein (1960) Nature 187:            decreased or eliminated.
  623) that lack the enzymes of the de nova and Preiss-Handler          The present invention is further a method for identifying a
  pathways (Fleischmann, et al. (1995) Science 269:496-512),         natural or synthetic source for nicotinamide riboside. The
  is an NAD+ precursor in a previously unknown but conserved 10 method involves contacting a first cell lacking a functional
  eukaryotic NAD+ biosynthetic pathway. Yeast nicotinamide           glutamine-dependent NAD+ synthetase with an isolated
  riboside kinase, Nrkl, and human Nrk enzymes with specific         extract from a natural source or synthetic; contacting a second
  functions in NAD+ metabolism are provided herein. The              cell lacking functional glutamine-dependent NAD+ syn-
  specificity of these enzymes indicates that they are the long-     thetase and nicotinamide riboside kinase with the isolated
  sought tiazofurin kinases that perform the first step in con- 15 extract; and detecting growth of the first cell compared to the
  verting cancer drugs such as tiazofurin and benzamide ribo-        growth of the second cell, wherein the presence of growth in
  side and their analogs into toxic NAD+ analogs. Further,           the first cell and absence of growth in the second cell is
  yeast mutants of defined genotype were used to identify            indicative of the presence of nicotinamide riboside in the
  sources of nicotinamide riboside and it is shown that milk is      isolated extract. In one embodiment, the natural source is
  a source of nicotinamide riboside.                              20 cow's milk.
     Accordingly, the present invention is an isolated nucleic          Further, the present invention is a dietary supplement com-
  acid encoding a eukaryotic nicotinamide riboside kinase            position containing nicotinamide riboside identified in accor-
  polypeptide. A eukaryotic nicotinamide riboside kinase             dance with the methods of the present invention and a carrier.
  nucleic acid encompasses (a) a nucleotide sequence of SEQ             Moreover, the present invention is a method for preventing
  ID NO:l, SEQ ID N0:2 or SEQ ID N0:3; (b) a nucleotide 25 or treating a disease or condition associated with the nicoti-
  sequence that hybridizes to a nucleotide sequence of SEQ ID        namide riboside kinase pathway ofNAD+ biosynthesis. The
  NO: 1, SEQ ID N0:2 or SEQ ID N0:3 or its complementary             method involves administering to a patient having a disease or
  nucleotide sequence under stringent conditions, wherein said       condition associated with the nicotinamide riboside kinase
  nucleotide sequence encodes a functional nicotinamide ribo-        pathway of NAD+ biosynthesis an effective amount of a
  side kinase polypeptide; or (c) a nucleotide sequence encod- 30 nicotinamide riboside composition so that the signs or symp-
  ing an amino acid sequence encoded by the nucleotide               toms of the disease or condition are prevented or reduced. In
  sequences of (a) or (b ), but which has a different nucleotide     one embodiment, the nicotinamide riboside is neuroprotec-
  sequence than the nucleotide sequences of (a) or (b) due to the    tive. In another embodiment the nicotinamide riboside is
  degeneracy of the genetic code or the presence of non-trans-       anti-fungal. In a further embodiment, the nicotinamide ribo-
  lated nucleotide sequences.                                     35 side is administered in combination with tryptophan, nico-
     The present invention is also an expression vector contain-     tinic acid or nicotinamide.
  ing an isolated nucleic acid encoding a eukaryotic nicotina-          The present invention is also an in vitro method for iden-
  mide riboside kinase polypeptide. In one embodiment, the           tifying a nicotinamide riboside-related prodrug. The method
  expression vector is part of a composition containing a phar-      involves contacting a nicotinamide riboside kinase polypep-
  maceutically acceptable carrier. In another embodiment, the 40 tide with a nicotinamide riboside-related test agent and deter-
  composition further contains a prodrug wherein the prodrug         mining whether said test agent is phosphorylated by said
  is a nicotinamide riboside-related analog that is phosphory-       nicotinamide riboside kinase polypeptide wherein phospho-
  lated by the expressed nicotinamide riboside kinase thereby        rylation of said test agent is indicative of said test agent being
  performing the first step in activating said prodrug.              a nicotinamide riboside-related prodrug. A nicotinamide
     The present invention is also an isolated eukaryotic nico- 45 riboside-related prodrug identified by this method is also
  tinamide riboside kinase polypeptide. In one embodiment,           encompassed within the present invention.
  the isolated nicotinamide riboside kinase polypeptide has an          The present invention is further a cell-based method for
  amino acid sequence having at least about 70% amino acid           identifying a nicotinamide riboside-related prodrug. This
  sequence similarity to an amino acid sequence of SEQ ID            method involves contacting a first test cell which expresses a
  N0:4, SEQ ID N0:5 or SEQ ID N0:6 or a functional frag- 50 recombinant Nrk polypeptide with a nicotinamide riboside-
  ment thereof.                                                      related test agent; contacting a second test cell which lacks a
     The present invention is further a cultured cell containing     functional Nrk polypeptide with the same test agent; and
  an isolated nucleic acid encoding a eukaryotic nicotinamide        determining the viability of the first and second test cells,
  riboside kinase polypeptide or a polypeptide encoded               wherein sensitivity of the first cell and not the second cell is
  thereby.                                                        55 indicative ofa nicotinamide riboside-related prodrug. A nico-
     Still further, the present invention is a composition con-      tinamide riboside-related prodrug identified by this method is
  taining an isolated eukaryotic nicotinamide riboside kinase        also encompassed within the context of the present invention.
  polypeptide and a pharmaceutically acceptable carrier. In one         The present invention is also a method for identifying an
  embodiment, the composition further contains a prodrug             individual or tumor which is susceptible to treatment with a
  wherein said prodrug is a nicotinamide riboside-related ana- 60 nicotinamide riboside-related prodrug. This method involves
  log that is phosphorylated by the nicotinamide riboside            detecting the presence of mutations in, or the level of expres-
  kinase thereby performing the first step in activating said        sion of, a nicotinamide riboside kinase in an individual or
  prodrug.                                                           tumor wherein the presence of a mutation or change in
     The present invention is also a method for treating cancer      expression of nicotinamide riboside kinase in said individual
  by administering to a patient having or suspected of having 65 or tumor compared to a control is indicative of said individual
  cancer an effective amount of a nicotinamide riboside-related      or tumor having an altered level of susceptibility to treatment
  prodrug in combination with an isolated eukaryotic nicotina-       with a nicotinamide riboside-related prodrug.
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        BRIEF DESCRIPTION OF THE DRAWINGS                               Given that mammalian pharmacology provided no useful
                                                                     clue to the identity of a putative fungal Nrk, it was considered
     FIG. 1 shows the amino acid sequence alignment and con-         whether the gene might have been conserved with the Nrk of
  sensus sequence (SEQ ID N0:34) of human Nrkl (SEQ ID               Haemophilus influenza. The Nrk domain of H. influenza is
  N0:5), human Nrk2 (SEQ ID N0:6), S. cerevisiae Nrkl 5 encoded by amino acids 225 to 421 oftheNadRgeneproduct
  (SEQ ID N0:4), S. pombe nrkl (SEQ ID N0:7), as compared            (the amino terminus of which is NMN adenylyltransferase).
  to portions ofS. cerevisiae uridine/cytidine kinase Urkl (SEQ      Though this domain is structurally similar to yeast thymidy-
  ID N0:8) and E. coli pantothenate kinase (SEQ ID N0:9).            late kinase (Singh, et al. (2002) J. Biol. Chem. 277:33291-
                                                                     33299), sensitive sequence searches revealed that bacterial
       DETAILED DESCRIPTION OF THE INVENTION                      10 Nrk has no ortholog in yeast. Genomic searches with the Nrk
                                                                     domain of H. influenza NadR have identified a growing list of
     A Saccharomyces cerevisiae QNSl gene encoding                   bacterial genomes predicted to utilize nicotinamide riboside
                                                                     as an NAD+ precursor (Kurnasov, et al. (2002) J. Bacterial.
  glutamine-dependent NAD+synthetase has been character-
                                                                     184:6906-6917). Thus, had fungi possessed NadR Nrk-ho-
  ized and mutation of either the glutaminase active site or the
                                                                  15 mologous domains, comparative genomics would have
  NAD+ synthetase active site resulted in inviable cells (Bie-
                                                                     already predicted that yeast can salvage nicotinamide ribo-
  ganowski, et al. (2003) J. Biol. Chem. 278:33049-33055).           side.
  Possession of strains containing the qnsl deletion and a plas-        To identify the Nrk of S. cerevisiae, an HPLC assay forthe
  mid-borne QNSl gene allowed a determination of whether             enzymatic activity was established and used in combination
  the canonical de nova, import and salvage pathways for 20 with a biochemical genomics approach to screen for the gene
  NAD+ of Scheme 1 (Panozzo, et al. (2002) supra; Sandmeier,         encoding this activity (Martzen, et al. (1999) Science 286:
  et al. (2002) supra; Bitterman, et al. (2002) supra; Anderson,     1153-1155). Sixty-four pools of 90-96 S. cerevisiae open
  et al. (2003) supra) are a complete representation of the meta-    reading frames fused to glutathione S-transferase (GST),
  bolic pathways to NAD+ in S. cerevisiae. The pathways              expressed in S. cerevisiae, were purified as GST fusions and
  depicted in scheme 1 suggest that: nicotinamide is deami- 25 screened for the ability to convert nicotinamide riboside plus
  dated to nicotinic acid before the pyridine ring is salvaged to    ATP to NMN plus ADP. Whereas most pools contained activi-
  make more NAD+, thus supplementation with nicotinamide             ties that consumed some of the input ATP, only pool 37
  may not rescue qnsl mutants by shunting nicotinamide-con-          consumed nicotinamide riboside and produced NMN. In pool
  taining precursors through the pathway; and QNSl is com-           37, approximately half of the 1 mM ATP was converted to
  mon to the three pathways, thus there may be no NAD+ 30 ADP and the 500 µM nicotinamide riboside peak was almost
  precursor that rescues qnsl mutants. However, it has now           entirely converted to NMN. Examination of the 94 open
  been found that while nicotinamide does not rescue qnsl            reading frames that were used to generate pool 37 revealed
  mutants even at 1 or 10 mM, nicotinamide riboside functions        that YNL129W (SEQ ID NO:l) encodes a predicted 240
  as a vitamin form ofNAD+ at 10 µM.                                 amino acid polypeptide with a 187 amino acid segment con-
     Anticancer agents such as tiazofurin (Cooney, et al. (1983) 35 taining 23% identity with the 501 amino acid yeast uridine/
  Adv. Enzyme Regul. 21:271-303) and benzamide riboside              cytidine kinase Urkl and remote similarity with a segment of
  (Krohn, et al. (1992) J. Med. Chem. 35:511-517) have been          E. coli pantothenate kinase panK (Yun, et al. (2000) J. Biol.
  shown to be metabolized intracellularly to NAD+ analogs,           Chem. 275:28093-28099) (FIG. 1). After cloning YNL129W
  taizofurin adenine dinucleotide and benzamide adenine              into a bacterial expression vector it was ascertained whether
  dinucleotide, which inhibit IMP dehydrogenase the rate-lim- 40 this homo log of metabolite kinases was the eukaryotic Nrk.
  iting enzyme for de nova purine nucleotide biosynthesis.           The specific activity of purified YNL129W was -100-times
     Though an NMN/NaMN adenylyltransferase is thought to            that of pool 37, consistent with the idea that all the Nrk
  be the enzyme that converts the mononucleotide intermedi-          activity of pool 3 7 was encoded by this open reading frame.
  ates to NAD+ analogs and the structural basis for this is          To test genetically whether this gene product phosphorylates
  known (Zhou et al. (2002) supra), several different enzymes 45 nicotinamide riboside in vivo, a deletion ofYNL129W was
  including adenosine kinase, 5' nucleotidase (Fridland, et al.      created in the qnsl background. It was found that nicotina-
  (1986) Cancer Res. 46:532-537; Saunders, et al. (1990) Can-        mide riboside rescue of the qnsl deletion strain was entirely
  cer Res. 50:5269-5274) and a specific nicotinamide riboside        dependent on this gene product. Having shown biochemically
  kinase (Saunders, et al. (1990) supra) have been proposed to       and genetically that YNL129W encodes an authentic Nrk
  be responsible for tiazofurin phosphorylation in vivo. A puta- 50 activity, the gene was designated NRKl.
  tive nicotinamide riboside kinase (Nrk) activity was purified,        A PSI-BLAST (Altschul, et al. (1997) Nucleic Acids Res.
  however no amino acid sequence information was obtained            25:3389-3402) comparison was conducted on the predicted
  and, as a consequence, no genetic test was performed to            S. cerevisiae Nrkl polypeptide and an orthologous human
  assess its function (Sasiak and Saunders (1996) Arch. Bio-         protein Nrkl (NP_060351; SEQ ID N0:5; FIG. 1) was
  chem. Biophys. 333 :414-418).                                   55 found. The human NP _060351 protein encoded at locus
     Using a qnsl deletion strain that was additionally deleted      9q21.31 is a polypeptide of 199 amino acids and is amiotated
  for yeast homologs of candidate genes encoding nucleoside          as an uncharacterized protein of the uridine kinase family. In
  kinases proposed to phosphorylate tiazofurin, i.e., adenosine      addition, a second human gene product Nrk2 (NP_733778;
  kinase adol (Lecoq, et al. (2001) Yeast 18:335-342), uridine/      SEQ ID N0:6; FIG. 1) was found that is 57% identical to
  cytidine kinase urkl (Kern (1990) Nucleic Acids Res. 60 human Nrkl. Nrk2 is a 230 amino acid splice form of what
  18:5279; Kurtz, et al. (1999) Curr. Genet. 36:130-136), and        was described as a 186 amino acid muscle integrin beta 1
  ribokinase rbkl (Thierry, et al. (1990) Yeast 6:521-534), it       binding protein (ITGB1BP3) encoded at 19p13.3 (Li, et al.
  was determined whether the nucleoside kinases are uniquely         (1999)J. Cell Biol. 147:1391-1398; Li, eta!. (2003)Dev. Biol.
  or collectively responsible for utilization of nicotinamide        261:209-219). Amino acid conservation between S. cerevi-
  riboside. It was found that despite these deletions, the strain 65 siae, S. pombe and human Nrk homo logs and similarity with
  retained the ability to utilize nicotinamide riboside in an        fragments of S. cerevisiae Urkl and E. coli panK is shown in
  anabolic pathway independent ofNAD+ synthetase.                    FIG. 1. Fungal and human Nrk enzymes are members of a
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  metabolite kinase superfamily that includes pantothenate                    whey preparation of cowls milk. Unlike the original screen
  kinase but is unrelated to bacterial nicotinamide riboside                  for vitamins in protein-depleted extracts of liver for reversal
  kinase. Robust complementation of the failure of qns 1 nrkl to              of black-tongue in starving dogs (Elvehjem, et al. (1938) J.
  grow on nicotinamide riboside-supplementedmedia was pro-
  vided by human NRKl and human NRK2 cDNA even when                           Biol. Chem. 123:137-149), this assay is pathway-specific in
  expressed from the GALI promoter on glucose.                                identifying NAD+ precursors. Because of the qnsl deletion,
     As shown in Table 1, purification of yeast Nrkl and human                nicotinic acid and nicotinamide do not score positively in this
  Nrkl and Nrk2 revealed high specificity for phosphorylation                 assay. As the factor from milk requires nicotinamide riboside
  of nicotinamide riboside and tiazofurin.                                    kinase for growth, the nutrient is clearly nicotinamide ribo-
                                                                           10
                                                                              side and not NMN or NAD+.
                               TABLE 1
                                                                                 A revised metabolic scheme for NAD+, incorporating
                  Nicotinarnide                                               Nrkl homologs and the nicotinamide riboside salvage path-
                    riboside      Tiazofurin    Uridine      Cytidine
                                                                              way is shown in Scheme 2 wherein double arrows depict
  HumanNrkl         275 ± 17       538 ± 27     19.3 ± 1.7   35.5 ± 6.4    15 metabolic steps common to yeast and humans (with yeast
  HumanNrk2        2320 ± 20      2150 ± 210   2220 ± 170     222 ± 8
  YeastNrkl         535 ± 60      1129 ± 134    15.2 ± 3.4   82.9 ± 4.4
                                                                              gene names) and single arrows depict steps unique to humans
                                                                              (PBEF, nicotinamide phosphoribosyltransferase) and yeast
                                                                              (Pnc 1, nicotinamidase ).



                                                   Bnal-6                 Nmal, 2               Qnsl              Nmal, 2
                                                   ===::::> NaMN ~ NaAD+ ~ NAD+ ¢::== NMN

                                                                ~Nptl                                     II ~·~F/ ~
                                                                                                          W/
                                                                                                       Sir2                 11 Nrkl
                                                                                    S.c. Pncl
                                                                Na                                            N             Nr



                                                                           30
  Specific activity is expressed in nmole mg- 1 min- 1 for phos-         A difference between humans and yeasts concerns the
  phorylation of nucleoside substrates.                               organisms' uses of nicotinamide and nicotinic acid, the two
     In the cases of yeast and human Nrkl enzymes, the                niacins that were co-identified as anti-black tongue factor
  enzymes preferred tiazofurin to the natural substrate nicoti-       (Elvehjem, et al. (1938) supra). Humans encode a homo log of
  namide riboside by a factor of two and both enzymes retained     35 the  Haemophilus ducreyi nadV gene, termed pre-B-cell
  less than 7% of their maximal specific activity on uridine and      colony enhancing factor, that may convert nicotinamide to
  cytidine. In the case of human Nrk2, the 230 amino acid form        NMN (Rongvaux, et al. (2002) Eur. J. Immunol. 32:3225-
                                                                      3234) and is highly induced during lymphocyte activation
  was essentially equally active on nicotinamide riboside, tia-
                                                                      (Sama!, et al. (1994) Mal. Cell. Biol. 14:1431-1437). In con-
  zofurin and uridine with less than 10% of corresponding
                                                                   40 trast, S. cerevisiae lacks a homolog of nadV and instead has a
  activity on cytidine. Conversely, the 186 amino acid integrin
                                                                      homolog of the E. coli pncA gene, termed PNC!, that con-
  beta 1 binding protein form was devoid of enzymatic activity        verts nicotinamide to nicotinic acid for entry into the Preiss-
  in this in vitro assay and was not functional as an Nrk in vivo.    Handler pathway (Ghislain, et al. (2002) Yeast 19:215-224;
  However, both the 186 and 230 amino acid isoforms function          Sandmeier, et al. (2002) supra). Though the Preiss-Handler
  in vivo in a yeast nicotinamide riboside utilization assay. 45 pathway is frequently considered a salvage pathway from
  Thus, though Nrk2 may contribute additionally to formation          nicotinamide, it technically refers to the steps from nicotinic
  ofuridylate, these data demonstrate that fungi and mammals          acid to NAD+ (Preiss and Handler (1958) supra; Preiss and
  possess specific nicotinamide riboside kinases that function        Handler (1958) supra). Reports that nicotinamidase had been
  to synthesize NAD+ through NMN in addition to the well-             purified from mammalian liver in the 1960s (Petrack, et al.
  known pathways through NaMN. Identification ofNrk enzy- 50 (1965) J. Biol. Chem. 240: 1725-1730) may have contributed
  matic activities thus accounts forthe dual specificity of fungal    to the sense that fungal and animal NAD+ biosynthesis is
  and mammalian NaMN/NMN adenylyltransferases.                        entirely conserved. However, animal genes for nicotinami-
                                                                      dase have not been identified and there is no compelling
     On the basis of SAGE data, NRKl is a rare message in
                                                                      evidence that nicotinamide and nicotinic acid are utilized as
  many tissues examined while NRK2 is highly expressed in
                                                                   55 NAD+ precursors through the same route in mammals. The
  heart and skeletal muscle and has lower level expression in         persistence of "niacin" as a mixture of nicotinamide and
  retinal epithelium and placenta (Boon, et al. (2002) Proc.          nicotinic acid may attest to the utility of utilizing multiple
  Natl. Acad. Sci. USA 99: 11287-11292). From cancer cell line        pathways to generate NAD+ and indicates that supplementa-
  to cancer cell line the expression levels are quite variable        tion with nicotinamide riboside as third importable NAD+
  (Boon, et al. (2002) supra). Thus, in individuals whose tumors 60 precursor can be beneficial for certain conditions.
  are NRKl, NRK2-low, tiazofurin conversion to NAD+ may                  First reported in 1955, high doses of nicotinic acid are
  occur more extensively in the patients hearts and muscles           effective at reducing cholesterol levels (Altschul, et al. (1955)
  than in tumors. In tumors that are NRKl and/or NRK2-high,           Arch. Biochem. Biophys. 54:558-559). Since the initial
  a substantial amount of tiazofurin may be converted to tiazo-       report, many controlled clinical studies have shown that nico-
  furin adenine dinucleotide in tumors.                            65 tinic acid preparations, alone and in combination with HMG
     A yeast qns 1 mutant was used to screen for natural sources      CoA reductase inhibitors, are effective in controlling low-
  of nicotinamide riboside wherein it was identified in an acid       density lipoprotein cholesterol, increasing high-density lipo-
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  protein cholesterol, and reducing triglyceride and lipoprotein        namide riboside. The term nicotinamide riboside kinase or
  a levels in humans (Pasternak, et al. (1996) Ann. Intern. Med.        Nrk also includes modified (e.g., mutated) Nrk that retains
  125:529-540). Though nicotinic acid treatment effects all of          biological function (i.e., have at least one biological activity
  the key lipids in the desirable direction and has been shown to       of the native Nrk protein, e.g., phosphorylating nicotinamide
  reduce mortality in target populations (Pasternak, et al.             riboside ), functional Nrk fragments including truncated mol-
  (1996) supra), its use is limited because of a side effect of heat    ecules, alternatively spliced isoforms (e.g., the alternatively
  and redness termed "flushing," which is significantly effected        spliced isoforms of human Nrk2), and functional Nrk fusion
  by the nature of formulation (Capuzzi, et al. (2000) Curr.            polypeptides (e.g., an Nrk-GST protein fusion or Nrk-His
  Atheroscler. Rep. 2:64-71). Thus, nicotinamide riboside               tagged protein).
                                                                     10
  supplementation could be one route to improve lipid profiles             Any Nrk polypeptide or Nrk-encoding nucleic acid known
  in humans. Further, nicotinamide is protective in animal mod-         in the art can be used according to the present invention. The
  els of stroke (Klaidman, et al. (2003) Pharmacology 69: 150-          Nrk polypeptide or Nrk-encoding nucleic acid can be derived
  157) and nicotinamide riboside could be an important supple-          from yeast, fungal (e.g., Saccharomyces cerevisiae, Saccha-
  ment for acute conditions such as stroke. Additionally, 15 romyces pombe, Pichia sp., Neurospora sp., and the like)
  regulation ofNAD+ biosynthetic enzymes could be useful in             plant, animal (e.g., insect, avian (e.g., chicken), or mamma-
  sensitizing tumors to compounds such as tiazofurin, to protect        lian (e.g., rat, mouse, bovine, porcine, ovine, caprine, equine,
  normal tissues from the toxicity of compounds such as tiazo-          feline, canine, lagomorph, simian, human and the like)
  furin adenine dinucleotide, and to stratify patients for the          sources.
  most judicious use of tiazofurin chemotherapy.                     20
     The present invention is an isolated nucleic acid containing          Representative cDNA and amino acid sequences of a S.
  a eukaryotic nucleotide sequence encoding a nicotinamide              cerevisiae Nrkl are shown in SEQ ID NO: 1 and SEQ ID
  riboside kinase polypeptide. As used herein, an isolated mol-         N0:4 (FIG.1), respectively. Representative cDNA and amino
                                                                        acid sequences of a human Nrkl are shown in SEQ ID N0:2
  ecule (e.g., an isolated nucleic acid such as genomic DNA,
                                                                        and SEQ ID N0:5 (FIG. 1), respectively. Representative
  RNA or cDNA or an isolated polypeptide) means a molecule 25
                                                                        cDNA and amino acid sequences of a human Nrk2 are shown
  separated or substantially free from at least some of the other
                                                                        in SEQ ID N0:3 and SEQ ID N0:6 (FIG. 1), respectively.
  components of the naturally occurring organism, such as for
                                                                        Other Nrk sequences encompassed by the present invention
  example, the cell structural components or other polypeptides         include, but are not limited to, Nrkl ofGENBANK accession
  or nucleic acids commonly found associated with the mo!- 30 numbers NM_Ol 7881, AK000566, BC001366, BC036804,
  ecule. When the isolated molecule is a polypeptide, said              and BC026243 and Nrk2 of GENBANK accession number
  polypeptide is at least about 25%, 50%, 60%, 70%, 75%,                NM_l 70678. Moreover, locus CAG61927 from the Candida
  80%, 85%, 90%, 95%, 97%, 98%, 99% or more pure (w/w).                 glabrata CBS138 genome project (Dujon, et al. (2004)
     In one embodiment, the eukaryotic nucleotide sequence              Nature 430:35-44) is 54% identical to the Saccharomyces
  encoding a nicotinamide riboside kinase polypeptide is a 35 cerevisiae Nrkl protein. Particular embodiments of the
  nucleotide sequence of SEQ ID NO: 1, SEQ ID N0:2 or SEQ               present invention embrace a Nrk polypeptide having the con-
  ID N0:3. In another embodiment, the eukaryotic nucleotide             served amino acid sequence XXXXDDFXK (SEQ ID
  sequence encoding a nicotinamide riboside kinase polypep-             N0:34), wherein Xaa 1 and Xaa2 are aliphatic amino acid
  tide is a nucleotide sequence that hybridizes to a nucleotide         residues, Xaa 3 is His or Ser, Xaa4 is a hydrophilic amino acid
  sequence of SEQ ID NO: 1, SEQ ID N0:2 or SEQ ID N0:3 or 40
                                                                        residue, and Xaa 5 is an aromatic amino acid residue.
  its complementary nucleotide sequence under stringent con-
  ditions, wherein said nucleotide sequence encodes a func-                To illustrate, hybridization of such sequences can be car-
  tional nicotinamide riboside kinase polypeptide. In a further         ried out under conditions of reduced stringency, medium
  embodiment, the eukaryotic nucleotide sequence encoding a             stringency or even stringent conditions (e.g., conditions rep-
  nicotinamide riboside kinase polypeptide is a nucleotide 45 resented by a wash stringency of 35-40% Formamide with
  sequence encoding a functional nicotinamide riboside kinase           5xDenhardt's solution, 0.5% SDS and lxSSPE at 37° C.;
  polypeptide but which has a different nucleotide sequence             conditions represented by a wash stringency of 40-45% For-
  than the nucleotide sequences of SEQ ID NO:l, SEQ ID                  mamidewith 5xDenhardt's solution, 0.5% SDS, and lxSSPE
  N0:2, or SEQ ID N0:3 due to the degeneracy of the genetic             at 42° C.; and/or conditions represented by a wash stringency
  code or the presence of non-translated nucleotide sequences. 50 of 50% Formamide with 5xDenhardt's solution, 0.5% SDS
     As used herein, a functional polypeptide is one that retains       and lxSSPE at 42° C., respectively) to the sequences specifi-
  at least one biological activity normally associated with that        cally disclosed herein. See, e.g., Sambrook et al., Molecular
  polypeptide. Alternatively, a functional polypeptide retains          Cloning, A Laboratory Manual (2d Ed. 1989) (Cold Spring
  all of the activities possessed by the unmodified peptide. By         Harbor Laboratory).
  retains biological activity, it is meant that the polypeptide 55
  retains at least about 50%, 60%, 75%, 85%, 90%, 95%, 97%,                Alternatively stated, isolated nucleic acids encoding Nrk of
  98%, 99%, or more, of the biological activity of the native           the invention have at least about 50%, 60%, 70%, 80%, 90%,
  polypeptide (and can even have a higher level of activity than        95%, 97%, 98% or higher sequence similarity with the iso-
  the native polypeptide). A non-functional polypeptide is one          lated nucleic acid sequences specifically disclosed herein (or
  that exhibits essentially no detectable biological activity nor- 60 fragments thereof, as defined above) and encode a functional
  mally associated with the polypeptide (e.g., at most, only an         Nrk as defined herein.
  insignificant amount, e.g., less than about 10% or even 5%).       It will be appreciated by those skilled in the art that there
     As used herein, the term polypeptide encompasses both        can be variability in the nucleic acids that encode the Nrk of
  peptides and proteins, unless indicated otherwise.              the present invention due to the degeneracy of the genetic
     A nicotinamide riboside kinase polypeptide or Nrk protein 65 code. The degeneracy of the genetic code, which allows dif-
  as used herein, is intended to be construed broadly and         ferent nucleic acid sequences to code for the same polypep-
  encompasses an enzyme capable of phosphorylating nicoti-        tide, is well known in the literature (see Table 2).
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                             TABLE 2                                    An example of a useful algorithm is PILEUP. PILEUP
                                                                     creates a multiple sequence alignment from a group of related
                  3-       1-                                        sequences using progressive, pairwise alignments. It can also
                  Letter Letter
  Amino Acid      Code     Code    Codons
                                                                     plot a tree showing the clustering relationships used to create
                                                                     the alignment. PILEUP uses a simplification of the progres-
  Alanine         Ala      A       GCA GCC GCG GCT                   sive alignment method of Feng & Doolittle (1987) J. Mal.
                                                                     Evol. 35:351-360; the method is similar to that described by
  Cysteine        Cys      c       TGC TGT
                                                                     Higgins & Sharp (1989) CABIOS 5:151-153.
  Aspartic acidAsp         D       GAC GAT                              Another example of a useful algorithm is the BLAST algo-
                                                                  10 rithm, described inAltschul, et al. (1990) J. Mal. Biol. 215:
  Glutamic acidGlu         E       GAA GAG
                                                                     403-410 and Karlin, et al. (1993) Proc. Natl. Acad. Sci. USA
  Phenylalanine Phe        F       TTC TTT                           90:5873-5787. A particularly useful BLAST program is the
                                                                     WU-BLAST-2 program which was obtained from Altschul,
  Glycine         Gly      G       GGA GGC GGG GGT                   et al. (1996) Methods in Enzymology, 266:460-480; http://
                                                                  15 blast.wustl/edu/blast/README.html. WU-BLAST-2 uses
  Histidine       His      H       CAC CAT
                                                                     several search parameters, which can be set to the default
  Isoleucine       Ile             ATA ATC ATT                       values. The parameters are dynamic values and are estab-
                                                                     lished by the program itself depending upon the composition
  Lysine          Lys      K       AAA AAG                           of the particular sequence and composition of the particular
  Leucine         Leu      L       TTA TTG CTA CTC CTG CTT        20 database against which the sequence of interest is being
                                                                     searched; however, the values can be adjusted to increase
  Methionine      Met      M       ATG                               sensitivity.
                                                                        An additional useful algorithm is gapped BLAST as
  Asparagine      Asn      N       AAC AAT
                                                                     reported by Altschul, et al. (1997) Nucleic Acids Res.
  Proline         Pro      p       CCA CCC CCG CCT                25 25:3389-3402.
                                                                        A percentage amino acid sequence identity value can be
  Glut amine      Gln      Q       CAA CAG
                                                                     determined by the number of matching identical residues
  Arginine        Arg      R       AGA AGG CGA CGC CGG CGT           divided by the total numberofresidues of the longer sequence
                                                                     in the aligned region. The longer sequence is the one having
  Serine          Ser      s       AGC ACT TCA TCC TCG TCT        30 the most actual residues in the aligned region (gaps intro-
                                                                     duced by WU-Blast-2 to maximize the alignment score are
  Threonine       Thr      T       ACA ACC ACG ACT
                                                                     ignored).
  Valine          Val      v       GTA GTC GTG GTT                      The alignment can include the introduction of gaps in the
                                                                     sequences to be aligned. In addition, for sequences which
  Tryptophan      Trp      w       TGG                            35 contain either more or fewer amino acids than the polypep-
  Tyrosine        Tyr      y       TAC TAT                           tides specifically disclosed herein, it is understood that in one
                                                                     embodiment, the percentage of sequence identity will be
                                                                     determined based on the number of identical amino acids in
     Further variation in the nucleic acid sequence can be intro-    relation to the total number of amino acids. Thus, for
  duced by the presence (or absence) of non-translated 40 example, sequence identity of sequences shorter than a
  sequences, such as intronic sequences and 5' and 3' untrans-       sequence specifically disclosed herein, will be determined
  lated sequences.                                                   using the number of amino acids in the shorter sequence, in
     Moreover, the isolated nucleic acids of the invention           one embodiment. In percent identity calculations relative
  encompass those nucleic acids encoding Nrk polypeptides            weight is not assigned to various manifestations of sequence
  that have at least about 60%, 70%, 80%, 90%, 95%, 97%, 45 variation, such as, insertions, deletions, substitutions, etc.
  98% or higher amino acid sequence similarity with the                 In one embodiment, only identities are scored positively
  polypeptide sequences specifically disclosed herein (or frag-      (+ 1) and all forms of sequence variation including gaps are
  ments thereof) and further encode a functional Nrk as defined      assigned a value of "O", which obviates the need for a
  herein.                                                            weighted   scale or parameters as described below for sequence
     As is known in the art, a number of different programs can 50 similarity calculations. Percent sequence identity can be cal-
  be used to identify whether a nucleic acid or polypeptide has      culated, for example, by dividing the number of matching
  sequence identity or similarity to a known sequence.               identical residues by the total number of residues of the
                                                                     shorter sequence in the aligned region and multiplying by
  Sequence identity and/or similarity can be determined using
                                                                     100. The longer sequence is the one having the most actual
  standard techniques known in the art, including, but not lim-
                                                                  55 residues in the aligned region.
  ited to, the local sequence identity algorithm of Smith &
                                                                        To modify Nrk amino acid sequences specifically dis-
  Waterman (1981) Adv. Appl. Math. 2:482, by the sequence            closed herein or otherwise known in the art, amino acid sub-
  identity alignment algorithm of Needleman & Wunsch                 stitutions can be based on any characteristic known in the art,
  (1970) J. Mal. Biol. 48:443, by the search for similarity          including the relative similarity or differences of the amino
  method of Pearson & Lipman (1988) Proc. Natl. Acad. Sci. 60 acid side-chain substituents, for example, their hydrophobic-
  USA 85:2444, by computerized implementations of these              ity, hydrophilicity, charge, size, and the like. In particular
  algorithms (GAP, BESTFIT, PASTA, and TFASTA in the                 embodiments, conservative substitutions (i.e., substitution
  Wisconsin Genetics Software Package, Genetics Computer             with an amino acid residue having similar properties) are
  Group, 575 Science Drive, Madison, Wis.), the Best Fit             made in the amino acid sequence encoding Nrk.
  sequence program described by Devereux, et al. (1984) Nucl. 65        In making amino acid substitutions, the hydropathic index
  Acid Res. 12:387-395, either using the default settings, or by     of amino acids may be considered. The importance of the
  inspection.                                                        hydropathic amino acid index in conferring interactive bio-
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  logic function on a protein is generally understood in the art           Nrk can be expressed not only directly, but also as a fusion
  (see, Kyte and Doolittle (1982) J. Mal. Biol. 157:105). It is         protein with a heterologous polypeptide, i.e. a signal
  accepted that the relative hydropathic character of the amino         sequence for secretion and/or other polypeptide which will
  acid contributes to the secondary structure of the resultant          aid in the purification ofNrk. In one embodiment, the heter-
  protein, which in tum defines the interaction of the protein          ologous polypeptide has a specific cleavage site to remove the
  with other molecules, for example, enzymes, substrates,               heterologous polypeptide from Nrk.
  receptors, DNA, antibodies, antigens, and the like.                      In general, a signal sequence can be a component of the
     Each amino acid has been assigned a hydropathic index on           vector and should be one that is recognized and processed
  the basis of its hydrophobicity and charge characteristics            (i.e., cleaved by a signal peptidase) by the host cell. For
                                                                     10 production in a prokaryote, a prokaryotic signal sequence
  (Kyte and Doolittle (1982) supra), and these are: isoleucine
                                                                        from, for example, alkaline phosphatase, penicillinase, !pp, or
  ( +4.5); valine (+4.2); leucine ( +3.8); phenylalanine (+2.8);
                                                                        heat-stable enterotoxinII leaders can be used. For yeast secre-
  cysteine/cystine ( +2.5); methionine (+ 1.9); alanine (+ 1.8);
                                                                        tion, one can use, e.g., the yeast invertase, alpha factor, or acid
  glycine (-0.4); threonine (-0.7); serine (-0.8); tryptophan           phosphatase leaders, the Candida albicans glucoamylase
  (-0.9); tyrosine (-1.3); praline (-1.6); histidine (-3.2); 15 leader (EP 362,179), or the like (see, for example WO
  glutamate (-3.5); glutamine (-3.5); aspartate (-3.5); aspar-          90/13646). In mammalian cell expression, signal sequences
  agine (-3.5); lysine (-3.9); and arginine (-4.5).                     from secreted polypeptides of the same or related species, as
     It is also understood in the art that the substitution of amino    well as viral secretory leaders, for example, the herpes sim-
  acids can bemade on the basis ofhydrophilicity. U.S. Pat. No.         plex glycoprotein D signal can be used.
  4,554, 101 states that the greatest local average hydrophilicity 20      Other useful heterologous polypeptides which can be fused
  of a protein, as governed by the hydrophilicity of its adjacent       to Nrk include those which increase expression or solubility
  amino acids, correlates with a biological property of the pro-        of the fusion protein or aid in the purification of the fusion
  tein.                                                                 protein by acting as a ligand in affinity purification. Typical
     As detailed in U.S. Pat. No. 4,554,101, the following              fusion expression vectors include those exemplified herein as
  hydrophilicity values have been assigned to amino acid resi- 25 well as pMAL (New England Biolabs, Beverly, Mass.) and
  dues: arginine (+3.0); lysine ( +3.0); aspartate ( +3.0±1);           pRIT5 (Pharmacia, Piscataway, N.J.) which fuse maltose E
  glutamate (+3.0±1); serine (+0.3); asparagine (+0.2);                 binding protein or protein A, respectively, to the target recom-
  glutamine (+0.2); glycine (O); threonine (-0.4); praline              binant protein.
  (-0.5±1 ); alanine (-0.5); histidine (-0.5); cysteine (-1.0);            The isolated nucleic acids encoding Nrk can be incorpo-
  methionine (-1.3); valine (-1.5); leucine (-1.8); isoleucine 30 rated into a vector, e.g., for the purposes of cloning or other
  (-1.8); tyrosine (-2.3); phenylalanine (-2.5); tryptophan             laboratory manipulations, recombinant protein production,
  (-3.4).                                                               or gene delivery. In particular embodiments, the vector is an
     Isolated nucleic acids of this invention include RNA, DNA          expression vector. Exemplary vectors include bacterial arti-
  (including cDNAs) and chimeras thereof. The isolated                  ficial chromosomes, cosmids, yeast artificial chromosomes,
  nucleic acids can further contain modified nucleotides or 35 phage, plasmids, lipid vectors and viral vectors. By the term
  nucleotide analogs.                                                   express, expresses or expression of a nucleic acid coding
     The isolated nucleic acids encoding Nrk can be associated          sequence, in particular an Nrk coding sequence, it is meant
  with appropriate expression control sequences, e.g., tran-            that the sequence is transcribed, and optionally, translated.
  scription/translation control signals and polyadenylation sig-        Typically, according to the present invention, transcription
  nals.                                                              40 and translation of the coding sequence will result in produc-
     It will be appreciated that a variety of promoter/enhancer         tion ofNrk polypeptide.
  elements can be used depending on the level and tissue-                  The methods of the present invention provide a means for
  specific expression desired. The promoter can be constitutive         delivering, and optionally expressing, nucleic acids encoding
  or inducible (e.g., the metallothionein promoter or a hormone         Nrk in a broad range of host cells, including both dividing and
  inducible promoter), depending on the pattern of expression 45 non-dividing cells in vitro (e.g., for large-scale recombinant
  desired. The promoter can be native or foreign and can be a           protein production or for use in screening assays) or in vivo
  natural or a synthetic sequence. By foreign, it is intended that      (e.g., for recombinant large-scale protein production, for cre-
  the transcriptional initiation region is not found in the wild-       ating an animal model for disease, or for therapeutic pur-
  type host into which the transcriptional initiation region is         poses). In embodiments of the invention, the nucleic acid can
  introduced. The promoter is chosen so that it will function in 50 be expressed transiently in the target cell or the nucleic acid
  the target cell(s) of interest. In particular embodiments, the        can be stably incorporated into the target cell, for example, by
  promoter functions in tumor cells or in cells that can be used        integration into the genome of the cell or by persistent expres-
  to express nucleic acids encoding Nrk for the purposes of             sion from stably maintained episomes (e.g., derived from
  large-scale protein production. Likewise, the promoter can be         Epstein Barr Virus).
  specific for these cells and tissues (i.e., only show significant 55     The isolated nucleic acids, vectors, methods and pharma-
  activity in the specific cell or tissue type).                        ceutical formulations of the present invention find use in a
     To illustrate, an Nrk coding sequence can be operatively           method of administering a nucleic acid encoding Nrk to a
  associated with a cytomegalovirus (CMV) major immediate-              subject. In this manner, Nrk can thus be produced in vivo in
  early promoter, an albumin promoter, an Elongation Factor             the subject. The subject can have a deficiency ofNrk, or the
  1-a (EFl-a) promoter, a PyK promoter, a MFG promoter, a 60 production of a foreign Nrk in the subject can impart some
  Rous sarcoma virus promoter, or a glyceraldehyde-3-phos-              therapeutic effect. Pharmaceutical formulations and methods
  phate promoter.                                                       of delivering nucleic acids encoding Nrk for therapeutic pur-
     Moreover, specific initiation signals are generally required       poses are described herein.
  for efficient translation of inserted protein coding sequences.          Alternatively, an isolated nucleic acid encoding Nrk can be
  These translational control sequences, which can include the 65 administered to a subject so that the nucleic acid is expressed
  ATG initiation codon and adjacent sequences, can be of a              by the subject and Nrk is produced and purified therefrom,
  variety of origins, both natural and synthetic.                       i.e., as a source of recombinant Nrk protein. According to this
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  embodiment, the Nrk is secreted into the systemic circulation           dividing cells and can be used to infect a wide variety of cell
  or into another body fluid (e.g., milk, lymph, spinal fluid,            types, including epithelial cells. Furthermore, the virus par-
  urine) that is easily collected and from which the Nrk can be           ticle is relatively stable and amenable to purification and
  further purified. As a further alternative, Nrk protein can be          concentration, and can be modified so as to affect the spec-
  produced in avian species and deposited in, and conveniently            trum of infectivity. Additionally, introduced adenoviral DNA
  isolated from, egg proteins.                                            (and foreign DNA contained therein) is not integrated into the
     Likewise, Nrk-encoding nucleic acids can be expressed                genome of a host cell but remains episomal, thereby avoiding
  transiently or stably in a cell culture system for the purpose of       potential problems that can occur as a result of insertional
  screening assays or for large-scale recombinant protein pro-            mutagenesis in situations where introduced DNA becomes
  duction. The cell can be a bacterial, protozoan, plant, yeast, 10
                                                                          integrated into the host genome (e.g., as occurs with retro viral
  fungus, or animal cell. In one embodiment, the cell is an
                                                                          DNA). Moreover, the carrying capacity of the adenoviral
  animal cell (e.g., insect, avian or mammalian), and in another
                                                                          genome for foreign DNA is large relative to other delivery
  embodiment a mammalian cell (e.g., a fibroblast).
     It will be apparent to those skilled in the art that any suitable    vectors (Haj-Ahniand and Graham (1986) J. Viral. 57:267).
  vector can be used to deliver the isolated nucleic acids ofthis 15         In particular embodiments, the adenovirus genome con-
  invention to the target cell(s) or subject ofinterest. The choice       tains a deletion therein, so that at least one of the adenovirus
  of delivery vector can be made based on a number of factors             genomic regions does not encode a functional protein. For
  known in the art, including age and species of the target host,         example, an adenovirus vectors can have El genes and pack-
  in vitro vs. in vivo delivery, level and persistence of expres-         aged using a cell that expresses the El proteins (e.g., 293
  sion desired, intended purpose (e.g., for therapy or drug 20 cells). The E3 region is also frequently deleted as well, as
  screening), the target cell or organ, route of delivery, size of        there is no need for complementation of this deletion. In
  the isolated nucleic acid, safety concerns, and the like.               addition, deletions in the E4, E2a, protein IX, and fiber pro-
     Suitable vectors include virus vectors (e.g., retrovirus,            tein regions have been described, e.g., by Armentano, et al.
  alphavirus; vaccinia virus; adenovirus, adeno-associated                (1997) J. Virology 71:2408; Gao, et al. (1996) J. Virology
  virus, or herpes simplex virus), lipid vectors, poly-lysine 25 70:8934; Dedieu, et al. (1997) J. Virology 71 :4626; Wang, et
  vectors, synthetic polyamino polymer vectors that are used              al. (1997) Gene Therapy 4:393; U.S. Pat. No. 5,882,877. In
  with nucleic acid molecules, such as plasmids, and the like.            general, the deletions are selected to avoid toxicity to the
     As used herein, theterm viral vector or viral delivery vector        packaging cell. Combinations of deletions that avoid toxicity
  can refer to a virus particle that functions as a nucleic acid          or other deleterious effects on the host cell can be routinely
  delivery vehicle, and which contains the vector genome pack- 30 selected by those skilled in the art.
  aged within a virion. Alternatively, these terms can be used to
                                                                             Those skilled in the art will appreciate that typically, with
  refer to the vector genome when used as a nucleic acid deliv-
                                                                          the exception of the E3 genes, any deletions will need to be
  ery vehicle in the absence of the virion.
                                                                          complemented in order to propagate (replicate and package)
     Protocols for producing recombinant viral vectors and for
  using viral vectors for nucleic acid delivery can be found in 35        additional  virus, e.g., by transcomplementation with a pack-
  Current Protocols in Molecular Biology, Ausubel, F. M. et al.           aging cell.
  (eds.) Greene Publishing Associates, (1989) and other stan-                The present invention can also be practiced with gutted
  dard laboratory manuals (e.g., Vectors for Gene Therapy. In:            adenovirus vectors (as that term is understood in the art, see
  Current Protocols in Human Genetics. John Wiley and Sons,               e.g., Lieber, et al. (1996) J. Viral. 70:8944-60) in which essen-
  Inc.: 1997).                                                         40 tially all of the adenovirus genomic sequences are deleted.
     Particular examples of viral vectors are those previously               Adena-associated viruses (AAV) have also been employed
  employed for the delivery of nucleic acids including, for               as nucleic acid delivery vectors. For a review, see Muzyczka
  example, retrovirus, adenovirus, AAV, herpes virus, and pox-            et al. Curr. Topics in Micro. and Immunol. (1992) 158:97-
  virus vectors.                                                          129). AAV are among the few viruses that can integrate their
     In certain embodiments of the present invention, the deliv- 45 DNA into non-dividing cells, and exhibit a high frequency of
  ery vector is an adenovirus vector. The term adenovirus as              stable integration into human chromosome 19 (see, for
  used herein is intended to encompass all adenoviruses,                  example, Flotte, et al. (1992) Am. J. Respir. Cell. Mal. Biol.
  including the Mastadenovirus andAviadenovirus genera. To                7:349-356; Samulski, et al., (1989) J Viral. 63:3822-3828;
  date, at least forty-seven human serotypes of adenoviruses              McLaughlin, et al. (1989) J. Viral. 62:1963-1973). A variety
  have been identified (see, e.g., Fields, et al., Virology, volume 50 of nucleic acids have been introduced into different cell types
  2, chapter 67 (3d ed., Lippincott-Raven Publishers). In one             usingAAV vectors (see, for example, Hermonat, et al. (1984)
  embodiment, the adenovirus is a human serogroup C aden-                 Proc. Natl. Acad. Sci. USA 81:6466-6470; Tratschin, et al.
  ovirus, in another embodiment the adenovirus is serotype 2              (1985) Mal. Cell. Biol. 4:2072-2081; Wondisford, et al.
  (Ad2) or serotype 5 (Ad5) or simian adenovirus such as                  (1988) Mal. Endocrinol. 2:32-39; Tratschin, et al. (1984) J.
  AdC68.                                                               55 Viral. 51:611-619; and Flotte, et al. (1993) J. Biol. Chem.
     Those skilled in the art will appreciate that vectors can be         268:3781-3790).
  modified or targeted as described in Douglas, et al. (1996)                Any suitable method known in the art can be used to
  Nature Biotechnology 14:1574 and U.S. Pat. Nos. 5,922,315;              produce AAV vectors expressing the nucleic acids encoding
  5,770,442 and/or 5,712,136.                                             Nrk of this invention (see, e.g., U.S. Pat. Nos. 5,139,941;
     An adenovirus genome can be manipulated such that it 60 5,858,775; 6,146,874 for illustrative methods). In one par-
  encodes and expresses a nucleic acid of interest but is inacti-         ticular method, AAV stocks can be produced by co-transfec-
  vated in terms of its ability to replicate in a normal lytic viral      tion of a rep/cap vector encoding AAV packaging functions
  life cycle. See, for example, Berkner, et al. (1988) Bio Tech-          and the template encoding the AAV vDNA into human cells
  niques 6:616; Rosenfeld, et al. (1991) Science 252:431-434;             infected with the helper adenovirus (Samul ski, et al. (1989) J.
  and Rosenfeld et al. (1992) Cell 68:143-155.                         65 Virology 63:3822). The AAV rep and/or cap genes can alter-
     Recombinant adenoviruses can be advantageous in certain              natively be provided by a packaging cell that stably expresses
  circumstances in that they are not capable of infecting non-            the genes (see, e.g., Gao, et al. (1998) Human Gene Therapy
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  9:2353; Inoue, et al. (1998) J. Viral. 72:7024; U.S. Pat. No.      inflammatory responses. Moreover, they cannot replicate or
  5,837,484; WO 98/27207; U.S. Pat. No. 5,658,785; WO                recombine to form an infectious agent and have low integra-
  96/17947).                                                         tion frequency. A number of publications have demonstrated
     Another vector for use in the present invention is Herpes       that amphiphilic cationic lipids can mediate nucleic acid
  Simplex Virus (HSY). HSY can be modified for the delivery          delivery in vivo and in vitro (Feigner, et al. (1987) Proc. Natl.
  of nucleic acids to cells by producing a vector that exhibits      Acad. Sci. USA 84:7413-17; Loeffler, et al. (l993)Methods in
  only the latent function for long-term gene maintenance.           Enzymology 217:599-618; Feigner, et al. (1994) J. Biol.
  HSY vectors are useful for nucleic acid delivery because they      Chem. 269:2550-2561).
  allow for a large DNA insert of up to or greater than 20              As indicated above, Nrk polypeptide can be produced in,
  kilobases; they can be produced with extremely high titers; 10 and optionally purified from, cultured cells or organisms
  and they have been shown to express nucleic acids for a long       expressing a nucleic acid encoding Nrk for a variety of pur-
  period of time in the central nervous system as long as the        poses (e.g., screening assays, large-scale protein production,
  lytic cycle does not occur.                                        therapeutic methods based on delivery of purified Nrk).
     In other particular embodiments of the present invention,          In particular embodiments, an isolated nucleic acid encod-
  the delivery vector ofinterest is a retrovirus. The development 15 ing Nrk can be introduced into a cultured cell, e.g., a cell of a
  of specialized cell lines (termed packaging cells) which pro-      primary or immortalized cell line for recombinant protein
  duce only replication-defective retroviruses has increased the     production. The recombinant cells can be used to produce the
  utility of retroviruses for gene therapy, and defective retrovi-   Nrk polypeptide, which is collected from the cells or cell
  ruses are characterized for use in gene transfer for gene          culture medium. Likewise, recombinant protein can be pro-
  therapy purposes (for a review, see Miller (1990) Blood 20 duced in, and optionally purified from an organism (e.g., a
  76:271). A replication-defective retrovirus can be packaged        microorganism, animal or plant) being used essentially as a
  into virions which can be used to infect a target cell through     bioreactor.
  the use of a helper virus by standard techniques.                     Generally, the isolated nucleic acid is incorporated into an
     In addition to viral transfer methods, such as those illus-     expression vector (viral or nonviral as described herein).
  trated above, non-viral methods can also be employed. Many 25 Expression vectors compatible with various host cells are
  non-viral methods of nucleic acid transfer rely on normal          well-known in the art and contain suitable elements for tran-
  mechanisms used by mammalian cells for the uptake and              scription and translation of nucleic acids. Typically, an
  intracellular transport of macromolecules. In particular           expression vector contains an expression cassette, which
  embodiments, non-viral nucleic acid delivery systems rely on       includes, in the 5' to 3' direction, a promoter, a coding
  endocytic pathways for the uptake of the nucleic acid mo!- 30 sequence encoding an Nrk operatively associated with the
  ecule by the targeted cell. Exemplary nucleic acid delivery        promoter, and, optionally, a termination sequence including a
  systems of this type include liposomal derived systems, poly-      stop signal for RNA polymerase and a polyadenylation signal
  lysine conjugates, and artificial viral envelopes.                 for polyadenylase.
     In particular embodiments, plasmid vectors are used in the         Expression vectors can be designed for expression of
  practice of the present invention. Naked plasmids can be 35 polypeptides in prokaryotic or eukaryotic cells. For example,
  introduced into muscle cells by injection into the tissue.         polypeptides can be expressed in bacterial cells such as E.
  Expression can extend over many months, although the num-          coli, insect cells (e.g., in the baculovirus expression system),
  ber of positive cells is typically low (Wolff, et al. (1989)       yeast cells or mammalian cells. Some suitable host cells are
  Science 247:247). Cationic lipids have been demonstrated to        discussed further in Goedde! (1990) Gene Expression Tech-
  aid in introduction of nucleic acids into some cells in culture 40 nology: Methods in Enzymology 185, Academic Press, San
  (Feigner and Ringold (1989) Nature 337:387). Injection of          Diego, Calif. Examples of vectors for expression in yeast S.
  cationic lipid plasmid DNA complexes into the circulation of       cerevisiae include p YepSecl (Baldari, et al. (1987) EMBO J.
  mice has been shown to result in expression of the DNA in          6:229-234), pMFa (Kurjan and Herskowitz (1982) Cell
  lung (Brigham, et al. (1989)Am. J. Med. Sci. 298:278). One         30:933-943), pJRY88 (Schultz, et al. (1987) Gene 54:113-
  advantage of plasmid DNA is that it can be introduced into 45 123), and pYES2 (INVITROGEN Corporation, San Diego,
  non-replicating cells.                                             Calif.). Baculovirus vectors available for expression of
     In a representative embodiment, a nucleic acid molecule         nucleic acids to produce proteins in cultured insect cells (e.g.,
  (e.g., a plasmid) can be entrapped in a lipid particle bearing     Sf 9 cells) include the pAc series (Smith, et al. (1983) Mal.
  positive charges on its surface and, optionally, tagged with       Cell. Biol. 3:2156-2165) and the pVL series (Lucklow and
  antibodies against cell-surface antigens of the target tissue 50 Summers (1989) Virology 170:31-39).
  (Mizuno, et al. (1992) No Shinkei Geka 20:547; WO                     Examples of mammalian expression vectors include
  91/06309; Japanese patent application 1047381; and Euro-           pCDM8 (Seed (1987) Nature 329:840) and pMT2PC (Kauf-
  pean patent publication EP-A-43075).                               man, eta!. (l987)EMBOJ. 6:187-195). When used in mam-
     Liposomes that consist of amphiphilic cationic molecules        malian cells, the expression vector's control functions are
  are useful non-viral vectors for nucleic acid delivery in vitro 55 often provided by viral regulatory elements. For example,
  and in vivo (reviewed in Crystal (1995) Science 270:404-41 O;      commonly used promoters are derived from polyoma, aden-
  Blaese, et al. (1995) Cancer Gene Ther. 2:291-297; Behr, et        ovirus 2, cytomegalovirus and Simian Virus 40.
  al. (1994) Bioconjugate Chem. 5:382-389; Remy, et al.                 In addition to the regulatory control sequences discussed
  (l994)Bioconjugate Chem. 5:647-654; and Gao, et al. (1995)         herein, the recombinant expression vector can contain addi-
  Gene Therapy 2:710-722). The positively charged liposomes 60 tional nucleotide sequences. For example, the recombinant
  are believed to complex with negatively charged nucleic acids      expression vector can encode a selectable marker gene to
  via electrostatic interactions to form lipid:nucleic acid com-     identify host cells that have incorporated the vector.
  plexes. The lipid:nucleic acid complexes have several advan-          Vectors can be introduced into prokaryotic or eukaryotic
  tages as nucleic acid transfer vectors. Unlike viral vectors, the  cells via conventional transformation or transfection tech-
  lipid:nucleic acid complexes can be used to transfer expres- 65 niques. As used herein, the terms transformation and trans-
  sion cassettes of essentially unlimited size. Since the com-       fection refer to a variety of art-recognized techniques for
  plexes lack proteins, they can evoke fewer immunogenic and         introducing foreign nucleic acids (e.g., DNA) into a host cell,
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  including calcium phosphate or calcium chloride co-precipi-               As Nrk phosphorylates tiazofurin, thereby performing the
  tation, DEAE-dextran-mediated transfection, lipofection,              first step in activating it, Nrk is a useful target for identifying
  electroporation, microinjection, DNA-loaded liposomes,                compounds which upon phosphorylation by Nrk and subse-
  lipofectamine-DNA complexes, cell sonication, gene bom-               quent adenylylation inhibit IMPDH. As it has been shown that
  bardment using high velocity microprojectiles, and viral-me-          inhibitors of the IMPDH enzyme function as anti-bovine viral
  diated transfection. Suitable methods for transforming or             diarrhoea virus agents (Stuyver, et al. (2002) Antivir. Chem.
  transfecting host cells can be found in Sambrook, et al. (Mo-         Chemother. 13(6):345-52); inhibitors ofIMPDH block hepa-
  lecular Cloning: A Laboratory Manual, 2nd Edition, Cold               titis B replicon colony-forming efficiency (Zhou, et al. (2003)
  Spring Harbor Laboratory press (1989)), and other laboratory          Virology 310(2):333-42); and tiazofurin (Cooney, et al.
  manuals.                                                           10 (1983)Adv. Enzyme Regn!. 21:271-303) and benzamideribo-
     Often only a small fraction of cells (in particular, mamma-        side (Krohn, et al. (1992) J. Med. Chem. 35:511-517), when
  lian cells) integrate the foreign DNA into their genome. In           activated, inhibit IMP dehydrogenase; it is contemplated by
  order to identify and select these integrants, a nucleic acid that    using Nrk and the nicotinamide riboside pathway for drug
  encodes a selectable marker (e.g., resistance to antibiotics)         screening, anticancer and antiviral agents will be identified.
  can be introduced into the host cells along with the nucleic 15 Accordingly, the present invention provides methods for
  acid of interest. In particular embodiments, selectable mark-         identifying a nicotinamide riboside-related prodrug. As used
  ers include those that confer resistance to drugs, such as            herein, a nicotinamide riboside-related prodrug is any analog
  G418, hygromycin andmethotrexate. Nucleic acids encoding              of nicotinamide riboside (e.g., tiazofurin and benzamide ribo-
  a selectable marker can be introduced into a host cell on the         side) that, when phosphorylated by Nrk, ultimately can result
  same vector as that comprising the nucleic acid of interest or 20 in cell death or antiviral activity.
  can be introduced on a separate vector. Cells stably trans-               In one embodiment, a nicotinamide riboside-related pro-
  fected with the introduced nucleic acid can be identified by          drug is identified in a cell-free assay using isolated Nrk
  drug selection (e.g., cells that have incorporated the select-        polypeptide. The steps involved in a this screening assay of
  able marker gene will survive, while the other cells die).            the invention include, isolating or purifying an Nrk polypep-
     Recombinant proteins can also be produced in a transgenic 25 tide; contacting or adding at least one nicotinamide riboside-
  plant in which the isolated nucleic acid encoding the protein         related test agent to a point of application, such as a well, in
  is inserted into the nuclear or plastidic genome. Plant trans-        the plate containing the isolated Nrk and a suitable phosphate
  formation is known as the art. See, in general, Methods in            donor such as ATP, Mg-ATP, Mn-ATP, Mg-GTP or Mn-GTP;
  Enzymology Vol. 153 (Recombinant DNA Part D) 1987, Wu                 and determining whether said test agent is phosphorylated by
  and Grossman Eds., Academic Press and European Patent 30 said Nrk polypeptide wherein phosphorylation of said test
  Application EP 693554.                                                agent is indicative of a nicotinamide riboside-related prodrug.
     The present invention further provides cultured or recom-          The phosphate donor can be added with or after the agent and
  binant cells containing the isolated nucleic acids encoding           the assay can be carried out under suitable assay conditions
  Nrk for use in the screening methods and large-scale protein          for phosphorylation, such as those exemplified herein.
  production methods of the invention (e.g., Nrk is produced 35             With respect to the cell-free assay, test agents can be syn-
  and collected from the cells and, optionally, purified). In one       thesized or otherwise affixed to a solid substrate, such as
  particular embodiment, the invention provides a cultured cell         plastic pins, glass slides, plastic wells, and the like. Further,
  containing an isolated nucleic acid encoding Nrk as described         isolated Nrk can be free in solution, affixed to a solid support,
  above for use in a screening assay for identifying a nicotina-        or expressed on a cell surface.
  mide riboside-related prodrug. Also provided is a cell in vivo 40         Alternatively, an Nrk fusion protein can be provided to
  produced by a method comprising administering an isolated             facilitate binding of Nrk to a matrix. For example, glu-
  nucleic acid encoding Nrk to a subject in a therapeutically           tathione-S-transferase fusion proteins can be adsorbed onto
  effective amount.                                                     glutathione SEPHAROSE beads (Sigma Chemical, St. Louis,
     For in vitro screening assays and therapeutic administra-          Mo.) or glutathione derivatized microtitre plates, which are
  tion, Nrk polypeptides can be purified from cultured cells. 45 then combined with the test agent, and the mixture incubated
  Typically, the polypeptide is recovered from the culture              under conditions conducive to complex formation (e.g., at
  medium as a secreted polypeptide, although it also can be             physiological conditions for salt and pH) and phosphoryla-
  recovered from host cell lysates when directly expressed              tion as described above.
  without a secretory signal. When Nrk is expressed in a recom-             In another embodiment, a nicotinamide riboside-related
  binant cell other than one of human origin, the Nrk is com- 50 prodrug is identified in a cell-based assay. The steps involved
  pletely free of proteins or polypeptides of human origin.             in a this screening assay of the invention include, contacting
  However, it is necessary to purify Nrk from recombinant cell          a first test cell which expresses a recombinant Nrk polypep-
  proteins or polypeptides to obtain preparations that are sub-         tide with a nicotinamide riboside-related test agent; contact-
  stantially homogeneous as to Nrk. As a first step, the culture        ing a second test cell which lacks a functional Nrk polypep-
  medium or lysate is centrifuged to remove particulate cell 55 tide with the same test agent; and determining the viability of
  debris. The membrane and soluble protein fractions are then           the first and second test cells wherein sensitivity or cell death
  separated. The Nrk can then be purified from the soluble              of the first cell and not the second cell is indicative of a
  protein fraction. Nrk thereafter can then be purified from            nicotinamide riboside-related prodrug. While the cell-based
  contaminant soluble proteins and polypeptides with, for               assay can be carried out using any suitable cell including
  example, the following suitable purification procedures: by 60 bacteria, yeast, insect cells (e.g., with a baculovirus expres-
  fractionation on immunoaffinity or ion-exchange columns;              sion system), avian cells, mammalian cells, or plant cells, in
  ethanol precipitation; reverse phase HPLC; chromatography             particular embodiments, the test cell is a mammalian cell. In
  on silica or on a cation-exchange resin such as DEAE; chro-           a further embodiment, said cell lacks a functional endogenous
  matofocusing; SDS-PAGE; ammonium sulfate precipitation;               Nrk (e.g., the endogenous Nrk has been deleted or mutated or
  gel filtration using, for example, SEPHADEX G-75; ligand 65 the cell does not express an Nrk). Said first test cell is trans-
  affinity chromatography, and protein A SEPHAROSE col-                 formed ortransfected with an expression vector containing an
  umns to remove contaminants such as IgG.                              exogenous Nrk so that upon exposure to a test agent, viability
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  of the transformed cell can be compared to a second test cell            Methods of making transgenic animals are known in the
  lacking any Nrk activity. Thus, it can be ascertained whether         art. DNA constructs can be introduced into the germ line of an
  the test agent is being activated in an Nrk-dependent manner.         avian or mannnal to make a transgenic animal. For example,
  Cells modified to express a recombinant Nrk can be tran-              one or several copies of the construct can be incorporated into
  siently or stably transformed with the nucleic acid encoding          the genome of an embryo by standard transgenic techniques.
  Nrk. Stably transformed cells can be generated by stable                 In an exemplary embodiment, a transgenic non-human
  integration into the genome of the organism or by expression          animal is produced by introducing a transgene into the germ
  from a stably maintained episome (e.g., Epstein Barr Virus            line of the non-human animal. Transgenes can be introduced
  derived episomes).                                                    into embryonal target cells at various developmental stages.
                                                                     10
     Suitable methods for determining cell viability are well-          Different methods are used depending on the stage of devel-
  established in the art. One such method uses non-permeant             opment of the embryonal target cell. The specific line(s) of
  dyes (e.g., propidium iodide, 7-Amino Actinomycin D) that             any animal used should, if possible, be selected for general
  do not enter cells with intact cell membranes or active cell          good health, good embryo yields, good pronuclear visibility
  metabolism. Cells with damaged plasma membranes or with 15 in the embryo, and good reproductive fitness.
  impaired/no cell metabolism are unable to prevent the dye                Introduction of the transgene into the embryo can be
  from entering the cell. Once inside the cell, the dyes bind to        accomplished by any of a variety of means known in the art
  intracellular structures producing highly fluorescent adducts         such as microinjection, electroporation, lipofection or a viral
  which identify the cells as non-viable. Alternatively, cell           vector. For example, the transgene can be introduced into a
  viability can be determined by assaying for active cell 20 mammal by microinjection of the construct into the pronuclei
  metabolism which results in the conversion of a non-fluores-          of the fertilized mammalian egg(s) to cause one or more
  cent substrate into a highly fluorescent product (e.g., fluores-      copies of the construct to be retained in the cells of the
  cein diacetate ).                                                     developing mammal(s). Following introduction of the trans-
     The test cells of the screening method of the invention can        genic construct into the fertilized egg, the egg can be incu-
  be cultured under standard conditions of temperature, incu- 25 bated in vitro for varying amounts of time, or reimplanted into
  bation time, optical density, plating density and media com-          the surrogate host, or both. One common method is to incu-
  position corresponding to the nutritional and physiological           bate the embryos in vitro for about 1-7 days, depending on the
  requirements of the cells. However, conditions for mainte-            species, and then reimplant them into the surrogate host.
  nance and growth of the test cell can be different from those            The progeny of the transgenically manipulated embryos
  for assaying candidate agents in the screening methods of the 30 can be tested for the presence of the construct (e.g., by South-
  invention. Any techniques known in the art can be applied to
                                                                        ern blot analysis) of a segment of tissue. An embryo having
  establish the optimal conditions.
                                                                        one or more copies of the exogenous cloned construct stably
     Screening assays of the invention can be performed in any
                                                                        integrated into the genome can be used to establish a perma-
  format that allows rapid preparation and processing of mul-
                                                                     35 nent transgenic animal line carrying the transgenically added
  tiple reactions such as in, for example, multi-well plates of the
  96-well variety. Stock solutions of the agents as well as assay       construct.
  components are prepared manually and all subsequent pipet-               Transgenically altered animals can be assayed after birth
  ting, diluting, mixing, washing, incubating, sample readout           for the incorporation of the construct into the genome of the
  and data collecting is done using commercially available              offspring. This can be done by hybridizing a probe corre-
  robotic pipetting equipment, automated work stations, and 40 sponding to the DNA sequence coding for the polypeptide or
  analytical instruments for detecting the output of the assay.         a segment thereof onto chromosomal material from the prog-
     In addition to the reagents provided above, a variety of           eny. Those progeny found to contain at least one copy of the
  other reagents can be included in the screening assays of the         construct in their genome are grown to maturity.
  invention. These include reagents like salts, neutral proteins,          Methods of producing transgenic avians are also known in
  e.g., albumin, detergents, etc. Also, reagents that otherwise 45 the art, see, e.g., U.S. Pat. No. 5,162,215.
  improve the efficiency of the assay, such as protease inhibi-            Nicotinamide riboside-related test agents can be obtained
  tors, nuclease inhibitors, anti-microbial agents, and the like        from a wide variety of sources including libraries of synthetic
  can be used.                                                          or natural compounds. Such agents can include analogs or
     Screening assays can also be carried out in vivo in animals.       derivatives of nicotinamide riboside as well as tiazofurin and
  Thus, the present invention provides a transgenic non-human 50 benzamide riboside and analogs or derivatives thereof.
  animal containing an isolated nucleic acid encoding Nrk,                 Alternatively, the isolated Nrk polypeptide can be used to
  which can be produced according to methods well-known in              generate a crystal structure ofNrk and synthetic nicotinamide
  the art. The transgenic non-human animal can be any species,          riboside analogs can be designed. Based on the crystal struc-
  including avians and non-human mammals. IN accordance                 ture of E. coli panK, Asp127 appears to play a key role in
  with the invention, suitable non-human mammals include 55 transition-state stabilization of the transferring phosphoryl
  mice, rats, rabbits, guinea pigs, goats, sheep, pigs and cattle.      group of a pantothenate kinase (Yun, et al. (2000) J. Biol.
  Mammalian models for cancer, bovine diarrhoea viral infec-            Chem. 275:28093-28099). Accordingly, it is contemplated
  tion or hepatitis C viral infection can also be used.                 the corresponding Nrk mutant, e.g., NRK2-E100Q, can be
     A nucleic acid encoding Nrk is stably incorporated into            used to generate a stable complex between an Nrk and a
  cells within the transgenic animal (typically, by stable inte- 60 nucleotides (i.e., Nrk2-ElOOQ+nicotinamide riboside+ATP
  gration into the genome or by stably maintained episomal              can be stable enough to crystallize). Alternatively, Nrk can
  constructs). It is not necessary that every cell contain the          produce a stable complex in the presence of an inhibitor such
  trans gene, and the animal can be a chimera of modified and           as an ATP-mimetic compound (e.g., AMP-PNHP andAMP-
  unmodified cells, as long as a sufficient number of cells con-        PCH2P). For metabolite kinases, bisubstrate inhibitors have
  tain and express the Nrk transgene so that the animal is a 65 been very successfully employed. For example, thymidylate
  useful screening tool (e.g., so that administration of test           kinase, which performs the reaction, dTMP+ATP->dTDP+
  agents give rise to detectable cell death or anti-viral activity).    AMP, is strongly inhibited by dTpppppA (Bone, et al. (1986)
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  J. Biol. Chem. 261: 16410-16413) and crystal structures were            While the prodrug and the Nrk nucleic acid, delivery vec-
  obtained with this inhibitor (Lavie, et al. (1998) Biochemistry      tor, or polypeptide can be delivered concomitantly, in an
  37:3677-3686).                                                       alternative embodiment the Nrk nucleic acid, delivery vector,
     It has been shown that the best inhibitors typically contain      or polypeptide is provided first, followed by administration of
  one or two more phosphates than the two substrates combined          the prodrug to precondition the cells to generate the activated
  (i.e., dTppppA is not as good a substrate as dTpppppA). On           or toxic drug.
  the basis of the same types of results with adenosine kinase            Types of cancers which can be treated in accordance with
  (Bone, et al. (1986) supra), it is contemplated that NrppppA         the method of the invention include, but are not limited to,
  (i.e., an NAD+ analog with two extra phosphates) will be a           pancreatic cancer, endometrial cancer, small cell and non-
  better inhibitor than NrpppA (i.e., an NAD+ analog with an 10 small cell cancer of the lung (including squamous, adenocar-
  extra phosphate, or, indeed, nicotinamide riboside+App-              cinoma and large cell types), squamous cell cancerof the head
  NHp ). NAD+ analogs with extra phosphates can be generated           and neck, bladder, ovarian, cervical, breast, renal, CNS, and
  using standard enzymatic methods (see, e.g., Guranowski, et          colon cancers, myeloid and lymphocytic leukemia, lym-
  al. (1990) FEES Lett. 271:215-218) optimized for making a            phoma, hepatic tumors, medullary thyroid carcinoma, mul-
  wide variety of adenylylated dinucleoside polyphosphates 15 tiple myeloma, melanoma, retinoblastoma, and sarcomas of
  (Fraga, et al. (2003) FEES Lett. 543:37-41), namely reaction         the soft tissue and bone.
  of Nrpp (nicotinamide riboside di phosphate) and Nrppp                  Typically, with respect to viral vectors, at least about 103
  (nicotinamide riboside triphosphate) with firefly luciferase-        virus particles, at least about 105 virus particles, at least about
  AMP. The diphosphorylated form ofNMN (Nrpp) is prepared              107 virus particles, at least about 109 virus particles, at least
  with either uridylate kinase or cytidylate kinase (NMN+ 20 about 10 11 virus particles, at least about 10 12 virus particles,
  ATP->Nrpp ). The triphosphorylated form ofNMN (Nrppp) is             or at least about 10 13 virus particles are administered to the
  subsequently prepared with nucleoside diphosphate kinase             patient per treatment. Exemplary doses are virus titers of
  (Nrpp+ATP->Nrppp ). The resulting inhibitors are then used           about 107 to about 1015 particles, about 107 to about 10 14
  in crystallization trials and/or are soaked into Nrk crystals.       particles, about 108 to about 10 13 particles, about 10 10 to
     Once the three-dimensional structure ofNrk is determined, 25 about 10 15 particles, about 10 11 to about 1015 particles, about
  a potential test agent can be examined through the use of            1012 to about 10 14 particles, or about 10 12 to about 10 13 par-
  computer modeling using a docking program such as GRAM,              ticles.
  DOCK, or AUTODOCK (Dunbrack, et al. (1997) Folding &                    In particular embodiments of the invention, more than one
  Design 2:27-42). This procedure can include computer fitting         administration (e.g., two, three, four, or more administra-
  of potential agents to Nrk to ascertain how well the shape and 30 tions) can be employed over a variety of time intervals (e.g.,
  the chemical structure of the potential ligand will interact         hourly, daily, weekly, monthly, etc.) to achieve therapeutic
  with Nrk. Computer programs can also be employed to esti-            levels of nucleic acid expression.
  mate the attraction, repulsion, and steric hindrance of the test        Tiazofurin is a nucleoside analog initially synthesized to be
  agent. Generally the tighter the fit (e.g., the lower the steric     a cytidine deaminase inhibitor. Tiazofurin was shown to be a
  hindrance, and/or the greater the attractive force) the better 35 prodrug that is converted by cellular enzymes to TAD, an
  substrate the agent will be since these properties are consis-       analog of NAD+, that inhibits IMP dehydrogenase, the rate
  tent with a tighter binding constraint. Furthermore, the more        limiting enzyme in producing GTP and dGTP (Cooney, et al.
  specificity in the design of a potential test agent the more         (1983) supra). In phase I/II trials of acute leukemia, tiazofurin
  likely that the agent will not interfere with related mammalian      produced response rates as high as 85% and was granted
  proteins. This will minimize potential side-effects due to 40 orphan drug status fortreatment ofCML in accelerated phase
  unwanted interactions with other proteins.                           or blast crisis. Treatment of cultured cells has shown that
     The invention is also a method of treating cancer in a            tiazofurin selectively kills cancer cells by induction of apop-
  patient, having or suspected of having cancer, with an isolated      tosis: the activity has been attributed both to the increased
  nucleic acid, delivery vector, or polypeptide of the invention       dependence of actively replicating cells on dGTP and to the
  in combination with a nicotinamide riboside-related prodrug. 45 addiction of many transformed genotypes to signaling
  Administration of the nucleic acid, delivery vector, or              through low molecular weight G proteins (Jayaram, et al.
  polypeptide of the present invention to a human subject or an        (2002) Curr. Med. Chem. 9:787-792). Examination of the
  animal can be by any means known in the art for administer-          sensitivity of the NCI-60 panel of cancer cell lines and the
  ing nucleic acids, vectors, or polypeptides. A patient, as used      literature on tiazofurin indicates that particular breast, renal,
  herein, is intended to include any mammal such as a human, 50 CNS, colon and non-small cell lung-derived tumors are
  agriculturally-important animal, pet or zoological animal. A         among the most sensitive while others from the same organ
  patient having or suspected ofhaving a cancer is a patient who       sites are among the most resistant (Johnson, et al. (2001) Br.
  exhibits signs or symptoms of a cancer or because of inher-          J. Cancer 84: 1424-1431 ). As was demonstrated herein, the
  itance, environmental or natural reasons is suspected of hav-        function of nicotinamide riboside as an NAD+ precursor is
  ing cancer. Nucleic acids encoding Nrk, vectors containing 55 entirely dependent on Nrkl and human Nrks have at least as
  the same, or Nrk polypeptides can be administered to the             high specific activity in tiazofurin phosphorylation as in nico-
  subject in an amount effective to decrease, alleviate or elimi-      tinamide riboside phosphorylation. Because Nrk2 expression
  nate the signs or symptoms of a cancer (e.g., tumor size,            is muscle-specific (Li, et al. (1999) supra), and Nrkl is
  feelings of weakness, and pain perception). The amount of the        expressed at a very low level (Boon, et al. (2002) supra), while
  agent required to achieve the desired outcome of decreasing, 60 NMN/NaMNAT is not restricted, it is contemplated that
  eliminating or alleviating a sign or symptom of a cancer will        stratification of tumors by Nrk gene expression will largely
  be dependent on the pharmaceutical composition of the agent,         predict and account for tiazofurin sensitivity.
  the patient and the condition of the patient, the mode of               Accordingly, the present invention is further a method for
  administration, the type of condition or disease being pre-          identifying an individual or tumor which is susceptible to
  vented or treated, age and species of the patient, the particular 65 treatment with a nicotinamide riboside-related prodrug. In
  vector, and the nucleic acid to be delivered, and can be deter-      one embodiment, the level ofNrk protein in an individual or
  mined in a routine manner.                                           tumor is detected by binding of a Nrk-specific antibody in an
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  immunoassay. In another embodiment, the level of Nrk                 (1988) supra). Such well-known immunoassays include anti-
  enzyme activity is determined using, for example, the nico-          body capture assays, antigen capture assays, and two-anti-
  tinamide riboside phosphorylation assay disclosed herein. In         body sandwich assays.
  another embodiment, the level ofNrk RNA transcript is deter-            For the detection of nucleic acid sequences encoding Nrk,
  mined using any number of well-known RNA-based assays                either a DNA-based or RNA-based method can be employed.
  for detecting levels of RNA. Once detected, the levels ofNrk         DNA-based methods for detecting mutations in an Nrk locus
  are compared to a known standard. A change in the level of           (i.e., frameshift mutations, point mutations, missense muta-
  Nrk, as compared to the standard, is indicative of an altered        tions, nonsense mutations, splice mutations, deletions or
  level of susceptibility to treatment with a nicotinamide ribo-       insertions of induced, natural or inherited origin) include, but
                                                                    10 are not limited to, DNA microarray technologies, oligonucle-
  side-related prodrug. In a still further embodiment, mutations
                                                                       otide hybridization (mutant and wild-type), PCR-based
  or polymorphisms in the Nrk gene can be identified which
                                                                       sequencing, single-strand conformational polymorphism
  result in an altered level of susceptibility to treatment with a
                                                                       (SSCP) analysis, heteroduplex analysis (HET), PCR, or dena-
  nicotinamide riboside-related prodrug.                               turing gradient gel electrophoresis. Mutations can appear, for
     Optimized treatments for cancer and other diseases with 15 example, as a dual base call on sequencing chromatograms.
  nicotinamide riboside-related prodrugs are directed toward           Potential mutations are confirmed by multiple, independent
  cells with naturally high levels of an Nrk provided herein or        PCR reactions. Exemplary single nucleotide polymorphisms
  toward cells which have been recombinantly engineered to             which can be identified in accordance with the diagnostic
  express elevated levels of an Nrk. Safety, specificity and           method of the invention include, but are not limited to, NCBI
  efficacy of these treatments can be modulated by supplemen- 20 SNP Cluster ID Nos. rs3752955, rs1045882, rs11519, and
  tation with or restriction of the amounts of any of the NAD+         rs3185880 for human Nrkl and Cluster ID Nos. rs2304190,
  precursors, namely tryptophan, nicotinic acid, nicotinamide,         rs4807536, and rs1055767 for human Nrk2.
  or nicotinamide riboside.                                               To detect the levels of RNA transcript encoding the Nrk,
     For the detection ofNrk protein levels, antibodies which          nucleic acids are isolated from cells of the individual or
  specifically recognize Nrk are generated. These antibodies 25 tumor, according to standard methodologies (e.g., Sambrook
  can be either polyclonal or monoclonal. Moreover, such anti-         et al. (1989) Molecular Cloning, a Laboratory Manual, Cold
  bodies can be natural or partially or wholly synthetically           Spring Harbor Laboratories, New York). The nucleic acid can
  produced. All fragments or derivatives thereof (e.g., Fab,           be whole cell RNA or fractionated to Poly-A+. It may be
  Fab', F(ab') 2 , scFv, Fv, or Fd fragments) which maintain the       desirable to convert the RNA to a complementary DNA
  ability to specifically bind to and recognize Nrk are also 30 (cDNA). Normally, the nucleic acid is amplified.
  included. The antibodies can be a member of any immuno-                 A variety of methods can be used to evaluate or quantitate
  globulin class, including any of the human classes: IgG, IgM,        the level of Nrk RNA transcript present in the nucleic acids
  IgA, IgD, and IgE.                                                   isolated from an individual or tumor. For example, levels of
     The Nrk-specific antibodies can be generated using classi-        Nrk RNA transcript can be evaluated using well-known meth-
  cal cloning and cell fusion techniques. See, for example, 35 ods such as northern blot analysis (see, e.g., Sambrook et al.
  Kohler and Milstein (1975) Nature 256:495-497; Harlow and            (1989) Molecular Cloning, a Laboratory Manual, Cold
  Lane (1988) Antibodies: A Laboratory Manual, Cold Spring             Spring Harbor Laboratories, New York); oligonucleotide or
  Harbor Laboratory, New York. Alternatively, antibodies               cDNA fragment hybridization wherein the oligonucleotide or
  which specifically bind Nrk are derived by a phage display           cDNA is configured in an array on a chip or wafer; real-time
  method. Methods of producing phage display antibodies are 40 PCR analysis, or RT-PCR analysis.
  well-known in the art (e.g., Huse, et al. (1989) Science 246            Suitable primers, probes, or oligonucleotides useful for
  (4935): 1275-81 ).                                                   such detection methods can be generated by the skilled arti-
     Selection of Nrk-specific antibodies is based on binding          san from the Nrk nucleic acid sequences provided herein. The
  affinity and can be determined by various well-known immu-           term primer, as defined herein, is meant to encompass any
  noassays including, enzyme-linked immunosorbent, immun- 45 nucleic acid that is capable of priming the synthesis of a
  odiffusion chemiluminescent, immunofluorescent, immuno-              nascent nucleic acid in a template-dependent process. Typi-
  histochemical,          radioimmunoassay,          agglutination,    cally, primers are oligonucleotides from ten to twenty base
  complement fixation, immunoelectrophoresis, and immuno-              pairs in length, but longer sequences can be employed. Prim-
  precipitation assays and the like which can be performed in          ers can be provided in double-stranded or single-stranded
  vitro, in vivo or in situ. Such standard techniques are well- 50 form. Probes are defined differently, although they can act as
  known to those of skill in the art (see, e.g., "Methods in           primers. Probes, while perhaps capable of priming, are
  Immunodiagnosis", 2nd Edition, Rose and Bigazzi, eds. John           designed for binding to the target DNA or RNA and need not
  Wiley & Sons, 1980; Campbell et al., "Methods and Immu-              be used in an amplification process. In one embodiment, the
  nology", W.A. Benjamin, Inc., 1964; and Oellerich, M.                probes or primers are labeled with, for example, radioactive
                                                                                  2   14
  (1984) J. Clin. Chem. Clin. Biochem. 22:895-904).                 55 species (3 P,    C, 35 S, 3 H, or other label) or a fluorophore
     Once fully characterized for specificity, the antibodies can      (rhodamine, fluorescein). Depending on the application, the
  be used in diagnostic or predictive methods to evaluate the          probes or primers can be used cold, i.e., unlabeled, and the
  levels ofNrk in healthy and diseased tissues (i.e., tumors) via      RNA or cDNA molecules are labeled.
  techniques such as ELISA, western blotting, or immunohis-               Depending on the format, detection can be performed by
  tochemistry.                                                      60 visual means (e.g., ethidium bromide staining of a gel). Alter-
     The general method for detecting levels of Nrk protein            natively, the detection can involve indirect identification of
  provides contacting a sample with an antibody which specifi-         the product via chemiluminescence, radio label or fluorescent
  cally binds Nrk, washing the sample to remove non-specific           label or even via a system using electrical or thermal impulse
  interactions, and detecting the antibody-antigen complex             signals (Bellus (1994) J. Macromol. Sci. Pure Appl. Chem.
  using any one of the immunoassays described above as well a 65 A311:1355-1376).
  number of well-known immunoassays used to detect and/or                 After detecting mutations in Nrk or the levels of Nrk
  quantitate antigens (see, for example, Harlow and Lane               present in an individual or tumor, said mutations or levels are
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  compared with a known control or standard. A known control          NAD+ precursors have been shown to effect the regulation of
  can be a statistically significant reference group ofindividuals    a number of genes and lifespan in yeast (Anderson, et al.
  that are susceptible or lack susceptibility to treatment with a     (2003) Nature 423(6936):181-5).
  nicotinamide riboside-related prodrug to provide diagnostic            NAD+ administration and NMN adenylyltransferase (Nm-
  or predictive information pertaining to the individual or           natl) expression have also been shown to protect neurons
  tumor upon which the analysis was conducted.                        from axonal degeneration (Araki, et al. (2004) Science 305:
     As described herein, nicotinamide riboside isolated from         1010-1013). Because nicotinamide riboside is a soluble,
  deproteinized whey fraction of cow's milk was sufficient to         transportable nucleoside precursor of NAD+, nicotinamide
  support NRKl-dependent growth in a qnsl mutant. Accord-             riboside can be used to protect against axonopathies such as
  ingly, mutant strains generated herein will be useful in iden- 10 those that occur in Alzheimer's Disease, Parkinson's Disease
  tifying other natural or synthetic sources for nicotinamide         and Multiple Sclerosis. Expression of the NRKl or NRK2
  riboside for use in dietary supplements. Thus, the present          genes, or direct administration of nicotinamide riboside or a
  invention also encompasses is a method for identifying such         stable nicotinamide riboside prodrug, could also protect
  natural or synthetic sources. As a first step of the method, a      against axonal degeneration.
  first cell lacking a functional glutamine-dependent NAD+ 15            NMN adenylytransferase overexpression has been shown
  synthetase is contacted with an isolated extract from a natural     to protect neurons from the axonopathies that develop with
  or synthetic source. In one embodiment, the first cell is a qns 1   ischemia and toxin exposure, including vincristine treatment
  mutant (i.e., having no NAD+ synthetase) carrying the QNS 1         (Araki, et al. (2004) Science 305:1010-1013). Vincristine is
  gene on a URA3 plasmid. While any cell can be used, in              one of many chemotherapeutic agents whose use is limited by
  particular embodiments a yeast cell is used in this method of 20 neurotoxicity. Thus, administration of nicotinamide riboside
  the invention. A qnsl mutant strain has normal growth on            or an effective nicotinamide riboside prodrug derivative could
  5-fluoroorotic acid (i.e., cured of the URA3 QNSl plasmid)          be used to protect against neurotoxicity before, during or after
  as long as it is supplied with nicotinamide riboside.               cytotoxic chemotherapy.
     As a second step of the method, a second cell lacking a             Further, conversion of benign Candida glabrata to the
  functional glutamine-dependent NAD+ synthetase and a 25 adhesive, infective form is dependent upon the expression of
  functional nicotinamide riboside kinase is contacted with the       EPA genes encoding adhesins whose expression is mediated
  same isolated extract from the natural or synthetic source of       by NAD+ limitation, which leads to defective Sir2-dependent
  the prior step. Using a qnsl and nrkl double mutant, it was         silencing of these genes (Domergue, et al. (March 2005)
  demonstrated herein that the NRKl gene is necessary for             Science, 10.1126/science.1108640). Treatment with nico-
  growth on nicotinamide riboside: qns 1 and nrkl are syntheti- 30 tinic acid reduces expression of adhesins and increasing nico-
  cally lethal even with nicotinamide riboside. This deletion         tinic acid in mouse chow reduces urinary tract infection by
  strain is useful in this screening assay of the invention as it     Candida glabrata. Thus, nicotinamide riboside can be used in
  allows one to distinguish between nicotinamide riboside,            the treatment of fungal infections, in particular, those of Can-
  NMN and NAD+ as the effective nutrient.                             dida species by preventing expression of adhesins.
     As a subsequent step of the method, the growth of the first 35      Accordingly, agents (e.g., nicotinamide riboside) that work
  cell and second cell are compared. If the isolated extract          through the discovered nicotinamide riboside kinase pathway
  contains a nicotinamide riboside, the first cell will grow and      of NAD+ biosynthesis could have therapeutic value in
  the second cell will not.                                           improving plasma lipid profiles, preventing stroke, providing
     Synthetic sources of nicotinamide riboside can include any       neuroprotection with chemotherapy treatment, treating fun-
  library of chemicals commercially available from most large 40 gal infections, preventing or reducing neurodegeneration, or
  chemical companies including Merck, Glaxo, Bristol Meyers           in prolonging health and well-being. Thus, the present inven-
  Squibb, Monsanto/Searle, Eli Lilly and Pharmacia. Natural           tion is further a method for preventing or treating a disease or
  sources which can be tested forthe presence of a nicotinamide       condition associated with the nicotinamide riboside kinase
  riboside include, but are not limited to, cow's milk, serum,        pathway ofNAD+ biosynthesis by administering an effective
  meats, eggs, fruit and cereals. Isolated extracts of the natural 45 amount of a nicotinamide riboside composition. Diseases or
  sources can be prepared using standard methods. For                 conditions which typically have altered levels of NAD+ or
  example, the natural source can be ground or homogenized in         NAD+ precursors or could benefit from increased NAD+
  a buffered solution, centrifuged to remove cellular debris, and     biosynthesis by treatment with nicotinamide riboside
  fractionated to remove salts, carbohydrates, polypeptides,          include, but are not limited to, lipid disorders (e.g., dyslipi-
  nucleic acids, fats and the like before being tested on the 50 demia, hypercholesterolaemia or hyperlipidemia), stroke,
  mutants strains of the invention. Any source of nicotinamide        neurodegenerative diseases (e.g., Alzheimer's, Parkinsons
  riboside that scores positively in the assay of the invention can   and Multiple Sclerosis), neurotoxicity as observed with che-
  be further fractionated and confirmed by standard methods of        motherapies, Candida glabrata infection, and the general
  HPLC and mass spectrometry.                                         health declines associated with aging. Such diseases and con-
     Nicotinic acid is an effective agent in controlling low- 55 ditions can be prevented or treated by supplementing a diet or
  density lipoprotein cholesterol, increasing high-density lipo-      a therapeutic treatment regime with a nicotinamide riboside
  protein cholesterol, and reducing triglyceride and lipoprotein      composition.
  (a) levels in humans (see, e.g., Miller(2003)Mayo Clin. Proc.          The source of nicotinamide riboside can be from a natural
  78(6):735-42). Though nicotinic acid treatment effects all of       or synthetic source identified by the method of the instant
  the key lipids in the desirable direction and has been shown to 60 invention, or can be chemically synthesized using established
  reduce mortality in target populations, its use is limited          methods (Tanimori (2002) Bioorg. Med. Chem. Lett.
  because of a side effect of heat and redness termed flushing,       12:1135-1137; Franchetti (2004) Bioorg. Med. Chem. Lett.
  which is significantly effected by the nature of formulation.       14:4655-4658). In addition, the nicotinamide riboside can be
  Further, nicotinamide protects against stroke injury in model       a derivative (e.g., L-valine or L-phenylalanine esters) of nico-
  systems, due to multiple mechanisms including increasing 65 tinamide riboside. For example, an L-valyl (valine) ester on
  mitochondrial NAD+ levels and inhibiting PARP (Klaidman,            the 5' 0 of acyclovir (valacyclovir) improved the pharmaco-
  et al. (2003) Pharmacology 69(3):150-7). Altered levels of          kinetic properties of the drug by promoting transport and
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  allowing cellular delivery of the nucleoside after hydrolysis        (e.g., sub-lingual), vaginal, parenteral (e.g., subcutaneous,
  by an abundant butyryl esterase (Han, et al. (1998) Pharm.           intramuscular including skeletal muscle, cardiac muscle, dia-
  Res. 15:1382-1386; Kim, et al. (2003) J. Biol. Chem. 278:            phragm muscle and smooth muscle, intradermal, intravenous,
  25348-25356). Accordingly, the present invention also                intraperitoneal), topical (i.e., both skin and mucosa! surfaces,
  encompasses derivatives of nicotinamide riboside, in particu-        including airway surfaces), intranasal, transdermal, intraar-
  lar L-valine or L-phenylalanine esters of nicotinamide ribo-         ticular, intrathecal and inhalation administration, administra-
  side, which are contemplated as having improved pharmaco-            tion to the liver by intraportal delivery, as well as direct organ
  kinetic properties (e.g., transport and delivery). Such              injection (e.g., into the liver, into the brain for delivery to the
  derivatives can be used alone or formulated with a pharma-           central nervous system). The most suitable route in any given
  ceutically acceptable carrier as disclosed herein.                10
                                                                       case will depend on the nature and severity of the condition
      An effective amount of nicotinamide riboside is one which
                                                                       being treated and on the nature of the particular compound
  prevents, reduces, alleviates or eliminates the signs or symp-
                                                                       which is being used.
  toms of the disease or condition being prevented or treated
  and will vary with the disease or condition. Such signs or              For injection, the carrier will typically be a liquid, such as
  symptoms can be evaluated by the skilled clinician before and 15 sterile pyrogen-free water, pyrogen-free phosphate-buffered
  after treatment with the nicotinamide riboside to evaluate the       saline solution, bacteriostatic water, or Cremophor (BASF,
  effectiveness of the treatment regime and dosages can be             Parsippany, N.J.). For other methods of administration, the
  adjusted accordingly.                                                carrier can be either solid or liquid.
     As alterations ofNAD+ metabolism may need to be opti-                For oral therapeutic administration, the compound can be
  mized for particular conditions, it is contemplated that nico- 20 combined with one or more carriers and used in the form of
  tinamide riboside treatments can further be used in combina-         ingestible tablets, buccal tablets, troches, capsules, elixirs,
  tion with other NAD+ precursors, e.g., tryptophan, nicotinic         suspensions, syrups, wafers, chewing gums, foods and the
  acid and/or nicotinamide.                                            like. Such compositions and preparations should contain at
      Polypeptides, nucleic acids, vectors, dietary supplements        least 0.1 % of active compound. The percentage of the com-
  (i.e. nicotinamide riboside), and nicotinamide riboside-re- 25 pound and preparations can, of course, be varied and can
  lated prodrugs produced or identified in accordance with the         conveniently be between about 0.1 to about 100% of the
  methods of the invention can be conveniently used or admin-          weight of a given unit dosage form. The amount of active
  istered in a composition containing the active agent in com-         compound in such compositions is such that an effective
  bination with a pharmaceutically acceptable carrier. Such            dosage level will be obtained.
  compositions can be prepared by methods and contain carri- 30           The tablets, troches, pills, capsules, and the like can also
  ers which are well-known in the art. A generally recognized
                                                                       contain the following: binders such as gum tragacanth, aca-
  compendium of such methods and ingredients is Remington:
                                                                       cia, corn starch or gelatin; excipients such as dicalcium phos-
  The Science and Practice of Pharmacy, Alfonso R. Gennaro,
                                                                       phate; a disintegrating agent such as corn starch, potato
  editor, 20th ed. Lippincott Williams & Wilkins: Philadelphia,
  Pa., 2000. A carrier, pharmaceutically acceptable carrier, or 35 starch, alginic acid and the like; a lubricant such as magne-
  vehicle, such as a liquid or solid filler, diluent, excipient, or    sium stearate; and a sweetening agent such as sucrose, fruc-
  solvent encapsulating material, is involved in carrying or           tose, lactose or aspartame or a flavoring agent such as pep-
  transporting the subject compound from one organ, or portion         permint, oil of wintergreen, or cherry flavoring. The above
  of the body, to another organ, or portion of the body. Each          listing is merely representative and one skilled in the art could
  carrier must be acceptable in the sense of being compatible 40 envision other binders, excipients, sweetening agents and the
  with the other ingredients of the formulation and not injurious      like. When the unit dosage form is a capsule, it can contain, in
  to the patient.                                                      addition to materials of the above type, a liquid carrier, such
      Examples of materials which can serve as carriers include        as a vegetable oil or a polyethylene glycol. Various other
  sugars, such as lactose, glucose and sucrose; starches, such as      materials can be present as coatings or to otherwise modify
  corn starch and potato starch; cellulose, and its derivatives, 45 the physical form of the solid unit dosage form. For instance,
  such as sodium carboxymethyl cellulose, ethyl cellulose and          tablets, pills, or capsules can be coated with gelatin, wax,
  cellulose acetate; powdered tragacanth; malt; gelatin; talc;         shellac or sugar and the like.
  excipients, such as cocoa butter and suppository waxes; oils,           A syrup or elixir can contain the active agent, sucrose or
  such as peanut oil, cottonseed oil, safflower oil, sesame oil,       fructose as a sweetening agent, methyl and propylparabens as
  olive oil, corn oil and soybean oil; glycols, such as propylene 50 preservatives, a dye and flavoring such as cherry or orange
  glycol; polyols, such as glycerin, sorbitol, mannitol and poly-      flavor. Of course, any material used in preparing any unit
  ethylene glycol; esters, such as ethyl oleate and ethyl laurate;     dosage form should be substantially non-toxic in the amounts
  agar; buffering agents, such as magnesium hydroxide and              employed. In addition, the active compounds can be incorpo-
  aluminum hydroxide; alginic acid; pyrogen-free water; iso-           rated into sustained-release preparations and devices includ-
  tonic saline; Ringer's solution; ethyl alcohol; pH buffered 55 ing, but not limited to, those relying on osmotic pressures to
  solutions; polyesters, polycarbonates and/orpolyanhydrides;          obtain a desired release profile.
  and other non-toxic compatible substances employed in for-              Formulations of the present invention suitable for
  mulations. Wetting agents, emulsifiers and lubricants, such as       parenteral administration contain sterile aqueous and non-
  sodium lauryl sulfate and magnesium stearate, as well as             aqueous injection solutions of the compound, which prepa-
  coloring agents, release agents, coating agents, sweetening, 60 rations are generally isotonic with the blood of the intended
  flavoring and perfuming agents, preservatives and antioxi-           recipient. These preparations can contain anti-oxidants, buff-
  dants can also be present in the compositions.                       ers, bacteriostats and solutes which render the formulation
      Polypeptides, nucleic acids, vectors, dietary supplements,       isotonic with the blood of the intended recipient. Aqueous and
  and nicotinamide riboside-related prodrugs produced or iden-         non-aqueous sterile suspensions can include suspending
  tified in accordance with the methods of the invention, here- 65 agents and thickening agents. The formulations can be pre-
  after referred to as compounds, can be administered via any          sented in unit\dose or multi-dose containers, for example
  route include, but not limited to, oral, rectal, topical, buccal     sealed ampoules and vials, and can be stored in a freeze-dried
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  (lyophilized) condition requiring only the addition of the              philizate which can be reconstituted with a carrier, such as
  sterile liquid carrier, for example, saline or water-for-injec-         water, to regenerate a liposomal suspension.
  tion immediately prior to use.                                             In particular embodiments, the compound is administered
     Formulations suitable for topical application to the skin            to the subject in an effective amount, as that term is defined
  can take the form of an ointment, cream, lotion, paste, gel, 5 herein. Dosages of active compounds can be determined by
  spray, aerosol, or oil. Carriers which can be used include              methods known in the art, see, e.g., Remington: The Science
  petroleum jelly, lanoline, polyethylene glycols, alcohols,              and Practice of Pharmacy, Alfonso R. Gennaro, editor, 20th
  transdermal enhancers, and combinations of two or more                  ed. Lippincott Williams & Wilkins: Philadelphia, Pa., 2000.
  thereof.                                                                The selected effective dosage level will depend upon a variety
     Formulations suitable for transdermal administration can 10 of factors including the activity of the particular compound of
  be presented as discrete patches adapted to remain in intimate          the present invention employed, the route of administration,
  contact with the epidermis of the recipient for a prolonged             the time of administration, the rate of excretion or metabolism
  period of time. Formulations suitable for transdermal admin-            of the particular compound being employed, the duration of
  istration can also be delivered by iontophoresis (see, for              the treatment, other drugs, compounds and/or materials used
  example, Pharmaceutical Research 3 (6):318 (1986)) and 15 in combination with the particular compound employed, the
  typically take the form of an optionally buffered aqueous               age, sex, weight, condition, general health and prior medical
  solution of the compound. Suitable formulations contain cit-            history of the patient being treated, and like factors well-
  rate or bis\tris buffer (pH 6) or ethanol/water and contain from        known in the medical arts.
  0.1 to 0.2 M of the compound.                                              A physician or veterinarian having ordinary skill in the art
     A compound can alternatively be formulated for nasal 20 can readily determine and prescribe the effective amount of
  administration or otherwise administered to the lungs of a              the pharmaceutical composition required for prevention or
  subject by any suitable means. In particular embodiments, the           treatment in an animal subject such as a human, agricultur-
  compound is administered by an aerosol suspension of respi-             ally-important animal, pet or zoological animal.
  rable particles containing the compound, which the subject                 The invention is described in greater detail by the following
  inhales. The respirable particles can be liquid or solid. The 25 non-limiting examples.
  term aerosol includes any gas-borne suspended phase, which
  is capable of being inhaled into the bronchioles or nasal                                         EXAMPLE 1
  passages. Specifically, aerosol includes a gas-borne suspen-
  sion of droplets, as can be produced in a metered dose inhaler                                S. cerevisiae Strains
  or nebulizer, or in a mist sprayer. Aerosol also includes a dry 30
  powder composition suspended in air or other carrier gas,                  Yeast diploid strain BY165, heterozygous for qnsl dele-
  which can be delivered by insuffiation from an inhaler device,          tion and haploid BY! 65-ld carrying a chromosomal deletion
  for example. See Ganderton & Jones, Drug Delivery to the                of qnsl gene, transformed with plasmid pBl 75 containing
  Respiratory Tract, Ellis Horwood (1987); Gonda (1990)                   QNSl and URA3 is known in the art (Bieganowski, et al.
  Critical Reviews in Therapeutic Drug Carrier Systems 6:273- 35 (2003) supra). Genetic deletions were introduced by direct
  313; and Raeburn, et al. (1992) J. Pharmacol. Toxicol. Meth-            transformation with PCR products (Brachmann, et al. (1998)
  ods 27:143-159. Aerosols of liquid particles containing the             Yeast 14: 115-132) generated from primers. After 24 hours of
  compound can be produced by any suitable means, such as                 growth on complete media, cells were plated on media con-
  with a pressure-driven aerosol nebulizer or an ultrasonic               taining 5-fluoroorotic acid (Boeke, et al. (1987) Methods
  nebulizer, as is known to those of skill in the art. See, e.g., U.S. 40 Enzymol. 154: 164-17 5). The ado 1 disruption cassette was
  Pat. No. 4,501, 729. Aerosols of solid particles containing the         constructed by PCR with primers 7041 (5'-CTA TTT AGA
  compound can likewise be produced with any solid particu-               GTAAGG ATA TTT TTT CGG AAG GGT AAG AGG GAC
  late medicament aerosol generator, by techniques known in               CAA CTT CTT CTG TGC GGT ATT TCA CAC CG-3'; SEQ
  the pharmaceutical art.                                                 ID NO:lO) and 7044 (5'-ATG ACC GCA CCA TTG GTA
     Alternatively, one can administer the compound in a local 45 GTA TTG GGT AAC CCA CTT TTA GAT TTC CAA GCA
  rather than systemic manner, for example, in a depot or sus-            GAT TGT ACT GAG AGT GCA C-3'; SEQ ID NO: 11) and
  tained-release formulation.                                             plasmid pRS413 as a template.Yeast strain BY165 was trans-
     Further, the present invention provides liposomal formula-           formed with this PCR product, and homologous recombina-
  tions of the compounds disclosed herein and salts thereof.              tion in histidine prototrophic transformants was confirmed by
  The technology for forming liposomal suspensions is well- 50 PCR with primers 7042 (5'-AAG CTA GAG GGAACA CGT
  known in the art. When the compound or salt thereof is an               AGA G-3'; SEQ ID N0:12) and 7043 (5'-TTA TCT TGT
  aqueous-soluble salt, using conventional liposome technol-              GCA GGG TAG AAC C-3'; SEQ ID NO: 13). This strain was
  ogy, the same can be incorporated into lipid vesicles. In such          transformed with plasmid pBl 7 5 and subjected to sporulation
  an instance, due to the water solubility of the compound or             and tetrad dissection. Haploid strain BY237, carrying qnsl
  salt, the compound or salt will be substantially entrained 55 and adol deletions and plasmid, was selected for further
  within the hydrophilic center or core of the liposomes. The             experiments. The urkl deletion was introduced into strain
  lipid layer employed can be of any conventional composition             BY237 by transformation with the product of the PCR ampli-
  and can either contain cholesterol or can be cholesterol-free.          fication that used pRS415 as a template and PCR primers
  When the compound or salt of interest is water-insoluble,               7051 (5'-CGA TCT TCA TCA TTT ATT TCA ATT TTA
  again employing conventional liposome formation technol- 60 GAC GAT GAAACAAGA GACACA TTA GAT TGT ACT
  ogy, the salt can be substantially entrained within the hydro-          GAG AGT GCA C-3'; SEQ ID N0:14) and 7052 (5'-AAA
  phobic lipid bilayer which forms the structure of the lipo-             ATA CTT TGAATC AAAAAA TCT GGT CAA TGC CCA
  some. In either instance, the liposomes which are produced              TTT GTA TTG ATG ATC TGT GCG GTA TTT CAC ACC
  can be reduced in size, as through the use of standard sonica-          G-3'; SEQ ID N0:15). Disruption was confirmed by PCR
  tion and homogenization techniques.                                  65 with primers 7053 (5'-ATG TCC CAT CGT ATA GCA CCT
     A Ii po soma! formulation containing a compound disclosed            TCC-3'; SEQ ID N0:16) and 7054 (5'-GCC TCT AAT TAT
  herein or salt thereof, can be lyophilized to produce a Iyo-            TCT CAA TCA CAA CC-3'; SEQ ID NO: 17), and the result-
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  ing strain was designated BY247. The rbkl disruption cas-                              EXAMPLE4
  sette was constructed by PCR with primers 7063 (5'-AAA
  CTT TCA GGG CTAACC ACT TCG AAA CAC ATG CTG                           Nicotinamide Riboside Phosphorylation Assays
  GTG GTAAGG GAT TGA GAT TGT ACT GAG AGT GCA
  C-3'; SEQ ID N0:18) and 7065 (5'-GAA CAG AAA AGC 5                Reactions (0.2 mL) containing 100 mM NaCl, 20 mM
                                                                 NaHEPES pH 7.2, 5 mM ~-mercaptoethanol, 1 mMATP, 5
  ACC CCT CTC GAA CCC AAA GTC ATA ACC ACA ATT
                                                                 mM MgC1 2 , and 500 µM nicotinamide riboside or alternate
  CCT CTC TGT GCG GTA TTT CAC ACC G-3'; SEQ ID                   nucleoside, were incubated at 30° C. and terminated by addi-
  NO: 19) and plasmid pRS411 as a template. Disruption was       tion of EDTA to 20 mM and heating for 2 minutes at 100° C.
  introduced into strain BY242 by transformation with the        Specific activity assays, containing 50 ng to 6 µg enzyme
                                                              10
  product of this reaction and confirmed by PCR with primers     depending on the enzyme and substrate, were incubated for
  7062 (5'-GGA TAG ATT ACC TAA CGC TGG AG-3'; SEQ                30 minutes at 30° C. to maintain initial rate conditions. Reac-
  ID N0:20) and 7064 (5'-TTG TAC TTC AGG GCT TTC                 tion products were analyzed by HPLC on a strong anion
  GTG C-3'; SEQ ID N0:21). The resulting strain, carrying        exchange colunm with a 10 mM to 7 50 mM gradient ofKPO4
  deletions of qnsl, adol, urkl and rbkl genes was designated    pH2.6.
                                                                 15
  BY252. A yeast strain carrying disruption of the NRKl locus
                                                                                              EXAMPLE 5
  was made by transformation of the strain BY165-ld with the
  HIS3 marker introduced into disruption cassette by PCR with
                                                                               NRK Gene and cDNA Cloning and Enzyme
  primers 47 50 (5'-AAT AGC GTG CAAAAG CTA TCG AAG
                                                                                               Purification
  TGT GAG CTA GAG TAG AAC CTC AAAATA GAT TGT 20
  ACT GAG AGT GCA C-3'; SEQ ID N0:22) and 4751 (5'-                      The S. cerevisiae NRKl gene was amplified from total
  CTA ATC CTT ACA AAG CTT TAG AAT CTC TTG GCA                         yeast DNA with primers 7 448 (5'-CGC TGC ACA TAT GAC
  CAC CCA GCT TAA AGG TCT GTG CGG TAT TTC ACA                         TTC GAA AAA AGT GAT ATT AGT TGC-3'; SEQ ID
  CCG-3'; SEQ ID N0:23). Correct integration of the HIS3              N0:26) and 7449 (5'-CCG TCT CGA GCT AAT CCT TAC
  marker into NRKl locus was confirmed by PCR with primers 25 AAA GCT TTA GAA TCT CTT GG-3'; SEQ ID N0:27). The
  4752 (5'-ACCAAC TTG CAT TTT AGG CTG TTC-3'; SEQ                     amplified DNA fragment was cloned in vectorpSG04 (Ghosh
  ID N0:24) and 4753 (5'-TAA GTT ATC TAT CGA GGT                      andLowenstein(1997) Gene 176:249-255) for E.coli expres-
  ACA CAT TC-3'; SEQ ID N0:25).                                       sion using restriction sites for Ndel and Xhol included in
                                                                      primer sequences and the resulting plasmid was designated
                            EXAMPLE2                               30 pB446. Samples of cDNA made from human lymphocytes

                                                                      and spleen were used as a template for amplification ofhuman
           Nicotinamide Riboside and Whey Preparations                NRKl using primers 4754 (5'-CCG GCC CAT GGC GCA
                                                                      CCA CCA TCA CCA CCA TCA TAT GAA AAC ATT TAT
      NMN (39.9 mg; Sigma, St. Louis, Mo.) was treated with           CAT TGG AAT CAG TGG-3'; SEQ ID N0:28) and 4755
  1250 units of calf intestinal alkaline phosphatase (Sigma) for 35 (5'-GCG GGG ATC CTT ATG CTG TCA CTT GCA AAC
  1 hour at 37° C. in 1 mL 100 mM NaCl, 20 mM Tris pH 8.0,            ACT TTT GC-3'; SEQ ID N0:29). For E. coli expression,
  5 mM MgC1 2 . Hydrolysis ofNMN to nicotinamide riboside             PCR amplicons from this reaction were cloned into restric-
  was verified by HPLC and phosphatase was removed by                 tion sites Neal andBamHI ofvectorpMR103 (Munson, et al.
  centrifuging the reaction through a 5,000 Da filter (Millipore,     (1994) Gene 144:59-62) resulting in plasmid pB449. Subse-
  Billerica, Mass.). A whey vitamin fraction of commercial 4o quently, plasmid pB449 was used as a template for PCR with
  nonfat cow's milk was prepared by adjusting the pH to 4 with        primers 7769 (5'-CCG CGG ATC CAT GAAAACATT TAT
  HCl, stirring at 55° C. for 10 minutes, removal of denatured        CAT TGG AAT CAG TGG-3'; SEQ ID N0:30) and 7770
  casein by centrifugation, and passage through a 5,000 Da            (5'-GCC GCT CGA GTT ATG CTG TCA CTT GCA AAC
  filter. In yeast media, nicotinamide riboside was used at 10        ACT T-3'; SEQ ID N0:31). The product of this amplification
                                                                   45 was cloned between BamHI and Xhol sites of vector
  µM and whey vitamin fraction at 50% by volume.
                                                                      p425GAL1 (Mumberg, et al. (1994) Nucleic Acids Res.
                            EXAMPLE3                                  22:5767-5768) and the resulting plasmid carrying human
                                                                      NRKl gene under GALI promoter control was designated
                      Yeast GST-ORF Library                           pB450. Human NRK2 cDNA was amplified with primers
                                                                   50 7777 (5'-GGC AGG CAT ATG AAG CTC ATC GTG GGC

      Preparation of the fusion protein library was in accordance     ATC G-3'; SEQ ID N0:32) and 7776 (5'-GCT CGC TCG
  with well-established methods (Martzen, et al. (1999) supra;        AGT CAC ATG CTG TCC TGC TGG GAC-3'; SEQ ID
  Phizicky, et al. (2002) Methods Enzymol. 350:546-559) at a          N0:33). The amplified fragment was digested with Ndel and
  0.5 liter culture scale for each of the 64 pools of90-96 protein    Xhol enzymes and cloned in plasmid pSGA04 for E. coli
  constructs. Ten percent of each pool preparation was assayed 55 expression. His-tagged enzymes were purified with Ni-NTA
  for Nrk activity in overnight incubations.                          agarose.


                                         SEQUENCE LISTING


    <160> NUMBER OF SEQ ID NOS, 34

    <210>   SEQ ID NO 1
    <211>   LENGTH, 1199
    <212>   TYPE, DNA
    <213>   ORGANISM: Saccharomyces cerevisiae
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  <400> SEQUENCE, 1

  tagcacctga gtatatatct gacataaaaa gatttctgaa gttatcgtca gataagaaga     60

  tggagtcaaa atgtaaacaa taactttaac ctatataaat tttcttacat ttgcttttaa    120

  atactcgaag atttgcattg aacgatcgtt gccgttgact catttgaaac agaaaaacaa    180

  tacacgcagg aaaggaacgg cagttggtct gagaaacaaa accaacttgc attttaggct    240

  gttccgatag tttatcagag taagggaaaa aatagcgtgc aaaagctatc gaagtgtgag    300

  ctagagtaga acctcaaaat atgacttcga aaaaagtgat attagttgca ttgagtggat    360

  gctcctccag tggtaagacg acaattgcga aacttacagc aagtttattc acgaaggcta    420

  cattaattca tgaagatgac ttttacaaac atgataatga agtgccagta gatgctaaat    480

  ataacattca aaattgggat tcgccagaag ctcttgattt taaacttttc ggtaaagaat    540

  tagatgtgat caaacaaact ggtaaaatag ccaccaaact tatacacaat aacaacgtag    600

  atgatccctt tacaaagttc cacattgata gacaagtttg ggacgagtta aaggctaagt    660

  atgactctat taatgacgac aaatatgaag ttgtaattgt agatgggttt atgattttca    720

  ataatactgg aatatcaaaa aaatttgatt tgaagatatt agtgcgtgct ccctatgaag    780

  tactaaaaaa aaggagggct tccagaaaag gataccagac tttggattct ttctgggtgg    840

  atccgccgta ttatttcgac gaatttgtgt atgaatctta tcgtgcaaat catgcgcagt    900

  tatttgttaa tggagacgta gaaggtttac tagacccaag gaagtcaaag aatataaaag    960

  agttcataaa tgatgatgac actccaattg cgaaaccttt aagctgggtg tgccaagaga   1020

  ttctaaagct ttgtaaggat taggaaagcg ccacaaaatc gatgagaagt ataaaaaaaa   1080

  aaaagtaaaa acaataaaaa taagaatgtg tacctcgata gataacttaa ataagacaat   1140

  ttcagaacca caatattgat aacaccatcc cgatttttga aattattttt ttggtgtaa    1199


  <210>   SEQ ID NO 2
  <211>   LENGTH, 1172
  <212>   TYPE, DNA
  <213>   ORGANISM, Homo sapiens

  <400> SEQUENCE, 2

  aaaggggcct ctggtgaccg cccctacctg gcatccctct aacccaggag gagcgtgggg     60

  aaaggggctg tgggcctctc ggggagcgag ctgcgggtag cggcgcactg ggtacaggcg    120

  cgcgcttggc tgtcgcctct tccgctgtgt ttgggaggac tcgaactggc gccaggaaat    180

  attaggaagc tgtgattttc aaagctaatt atgaaaacat ttatcattgg aatcagtggt    240

  gtgacaaaca gtggcaaaac aacactggct aagaatttgc agaaacacct cccaaattgc    300

  agtgtcatat ctcaggatga tttcttcaag ccagagtctg agatagagac agataaaaat    360

  ggatttttgc agtacgatgt gcttgaagca cttaacatgg aaaaaatgat gtcagccatt    420

  tcctgctgga tggaaagcgc aagacactct gtggtatcaa cagaccagga aagtgctgag    480

  gaaattccca ttttaatcat cgaaggtttt cttcttttta attataagcc ccttgacact    540

  atatggaata gaagctattt cctgactatt ccatatgaag aatgtaaaag gaggaggagt    600

  acaagggtct atcagcctcc agactctccg ggatactttg atggccatgt gtggcccatg    660

  tatctaaagt acagacaaga aatgcaggac atcacatggg aagttgtgta cctggatgga    720

  acaaaatctg aagaggacct ctttttgcaa gtatatgaag atctaataca agaactagca    780

  aagcaaaagt gtttgcaagt gacagcataa agacggaaca caacaaatcc ttcctgaagt    840

  gaattaggaa actccaagga gtaatttaag aaccttcacc aagatacaat gtatactgtg    900
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                                                -continued

  gtacaatgac agccattgtt tcatatgttt gatttttatt gcacatggtt ttcccaacat    960

  gtggaacaat aaatatccat gccaatggac aggactgtac cttagcaagt tgctccctct   1020

  ccagggagcg catagataca gcagagctca cagtgagtca gaaagtctcc actttctgaa   1080

  catagctcta taacaatgat tgtcaaactt ttctaactgg agctcagagt aagaaataaa   1140

  gattacatca caatccaaaa aaaaaaaaaa aa                                 1172


  <210> SEQ ID NO 3
  <211> LENGTH, 1134
  <212> TYPE, DNA
  <213> ORGANISM, Homo sapiens

  <400> SEQUENCE, 3

  aatcatcttg ttggccctga cctcgttgga aaacgaagct ccccgcaggg tcccggcctc     60

  tagggctgct gtgcgggcgg gggtggcctg gagctatttc cattcggcgg cgggaacagg    120

  tgccggcgcc tccgccccat ccccaggggc cgcctccccc ggggcggcct ccaggctgcc    180

  gagacctata aaggcgccag gttttctcaa tgaagccggg acgcactccg gagcgcactg    240

  cgtggtcgca ccctacccgg gctgccttgg aagtcgtccc cgccgcccct ccgcaccggc    300

  atgaagctca tcgtgggcat cggaggcatg accaacggcg gcaagaccac gctgaccaac    360

  agcctgctca gagccctgcc caactgctgc gtgatccatc aggatgactt cttcaagccc    420

  caagaccaaa tagcagttgg ggaagacggc ttcaaacagt gggacgtgct ggagtctctg    480

  gacatggagg ccatgctgga caccgtgcag gcctggctga gcagcccgca gaagtttgcc    540

  cgtgcccacg gggtcagcgt ccagccagag gcctcggaca cccacatcct cctcctggaa    600

  ggcttcctgc tctacagcta caagcccctg gtggacttgt acagccgccg gtacttcctg    660

  accgtcccgt atgaagagtg caagtggagg agaagtaccc gcaactacac agtccctgat    720

  ccccccggcc tcttcgatgg ccacgtgtgg cccatgtacc agaagtatag gcaggagatg    780

  gaggccaacg gtgtggaagt ggtctacctg gacggcatga agtcccgaga ggagctcttc    840

  cgtgaagtcc tggaagacat tcagaactcg ctgctgaacc gctcccagga atcagccccc    900

  tccccggctc gcccagccag gacacaggga cccggacgcg gatgcggcca cagaacggcc    960

  aggcctgcag cgtcccagca ggacagcatg tgagcgtttc cctatggggg tgtctgtacg   1020

  taggagagtg gaggccccac tcccagttgg gcgtcccgga gctcagggac tgagccccaa   1080

  gacgcctctg taacctcgct gcagcttcag tagtaaactg ggtcctgttt tttt         1134


  <210> SEQ ID NO 4
  <211> LENGTH, 240
  <212> TYPE, PRT
  <213> ORGANISM: Saccharomyces cerevisiae

  <400> SEQUENCE, 4

  Met Thr Ser Lys Lys Val Ile Leu Val Ala Leu Ser Gly Cys Ser Ser
  1               5                   10                  15

  Ser Gly Lys Thr Thr Ile Ala Lys Leu Thr Ala Ser Leu Phe Thr Lys
              20                  25                  30

  Ala Thr Leu Ile His Glu Asp Asp Phe Tyr Lys His Asp Asn Glu Val
          35                  40                  45

  Pro Val Asp Ala Lys Tyr Asn Ile Gln Asn Trp Asp Ser Pro Glu Ala
      50                  55                  60

  Leu Asp Phe Lys Leu Phe Gly Lys Glu Leu Asp Val Ile Lys Gln Thr
  65                  70                  75                  80
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                                                -continued
  Gly Lys Ile Ala Thr Lys Leu Ile His Asn Asn Asn Val Asp Asp Pro
                  85                  90                  95

  Phe Thr Lys Phe His Ile Asp Arg Gln Val Trp Asp Glu Leu Lys Ala
              100                 105                 110

  Lys Tyr Asp Ser Ile Asn Asp Asp Lys Tyr Glu Val Val Ile Val Asp
          115                 120                 125

  Gly Phe Met Ile Phe Asn Asn Thr Gly Ile Ser Lys Lys Phe Asp Leu
      130                 135                 140

  Lys Ile Leu Val Arg Ala Pro Tyr Glu Val Leu Lys Lys Arg Arg Ala
  145                 150                 155                 160

  Ser Arg Lys Gly Tyr Gln Thr Leu Asp Ser Phe Trp Val Asp Pro Pro
                  165                 170                 175

  Tyr Tyr Phe Asp Glu Phe Val Tyr Glu Ser Tyr Arg Ala Asn His Ala
              180                 185                 190

  Gln Leu Phe Val Asn Gly Asp Val Glu Gly Leu Leu Asp Pro Arg Lys
          195                 200                 205

  Ser Lys Asn Ile Lys Glu Phe Ile Asn Asp Asp Asp Thr Pro Ile Ala
      210                 215                 220

  Lys Pro Leu Ser Trp Val Cys Gln Glu Ile Leu Lys Leu Cys Lys Asp
  225                 230                 235                 240


  <210> SEQ ID NO 5
  <211> LENGTH, 199
  <212> TYPE, PRT
  <213> ORGANISM, Homo sapiens

  <400> SEQUENCE, 5

  Met Lys Thr Phe Ile Ile Gly Ile Ser Gly Val Thr Asn Ser Gly Lys
  1               5                   10                  15

  Thr Thr Leu Ala Lys Asn Leu Gln Lys His Leu Pro Asn Cys Ser Val
              20                  25                  30

  Ile Ser Gln Asp Asp Phe Phe Lys Pro Glu Ser Glu Ile Glu Thr Asp
          35                  40                  45

  Lys Asn Gly Phe Leu Gln Tyr Asp Val Leu Glu Ala Leu Asn Met Glu
      50                  55                  60

  Lys Met Met Ser Ala Ile Ser Cys Trp Met Glu Ser Ala Arg His Ser
  65                  70                  75                  80

  Val Val Ser Thr Asp Gln Glu Ser Ala Glu Glu Ile Pro Ile Leu Ile
                  85                  90                  95

  Ile Glu Gly Phe Leu Leu Phe Asn Tyr Lys Pro Leu Asp Thr Ile Trp
              100                 105                 110

  Asn Arg Ser Tyr Phe Leu Thr Ile Pro Tyr Glu Glu Cys Lys Arg Arg
          115                 120                 125

  Arg Ser Thr Arg Val Tyr Gln Pro Pro Asp Ser Pro Gly Tyr Phe Asp
      130                 135                 140

  Gly His Val Trp Pro Met Tyr Leu Lys Tyr Arg Gln Glu Met Gln Asp
  145                 150                 155                 160

  Ile Thr Trp Glu Val Val Tyr Leu Asp Gly Thr Lys Ser Glu Glu Asp
                  165                 170                 175

  Leu Phe Leu Gln Val Tyr Glu Asp Leu Ile Gln Glu Leu Ala Lys Gln
              180                 185                 190

  Lys Cys Leu Gln Val Thr Ala
          195


  <210> SEQ ID NO 6
  <211> LENGTH, 230
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                                                -continued
  <212> TYPE, PRT
  <213> ORGANISM, Homo sapiens

  <400> SEQUENCE,

  Met Lys Leu Ile Val Gly Ile Gly Gly Met Thr Asn Gly Gly Lys Thr
  1               5                   10                  15

  Thr Leu Thr Asn Ser Leu Leu Arg Ala Leu Pro Asn Cys Cys Val Ile
              20                  25                  30

  His Gln Asp Asp Phe Phe Lys Pro Gln Asp Gln Ile Ala Val Gly Glu
          35                  40                  45

  Asp Gly Phe Lys Gln Trp Asp Val Leu Glu Ser Leu Asp Met Glu Ala
      50                  55                  60

  Met Leu Asp Thr Val Gln Ala Trp Leu Ser Ser Pro Gln Lys Phe Ala
  65                  70                  75                  80

  Arg Ala His Gly Val Ser Val Gln Pro Glu Ala Ser Asp Thr His Ile
                  85                  90                  95

  Leu Leu Leu Glu Gly Phe Leu Leu Tyr Ser Tyr Lys Pro Leu Val Asp
              100                 105                 110

  Leu Tyr Ser Arg Arg Tyr Phe Leu Thr Val Pro Tyr Glu Glu Cys Lys
          115                 120                 125

  Trp Arg Arg Ser Thr Arg Asn Tyr Thr Val Pro Asp Pro Pro Gly Leu
      130                 135                 140

  Phe Asp Gly His Val Trp Pro Met Tyr Gln Lys Tyr Arg Gln Glu Met
  145                 150                 155                 160

  Glu Ala Asn Gly Val Glu Val Val Tyr Leu Asp Gly Met Lys Ser Arg
                  165                 170                 175

  Glu Glu Leu Phe Arg Glu Val Leu Glu Asp Ile Gln Asn Ser Leu Leu
              180                 185                 190

  Asn Arg Ser Gln Glu Ser Ala Pro Ser Pro Ala Arg Pro Ala Arg Thr
          195                 200                 205

  Gln Gly Pro Gly Arg Gly Cys Gly His Arg Thr Ala Arg Pro Ala Ala
      210                 215                 220

  Ser Gln Gln Asp Ser Met
  225                 230


  <210> SEQ ID NO 7
  <211> LENGTH, 229
  <212> TYPE, PRT
  <213> ORGANISM: Schizosaccharomyces pombe

  <400> SEQUENCE, 7

  Met Thr Arg Lys Thr Ile Ile Val Gly Val Ser Gly Ala Ser Cys Ser
  1               5                   10                  15

  Gly Lys Ser Thr Leu Cys Gln Leu Leu His Ala Ile Phe Glu Gly Ser
              20                  25                  30

  Ser Leu Val His Glu Asp Asp Phe Tyr Lys Thr Asp Ala Glu Ile Pro
          35                  40                  45

  Val Lys Asn Gly Ile Ala Asp Trp Asp Cys Gln Glu Ser Leu Asn Leu
      50                  55                  60

  Asp Ala Phe Leu Glu Asn Leu His Tyr Ile Arg Asp His Gly Val Leu
  65                  70                  75                  80

  Pro Thr His Leu Arg Asn Arg Glu Asn Lys Asn Val Ala Pro Glu Ala
                  85                  90                  95

  Leu Ile Glu Tyr Ala Asp Ile Ile Lys Glu Phe Lys Ala Pro Ala Ile
              100                 105                 110

  Pro Thr Leu Glu Gln His Leu Val Phe Val Asp Gly Phe Met Met Tyr
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                          43                                        44
                                                -continued
          115                  120                125

  Val Asn Glu Asp Leu Ile Asn Ala Phe Asp Ile Arg Leu Met Leu Val
      130                 135                 140

  Thr Asp Phe Asp Thr Leu Lys Arg Arg Arg Glu Ala Arg Thr Gly Tyr
  145                 150                 155                 160

  Ile Thr Leu Glu Gly Phe Trp Gln Asp Pro Pro His Tyr Phe Glu Asn
                  165                 170                 175

  Tyr Val Trp Pro Gly Tyr Val His Gly His Ser His Leu Phe Val Asn
              180                 185                 190

  Gly Asp Val Thr Gly Lys Leu Leu Asp Lys Arg Ile Gln Leu Ser Pro
          195                 200                 205

  Ser Ser Lys Met Ser Val Arg Asp Asn Val Gln Trp Ala Ile Asn Ser
      210                 215                 220

  Ile Leu Asn Ala Leu
  225


  <210> SEQ ID NO 8
  <211> LENGTH, 243
  <212> TYPE, PRT
  <213> ORGANISM: Saccharomyces cerevisiae

  <400> SEQUENCE, 8

  Thr Pro Tyr Ile Ile Gly Ile Gly Gly Ala Ser Gly Ser Gly Lys Thr
  1               5                   10                  15

  Ser Val Ala Ala Lys Ile Val Ser Ser Ile Asn Val Pro Trp Thr Val
              20                  25                  30

  Leu Ile Ser Leu Asp Asn Phe Tyr Asn Pro Leu Gly Pro Glu Asp Arg
          35                  40                  45

  Ala Arg Ala Phe Lys Asn Glu Tyr Asp Phe Asp Glu Pro Asn Ala Ile
      50                  55                  60

  Asn Leu Asp Leu Ala Tyr Lys Cys Ile Leu Asn Leu Lys Glu Gly Lys
  65                  70                  75                  80

  Arg Thr Asn Ile Pro Val Tyr Ser Phe Val His His Asn Arg Val Pro
                  85                  90                  95

  Asp Lys Asn Ile Val Ile Tyr Gly Ala Ser Val Val Val Ile Glu Gly
              100                 105                 110

  Ile Tyr Ala Leu Tyr Asp Arg Arg Leu Leu Asp Leu Met Asp Leu Lys
          115                 120                 125

  Ile Tyr Val Asp Ala Asp Leu Asp Val Cys Leu Ala Arg Arg Leu Ser
      130                 135                 140

  Arg Asp Ile Val Ser Arg Gly Arg Asp Leu Asp Gly Cys Ile Gln Gln
  145                 150                 155                 160

  Trp Glu Lys Phe Val Lys Pro Asn Ala Val Lys Phe Val Lys Pro Thr
                  165                 170                 175

  Met Lys Asn Ala Asp Ala Ile Ile Pro Ser Met Ser Asp Asn Ala Thr
              180                 185                 190

  Ala Val Asn Leu Ile Ile Asn His Ile Lys Ser Lys Leu Glu Leu Lys
          195                 200                 205

  Ser Asn Glu His Leu Arg Glu Leu Ile Lys Leu Gly Ser Ser Pro Ser
      210                 215                 220

  Gln Asp Val Leu Asn Arg Asn Ile Ile His Glu Leu Pro Pro Thr Asn
  225                 230                 235                 240

  Gln Val Leu


  <210> SEQ ID NO 9
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                          45                                               46
                                                -continued
  <211> LENGTH, 232
  <212> TYPE, PRT
  <213> ORGANISM, Escherichia coli

  <400> SEQUENCE, 9

  Gln Thr Leu Met Thr Pro Tyr Leu Gln Phe Asp Arg Asn Gln Trp Ala
  1               5                   10                  15

  Ala Leu Arg Asp Ser Val Pro Met Thr Leu Ser Glu Asp Glu Ile Ala
              20                  25                  30

  Arg Leu Lys Gly Ile Asn Glu Asp Leu Ser Leu Glu Glu Val Ala Glu
          35                  40                  45

  Ile Tyr Leu Pro Leu Ser Arg Leu Leu Asn Phe Tyr Ile Ser Ser Asn
      50                  55                  60

  Leu Arg Arg Gln Ala Val Leu Glu Gln Phe Leu Gly Thr Asn Gly Gln
  65                  70                  75                  80

  Arg Ile Pro Tyr Ile Ile Ser Ile Ala Gly Ser Val Ala Val Gly Lys
                  85                  90                  95

  Ser Thr Thr Ala Arg Val Leu Gln Ala Leu Leu Ser Arg Trp Pro Glu
              100                 105                 110

  His Arg Arg Val Glu Leu Ile Thr Thr Asp Gly Phe Leu His Pro Asn
          115                 120                 125

  Gln Val Leu Lys Glu Arg Gly Leu Met Lys Lys Lys Gly Phe Pro Glu
      130                 135                 140

  Ser Tyr Asp Met His Arg Leu Val Lys Phe Val Ser Asp Leu Lys Ser
  145                 150                 155                 160

  Gly Val Pro Asn Val Thr Ala Pro Val Tyr Ser His Leu Ile Tyr Asp
                  165                 170                 175

  Val Ile Pro Asp Gly Asp Lys Thr Val Val Gln Pro Asp Ile Leu Ile
              180                 185                 190

  Leu Glu Gly Leu Asn Val Leu Gln Ser Gly Met Asp Tyr Pro His Asp
          195                 200                 205

  Pro His His Val Phe Val Ser Asp Phe Val Asp Phe Ser Ile Tyr Val
      210                 215                 220

  Asp Ala Pro Glu Asp Leu Leu Gln
  225                 230


  <210> SEQ ID NO 10
  <211> LENGTH, 71
  <212> TYPE, DNA
  <213> ORGANISM, Artificial Sequence
  <220> FEATURE,
  <223> OTHER INFORMATION, Synthetic primer

  <400> SEQUENCE, 10

  ctatttagag taaggatatt ttttcggaag ggtaagaggg accaacttct tctgtgcggt   60

  atttcacacc g                                                        71



  <210> SEQ ID NO 11
  <211> LENGTH, 70
  <212> TYPE, DNA
  <213> ORGANISM, Artificial Sequence
  <220> FEATURE,
  <223> OTHER INFORMATION, Synthetic primer

  <400> SEQUENCE, 11

  atgaccgcac cattggtagt attgggtaac ccacttttag atttccaagc agattgtact   60

  gagagtgcac                                                          70
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                             47                                            48
                                                -continued
  <210> SEQ ID NO 12
  <211> LENGTH, 22
  <212> TYPE, DNA
  <213> ORGANISM, Artificial Sequence
  <220> FEATURE,
  <223> OTHER INFORMATION, Synthetic primer

  <400> SEQUENCE, 12

  aagctagagg gaacacgtag ag                                            22


  <210> SEQ ID NO 13
  <211> LENGTH, 22
  <212> TYPE, DNA
  <213> ORGANISM, Artificial Sequence
  <220> FEATURE,
  <223> OTHER INFORMATION, Synthetic primer

  <400> SEQUENCE, 13

  ttatcttgtg cagggtagaa cc                                            22


  <210> SEQ ID NO 14
  <211> LENGTH, 70
  <212> TYPE, DNA
  <213> ORGANISM, Artificial Sequence
  <220> FEATURE,
  <223> OTHER INFORMATION, Synthetic primer

  <400> SEQUENCE, 14

  cgatcttcat catttatttc aattttagac gatgaaacaa gagacacatt agattgtact   60

  gagagtgcac                                                          70


  <210> SEQ ID NO 15
  <211> LENGTH, 70
  <212> TYPE, DNA
  <213> ORGANISM, Artificial Sequence
  <220> FEATURE,
  <223> OTHER INFORMATION, Synthetic primer

  <400> SEQUENCE, 15

  aaaatacttt gaatcaaaaa atctggtcaa tgcccatttg tattgatgat ctgtgcggta   60

  tttcacaccg                                                          70



  <210> SEQ ID NO 16
  <211> LENGTH, 24
  <212> TYPE, DNA
  <213> ORGANISM, Artificial Sequence
  <220> FEATURE,
  <223> OTHER INFORMATION, Synthetic primer

  <400> SEQUENCE, 16

  atgtcccatc gtatagcacc ttcc                                          24


  <210> SEQ ID NO 17
  <211> LENGTH, 26
  <212> TYPE, DNA
  <213> ORGANISM, Artificial Sequence
  <220> FEATURE,
  <223> OTHER INFORMATION, Synthetic primer

  <400> SEQUENCE, 17

  gcctctaatt attctcaatc acaacc                                        26


  <210> SEQ ID NO 18
  <211> LENGTH, 70
  <212> TYPE, DNA
  <213> ORGANISM, Artificial Sequence
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                                                -continued
  <220> FEATURE,
  <223> OTHER INFORMATION, Synthetic primer

  <400> SEQUENCE, 18

  aaactttcag ggctaaccac ttcgaaacac atgctggtgg taagggattg agattgtact   60

  gagagtgcac                                                          70


  <210> SEQ ID NO 19
  <211> LENGTH, 70
  <212> TYPE, DNA
  <213> ORGANISM, Artificial Sequence
  <220> FEATURE,
  <223> OTHER INFORMATION, Synthetic primer

  <400> SEQUENCE, 19

  gaacagaaaa gcacccctct cgaacccaaa gtcataacca caattcctct ctgtgcggta   60

  tttcacaccg                                                          70



  <210> SEQ ID NO 20
  <211> LENGTH, 23
  <212> TYPE, DNA
  <213> ORGANISM, Artificial Sequence
  <220> FEATURE,
  <223> OTHER INFORMATION, Synthetic primer

  <400> SEQUENCE, 20

  ggatagatta cctaacgctg gag                                           23


  <210> SEQ ID NO 21
  <211> LENGTH, 22
  <212> TYPE, DNA
  <213> ORGANISM, Artificial Sequence
  <220> FEATURE,
  <223> OTHER INFORMATION, Synthetic primer

  <400> SEQUENCE, 21

  ttgtacttca gggctttcgt gc                                            22


  <210> SEQ ID NO 22
  <211> LENGTH, 70
  <212> TYPE, DNA
  <213> ORGANISM, Artificial Sequence
  <220> FEATURE,
  <223> OTHER INFORMATION, Synthetic primer

  <400> SEQUENCE, 22

  aatagcgtgc aaaagctatc gaagtgtgag ctagagtaga acctcaaaat agattgtact   60

  gagagtgcac                                                          70


  <210> SEQ ID NO 23
  <211> LENGTH, 69
  <212> TYPE, DNA
  <213> ORGANISM, Artificial Sequence
  <220> FEATURE,
  <223> OTHER INFORMATION, Synthetic primer

  <400> SEQUENCE, 23

  ctaatcctta caaagcttta gaatctcttg gcacacccag cttaaaggtc tgtgcggtat   60

  ttcacaccg                                                           69



  <210> SEQ ID NO 24
  <211> LENGTH, 24
  <212> TYPE, DNA
  <213> ORGANISM, Artificial Sequence
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                                                  -continued
  <220> FEATURE,
  <223> OTHER INFORMATION, Synthetic primer

  <400> SEQUENCE, 24

  accaacttgc attttaggct gttc                                          24


  <210> SEQ ID NO 25
  <211> LENGTH, 26
  <212> TYPE, DNA
  <213> ORGANISM, Artificial Sequence
  <220> FEATURE,
  <223> OTHER INFORMATION, Synthetic primer

  <400> SEQUENCE, 25

  taagttatct atcgaggtac acattc                                        26


  <210> SEQ ID NO 26
  <211> LENGTH, 39
  <212> TYPE, DNA
  <213> ORGANISM, Artificial Sequence
  <220> FEATURE,
  <223> OTHER INFORMATION, Synthetic primer

  <400> SEQUENCE, 26

  cgctgcacat atgacttcga aaaaagtgat attagttgc                          39


  <210> SEQ ID NO 27
  <211> LENGTH, 41
  <212> TYPE, DNA
  <213> ORGANISM, Artificial Sequence
  <220> FEATURE,
  <223> OTHER INFORMATION, Synthetic primer

  <400> SEQUENCE, 27

  ccgtctcgag ctaatcctta caaagcttta gaatctcttg g                       41


  <210> SEQ ID NO 28
  <211> LENGTH, 63
  <212> TYPE, DNA
  <213> ORGANISM, Artificial Sequence
  <220> FEATURE,
  <223> OTHER INFORMATION, Synthetic primer

  <400> SEQUENCE, 28

  ccggcccatg gcgcaccacc atcaccacca tcatatgaaa acatttatca ttggaatcag   60

  tgg                                                                 63


  <210> SEQ ID NO 29
  <211> LENGTH, 38
  <212> TYPE, DNA
  <213> ORGANISM, Artificial Sequence
  <220> FEATURE,
  <223> OTHER INFORMATION, Synthetic primer

  <400> SEQUENCE, 29

  gcggggatcc ttatgctgtc acttgcaaac acttttgc                           38


  <210> SEQ ID NO 30
  <211> LENGTH, 39
  <212> TYPE, DNA
  <213> ORGANISM, Artificial Sequence
  <220> FEATURE,
  <223> OTHER INFORMATION, Synthetic primer

  <400> SEQUENCE, 30

  ccgcggatcc atgaaaacat ttatcattgg aatcagtgg                          39
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  <210>   SEQ ID NO 31
  <211>   LENGTH,
          LENGTH   34
  <212>   TYPE,
          TYPE   DNA
  <213>   ORGANISM,
          ORGANISM    Artificial Sequence
  <220>   FEATURE,
          FEATURE
  <223>   OTHER INFORMATION,
                 INFORMATION   Synthetic primer

  <400> SEQUENCE,
        SEQUENCE  31

  gccgctcgag ttatgctgtc acttgcaaac actt                                                34


  <210>   SEQ ID NO 32
  <211>   LENGTH,
          LENGTH   31
  <212>   TYPE,
          TYPE   DNA
  <213>   ORGANISM,
          ORGANISM    Artificial Sequence
  <220>   FEATURE,
          FEATURE
  <223>   OTHER INFORMATION,
                 INFORMATION   Synthetic primer

  <400> SEQUENCE,
        SEQUENCE  32

  ggcaggcata tgaagctcat cgtgggcatc gg                                                  31


  <210>   SEQ ID NO 33
  <211>   LENGTH,
          LENGTH   33
  <212>   TYPE,
          TYPE   DNA
  <213>   ORGANISM,
          ORGANISM    Artificial Sequence
  <220>   FEATURE,
          FEATURE
  <223>   OTHER INFORMATION,
                 INFORMATION   Synthetic primer

  <400> SEQUENCE,
        SEQUENCE  33

  gctcgctcga gtcacatgct gtcctgctgg gac                                                 33


  <210> SEQ ID NO 34
  <211> LENGTH,
        LENGTH   99
  <212> TYPE,
        TYPE   PRT
  <213> ORGANISM,
        ORGANISM    Artificial Sequence
  <220> FEATURE,
        FEATURE
  <223>        INFORMATION
        OTHER INFORMATION:     Eukaryotic nicotinamide riboside kinase
        consensus sequence
  <220> FEATURE,
        FEATURE
  <221> NAME/KEY
        NAME/KEY, MISC_FEATURE
  <222> LOCATION,
        LOCATION    (1) .. (2)
               INFORMATION
  <223> OTHER INFORMATION:     "Xaa" denotes an aliphatic amino acid residue
  <220> FEATURE,
        FEATURE
  <221> NAME/KEY
        NAME/KEY, MISC_FEATURE
  <222> LOCATION,
        LOCATION    (3) .. (3)
  <223> OTHER INFORMATION,
               INFORMATION     "Xaa" denotes His or Ser
  <220> FEATURE,
        FEATURE
  <221> NAME/KEY
        NAME/KEY, MISC_FEATURE
  <222> LOCATION,
        LOCATION    (4) .. (4)
  <223> OTHER INFORMATION,
               INFORMATION     "Xaa" denotes aa hydrophilic amino acid residue
  <220> FEATURE,
        FEATURE
  <221> NAME/KEY
        NAME/KEY, MISC_FEATURE
  <222> LOCATION,
        LOCATION    () .. (8)
                    (8)    ()
               INFORMATION
  <223> OTHER INFORMATION:     "Xaa" denotes an aromatic amino acid residue

  <400> SEQUENCE,
        SEQUENCE  34

  Xaa Xaa Xaa Xaa Asp Asp Phe Xaa Lys
  11              55




     What is claimed is:                                              sition is formulated for oral administration and increases
                                                                      s1t10n
     1. A composition comprising isolated nicotinamide ribo-
     1.                                                               NAD+ biosynthesis upon oral administration.
                                          of tryptophan, nicotinic 60
  side in combination with one or more oftryptophan,                     2. The composition of claim 1,
                                                                         2.                            1, wherein the nicotinamide
  acid, or nicotinamide, wherein said combination is in admix-        riboside is isolated from aanatural or synthetic source.
  ture with aacarrier comprising aasugar, starch, cellulose, pow-        3. The composition of claim 1, wherein the formulation
  dered tragacanth, malt, gelatin, talc, cocoa butter, suppository    comprises aatablet, troche, capsule, elixir, suspension, syrup,
  wax, oil, glycol, polyol, ester, agar, buffering agent, alginic     wafer, chewing gum, or food.
  acid, isotonic saline, Ringer's solution, ethyl alcohol, poly- 65
  ester, polycarbonate, or polyanhydride, wherein said compo-                                 * * * * *
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                        EXHIBIT B
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    (12
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           Brenner                                                                      (45) Date of Patent:                               *F eb. 26,2013
                                                                                                                                           *Feb.  26, 2013


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                            "Eukaryotic NAD+   Synthetase Qnsl
                                         NAD+ Synthetase   Qns tContains
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                                                       Thiol       Gtutansine
                                                                   Glutamine
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               Hsapi Nrkl    MKTFIIGISGVTNSGKTTLAKNLQKHLPN --- CSVISQDDFFKPES-EIETD-KNGFLQYDVL
                             MKTF11G1SGVTNSGKTTLAKNLQKHLPN---CSV1SQDDFFKPES-E1ETD-KNGFLQYDVL
               Hsap±Nrk2
               Hsapi-Nrk2    MK-LIVGI GGNTNGGKTTLTNSLLPALPN--- CCVIHQDDFFKPQD-QIAVG-EDGFKQWDVL
                             MK-L1VG1GGMTNGGKTTLTNSLLRALPN---CCV1HQDDFFKPQD-QIAVG-EDGFKQWDVL
               Scere-Nrkl MTSKKVILVALSGCSSSGKTTIAKLTASLFTK
               ScereNrk1 MTSKKVILVALSGCSSSGKT               --- ATLIHEDDFYKHDN--EVPVDAKYNIQNWDSP
                                               TIAKL TASLFTK---ATLIHEDDFYKHDN-EVPVDAKYN1QNWDSP
               Spomb-Nrkl MT-RKTIIVGVSGASCSGKSTLCQLLHAIFEG --- SSLVHEDDFYKTDA--EIPV--KNGIADWDCQ
               SpombThrkl MT-RKT1IVGVSGASCSGKSTLCQLLHAIFEG---SSLVHEDDFYKTDA-E1PV--KNGIADWDCQ
               ScereUrk1      TPYIIGIGGASGSGKTSVAKIVSS INVP-WTVLI SLDNFYNPLGPEDRARFKNEYDFDEP
                                                                                                        JU1d




               Scere-Urkl     TPYIIGIGGASGSGKTSVAAKIVSS1NVP-WTVLISLDNFYNPLGPEDRARAFKNEYDFDEP
               Ecoli-panK
               EcolipanK      QTLMTPYLQFDRNQWAALRDSVPMTLSEDEIARLKGINEDLSLEEVAEIYLPLSRLLNFYIS


               Hsapi Nrkl                         -
                              EALNMEKMIVISAISCWMES -- ARHSVVSTDQES
                              EALNMEKMMSA1SCWMES---ARHSVVSTDQES------                        AEEIPIL
                                                                        - ----------------AEE1P1L
               HsapiThrk2
               HsapilJrk2     ESLDMELDTVQAWLSS EQKFARAMGVSVQPE
                              ESLDMEAMLDTVQAWLSSPQKFARAHGVSVQPE-----------                   ASDTHIL
                                                                                  ---------ASDTHIL
               ScereThrkl
               Scere-Nrkl     EALDFKLFGKELDVIKQTGKIATKLIHNNVDDP FTKFHI DRQVWDELKAKYDS INDDKYEVV
                              EALDFKLFGKELDVIKQTGKIATKLIHNNNVDDPFTKFHIDRQVWDELKAKYDSI       NDDKYEVV
               SpombThrkl
               SpomblJrkl     ESLNLDAFLENLHYIRDHGVLPTHLRNRENKNVAPEALIEYADI IKEFKAP--AIPTLEQHLV
                              ESLNLDAFLENLHYIRDHGVLPTHLRNRENKNVAPEALIEYADI1KEFKAP--AIPTLEQHLV
               ScereUrk1
               Scere-Urkl     NAINLDLAYKCILNLKEGKRTNIPVYSFVHI-INRVPDK                     NIVIYGASVV
                              NA1NLDLAYKCILNLKEGKRTN1PVYSFVHHNRVPDK----------------N1V1YGASVV
               EcolipanK
               Ecoli-panK     SNLRRQAVLEQF'LGTNGQRIPYII STAGS VAVGKSTTARVLQALLSR          WPEHRRVELI
                              SNLRRQAVLEQFLGTNGQR1PY11S1AGSVAVGKSTTARVLQALLSR------WPEHRRVEL1
               Hsapi Nrkl     IIEGFLLFNYKPLDTIWNRSYFLTIPYEECKRRRSTR-VYQPPD
                              11EGFLLFNYKPLDTIWNRSYFLT1PYEECKRRRSTR-VYQ              SPGYFDGHVWPMYL
                                                                           PPD-----SPGYFDGHVWPMYL
               HsapiThrk2
               Hsapi-Nrk2     LLEGFLLYSYKPLVDLYSRRYFLTVPYEECKWRRSTR-NYTVPD---PPGLFDGHVWPMYQKYR
               ScereThrkl
               Scere-Nrkl     IVDGFMIFNNTGISKKFDLKILVRPYEVLKKRRASRKGYQTLDS      FWVDPPYYFDEFVYESYR
                              IVDGFM1FNNTG1SKKFDLK1LVRAPYEVLKKRRASRKGYQTLDSFWVDPPYYFDEFVYESYR
               SpombNrk1
               Spomb-Nrkl     FVDGFMMYVNEDLINAFDI RLML VT DFDTLKRRREARTGYI TLEGFWQDPPHYFENYVWPGYV
                              FVDGFMMYVNEDL1NAFD1RLMLVTDFDTLKRRREARTGYITLEGFWQDPPHYFENYVWPGYV
                                                                                                                                                            12540




               Scere-Urkl
               ScereUrk1      VIEGIYALYDRRLLDLMDLKIYVDADLDVCLARRLSR-DIVSRGRDLDGCIQQWEKFVKPNAV
                              VIEG1YALYDRRLLDLMDLK1YVDADLDVCLARRLSR-D1VSRGRDLDGC1QQWEKFVKPNAV
               Eco1ipanK
               Ecoli-panK     TTDGFLHPNQVLKERGLMKKKGFPESYDMHRLVKFVS---DLKSGVPNVTAPVYSHLIYDVIP
               Hsapi Nrkl     KYRQEMQDITWEVVY-LDGTKSEEDLFLQVYEDLIQELAKQK
                              KYRQEMQD1TWEVVY-LDGTKSEEDLFLQVYEDLIQELAKQK------------          CL
                                                                                      -------CL
               HsapiNrk2
               HsapilJrk2     QEMEANGVEVVYLDGMKSREELFREVLEDIQNSLLNRSQESAPSPARPARTQGPGRGCGHRTA
               ScereThrkl
               Scere-Nrkl     ANHAQLFVNGDVEG- -LLDPRKSKNIKE E'INDDDTPIAKPLS                 WVCQ
                              ANHAQLFVNGDVEG--LLDPRKSKNIKEF1NDDDTPIAKPLS-----------------WVCQ
               SpornbNrk1
               Spomb-Nrkl     HGHSHLFVNGDVTGK-LLDKR      IQLS PS SKMSVRDNVQ                 WAIN
                              HGHSHLFVNGDVTGK-LLDKR-----1QLSPSSKMSVRDNVQ-----------------WAIN
               Scere-Urkl
               Sceretirkl     KFVKPTMKNADAIIPSMSDNATAVNLIINHIKSKLELKSNEHLRELIKLGSSPSQDVLNRNII
               E001 ip
               Ecoli   anK
                     panK     DGIJKTVVQPDILILEGLNVLQSGMDYPHDPHHVFVS  DFVDFS
                              DGDKTVVQPDILILEGLNVLQSGMDYPHDPHHVFVSDFVDFS-   ------------------1I
               Hsapi
               Hsap i Nrkl    QVTA
               HsapiThrk2
               Hsap i lJrk2   RPASQQDSN
                              RPAASQQDSM
               ScereNrk1
               Scere-Nrkl     EILKLCKD
               SpombNrkl
               Spomb-Nrkl     SILNAL
                              S1LNAL
               Scere-Urkl
               SoereUrk1      HELP PTNQVL
                              HELPPTNQVL
               EcolipanK
               Ecoli-panK     YVDAPE DLLQ
                              YVDAPEDLLQ
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                                    1I                                                                                 22
             NICOTINAMIDE RIBOSIDE KINASE                                  204:1169-1170).
                                                                           204:               Sirtuin enzymes such as Sir2 of S. cerevi-
                                                                                 1169-1170). Sirtnin
                                       FOR
            COMPOSITIONS AND METHODS F'OR                                  sloe          homologs
                                                                           siae and its homo                                             con-
                                                                                               logs deacetylate lysine residues with COIl-
                    USENG TilE
                    USING THE SAME                                         sumption of an equivalent of NAD+ and this activity is
                                                                           required for Sir2 function as aatranscriptional silencer (Imai,
                            INTRODUCTION                                 5 et al. (2000) Cold Spring Harb. Symp. Quant. BioI. Bin!. 65:297-
                                                                           302). NAIY-dependent
                                                                                  NADtdependent deacetylation reactions are required

       This application is a
       111is                 acontinuation of U.S. patent applica-         not only for alterations in gene expression but also for repres-
               No, 11/912,400
    tion Ser. No.    11/912.400 filed Nov. 20, 2007 now U.S. Pat.          sion of ribosomal DNA recombination and extension of
    No. 8,197,807, which is the National Stage ofInternational
                                                     of International                                                             al. (2000)
                                                                           lifespan in response to calorie restriction (Lin, et a1.
                                                                        10
                         PCT/US2006/015495 filed Apr. 20, 2006, 10
    Application No. PCTlUS2006/015495                                      Science 289:2126-2128; Lin, et al. (2002) Nature 418:344-
    which claims benefit of ofpriority
                              priority to U.S. patent application Ser.     348). NAD+ is consumed by Sir2 to produce a     amixture of2'-
                                                                                                                                        of 2'-
          11/113,701 filed
    No. 111113,701     filedApr.     2005. the teachings ofwhich are
                            Apr. 25, 2005,                                          0-acetylated ADP-ribose plus nicotinamide and the
                                                                           and 3' O-acetylated
    incorporated herein by reference in their entireties.                                              (Sauve. et a!.
                                                                           deacetylated polypeptide (Sauve,       al. (2001) Biochemistry
       'Ibis invention was made with govemment
       'I11is                             government support under
                                                                        15 40:15456-15463). Additional enzymes, including poly(AD-
            nsuuber CA77738 awarded by the National Cancer 15
    grant number                                                           Pribose) polymerases and cADPribose synthases are also
                     government has certain rights in the invention.
    Institute. The govemment
                                                                           NADtdependent
                                                                           NAD+                             nicotinaniide andADPribosyl
                                                                                   -dependent and produce nicotinamide
                                                                                                               Biochein. 267:1550-1564;
                                                                           products (Ziegler (2000) Eur. J. Biochem.
               BACKGROUND OF TI-IE      THE INVENTION
                                                                           Burkle (2001) Bioessays 23  23:795-806).
                                                                                                         :795-806).
                                                          niaeins, are 20
       Nicotinic acid and nicotinamide, collectively niacins,           20    The non-coenzymatic properties of NAD+ has renewed
    the vitamin forms of nicotinamide adenine dinucleotide                             NAD+biosynthesis.
                                                                           interest in NAD+   biosynthesis. Four recent publications have
    (NAD+). Eukaryotes can synthesize NAD+ de novo via the                 suggested what is considered to be all of the gene products
    kynurenine pathway from tryptophan (Krehl, et al. (1945)               and pathways to NAD+ in S. cerevisiae (Panozzo, et a1.          al.
              101:489-490;
    Science 101                                        (1972)1..
                   :489-490; Schutz and Feigelson (1972)          Bin!.
                                                               J. Bioi.    (2002) FEBS Lett. 517:97-102; Sandmeier, et        ci al. (2002)
    C/win, 247:5327-5332) and niacin supplementation prevents 25
    Chem.                                                               25 Genetics 160:877-889; Bitterman, et a1.al. (2002)J.
                                                                                                                      (2002 )J. Bioi.
                                                                                                                                Bin!. Chem.
    the pellagra that can occur in populations with aatryptophan-          277:45099-45107; Anderson, et al. (2003) Nature 423:181-
    poor diet. It is well-established that nicotinic acid is phospho-      185) depicting convergence of ofthe                 fronide
                                                                                                           the flux to NAD+ from     de novo
    ribosylated to nicotinic acid mononucleotide (NaMN), which             synthesis, nicotinic acid import, and nicotinamide
                                                                                                                   nicotinaniidc salvage at
    is then adenylylated to form nicotinic acid adenine dinucle-           NaMN (Scheme 1).   I).


                                                                                           Scheme 1




                              DENOVO
                                Bnal-6
                                    __   . d'o d'o
                                               Ne
                                               N+
                                                I
                                                         0




                                                                     (
                                                                     T\
                                                                     ATP
                                                                     ATP
                                                                        Ninal,2
                                                                        N=U


                                                                                  PP
                                                                                  PPi
                                                                                             N
                                                                                             N+
                                                                                             I
                                                                                               -
                                                                                                         0




                                                                                                                 T\
                                                                                                                   Qnsi




                                                                                                                 ATP      ATP
                                                                                                                                     N+
                                                                                                                                     I
                                                                                                                                                  0



                                                                                                                                                          NH,




                                            Prbo                                        ADPrbo                   GIn      PPi ADPrho
                                                                                                                          PP, ADPrbo
                                                        N
                                                     NaMN                                        NaAD±
                                                                                                 NaAD+                    GIn        NAD±
                                                                                                                                     NAD+


                                               PP1                                                                                          LysAc
                                               PPi) SALVAGE
                                                                                                                                           Sir2
                                                            Npt
                                                            Npll1
                                           PrhoPP
                                           PrboPP                                                                                              Lys +
                                                                                                                                                   + ADPrboAc




                                                    d'o                                                                                   o0
                                                                 0




                                                       N+
                                                       H
                                                                                              NH4
                                                                                                   Pnc 1



                                                                                                         Fl-,O
                                                                                                                            lY  N+
                                                                                                                                H
                                                                                                                                H
                                                                                                                                      de
                                                                                                                            nicotinamide
                                                                                                                                                  NH
                                                                                                                                                      '



                                                       Nicotinic
                                                       Nicotinic acid




                                                                Plasma membrane




                                                                  U              SUMMARY OF THE INVENTION
    otide (NaAD), which in turn is amidated to form NAD+ 60      6               SUMMi\RY
                         (1958)1.
    (Preiss and Handler (1958)     Bin!. Chem. 233:488-492; Pre-
                                J. BioI.
    ins and Handler (1958b)
    iss              (1958b)J.  Bin!. Cheln.
                             J. BioI. Chem. 233:493-50).                                            nicotinsimide riboside,
                                                                       It has now been shown that nicotinamide    rihoside, which
       NAD+ was initially characterized as aaco-enzyme for oxi-     was known to be an NAD+ precursor in bacteria such as
                   Though conversions between NAD+,
    doreductases. 11lOUgh                        NAD+. NADH,
                                                        NADI-1,     Haesnophi/us influenza (Gingrich and Schlenk (1944)
                                                                    Haemophilus                                     (1944)1  J. Bac-
    NADP and NADPH would not be accompanied by aaloss of 655 teriol.term!. 47:535-550; Leder and Handler (1951)
                                                                                                            (1951)J.   Bird. Chem.
                                                                                                                    J. Bioi.
                                                         turned
    total co-enzyme, it was discovered that NAD+ is also mmed                                    Biherstein (1960) Nature 187:
                                                                    189:889-899; Shifrine and Biberstein
    over in cells for unknown purposes (Maayan (1964) Nature                                   of the de novo and Preiss-Handler
                                                                    623) that lack the enzymes ofthe




                                                                                                                                                          CDXDE 000000034
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                                                            US 8,383,086 B2
                                    33                                                                      4
                                                                                                            4
                  (Fleischmann. et
    pathways (Fleischmann,        etal.
                                     al. (1995) Science 269:496-512),         The present invention is further aamethod for identifying aa
                    precursor in a
    is an NAD+ precnrsor         apreviously unknown but conserved                                 source for nicotinamide riboside. The
                                                                          natural or synthetic sonrce
    eukaryotic NAD+ biosynthetic pathway. Yeast nicotinamide              method involves contacting aa first cell lacking aafunctional
    riboside kinase, Nrkl, and human Nrk enzymes with specific             glutamine-dependent NAD+ synthetase with an isolated
    functions in NAD+ metabolism are provided herein. The                 extract from aanatural sonrce
                                                                                                   source or synthetic; contacting a   asecond
    specificity of these enzymes indicates that they are the long-        cell lacking functional glutamine-dependent NAD+ syn-
    sought tiazofurin kinases that perform the first step in con-         thetase and nicotinamide riboside kinase with the isolated
    verting cancer drugs such as tiazofurin and benzamide ribo-            extract: and detecting growth ofthe
                                                                          extract;                          of the first cell compared to the

    side and their analogs into toxic NAD+ analogs. Further,              growth of the second cell, wherein the presence of growth in
    yeast mutants of defined genotype were used to identify 10 the first cell and absence of growth in the second cell is
                                                                       10


     sources of nicotinamide riboside and it is shown that milk is
    sonrces                                                                indicative of the presence of nicotinamide riboside in the
                                                                          isolated extract. In one embodiment, the natural source is
    aasonrce
       source of nicotinamide
                   nicotinanude riboside.
                                                                          cow's milk.
        Accordingly, the present invention is an isolated nucleic
                                                                              Further, the present invention is aadietary supplement com- cons-
    acid encoding aa eukaryotic nicotinamide riboside kinase 15 position containing nicotinamide riboside identified in accor-
    polypeptide. A eukaryotic nicotinamide riboside kinase
                                                                          dance with the methods of the present invention and aacarrier.
    nucleic acid encompasses (a) aanucleotide sequence of SEQ                 Moreover, the present invention is a  amethod for preventing
         NO: I, SEQ ID NO:2 or SEQ ID
    ID NO:l,                                !D NO:3;
                                               NO:3: (b) aanucleotide
                                                                          or treating aadisease or condition associated with the nicoti-
     sequence that hybridizes to a   anucleotide sequence of SEQ ID !D    namide riboside kinase pathway ofNAD+ of NAD+ biosynthesis. The
    NO: I, 1, SEQ ID NO:2 or SEQ ID NO:3 or its complementary 20       20 method involves administering to a    apatient having a   adisease or
    nucleotide sequence under stringent conditions, wherein said          condition associated with the nicotinamide riboside kinase
    nucleotide sequence encodes aafunctional nicotinamide ribo-           pathway of NAD+ biosynthesis an eflective   effective amount of a   a
    side kinase polypeptide; or (c) aanucleotide sequence encod-          nicotinamide riboside composition so that the signs or symp-
    ing an amino acid sequence encoded by the nucleotide                  toms of the disease or condition are prevented or reduced. In
    sequences of (a) or (b), but which has aadifferent nucleotide 25   25 one embodiment, the nicotinamide riboside is neuroprotec-
    sequence than the nucleotide sequences of (a) or (b) due to the       tive. In another embodiment the nicotinamide riboside is
    degeneracy of the genetic code or the presence of non-trans-           anti-fl.ingal. In a
                                                                          anti-fungal.       afurther embodiment, the nicotinamide ribo-
    lated nucleotide sequences.                                            side is administered in combination with tryptophan, nico-
        The present invention is also an expression vector contain-       tinic acid or nicotinamide.
    ing an isolated nucleic acid encoding aaeukaryotic nicotina- 30           The present invention is also an in vitro method for iden-
    mide riboside kinase polypeptide. In one embodiment, the               tifying a
                                                                          tifYing   anicotinamide
                                                                                      nicotinanude riboside-related prodrug.
                                                                                                                        prodnig. The method
    expression vector is part of aacomposition containing aaphar-         involves contacting aanicotinamide riboside kinase polypep-
    maceutically acceptable carrier. In another embodiment, the           tide with aanicotinamide
                                                                                        nicolinamide riboside-related test agent and deter-
     composition nlrther
                     further contains a aprodrug wherein the prodrug      mining whether said test agent is phosphorylated by said
    is aanicotinamide
          nicotinaiuide riboside-related analog that is phosphory- 35 nicotinamide riboside kinase polypeptide wherein phospho-
     !ated by the expressed nicotinamide riboside kinase thereby
    lated                                                                  iylation of said test agent is indicative of said test agent being
                                                                          rylation
    performing the first step in activating said prodrug.                 aa nicotinamide riboside-related prodrug. A nicotinamide
        The present invention is also an isolated eukaryotic nico-                             prodrug identified by this method is also
                                                                          riboside-related prodmg
    tinamide riboside kinase polypeptide. In one embodiment,                                           present invention.
                                                                          encompassed within the prcsent
    the isolated nicotinamide riboside kinase polypeptide has an 40           The present invention is further aa cell-bascd
                                                                                                                      cell-based method for
    amino acid sequence having at least about 70% amino acid               identifying a
                                                                          idcntifYing     a nicotinamidc
                                                                                             nicotinamide ribosidc-related
                                                                                                            riboside-related prodrug. This
    sequence similarity to an amino acid sequence of SEQ ID                method involves contacting aafirst test cell which expresses aa
    NO:4, SEQ ID    !D NO:5 or SEQ ID    !D NO:6 or aafunctional frag-    recombinant Nrk polypeptide with aanicotinamide riboside-
             thereof.
    ment thereof:                                                         related test agent; contacting aasecond test cell which lacks aa
        The present invention is nlrther
        'TIle                        further a
                                             acultured cell containing 45 functional Nrk polypeptide with the same test agent; and
    an isolated nucleic acid encoding aaeukaryotic nicotinamide           determining the viability of the first and second test cells,
     riboside kinase polypeptide or a         a polypeptide encoded       wherein sensitivity of the first cell and not the second cell is
    thereby.                                                              indicative of aanicotinamide riboside-related prodrug. A nico-
        Still further, the present invention is aacomposition con-        tinamide riboside-related prodrug identified by tllis  this method is
    taining an isolated eukaryotic nicotinamide riboside kinase 50 also encompassed within the context of the present invention.
    polypeptide and aaphanllaceutically
                          pharmaceutically acceptable carrier. In one         The present invention is also aamethod for identifYing
                                                                                                                                identifying an
    embodiment, the composition further contains aa prodrug                                       which is susceptible to treatment with a
                                                                          individual or tumor wllich                                          a
    wherein said prodrug is aanicotinamide riboside-related ana-                                             prodrug. This method involves
                                                                          nicotinamide riboside-related prodmg.
                     phosphoiylated by the nicotinamide riboside
    log that is phosphorylated                                            detecting the presence of mutations in, or the level of expres-
    kinase thereby performing the first step in activating said 55 sion of, aa llicotinamide
                                                                                        nicotinamide riboside kinase in an individual or
    prodrug.                                                              tumor wherein the presence of aa mutation or change in
        The present invention is also aamethod for treating cancer        expression of nicotinamide riboside kinase in said individual
    by administering to aapatient having or suspected of having           or tumor compared to aacontrol is indicative of said individual
    cancer an effective amount of aanicotinamide riboside-related         or tumor having an altered level of susceptibility to treatment
    prodrug in combination with an isolated eukaryotic nicotina- 60    60 with a anicotinamide riboside-related prodrug.
    mide riboside kinase polypeptide or expression vector con-
                                                              eukarv-
    taining an isolated nucleic acid sequence encoding an eukary-                  BRIEF DESCRIPTION OF THE DRAWINGS
           nicotinamide riboside kinase polypeptide wherein the
    otic nicotinanlide
                                                    phosphorvlates the
    nicotinamide riboside kinase polypeptide phosphorylates                   FIG. 11shows the amino acid sequence alignment and con-
    prodrug thereby performing the first step in activating the 65 sensus sequence (SEQ lD           IL) NO:34) of human Nrkl (SEQ ID
    prodrug so that the signs or symptoms of said cancer are               NO:5). human Nrk2 (SEQ lD
                                                                          NO:5),                            ID NO:6), S. cerevisiae
                                                                                                                              cerevisine Nrkl
    decreased or eliminated.                                               (SEQ lDID NO:4), S. po,nhe   nrk 1(SEQ ID NO:7), as compared
                                                                                                 pomhe nrkl




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                                                                   US 8,383,086 B2
                                        55                                                                              66
                                 uridine/cytidinc kinase Urkl
    to portions of S. cerevisiae uridine!cytidine        Urk 1(SEQ                    late kinase (Singh, et a!. al. (2002) J.  Biol. Chern.
                                                                                                                             J. Bioi.    Chew. 277:33291-
                                                                                                                                                 277:3329 1-
    ID NO:8) and E. colicoil pantothenate kinase (SEQ ID NO:9).                                  sensitive sequence searches revealed that bacterial
                                                                                      33299), sensitivc
                                                                                      Nrk has no ortholog in yeast. Genomic searches with the Nrk-         Nrk
         DETAILED DESCRIPTION OF THE                  Tl-IEiNVENI'ION
                                                            INVENTION                 domain ofIi. H. influenza NadR have identified aagrowing list of
                                                                                      bacterial genomes predicted to utilize nicotinamide riboside
       A Saccharomyces cerevisiae QNSI
       A                                             QNS 1 gene encoding              as an NAD+ precursor (Kurnasov, et a!.      al. (2002) J. Bacteriol.
    glutamine-dependent NAD+
    glutamine-dependent           NAD+ synthetase
                                            synthetase hashas been
                                                               been character-
                                                                      character-
                                                                                      184:6906-6917). Thus, had fungi possessed NadR Nrk-ho-
    ized and
    ized   and mutation
                mutation of  of either
                                 either the
                                          the glutaminase
                                               glutaminase active
                                                              active site
                                                                      site or
                                                                           or the
                                                                              the
                                                                                      mologous domains, comparative genomics would have
    NAD+ synthetase active site resulted in inviable cells (Bie-                      already predicted that yeast can salvage nicotinamide ribo-
    ganowski, et a!.  al. (2003) J.       Biol. Chern.
                                       J. Bioi.   Chew. 278:33049-33055). 10       10 side.
    Possession of strains containing the qnsl deletion and aaplas-
                                                                                             identil'y the Nrk of S. cerevisiae, an HPLC
                                                                                         To identify                                    FIPLC assay for the
    mid-borne QNSI gene allowed aadetemlination    determination of whether
                                                                                      enzymatic activity was established and used in combination
    the canonical de novo, import and salvage pathways for
    NAD+ of Scheme I1(Panozzo, et a!.           al. (2002) supra; Sandmeier,
                                                                                      with aabiochemical
                                                                                              biochemical genomics approach to screen for the gene
                                                                                   15 encoding this
                                                                                      encoding     this activity
                                                                                                        activity (Martzen,
                                                                                                                  (Martzen, etet a1.
                                                                                                                                 al, (1999)
                                                                                                                                       (1999) Science 286:
       al. (2002) supra;
    et a!.          sup:: Bitterman,
                               Iiii
                                  t,-[           al. (2002) supra; Anderson, is
                                              et a!.
       al. (2003) supra) are aacomplete representation ofthe
    et a!.                                                         of the meta-       1153-1155). Sixty-four pools of 90-96 S. cerevisiae open
    bolic pathways to NAD+ in S. cerevisiae. The pathways                             reading frames fused to glutathione S-transferase (GST),
    depicted in scheme I1suggest that: nicotinamide is deanli-           deami-       expressed in S. cerevisiae, were purified as GST fusions and
    dated to nicotinic acid before the pyridine ring is salvaged to                   screened for
                                                                                      screened    for the
                                                                                                      the ability
                                                                                                          ability to
                                                                                                                  to convert
                                                                                                                     convert nicotinamide
                                                                                                                              nicotinamide riboside
                                                                                                                                                riboside plus
                                                                                                                                                          plus
    make more NAD+, thus supplementation with nicotinamide 20 ATPto                   ATP to NMN plusADP. Whereas most pools containedactivi-
                                                                                                                                            contained activi-
    may not
    may    not rescue
               rescue qnslmutants
                         qns 1mutants by         shunting nicotinamide-con-
                                            by shunting    nicotinamide-con-                      consumed some of the input ATP,
                                                                                      ties that conSlllled                              AlP, only pool 37
    taming precursors through the pathway;
    taining                                    pathway: and QNSIQNS1 is com-          consumed nicotinamide riboside and produced NMN. In pool
    mon to the three pathways, thus there may be no NAD+                              37, approximately half of the 11mM AI'P      Aft' was converted to
    precursor that rescues qnsl     qnsi mutants. However,
                                                        however, it has now           ADP and the 500 flM  IM nicotinamide riboside peak was almost
    been found that while nicotinamide does not rescue qns                  qnslI 25 entirely converted to NMN. Examination of the 94 open
    mutants even at IIor 10 mM, nicotinamide riboside fimctions        functions      reading frames that were used to generate pool 37 revealed
    as aavitamin form ofNAD+of NAD+ at I10      0 pM.                                 that YNL129W (SEQ ID NO:l)       NO: I) encodes a     a predicted 240
       Anticancer agents such as tiazofurin (Cooney, et a!.           al. (1983)      amino acid polypeptide with aa187 amino acid segment con-
    Adv. Enzyme Regul. 21:271-303) and benzamide riboside                             taining 23% identity with the 501 amino acid yeast uridinel     uridine/
    (Krohn,etal.
    (Krohn,            (1992)J.
               et a1. (1992)     J. Med. Chern.
                                             Chew. 35:511-517) have been    been 30 cytidine kinase Urkl Urki and remote similarity with aasegment of
    shown to be metabolized intracellularly to NAD+ analogs,                              co/i pantothenate kinase panK (Yun, et a!.
                                                                                      E. coli                                             al. (2000) J.  Biol.
                                                                                                                                                      J. Bioi.
    taizoflirin adenine dinucleotide and benzamide
    taizofurin                                           benzanlide adenine           Chew. 275:28093-28099) (FIG. 1). After cloning
                                                                                      Chern.                                             cloningYNL129W
                                                                                                                                                  YNL129W
    dinucleotide, which inhibit IMP dehydrogenase the rate-lim-                       into aabacterial expression vector it was ascertained whether
    iting enzyme
    iting  enzyme forfor dede novo
                               novo purine
                                        purine nucleotide
                                                 nucleotide biosynthesis.
                                                              biosynthesis.           this homolog
                                                                                      this  homolog of of metabolite
                                                                                                          metabolite kinases
                                                                                                                        kinases was
                                                                                                                                 was thethe eukaryotic
                                                                                                                                             eukaryotic Nrk.
                                                                                                                                                          Nrk.
       Though an NMNlNaMN
       "l]lOugh      NMN/NaMN adenylyltransferase is thought to 35 The specific activity of purified YNL129W                YNL 129W was -lOO-times
                                                                                                                                                  —1 00-times
    be the enzyme that converts the mononucleotide intermedi-                         that of pool 37, consistent with the idea that all the Nrk           Nrk-
    ates to NAD+ analogs and the structural basis for this is                         activity of pool 37 was encoded by this open reading frame.
    known (Zhou et    ci a!.
                          al. (2002) supra), several different enzymes                                                                        phosphorvlates
                                                                                      To test genetically whether this gene product phosphorylates
    including adenosine kinase, 5' nucleotidase (Fridland, et a!.              al.    nicotinamide riboside in vivo, aadeletion ofYNL129W was
             CancerRes.
    (1986) Cancer              46:532-537: Saunders, et a!.
                       Res. 46:532-537;                        al. (1990) Can- 40 created in the qnsl background. It was found that nicotina-
    cer Res. 50:5269-5274) and aaspecific nicotinamide riboside                       mide riboside rescue of the qnsl deletion strain was entirely
             (Saunders, et a1.
    kinase (Salllders,          al. (1990) supra) have been proposed to               dependent on this gene product. Having shown biochemically
    be responsible for tiazofurin phosphorylation in vivo. A             A puta-                                Y'NLI29W encodes an authentic Nrk
                                                                                      and genetically that YNL129W
          nicotinamide riboside kinase (Nrk) activity was purified,
    tive nicotiuamide                                                                 activity, the gene was designated NRKI.
    however no amino acid sequence information was obtained 45                           A PSI-BLAST (Altschul, et al. (1997) Nucleic Acids Res.
                                                                                         A
    and, as aa consequence, no genetic test was performed to                          25:3389-3402) comparison was conducted on the predicted
    assess its
    assess   its function
                 function (Sasiak
                              (Sasiak and and Saunders
                                                Saunders (1996)
                                                            (1996) Arch. Bio-         S. cerevisiae Nrkl
                                                                                      S.               Nrkl polypeptide
                                                                                                              polypeptide andand an
                                                                                                                                  an orthologous
                                                                                                                                        orthologous hnman
                                                                                                                                                       human
    cheat. Biophys. 333:414-418).
    chern.                                                                                              (NP 060351; SEQ ID NO:5; FIG. 1) was
                                                                                      protein Nrkl (NP_060351;
       Using aaqnsl deletion strain that was additionally deleted                     found. The human NP_060351     060351 protein encoded at locus
                homologs
    for yeast homo      logs of candidate genes encoding nucleoside 50 9q21.31        9q2 1.31 is aapolypeptide of 199 amino acids and is armotated annotated
    kinases proposed to phosphorylate tiazofllrin,  tiazofurin, i.e., adenosine       as an uncharacterized protein of the uridine kinase family. In
             adol1 (Lecoq, et a!.
    kinase ado                     al. (2001) Yeast 18:335-342), uridine!
                                                                        uridine/      addition, aasecond human gene product Nrk2 (NP_733778;
    cytidine kinase urkl   urki (Kern (1990) Nucleic Acids Res.                       SEQ ID NO:6; FIG. 1) was found that is 57% identical to
     18:5279: Kurtz, et a!.
    18:5279;                  al. (1999) Curro
                                             Cur,-. Genet.
                                                     Gene!. 36:130-136), and          hwnan Nrkl. Nrk2 is a
                                                                                      hlUnan                     a230 amino acid splice fOTIn   fonn of what
    rihokinase rbkl (Thierry,
    ribokinase            (Thierrv, et a!.  al. (1990) Yeast 6:521-534), it 55 was described as aa 186 amino acid muscle integrin beta I1
    was determined whether the nucleoside kinases are uniquely                        binding protein
                                                                                      binding   protein (ITGBlBP3)
                                                                                                          (ITGBIBP3) encoded
                                                                                                                          encoded at  at 19p13.3
                                                                                                                                          I9pl3.3 (Li,
                                                                                                                                                    (Li, et
                                                                                                                                                         et a!.
                                                                                                                                                             al,
    or collectively responsible for utilization of nicotinamide                       (1999)1. Cell
                                                                                      (1999).1    CeliBiol.  l47:h39I-l398
                                                                                                       Bioi. 147:                   et al. (2003)Dev. Bioi.
                                                                                                                  1391-1398; Li, etal.                   Biol.
    riboside. It was found that despite these deletions, the strain                   261:209-219). Amino acid conservation between S. cerevi-
    retained the ability to utilize nicotinamide riboside in an                       siae, S. ponzbe
                                                                                               pombe and human Nrk homologs and similarity with
    anabolic pathway independent ofNAD+        of NAD+ synthetase.                 so fragments of S. cerevisiae Urkl and E. coli panK is shown in
                                                                                   60
                     mammalian phamlacology
       Given that mannnalian             pharmacology provided no useful              FIG. 1.1 Fllllgal
                                                                                             .  Fungal and human Nrk enzymes are members of a                  a
    clue to the identity of aaputative fungal Nrk, it was considered                                          superfhmily that includes pantothenate
                                                                                      metabolite kinase superfamily
    whether the gene might have been conserved with the Nrk of                        kinase but is unrelated to bacterial nicotinamide riboside
    Haemophilus influenza. The         The Nrk
                                            Nrk domain
                                                   domain ofof Ii.
                                                               11. iI?fluenza
                                                                    influenza isis    kinase. Robust
                                                                                      kinase.  Robust complementation
                                                                                                        complementation oftheofthe failureofqnsl
                                                                                                                                     failure ofqnsl nrkl
                                                                                                                                                       nrkl toto
    encoded by amino acids 225 to 421 of the NadR gene product 65 grow on nicotinamide riboside-supplemented media was pro-
    (the amino terminus of which is NMN adenylyltransferase).                         vided by human NRKI and human NRK2 cDNA             eDNA even when
    Though this domain is structurally similar to yeast thymidy-                      expressed from the GALl GAL promoter on glucose.




                                                                                                                                                  CDXDE 000000036
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                                          77                                                                                      8
                                                                                                                                  8
                         1, purification of yeast Nrkl and human
      As shown in Table I,
    Nrkl and Nrk2 revealed high specificity for phosphorylation                                                             Scheme 2

    of nicotinamide riboside and tiazofurin.
                                                                                           Bnal-6            Nmal,2               Qnsl                Nmal,2
                                                                                                     NaMN             >NaAD              >NAD-
                                                                                                                                          NAD                  NMN


                       Nicatinamide
                       Nicotinamide
                                     TABLE 11

                                                                                                       Na
                                                                                                          Nptt
                                                                                                                      Sc. Pnel
                                                                                                                      S.c. Pool
                                                                                                                                         Sir2
                                                                                                                                         Sir2   il
                                                                                                                                                'I
                                                                                                                                                     H.S.
                                                                                                                                                     PBEF

                                                                                                                                                               n
                                                                                                                                                                A
                                                                                                                                                                    Nrkl
                                                                                                                                                                    Nrk1
                                                                                                                                                N
                          riboside        Tiazo
                                          Tiazofuril1      tjridine
                                                           Uridine      Cytidine                                                                                Nr
                                                                                                                                                                Nr

    Human Nrkl            275±17
                          275 ± 17        535 ±
                                          538 e27
                                                27             e 1.7
                                                          19.3 ±       35.5 e 6.4
                                                                            ±6.4
                                                                                     10
                                                                                     10
    Human Nrk2           2320 ± 20       215002111
                                         2150 ± 210      22211x
                                                         2220  ± 170    222e5
                                                                        222 ±8                         A difference between humans and yeasts concerns the
    Yeast Nrkl            535 ±
                              ± 60       1129±134
                                         1129 ± 134            e3.4
                                                          15.2 ± 3.4   82.9±4.4
                                                                       82.9 ± 4.4                   organisms' uses of nicotinamide and nicotinic acid, the two
                                                                                                    niacins that were co-identified as anti-black tongue factor
     Specific activity
     Specific activity is
                       is expressed
                          expressed in
                                    ma nmole  m5 1 min-
                                       nicole mg-
                                          1    t   nnrf 1 for
                                                          for phosphorylation ofeucleoside
                                                              phosphorylation of nucleoside sub-
     steates.
    strate",                                                                                                                             Humans encode a
                                                                                                    (Elvehjem, et al. (1938) supra). Hllllans             ahomolog of
                                                                                                         Ilaesnophiius ducreyi
                                                                                                 15 the Haemophilus         ducrej'i nadV gene, termed pre-B-eell
                                                                                                                                                             pre-B-cell
                                                                                                 15
         In the cases of yeast and human Nrkl enzymes, the                                          colony enhancing factor, that may convert nicotinamide to
    enzymes preferred tiazofurin to the natural substrate nicoti-                                   NMN (Rongvaux, et a!.       al. (2002) Eur.
                                                                                                                                           Eur J. Immunol.
                                                                                                                                                   Immuno/. 32:3225-
    namide riboside by aafactor of two and both enzymes retained                                    3234) and is highly induced during lymphocyte activation
    less than 7% of their maximal specific activity on uridine and                                  (Samal, et                Mo!. Cell. Bioi.
                                                                                                               Ct al. (1994) Mol.        Biol. 14:1431-1437). In con-
    cytidine. In the case of human Nrk2, the 230 amino acid foml                         form 20 trast, S. cerevisiae
                                                                                                              cereeisiae lacks a   ahomolog of nadV and instead has a    a
    was essentially equally active on nicotinamide riboside, tia-                                   homolog of the E. coli  coil pncA gene, termed PNCI,
                                                                                                                                                      PNC1. that con-
     zofurin and uridine with less than 10% of corresponding                                        verts nicotinamide to nicotinic acid for entry into the Preiss-
    activity on cytidine. Conversely, the 186 amino acid integrin                                   Handler pathway (Ghislain, et al. (2002) Yeast 19:215-224;
    beta 11binding protein foml         form was devoid of enzymatic activity                       Sandineier, et a!.
                                                                                                    Sandmeier,         al. (2002) supra). Though the Preiss-Handler
    in this in vitro assay and was not functional as an Nrk in vivo. 25                          25 pathway is frequently considered a       a salvage pathway from
    However, both the 186 and 230 amino acid isoforms function                                      nicotinamide, it technically refers to the steps from nicotinic
    in vivo in aa yeast nicotinamide riboside utilization assay.                                    acid to NAD+ (Preiss and Handler (1958) supra; Preiss and
    Thus, though Nrk2 may contribute additionally to fommtion                     formation         Handler (1958) supra). Reports that nicotinamidase had been
     of uridylate. these data demonstrate that fungi and mammals
    ofuridylate,                                                                                                       mammalian liver in the 1960s (Petrack,
                                                                                                    purified from manm13lian                            (Petrack. et a!.
                                                                                                                                                                       al.
                                                                                                 30
                                nicotinamidc riboside kinases that function 30 (1965)
    possess specific nicotinamide                                                                   (1965)1.    Biol. Chem.
                                                                                                             J. Bioi.   Chem, 240:1725-1730) may have contributed
    to synthesize NAD+ through NMN in addition to the well-                                                          that fi.mgal
                                                                                                    to the sense tl13t     fungal and animal NAD+ biosynthesis is
    known pathways through NaMN. Identification ofNrk                         of Nrk enzy-                                                                 nicotinami
                                                                                                    entirely conserved. However, animal genes for nicotinami-              -




     matic activities thus accounts for the dual specificity offungal              of fungal        dase have not been identified and there is no compelling
            mammalian NaMNINMN
    and manllllalian            NaMN/NMIN adenylyltransferases.
                                                    adcnvlvltransferases.                        35 evidence that nicotinamide and nicotinic acid are utilized as
                                                                                                 35
                                                                                                    NAD+ precursors through the same route in mammals. 'I1Ie          ftc
         On the basis of SAGE data, NRKI is aarare message in
     nanny tissues examined while NRK2 is highly expressed in
    many                                                                                            persistence of "niacin" as aa mixture of nicotinamide and
    heart and skeletal muscle and has lower level expression in                                     nicotinic acid may attest to the utility of utilizing multiple
                 epithelium and placenta (Boon,        (Boon. et al. (2002) Proc.                                                                        supplementa-
                                                                                                    pathways to generate NAD+ and indicates that supplemenla-
    retinal epithelillll
    Natl.Acad.
    Nail.     Acad. Sci.Sri. U5:4
                               (/5.4 99:
                                       99:11287-11292).
                                           11287 -11292). From    From cancer cell line 40 tion with nicotinamide riboside as third importable NAD+
     to cancer cell line the expression levels are quite variable                                   precursor can be beneficial for certain conditions.
    (Boon, et al. (2002) supra). Thus, in individuals whose tumors                                     First reported in 1955, high doses of nicotinic acid are
    are NRK1, NRK2-low, tiazofurin conversion to NAD+ may                                                                                       (Altschul. et a!.
                                                                                                    effective at reducing cholesterol levels (Altschul,       al. (1955)
    occur more extensively in the patients hearts and muscles                                               Bjochem. Biophys. 54:558-559). Since the initial
                                                                                                    Arch. Biochem.
                                                                                                 45 report, many controlled clinical studies have shown that nico-
    than in tumors. In tumors that are NRKI             NRK1 and/or NRK2-high,
                                                                                                    tinic acid preparations, alone and in combination with HMG     11MG
    aasubstantial amount oftiazofurin  of tiazofurin may be converted to tiazo-
                                                                                                    CoA reductase inhibitors, are effective in controlling low-
    furin adenine dinucleotide in tumors.
                                                                                                    density lipoprotein cholesterol, increasing high-density lipo-
         A yeast qns 1Imutant was used to screen for natural sources                                protein cholesterol, and reducing triglyceride and lipoprotein
          nicotinamide riboside wherein it was identified in an acid 50
    of nicotinanlide                                                                             so a
                                                                                                    alevels in humans (Pasternak, et al. (1996) Ann. Intern. Med.
    whey preparation of cow's milk. Unlike the original screen                                      125:529-540). Though nicotinic acid treatment effects all of
    for vitamins in protein-depleted extracts of liver for reversal                                 the key lipids in the desirable direction and has been shown to
     of black-tongue in starving dogs (Elvehjem,         (Elvchjem. et al. (1938)  (1938)1.  J.     reduce mortality in target populations (Pasternak, et a!.          al.
    Bl,i, Chem.
    Bioi.     Chew. 123:137-149), this assay is pathway-specific in                                 (1996) supra), its use is limited because ofa side effect of heat
    identifying NAD+ precursors. Because of the qnsl deletion, 55 and redness tenned                                termed "flushing,"
                                                                                                                             "flushing" which is significantly et1ected
                                                                                                                                                                effected
    nicotinic acid and nicotinamide do not score positively in this                                                        formulation (Capuzzi, et al. (2000) Curl'.
                                                                                                    by the nature of fomlUlatiol1                                   Curr.
    assay. As the factor from milk requires nicotinamide riboside                                   Athero,ccier.
                                                                                                    Atheroscler. Rep. 2:64-71). TIms,   Thus, nicotinamide riboside
    kinase for growth, the nutrient is clearly nicotinamide          isicotinamide ribo-            supplementation could be one route to improve lipid profiles
    side and not NMN or NAD+.                                                                       in humans. Further, nicotinamide is protective in animal mod-
                                                                                                                     (Klaidman. et al. (2003) Pharmacology 69:
                                                                                                 60 els of stroke (Klaidman,                                    69:150-
                                                                                                                                                                     150-
         A revised metabolic scheme for NAD+,                   NAD+. incorporating                 157) and nicotinamide riboside could be an important supple-
    Nrkl homologs and the nicotinamide riboside salvage path-                                       ment for acute conditions such as stroke. Additionally,
    way is shown in Scheme 22 wherein double arrows depict                                                        of NAD+ biosynthetic enzymes could be useful in
                                                                                                    regulation ofNAD+
    metabolic steps common to yeast and humans (with yeast                                          sensitizing tumors to compounds such as tiazofurin, to protect
    gene names) and single arrows depict steps unique to humans 65                               65 normal tissues from the toxicity of compounds such as tiazo-

     (PUFF, nicotinamide phosphoribosyltransferase) and yeast
    (PBEF,                                                                                          furin adenine dinucleotide, and to stratify patients for the
    (Pnc 1, nicotinamidase).                                                                               judicious use of tiazoii.rrin
                                                                                                    most judicious             tiazofurin chemotherapy.




                                                                                                                                                               CDXDE 000000037
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                                      9
                                      9                                                                         10
        The present invention is an isolated nucleic acid containing           acid sequences of aahuman Nrkl are shown in SEQ ID NO:2
    aaeukaryotic
       cukaryotic nuclcotide
                     nucleotide sequencc
                                  sequence encoding a     a nicotinamide       and SEQ ID NO:5 (FIG. 1),           1). respectively. Representative
    riboside kinase polypeptide. As used herein, an isolated mol-              eDNA and amino acid sequences of a
                                                                               cDNA                                        ahuman Nrk2
                                                                                                                                    Nrk-2are shown
    ecule (e.g., an isolated nucleic acid such as genomicgenornic DNA,         in SEQ ID NO:3 and SEQ ID NO:6 (FIG. 1), respectively.
               eDNA or an isolated polypeptide) means a
     RNA or cDNA                                              amolecnle
                                                                molecule 5 Other Nrk sequences encompassed by the present invention
    separated or substantially free from at least some of the other            include, but are not limited to, Nrkl ofGENBANK
                                                                                                                           ofUENBANK accession
    components of the naturally occurring organism,organism, such as for       nunibers NM_Ol788l,
                                                                               numbers     NMO1 7881, AKOO0566,
                                                                                                              AK000566, BCOOl366,
                                                                                                                            BCOOI 366, BC036804,
     example, the cell stmctural
                         structural components or other polypeptides                  BCO26243 and Nrk2  Nrk-2of GENBANK accession number
                                                                               and BC026243
    or nucleic acids commonly found associated with the mol-                   NM 170678. Moreover, locus CAG6l927
                                                                               NM_l70678.                             CAG6 1927 from the Candida
    ecule. When the isolated molecule is aa polypeptide,
                                                       polypeptide. said to
                                                                            10 glabrata CBSl38
                                                                                            C8S138 genome project (Dujon, et a!.           al. (2004)
    polypeptide is at least about 25%, 50%,     50%. 60%,70%,
                                                       60%, 70%, 75%,
                                                                                                                                    Saccharonij'ces
                                                                               Nature 430:35-44) is 54% identical to the Saccharomyces
     80?/, 85%, 90%, 95%,97%,
    80%,                  95%, 97%, 98%,98%. 99% or more pure (w/w).
                                                                   (w/w).
                                                                               cerevisiae Nrkl protein. Particular embodiments of the
        In one embodiment, the eukaryotic nucleotide sequence
    encoding aa nicotinamide ribosidc
                                    riboside kinase polypeptide is a      a
                                                                               present invention embrace aaNrk polypeptide having the con-       coil-
                                                                            15 served amino acid sequence XXXXDDFXK (SEQ ID
    nucleotide sequence of   of SEQ ID NO: I,   1, SEQ ID NO:2 or SEQ is
    ID NO:3. In another embodiment, the eukaryotic nucleotide                  NO:34), wherein Xaa j1 and Xaa22 are aliphatic amino acid
    sequence encoding aanicotinamide riboside kinase polypep-                  residues, Xaa 33is His or Ser, Xaa44 is aahydrophilic amino acid
    tide is aanucleotide sequence that hybridizes to aanucleotide              residue, and Xaa s5 is an aromatic amino acid residue.
    sequence of SEQ ID NO: I,     1, SEQ ID NO:2 or SEQ ID NO:3 or                 To illustrate, hybridization of such sequences can.
                                                                                  1'0                                                     can be car-
    its complementary nucleotide sequence lmder     under stringent con- 20 ried out under conditions of reduced stringency, medium
     ditions, wherein said nucleotide sequence encodes a          a func-      stringency or even stringent conditions (e.g., conditions rep-
    tional nicotinamide riboside kinase polypeptide. In aanlrther  further     resented by aawash stringency of 35-40% Formamide   Eornmamide with
    embodiment, the eukaryotic nucleotide sequence encoding aa                 5xDenhardt's solution, 0.5% SDS and lxSSPE        lxSSI'F at 37° c.;C.;
    nicotinamide riboside kinase polypeptide is aa nucleotide                  conditions represented by aawash stringency of 40-45% For-         Eor-
    sequence encoding aanmctional
                             functional nicotinamide riboside kinase 25                         5xDenhardt'ss solution,
                                                                            25 mamide with 5xDenhardt'            solution. 0.5% SDS, and lxSSPE
                                                                                                                                              1xSSPE
    polypeptide but which has aa different nucleotide sequence                 at 42° C.;
                                                                               at 420   C.; andlor
                                                                                            and/or conditions
                                                                                                    conditions represented
                                                                                                                  represented by
                                                                                                                               by a
                                                                                                                                  awash
                                                                                                                                    wash stringency
                                                                                                                                           stringency
    than the nucleotide sequences of SEQ ID NO:l,        NO: I, SEQ ID                    Eormarnide with 5xDenhardt's solution, 0.5% SDS
                                                                               of 50% Fornlamide
    NO:2, or SEQ ID NO:3 due to the degeneracy of the genetic                         lxSSPE at 42° c.,
                                                                               and IxSSPE              C., respectively) to the sequences specifi-
    code or the presence of non-translated nucleotide sequences.               cally disclosed herein. See, e.g., e.g.. Sambrook et a!.,
                                                                                                                                     al.. Molecular
        As used herein, aafunctional polypeptide is one that retains 30     30 Cloning, A  A Laboratory Manual (2d Ed. 1989) (Cold Spring
                                          normally associated with that
    at least one biological activity nornlally                                 Harbor Laboratory).
                    Alternatively, a
    polypeptide. Alternativcly,      a functional polypeptide retains             Alternatively stated, isolated nucleic acids encoding Nrkof
    all of the activities possessed by the unmodified peptide. By              the invention have at least about 50%, 60%, 70%, 80%, 90%,
    retains biological activity, it is meant that the polypeptide              95%, 97%, 98%  98°/n or higher sequence similarity with the iso-
    retains at least about 50%, 60%, 75%, 85%, 90%, 95%, 97%, 35            35 lated nucleic acid sequences specifically disclosed herein (or
     98%. 99%, or more, of the biological activity of the native
    98%,                                                                       fragments thereof, as defined above) and encode aafunctional
    polypeptide (and can even have aahigher level of activity than             Nrk as defined herein.
    the native polypeptide). A   A non-functional polypeptide is one               It will be appreciated by those skilled in the art that there
    that exhibits essentially no detectable biological activity nor-           can behe variability in the nucleic acids that encode the Nrk of
    mally associated with the polypeptide (e.g., at most, only an       all 40
                                                                            40 the present invention due to the degeneracy of the genetic

    insignificant amount, e.g., less than abont about 10% or even 5%).         code. The degeneracy of the genetic code, which allows dif-
                                                                               code,
        As used herein, the term polypeptide encompasses both                  ferent nucleic acid sequences to code for the sanle   same polypep-
    peptides and proteins, unless indicated otherwise.                         tide, is well known in the literature (see Table 2).   2),
        A nicotinamide riboside kinase polypeptide or Nrk protein
    as used herein, is intended to be        he constmed
                                                 construed broadly and 45                                       TABLE 22
    encompasses an enzyme capable of phosphorylating nicoti-
     namide
    nanlide    riboside.  The  term
                               ternl  nicotinamide    riboside  kinase  or                        3-         1,
    Nrk also includes modified (e.g.,  (e.g.. mutated) Nrk that retains                           Letter    Letter
                                                                               Amino Acid         Code      Code       Codons
    biological function (i.e., have at least one biological activity
    of the native Nrk protein, e.g., phosphorylating
    ofthe                                phosphomylating nicotinamide 50    so Alanine            Ala       A
                                                                                                            A          GCA GCC GCG GCT
                                                          truncated mol-       Cysteine           Cys       C
                                                                                                            C          TGC TGT
                                                                                                                       TGCTGT
    riboside), functional Nrk fragments including tnmcated
                                                                               Aspartic acid      Asp       DD         GAL GAP
                                                                                                                       GACGAf
    ecules, alternatively spliced isoforms (e.g., the alternatively            Glutatoic acid     Glu       EC         GAA GAG
                                                                                                                       GAAGAG
              isoforms of human Nrk2), and functional Nrk nlsion
    spliced isofornls                                               fusion     Phenylalanine      Phe       FF         TrCTlT
    polypeptides (e.g., an Nrk-GST protein fusion or Nrk-His                   Glycine            Gly       0
                                                                                                            G          GGA GGC GGG GGT
                                                                            55 Histidine
                                                                            ss Histidine          His       HH         CAC CAT
                                                                                                                       CACCAT
    tagged protein).
                                                                               Isoleucine         lie
                                                                                                  Ile       I          ALA ATC ATT
                                                                                                                       ATAATCATI
        Any Nrk polypeptide or Nrk-encoding nucleic acid known                 Lysine             Lys       KK         AAA .AAG
                                                                                                                       AAAAAG
    in the art can be used according to the present invention. The             Leocine            Lai
                                                                                                  Leu       LL         TTA TTG CTA CTC CTG err
                                                                                                                       TIA                    CTT
    Nrk polypeptide or Nrk-encoding nucleic acid can be derived                Methionine         Met       M          ATG
                                  Saccharonivces cerevisiae, Saccha-
    from yeast, fungal (e.g., Saccharomyces                                    Asparagine         Asn       N
                                                                                                            N          AAC AAT
                                                                                                                       AACAAT
                                                                               Prolitte           Pro       PP         CCA CCC CCG CCT
     ronivces pombe, Pichia sp., Neurospora sp., and the like) so
    romyces                                                                 60 Glutamine          Gin
                                                                                                  GIn       Q
                                                                                                            Q          CAA CAG
                                                                                                                       CAACAG
     plant. animal (e.g., insect,
    plant,                  insect. avian (e.g., chicken), or manuna-
                                                                mamma-         Argitutte
                                                                               Arginine           Arg
                                                                                                  Arg       R                             COO CGT
                                                                                                                       AGA AGG CGA CGC CCru
    lian (e.g., rat, mouse, bovine, porcine, ovine, caprine,
                                                         caprine. equine,      Serine             Ser
                                                                                                  Scr       SS         AGC ACT TCA TCC TCG TCT
                                                  human and the like)          Threottine
                                                                               Threonine          Tin
                                                                                                  Thr       T
                                                                                                            T              ALL ACG ACT
                                                                                                                       ACA ACC
    feline, canine, lagomorph, simian, hlill1an
                                                                               Valitte
                                                                               Valine             Vlsi
                                                                                                  Val       V
                                                                                                            V                       ELF
                                                                                                                       GTA GTC GTG GTI
    sources.                                                                   Tryptophan         Trp       w
                                                                                                            W          TOG
                                                                                                                       TGG
        Representative eDNA and amino acid sequences of aaS. 65             os Tyrosine           Tyr
                                                                                                  Iyr       Y
                                                                                                            Y          TAC TAP
                                                                                                                       TACTAT
    cerevisiae Nrkl are shown in SEQ ID NO:          NO:l1 and SEQ ID
    NO:4 (FIG. 1), respectively. Representative eDNA and amino




                                                                                                                                          CDXDE 000000038
                                                                                                                                          CDXDE_000000038
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                                     11                                                                          12
         Further variation in the nucleic acid sequence can be intro-          example, sequence identity of sequences shorter than aa
    duced by the presence (or absence) of non-translated                       sequence specifically disclosed herein, will be determined
                                                                               scquence
    sequences, such as intronic sequences and 5' and 3' untrans-                           number of amino acids in the shorter sequence, in
                                                                               using the munber
    lated sequences.                                                           one embodiment. In percent identity calculations relative
         Moreover, the isolated nucleic acids of the invention 55 weight is not assigned to varions           various manifestations of sequence
    encompass those nucleic acids encoding Nrk polypeptides                    variation, such as, insertions, deletions, substitutions, etc.
    that have at least about 60%, 70%, 80%, 90%, 95%, 97%,                        In one embodiment, only identities are scored positively
    98% or higher amino acid sequence similarity with the                      (+1)
                                                                               (+ 1) and all forms of sequence variation including gaps are
    polypeptide sequences specifically disclosed herein (or frag-              assigned aa value of "0", which obviates the need for aa
    ments thereof) and further encode aafunctional Nrk as defined 10        to weighted scale or orpararneters
                                                                                                    parameters as described below for sequence
    herein.                                                                    similarity calculations. Percent sequence identity can be cal-
        As is known in the art, aanumber of different programs can             culated, for example, by dividing the number of matching
    be used to identify whether aanucleic acid or polypeptide has              identical residues by the total number of residues of the
    sequence identity or similarity to aa known sequence.                      shorter sequence in the aligned region and multiplying by
                                                      determined using 15
    Sequence identity and/or similarity can be detemlined                   is 100. ]'IIe
                                                                                      The longer sequence is the one having tile      the most actual
    standard techniques known in the art, including, but not lim-              residues in the aligned region.
    ited to, the local sequence identity algorithm of Smith &            &        To modify Nrk amino acid sequences specifically dis-
                  (198 1) Adv. App!. Math. 2:482, by the sequence
    Waterman (1981)                                                            closed herein or otherwise known in the art, amino acid sub-
    identity alignment algorithm of Needleman &                & Wunsch        stitutions can be based on any characteristic known in the art,     art.
    (1970) J. Mo!.      Biol. 48:443, by the search for similarity 20 including the relative similarity or differences of the amino
                 Mol. Bioi.
    method of Pearson &     & Lipman (1988) Proc. Natl.  Nat!. Acad. Sci.      acid side-chain substituents,
                                                                                                  substitijents, for example, their hydrophobic-
    USA 85:2444, by computerized implementations of these                      ity, hydrophilicity, charge, size, and the like. In particular
    algorithms (GAP, BII/STFIT, FASTA, and TFASTA in the                       embodiments, conservative substitutions (i.e., substitution
    Wisconsin Genetics Software Package, Genetics Computer                     with an amino acid residue having similar properties) are
    Group, 575 Science Drive, Madison, Wis.), the Best Fit 25 made in the amino acid sequence encoding Nrk.
    sequence program described by Devereux, et a1.        al. (1984) Niicl,
                                                                     Nucl.                                                        hydropathic index
                                                                                  In making amino acid substitutions, the hydropathie
    Acid Res.
            Reg. 12:387-395, either using the default settings, or by          of amino acids may be considered. The importance of the
    inspection.                                                                hydropathic amino acid index in conferring interactive bio-
         An example of aa useful algorithm is PILEUP. PILEUP                   logic function on aaprotein is generally understood in the art
    creates aamultiple sequence alignment from aagroup ofrelated 30 (see, Kyte        Kvte and Doolittle (1982) J. Mol.   Mo!. BioI.
                                                                                                                                Biol. 157:105). It is
                                                 alignments. It
    sequences using progressive, pairwise aliglllilents.        It can also    accepted that the relative hydropathic character of the amino
    plot aatree showing the clustering relationships used to create            acid contributes to the secondary structure of the resultant
          alignment. PILEUP uses a
    the aligmnent.                     asimplification of the progres-         protein, which in tum turn defines the interaction of the protein
    sive alignment method of Feng &        & Doolittle (1987).1.
                                                           (1987) J.Mo!.
                                                                      .Mol.    with other
                                                                               with    other molecules,
                                                                                              molecules, for for example,
                                                                                                                  example, enzymes,
                                                                                                                              enzymes, substrates,
                                                                                                                                           substrates,
    Evol. 35:351-360; the method is similar to that described by 35 receptors, DNA, antibodies, antigens, and the like.
    Eva!.
    Higgins &  & Sharp (1989) CABIOS
                                 (7.48108 5:151-153.                              Each amino acid has been assigned aahydropathic index on
         Another example of aauseful algoritlml
                                         algorithm is the BLAST algo-          the basis of its hydrophobicity and charge characteristics
    ritimi, described in Altschul, et a1.
    rithm,                                al. (1990) .1.  Mo!. Biol.
                                                     J. Mol.    Bio!. 215:     (Kyte and Doolittle (1982) supra), and these are: isoleucine
    403-410 and Karlin, et a1. al. (1993) Proc. Nat!. Acad. Sci. USA           (+4.5); valine (+4.2); leucine (+3.8); phenylalanine (+2.8);
    90:5873-5787, A particularly useful BLAST progranl
    90:5873-5787.                                          program is the 40 cysteine/cystine (+2.5); methionine (+1.9); alanine (+1.8);
    WIJ-BLAST-2 program which was obtained from Altschul,
    WU-BLAST-2                                                                 glycine (-0.4); threonine (-0.7); serine (-0.8); tryptophan trvptophan
         al. (1996) Methods in Enzymology, 266:460-480; http://
    et a1.                                                                     (-0.9): tyrosine (-1.3);
                                                                               (-0.9);               (-1.3): proline
                                                                                                               praline (-1.6); histidine
                                                                                                                                   histidinc (-3.2);
                                                                                                                                               (-3.2):
    blast.wustL'edu/blast/README.html.
    blast.wustlledu/blast/README.html. WU-BLAST-2 uses                                               glutanoine (-3.5); aspartate (-3.5); aspar-
                                                                               glutamate (-3.5); glutamine
    several search parameters, which can be set to the default                 agine (-3.5); lysine (-3.9); and arginine (-4.5).
    values. The parameters are dynamic values and are estab- 45                   It is also understood                    the substitution of amino
                                                                                             understood in the art that tile
    Iifished                  itselfdepending
       shed by the program itself    depending upon the composition            acids can be made on tile the basis of
                                                                                                                    i,rhydrophilicity.   U.S. Pat. No.
                                                                                                                       hydrophi Ii city, U,S.      No,
    of the particular sequence and composition of the particular               4,554.101 states that the greatest
                                                                               4,554,101                     grm jtco local average hydrophilicity
    database against which the sequence of interest is being                   of aaprotein, as governed by the  ilie hydrophilicity of its adjacent
    searched; however, the values can be adjusted to increase                  amino acids, correlates with aabiological property of the pro-
    sensitivity.                                                            50 tein.
         An additional useful algorithm is gapped BLAST as                        As detailed in U.S. ti/S. Pat. No. 4,554,101,
                                                                                                                         4.554,101, the following
    reported by Altschul,
                    Altschul. et a1. al. (1997) Nucleic Acids Res.             hydrophilicity values have been assigned to amino acid resi-
    25:3389-3402.                                                              dues: arginine (+3.0); lysine (:!:3.0); (±3.0); aspartate (+3.0:!:1);
                                                                                                                                            (+3.0±1);
         A percentage amino acid sequence identity value can be
         A                                                                                    (+3.0±1); serine
                                                                               glutamate (+3.0:!:l);        serinc (+0.3);
                                                                                                                      (+0.3): asparagine (+0.2);
                                                                                                                                               (+0.2):
    determined by the number of matching identical residues 55 glutamine (+0.2); glycine (0); threonine (-0.4); proline
                           numberofresidues
    divided by the total number     of residues ofthe longer sequence          (-0.5±1); alanine (-0.5); histidine (-0.5); eysteine
                                                                               (-0.5:!:l);                                           cysteine (-1.0);
                     region. The longer sequence is the one having
    in the aligned region,                                                     niethionine (-1.3); valine (-1.5); leucine (-1.8); isoleucine
                                                                               methionine
    the most actual residues in the aligned region (gaps intro-                (-1.8); tyrosine (-2.3); phenylalanine (-2.5); tryptophan   trvptophan
                 WtJ-Blast-2 to maximize the alignment score are
    duced by WU-Blast-2                                                        (-3.4).
    ignored).                                                               60    Isolated nucleic acids of this invention include RNA,   RNA. DNA
         The alignment can include the introduction of gaps in the             (including cDNAs) and chimeras thereof. The isolated
    sequences to be aligned. In addition, for sequences which                  nucleic acids can further contain modified nucleotides or
    contain either more or fewer anlino amino acids than the polypep-          nucleotide analogs.
    tides specifically disclosed herein, it is understood that in one             The isolated nucleic acids encoding Nrk can be        he associated
    embodiment, the percentage of sequence identity will be 65 with appropriate expression control sequences, e.g., tran-
    determined based on the number of identical amino acids in                 scription/translation control signals and polyadenylation sig-
                   the total number of amino acids,
    relation to tile                                   acids. Thus, for        nals.




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        It will be appreciated that aavariety of promoter/enhancer          Typically, according to the present invention, transcription
    elements can be nsed  used depending on the level and tissue-           and translation of ol'the
                                                                                                   the coding sequence will result in produc-
    specific expression desired. The promoter can be constitutive                 of Nrk polypeptide.
                                                                            tion ofNrk
    or inducible (e.g., the metallothionein promoter or aahormone              The methods of the present invention provide aameans for
    inducible promoter), depending on the pattern of expression             delivering, and optionally expressing, nucleic acids encoding
    desired. The promoter can be native or foreign and can be aa            Nrk in aabroad range of host cells, including both dividing and
    natural or aasynthetic sequence. By foreign, it is intended that        non-dividing cells in vitro (e.g., for large-scale recombinant
    the transcriptional initiation region is not found in the wild-         protein production or for use in screening assays) or in vivo
    type host into which the transcriptional initiation region is 10 (e.g., for recombinant large-scale protein production, for cre-
                                                                          0
    introduced. TheThe promoter
                        promoter is chosen so that it will function in      ating an animal model for disease, or for therapeutic pur-
    the target cell(s) of interest. In particular embodiments, the          poses). In embodiments ofthe  of the invention, the nucleic acid can
    promoter functions in tumor cells or in cells that can be used          be expressed transiently in the target cell or the nucleic acid
    to express nucleic acids encoding Nrk for the purposes of               can be stably incorporated into the target ccll, cell, for example, by
    large-scale protein production. Likewise, the promoter can be 15 integration into the genome ofthe        of the cell or by persistent expres-
    specific for these cells and tissues (i.e., only show significant       sion from stably maintained episomes (e.g., derived from            from
    activity in the specific cell or tissue type).                                          Virus).
                                                                            Epstein Barr Vims).
        To illustrate, an Nrk coding sequence can be operatively               The isolated nucleic acids, vectors, methods and phanna-    pharma-
    associated with aacytomegalovims
                         cytomegalovirus (CMV) major immediate-             ceutical formulations of the present invention find use in a            a
    early promoter, an albumin promoter, an Elongation Factor 20         20 method of administering a       anucleic acid encoding Nrk to a         a
     1-cc (EFl-a)
    I-a    (EF1-ci) promoter, a aPyK promoter, a   aMFG
                                                    MEG promoter, a    a    subject. In this manner, Nrk can thus be produced in vivo in
    Rous sarcoma vims virus promoter, or a  aglyceraldehyde-3-phos-         the subject. The subject can have aadeficiency ofNrk,    of Nrk, or the
    phate promoter.                                                         production of aaforeign Nrk in thc     the subject can impart some
        Moreover, specific initiation signals are generally required        therapeutic cffect.
                                                                            therapcutic   efti2ct. Pharmaceutical formulations and mcthods methods
    for efficient translation of inserted protein coding sequences. 25   2 of delivering nucleic acids encoding Nrk for therapeutic pur-
    These translational control sequences, which can include the            poses are described herein.
    AfG initiation codon and adjacent sequences, can be         he of aa       Alternatively, an isolated nucleic acid encoding Nrk can be        he
    variety of origins, both natural and synthetic.                         administered to aasubject so that the nucleic acid is expressed
        Nrk can be expressed not only directly, but also as aafusion        by the subject and Nrk is produced and purified therefrom,
                                                                                     a
    protein with aa heterologous polypeptide, i.e. aa signal 30 i.e., as a source of recombinant Nrk protein. According to this
                                                                          0

                                                                            embodiment, the Nrk is secreted into the systemic circulation
    sequence for secretion and/or other polypeptide which will
                                                                            or into another body fluid (e.g., milk, lymph, spinal fluid,
                              of Nrk. In one embodiment, the heter-
    aid in the purification ofNrk.
                                                                                            easily collected and from which the Nrk can be
                                                                            urine) that is casily
    ologous polypeptide has a    aspecific cleavage site to remove the
                                                                            further purified.
                                                                            nlrther  purified. AsAs a afUrther
                                                                                                       further alternative,
                                                                                                                alternative, Nrk
                                                                                                                              Nrk protein
                                                                                                                                    protein can
                                                                                                                                              can be
                                                                                                                                                  be
    heterologous polypeptide from Nrk.   Nrk                             35
                                                                         35 produced in avian species and deposited in, and conveniently
        In general, aasignal sequence can be   he a
                                                  acomponent of the
                                                                            isolated from, egg proteins.
    vector and should be one that is recognized and processed                  Likewise, Nrk-encoding nucleic acids can be expressed
    (i.e., cleaved by aa signal peptidase) by the host cell. For            transiently or stably in aacell culture system for the purpose of
    production in aa prokaryote, aa prokaryotic signal sequence             screening assays or for large-scale recombinant protein pro-
    from, for example, alkaline phosphatase, penicillinase, lpp, 1pp, or 40 duction. The cell can be a     abacterial, protozoan, plant, yeast,
                                              be used. For yeast secre-
    heat-stable enterotoxin II leaders can beused.                          fungus, or animal cell. In one embodiment, the cell is an
                                                                            nmgus,
    tion, one can use, e.g., the yeast invertase, alpha factor, or acid                                             mammalian), and in another
                                                                            animal cell (e.g., insect, avian or manunalian),
    phosphiatase leaders, the Candida albicans
    phosphatase                               aihicans glucoamylase         embodiment a
                                                                            cmbodimcnt      amammalian cell (e.g., a      afibroblast).
    leader (EP 362,179), or tile   the like (see, for example WO                                                                            suitable
                                                                               It will be apparent to those skilled in the art that any suitablc
    90/13646). In mammalian cell expression, signal sequences 45         4 vector can be he used to deliver tile
                                                                                                               the isolated nucleic acids of this
                     polypeplides of the same or related species, as
    from secreted polypeptides                                                                                                interest.
                                                                            invention to the target cell(s) or subject of inter     est. The choice
    well as viral secretory leaders, for example, the herpes sim-           of delivery vector can be made based on a         anumber of factors
    plex glycoprotein D   D signal can be used.                             known in the art, including age and species of the target host,
        Other useful heterologous
                      lieterologous polypeptides which can be fused         in vitro vs. in vivo delivery, level and persistence of expres-
    to Nrk include those which increase expression or solubility 50      so sion desired, intended purpose (e.g., for therapy or drug
    of the fusion protein or aid in the purification of the fusion          screening), the target cell or organ, route of delivery, size of
                                                                            screcning),
    protein by acting as aaligand
                               higand in affinity purification. Typical     the isolated nucleic acid, safety concerns, and the like.
    fusion expression vectors include those exemplified herein as                                     include vims
                                                                               Suitable vectors includc         virus vectors (c.g.,
                                                                                                                                 (e.g., rctrovims,
                                                                                                                                         retrovirus,
    well as pMAL (New England Biolabs,  I3iolabs, Beverly, Mass.) and       alphavirus; vaccinia
                                                                            alphavims;     vaceinia vims;
                                                                                                        virus; adcnovims,
                                                                                                                 adenovirus, adcno-associated
                                                                                                                                 adeno-associated
              (Pharniacia. Piscataway, N.J.) which nlse
    pRIT5 (Pharmacia,                                   fuse maltose EF 55
                                                                         55 vims,
                                                                            virus, or herpes simplex vims),  virus), lipid vectors, poly-lysine
    binding protein or protein A, respectively, to the target recom-                                polyamnino polymer vectors that are nsed
                                                                            vectors, synthetic polyamino                                        used
    binant protein.                                                                nucleic acid molecules, such as plasmids, and the like.
                                                                            with nncleic
        The isolated nucleic acids encoding Nrk can be incorpo-                As used herein, the term viral vector or viral delivery vector
    rated into aavector, e.g., for the purposes of cloning or other         can refer to aavims
                                                                                              virus particle that f1.mctions
                                                                                                                     functions as a  anucleic acid
                                                            production. 60
    laboratory manipulations, recombinant protein production,            so delivery vehicle, and which contains the vector vectorgenome
                                                                                                                                     genome pack-
    or gene delivery. In particular embodiments, the vector is an           aged within aavirion. Alternatively, these tenns terms can be used to
    expression vector. Exemplary vectors include bacterial arti-            refer to the vector genome when used as aanucleic acid deliv-
    ficial chromosomes, cosmids, ycast yeast artificial chromosomes,                              absence of thc
                                                                            ery vehicle in the absencc          the virion.
              plasinids, lipid vectors and viral vectors. By the ternl
    phage, plasmids,                                               term        Protocols for producing recombinant viral vcctors   vectors and for
    express, expresses or expression of aa nucleic acid coding 65        os using viral vectors for nucleic acid delivery can he           found in
                                                                                                                                        be f(Jund
    sequence, in particular an Nrk coding sequence, it is meant             Current Protocols in Molecular Biology, Ausubel, F. M. et a!.         al.
    that the sequence is transcribed, and optionally, translated.           (eds.) Greene Publishing Associates, (1989) and other stan-




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                                       15                                                                             16
                                                                                                                      16
                                (e.g.. Veetors
    dard laboratory manuals (e.g.,     Vectors for Gene Therapy. In:                                    (1996)].
                                                                                 e.g., Lieber, et al. (1996)      J. Virol. 70:8944-60) in which essen-
             l'rotocols in Human Genetics. Jolm
    Current Protocols                            John Wiley and Sons,            tially all of the adenovirus genomic sequences are deleted.
    Inc.: 1997).                                                                    Adeno-associated viruses (AAV) have also been employed
       Particular examples of viral vectors are those previously                 as nucleic acid delivery vectors. For aareview, see Muzyczka
    employed for the delivery of nucleic acids including, for                           Curr liJpics
                                                                                 et al. Curro    Topics in Micro.
                                                                                                               li'licro, and lmmunol.
                                                                                                                               lmn,unol. (1992) 158:97-
                           adenovirus, AAV herpes virus, and pox-
    example, retrovirus, adenovirus,AAV,                                         129). AAV are among the few         few viruses that can integrate their
    virus vectors.                                                               DNA into non-dividing cells, and exhibit aahigh frequency of
                                                                                 stable integration
                                                                                 stable  integration into
                                                                                                        into human
                                                                                                              human chromosome
                                                                                                                         chromosome (see,(see, for
                                                                                                                                               for example,
                                                                                                                                                    example,
       In certain embodiments of the present invention, the deliv-
                                                                                 FInite, etal.
                                                                                 Flotte,  et al. (1992)Am.
                                                                                                 (1992) Am. J. Respir. Cell. Mol. BioI.   Biol. 7:349-356;
    ery vector is an adenovirus vector. The tenn    term adenovirus as to
                                                                              10 Samulski, et a!.,al.. (1989)J.
                                                                                                       (1989)1. Virol. 63:3822-3828; McLaughlin,
    used herein is intended to encompass all adenoviruses,
                                                                                 et al. (1989) J. Virol. 62:1963-1973). A            A variety of nucleic
    including the Mastadenovirus and Aviadenovirus genera. To
                                                                                 acids have been introduced into different cell types using
                                                            adenovinises
    date, at least forty-seven human serotypes of adenoviruses
                                                                                 AAV vectors (see, for example, Hermonat, et al. (1984) I'roc.          Proc.
    have been                                     al., Virology, volume
          been identified (see, e.g., Fields, et a!.,                            Nat!. ,4cad.
                                                                                        Acad. Sci. USA 81     81:6466-6470;
                                                                                                                  :6466-6470; Tratschin, et al. (1985)
                                                    Publishers), In one
    2, chapter 67 (3d ed., Lippincott-Raven Publishers).                                       Bird. 4:2072-2081;
                                                                                                      4:2072-2081: Wondisford, et a!.       al. (1988) Mol.
                                                                                                                                                         Mo!.
                                                                              ts Mol. Cell. BioI.
                                                                              15
    embodiment, the adenovirus is aahuman serogroup C               C aden-      Endocrinol. 2:32-39; Tratschin, et         ci al. (1984)J.
                                                                                                                                   (1984) J. Tirol.
                                                                                                                                              Virol. 5]
                                                                                                                                                     51:611-
                                                                                                                                                        :611-
    ovirus. in another embodiment the adenovirus is serotype 2
    ovirus,                                                                 2    6I9 and Flotte, et al. (1993)
                                                                                 619;                         (1993)].     Biol. Chem.
                                                                                                                        J. BioI.  Chen,. 268:3781-3790).
    (Ad2) or serotype 5S (Ad5) or simian adenovirus such as                         Any suitable method known in the art can be used to
    AdC68.
    AdC68.                                                                       produce AAV vectors expressing the nucleic acids encoding
       Those skilled in the art will appreciate that vectors can be 20        20 Nrk of this invention (see, e.g.,      e.g.. U.S. Pat.
                                                                                                                                     Pat, Nos. 5,139,941;
    modified or targeted as described in Douglas, et a!.         al. (1996)      5,858,775 6,146,874
                                                                                 5,858,775;     6,146,874 for  for illustrative
                                                                                                                     illustrative methods).
                                                                                                                                    methods). In In one
                                                                                                                                                    one par-
                                                                                                                                                          par-
    Nature Biotechnology 14:1574 and U.S. Pat. Nos. 5,922,315;  5,922.315:       ticular method, AAV stocks can be produced by co-transfec-
                and/or 5,712,136.
    5,770,442 andlor                                                             tion of aarep/cap vector encoding AAV packaging hlllctions        functions
       An adenovirus genome can be manipulated such that it                      and the template encoding the AAV vDNA into human cells
    encodes and expresses aanucleic acid of interest but is inacti-   macti- 25 infected with the helper adenovirus (Samnlski,  (Samulski, et al. (1989)
                                                                                                                                                    (1989)].J.
             terms of its ability to replicate in aanormal lytic
    vated in tenns                                                lyric viral    Virology 63:3822). The AAV rep andlor        and/or cap genes can alter-
    life cycle. See, for example, Berkner, et al. (1988) Bio           Tech-
                                                                   BioTech-      natively be provided by aapackaging cell that stably expresses
    niques 6:616; Rosenfeld, et a!. al. (1991) Science 252:431-434;              the genes (see, e.g., Gao, et      ci al. (1998) Human Gene Therapy
    and Rosenfeld et al. (1992) Cell 68:143-155.                                 9:2353; Inoue, et a1.   al. (1998)
                                                                                                             (1998)1    J. Virol. 72:7024; U.S. Pat. No.
       Recombinant adenoviruses can be advantageous in certain 30 5,837,484;     5.837.484 WO 98/27207; 98/27207: U.S. Pat. No. 5,658,785; 5,658,785: WO
    circumstances in that they are not capable of infecting non-                 96/17947).
                                                                                 96117947).
    dividing cells and can be used to infect aawide variety of cell                 Another vector for use in the present invention is Herpes
                                          Furthermore, the virus par-
    types, including epithelial cells. Furthennore,                              Simplex Virus (HSV). HSV       IISV can be modified for the delivery
    ticle is relatively stable and amenable to purification and                  of nucleic acids to cells by producing aavector that exhibits
    concentration, and can be  he modified so as to afkctali'ect the spec- 35 only the latent function for long-tenn      long-term gene maintenance.
    tnim of infectivity. Additionally, introduced adenoviral DNA
    tnun                                                                         FISV vectors are useful for nucleic acid delivery because they
                                                                                 HSV
    (and foreign DNA contained therein) is not integrated into the               allow for aa large DNA insert of up to or greater than 20
    genome of aahost cell but remains episomal, thereby avoiding                 kilobases;
                                                                                 kilo bases; they can be produced with extremely high titers;
    potential problems that can occur as aaresult of insertional                 and they have been shown to express nucleic acids for aalong
    mutagenesis in situations where introduced DNA becomes 40 period of time in the central nervous system as long as the
    integrated into the host genome (e.g., as occurs with retroviral             lytic cycle does not occur.
    DNA). Moreover, the carrying capacity of the adenoviral                         In other particular embodiments of the present invention,
    genome for foreign DNA is large relative to other delivery                   the delivery vector of   ofinterest
                                                                                                             interest is aaretrovirus. The development
    vectors (Haj-Ahmand and Graham (1986)   (1986),!. J. Virol. 5757:267).
                                                                     :267).      of specialized cell lines (termed packaging cells) which pro-
       In particular embodiments, the adenovirus genome con- 45 duce only repl                replication-del'ective
                                                                                                    ication-defective retroviruses has increased the
    tains aadeletion therein, so that at least one of the adenovirus             utility of retroviruses for gene therapy, and defective retrovi-
    genomic regions
    genomic    regions does
                       does not
                              not encode
                                   encode aafunctional
                                              functional protein.
                                                             protein. ForFor     ruses are
                                                                                 ruses   are characterized
                                                                                               characterized for   for use
                                                                                                                         use in
                                                                                                                              in gene
                                                                                                                                  gene transfer
                                                                                                                                         transfer for
                                                                                                                                                    for gene
                                                                                                                                                         gene
    example, an adenovirus vectors can have El genes and pack-                   therapy purposes (for aa review, see Miller (1990) Blood
    aged using aa cell that expresses the El proteinsproteins (e.g., 293         76:271). A replication-defective retrovirus can be packaged
    cells). The E3 region is also frequently deleted as well, as 50 into virions which can be used to infect aatarget cell through
    there is no need for complementation of this deletion. In                    the use of aahelper virus by standard techniques.
    addition, deletions in the E4, E2a, protein IX, and fiber pro-                  In addition to viral transfer methods. methods, such as those illus-
    tein regions have been described, e.g.,e.g.. by Annentano,
                                                      Armentano, et al.          trated above, non-viral methods can also be employed. Many
    (1997) J. Virology 71 71:2408;
                             :2408; Gao, et a!. al. (1996) 1   J. Virology       non-viral methods of nucleic acid transfer rely on nomlal            normal
    70:8934: Dedieu, et al. (1997)
    70:8934;                  (1997)]. J. Virology 7171:4626;
                                                        :4626; Wang, et 55    ss mechanisms used by manmlalian mammalian cells for the uptake and
    al. (1997) Gene Therapy 4:393; U.S. Pat. No. 5,882,877. In                   intracellular transport of macromolecules. In particular
    general, the deletions are selected to avoid toxicity to the                 embodiments, non-viral nucleic acid delivery systems rely on
    packaging cell. Combinations of deletions that avoid toxicity                endocytic pathways for the uptake of the nucleic acid mol-
    or other deleterious effects on the host cell can be routinely               ecule by the targeted cell. Exemplary nucleic acid delivery
    selected by those skilled in the art.                                     60 systems of this type include Iiposomalliposomal derived systems, poly-
       Those skilled in the art will appreciate that typically, with             lysine conjugates, and artificial viral envelopes.
    the exception of the E3 genes, any deletions will need to be                                     embodiments. plasmid vectors are used in the
                                                                                    In particular embodiments,
    complemented in order to propagate (replicate and package)                   practice of the present invention. Naked plasmids can be                   be
                                transcompleinentation with a
    additional virus, e.g., by transcomplementation                  apack-      introduced into muscle cells by injection into the tissue.
    aging cell.                                                               65 Expression can extend over many months,      months, although the num-
       The present invention can also be practiced with gutted
       111e                                                                      ber of positive cells is typically low (Wolff, et al. (1989)
    adenovinis vectors (as that term is understood in the art, see
    adenovirus                                                                   Science 247:247). Cationic lipids have been demonstrated to




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    aid in introduction of nucleic acids into some cells in culture          nology: Methods in Enzymology 185, Academic Press, Sail            San
    (Feigner and Ringold (1989) Nature 337:387). Injection of                Diego, Calif. Examples of vectors for expression in yeast S.         S.
    cationic lipid plasmid DNA complexes into the circulation of             cerevisiae include pYepSec
                                                                                                    pYepSec11(Baldari, et al. (1987) EMBO .1.     J.
    mice has been shown to result in expression of the DNA in                 6:229-234), pMFa (KUl:jan
                                                                                                      (Kurjan and Herskowitz (1982) Cell
    lung (Brigham, et a!.al. (1989)Am.
                             (1989) Am. I. J. Med. Sci. 298:278). One 5 30:933-943), pJRY88 (Schultz, et a!.          al. (1987) Gene 54:113-
    advantage of plasmid DNA is that it can     call be introduced into       123), and pYES2 (INVITROGEN Corporation, San Diego,
    non-replicating cells.                                                               Baculovinms vectors available for expression of
                                                                             Calif.). Baculovirus
       In aarepresentative embodiment, a      anucleic acid molecule          nucleic acids to produce proteins in cultured insect cells (e.  (e.g.,
                                                                                                                                                 g.,
    (e.g., aaplasmid) can be entrapped in aalipid particle bearing            Sf9
                                                                             Sf   9 cells) include the pAc series (Smith, et al. (1983) Mol.
    positive charges on its surface and, optionally, tagged with 10       to Cell. Bioi.
                                                                                     Biol. 3:2156-2165) and the pVL series (Lucklow and
    antibodies against cell-surface antigens of the target tissue             Summers (1989) T1rology
                                                                              SUlnmers             Virology 170:31-39).
    (Mizuno. et a!.
    (Mizuno,        al. (1992) No Shinkei Geka 20:547; WO                                          mammalian expression vectors include
                                                                                 Examples of mammaliall
    91/06309; Japanese patent application 1047381; and Euro-                 pCDM8 (Seed (1987) Nature 329:840) and pMT2PC (Kauf-
    pean patent publication EP-A-43075).                                                al. (1987) EMBOJ.
                                                                              man, et a1.          EMBO.J. 6:187-195). When used in mam-     main-
       Liposomes that consist of amphiphilic cationic molecules 15 malian cells, the expression vector's control umctions           functions are
    are useful non-viral vectors for nucleic acid delivery in vitro          often provided by viral regulatory elements. For example,
    and in vivo (reviewed in Crystal (1995) Science 270:404-410;              commonly used promoters are derived from polyoma, aden-
                                                                             conunonly
                                                    2:291-297: Behr,
    Blaese, et al. (1995) Cancer Gene Ther. 2:291-297;          I3ehr, et                                        Simian Virus
                                                                             ovirus 2, cytomegalovirus and Simiall        V'mnms 40.
    al. (1994) Biocon/ugate Chem. 5:382-389; Remy, et a!.             al.        In addition to the regulatory control sequences discussed
             Biocon/ugate Chem. 5:
    (1994) Bioconjugate             5:647-654:
                                       64 7-654; and Gao, et al. (1995) 20 herein, the recombinant expression vector can contain addi-
    Gene Therapy 2:710-722). The positively charged liposomes                 tional nucleotide sequences. For example, the recombinant
    are believed to complex with negatively charged nucleic acids            expression vector can encode aa selectable marker gene to
                       interactions to form lipid:nucleic acid com-
    via electrostatic interactiollS                                          identify host cells that have incorporated the vector.
    plexes. The lipid:nucleic acid complexes have several advan-                            can be introduced into prokaryotic or eukaryotic
                                                                                 Vectors Call
    tages as nucleic acid transfer vectors. Unlike viral vectors, the 25 cells via conventional transformation or transfection tech-
    lipid:nucleic acid complexes can be nsed
    lipid:nudeic                               used to transfer expres-                                              transformation and trallS-
                                                                             niques. As used herein, the terms transfonnation                trims-
    sion cassettes of essentially unlimited size. Since the com-             fection refer to aa variety of art-recognized teclmiques
                                                                                                                                  techniques for
                                                      inummnogenic and
    plexes lack proteins, they can evoke fewer immunogenic                   introducing foreign nucleic acids (e.g., DNA) into aahost cell,
    inflammatory responses. Moreover, they calmot    cannot replicate or     including calcium phosphate or calcium chloride co-precipi-
    recombine to form all an infectious agent and have low integra- 30 tation, DEAE-dextran-mediated transfection,   transfeetion, lipofection,
    tion frequency. AA number of publications have demonstrated               electroporation. microinjection,
                                                                             electroporation,      microinjection. DNA-loaded liposomes,
          amphiphilic cationic lipids can mediate nucleic acid
    that alnphiphilic                                                        lipofectamine-DNA complexes, cell sonication, gene bom-          born-
                                                      (1987) Proc. Natl.
    delivery in vivo and in vitro (FeIgner, et al. (1987)Proc.     Nail.      barulinent using high velocity microprojectiles, alld
                                                                             bardment                                               and viral-me-
    Acad. Sci.
            Sd. U5:4
                LN4 84:7413-17; Loeffler, et al. (1993) Methods in            diated transfection.
                                                                             diated    transl'ection. Suitable
                                                                                                       Suitable methods
                                                                                                                 methods forfor transforming
                                                                                                                                transforming or   or
    Enzymology 217:599-618; Feigner, et a!.         al. (1994) J. BioI.       transtecting host cells can be found in Sambrook, et a!.
                                                                   Biol. 35 trallsiecting                                                 al. (Mo-
    C/room, 269:2550-2561).
    Chem.                                                                    lecular Cloning: A    A Laboratory Manual, 2nd Edition, Cold
                                    polvpeptide can be produced in,
       As indicated above, Nrk polypeptide                                                                        (1989)), and other laboratory
                                                                             Spring Harbor Laboratory press (1989»,
    and optionally purified from, cultured cells or organisms                manuals.
    expressing aanucleic acid encoding Nrk for aavariety of pur-                 Often only aasmall fraction of cells (in particular, mamma-
    poses (e.g., screening assays, large-scale protein production, 40 lian cells) integrate the foreign DNA into their genome. In
    therapeutic methods based on delivery of purified Nrk).                             identify and select these integrants, a
                                                                             order to identity                                 anucleic acid that
       In particular embodiments, an isolated nucleic acid encod-            encodes aaselectable marker (e.g., resistance to alltibiotics)
                                                                                                                                      antibiotics)
    ing Nrk can be introduced into aacultured cell, e.g., aacell ofa of a    can be introduced into the host cells along with the nucleic
                  immortalized cell line for recombinant protein
    primary or inunortalized                                                 acid of interest. In particular embodiments, selectable mark-
    production. The recombinant cells can be used to produce the 45 ers include those that confer resistance to dmgs,             drugs, such as
    Nrk polypeptide, which is collected from the cells or cell                G4 18, hygromycin
                                                                             G418,    hygromnycin and methotrexate. Nucleic acids encoding
    culture medium. Likewise, recombinant protein can be pro-                aaselectable marker can be introduced into aahost cell on the
    duced in, and optionally purified from all     an organism (e.g., a a     same vector as that comprising the nucleic acid of interest or
    microorganism, animal or plant) being used essentially as aa             can be introduced on aaseparate vector. Cells stably trans-
    bioreactor.                                                           50 fected with the introduced nucleic acid can be identified by
       Generally, the isolated nucleic acid is incorporated into an          drug selection (e.g., cells that have incorporated the select-
    expression vector (viral or nonviral as described herein).               able marker gene will survive, while the other cells die).
    Expression vectors compatible with various host cells are                    Recombinant proteins can also be produced in aatransgenic
    well-known in the art and contain suitable elements for tran-            plant in which the isolated nucleic acid encoding the protein
    scription and translation of nucleic acids. Typically, an 55 is inserted into the nuclear or plastidic genome.         gcnome. Plant trans-
    expression vector contains all    an expression cassette, which          formation is known as the art. See, in general, Methods in
    includes, in the 5' to 3' direction, aa promoter, aa coding               Enzvmology Vol. 153 (Recombinant DNA Part D) 1987, Wu
                                                                              Enzymology                                                        Wti
    sequence encoding an Nrk operatively associated with the                 and Grossman Eds., Academic Press and European Patent
    promoter, and, optionally, aatermination sequence including aa           Application EP 693554.
    stop signal for RNA polymerase and aapolyadenylation
                                                polvadenylation signal 60 so     The present
                                                                                 The   present invention
                                                                                                invention ulrther
                                                                                                           further provides
                                                                                                                   provides cultured
                                                                                                                              cultured or
                                                                                                                                        or recom-
                                                                                                                                           recom-
    for polyadenylase.                                                       binant cells containing the isolated nucleic acids encoding
       Expression vectors can be designed for expression of                                         screening methods and large-scale protein
                                                                             Nrk for use in the screcning
                                                               example,
    polypeptides in prokaryotic or eukaryotic cells. For eXalnple,           production methods of the invention (e.g., Nrk is produced
                   can be
    polypeptides Call    he expressed in bacterial cells such as E.    E.                                     and, optionally, purified). In one
                                                                             and collected from the cells alld,
    co/i, insect cells (e.g., in the baculovirus expression system), 65 particular embodiment, the invention provides a
    coli,                                                                                                                          acultured cell
    yeast cells or mammalian cells. Some suitable host cells are             containing an isolated nucleic acid encoding Nrk as described
    discussed further in Goeddel (1990) Gene Expression Tech-                above for use in aascreening assay for identifying aanicotina-




                                                                                                                                        CDXDE 000000042
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                                                             US 8,383,086 B2
                                    19                                                                        20
    mide riboside-related prodrug. Also provided is aacell in vivo               Alternatively, an Nrk fusion protein can be provided to
    produced by aamethod comprising administering an isolated                facilitate binding of Nrk to aa matrix. For example, glu-
    nucleic acid encoding Nrk to aasubject in aatherapeutically               tathione-S -trans ferase fusion proteins can be adsorbed onto
                                                                             tathione-S-transferase
    effective amount.
    efit.'Ctive                                                              glutathione SEPHAROSE beads (Sigma Chemical, St. Louis,
                                                            adniinistra- 5 Mo.) or glutathione derivatized microtitre plates, which are
        For in vitro screening assays and therapeutic administra-
    lion, Nrk polypeptides can be purified from cultured cells.
    tion,                                                                     then combined with the test agent, and the mixture incubated
    Typically, the polypeptide is recovered from the culture                  under conditions conducive to complex formation  formation (e.g., at
    medium as a    a secreted polypeptide, although it also can be                                                                    phosphoiyla-
                                                                             physiological conditions for salt and pH) and phosphoryla-
    recovered from host cell lysates when directly expressed                                       above,
                                                                             tion as described above.
    without aasecretory signal. When Nrk is expressed in aarecom-reeom- 1010
                                                                                 In another embodiment, a       anicotinamide
                                                                                                                   nicotinainide riboside-related
                                                                                 [n
    binant cell other than one of human origin, the Nrk is com-
                                                                             prodrug is identified in aacell-based assay. The steps involved
    pletely free of proteins or polypeptides of human origin.
                                                                             in aathis screening assay of the invention include, contacting
    However, it is necessary to purify Nrk from recombinant cell
    proteins or polypeptides to obtain preparations that are sub-            aafirst test cell which expresses aarecombinant Nrk polypep-
    stantially homogeneous as to Nrk. As aafirst step, the culture 15     is tide  with aanicotinamide riboside-related test agent; contact-
    medium or lysate is centrifuged to remove particulate cell               ing aasecond test cell which lacks aafnnctional
                                                                                                                         functional Nrk polypep-
    debris. The membrane and soluble protein fractions are then              tide with the same test agent; and determining the viability of
    separated. The Nrk can then be purified from the soluble                 the first and second test cells wherein sensitivity or cell death
    protein fraction. Nrk thereafter can then be purified from                of the
                                                                             of   the first
                                                                                       first cell
                                                                                             cell and
                                                                                                  and not
                                                                                                        not the
                                                                                                             the second
                                                                                                                  second cell
                                                                                                                           cell is
                                                                                                                                is indicative
                                                                                                                                   indicative of
                                                                                                                                               of a
                                                                                                                                                  a
    contaminant soluble proteins and polypeptides with, for 20 nicotinamide riboside-related prodrug. Wllile                 While the cell-based
    example, the following suitable purification procedures: by              assay can be carried out using any suitable cell including
    fractionation on immunoaffinity or ion-exchange COIUlilllS;columns;      bacteria, yeast, insect cells (e.g., with aabaculovinis
                                                                                                                              baculovims expres-
              precipitation: reverse phase HPLC;
    ethanol precipitation;                   HI'LC: chromatography            sion system), avian cells, mammalian cells, or plant cells, in
    on silica or on aacation-exchange resin such as DEAE; DEAF; chro-        particular embodiments, the test cell is aamammalian cell. In
    matofocusing; SDS-PAGE; anuuonium ammonium sulfate precipitation; 25 a      t'urtheremihodinient,
                                                                              afurther   embodiment, said cell lacks aafunctional endogenous
                           far example, SEPHADEX
    gel filtration using, i()r             SEPELADEX G-75; 0-75; ligand      Nrk (e.g., the endogenous Nrk has been deleted or mutated or
    affinity chromatography, and protein A SEPHAROSE col-                     the cell does not express an Nrk). Said first test cell is trans-
    umns to remove contaminants such as IgG.                                 formed or transfected with an expression vector containing an
                 phosphomylates tiazofurin, thereby performing the
        As Nrk phosphorylates                                                exogenous Nrk so that upon exposure to aatest agent, viability
                              it. Nrk is a
    first step in activating it,         auseful target for identifying 30 of the transformed cell can be compared to a          asecond test cell
    compounds which upon phosphorylation by Nrk and subse-                   lacking any Nrk activity. Thus, it can be ascertained whether
                                    IMPDH As it has been shown that
    quent adenylylation inhibit IMPDH.As                                     the test agent is being activated in an Nrk-dependent malmer. maimer.
    inhibitors of the IMPDH enzyme function as anti-bovine viral             Cells modified to express aarecombinant Nrk can be tran-
    diarrhoea virus agents (Stuyver, et a1. al. (2002)
                                                (2002),4n1ivir    Cheni.
                                                        Antivir. Chem.        siently or
                                                                              siently  or stably
                                                                                           stably transformed
                                                                                                  transformed with
                                                                                                                 with the
                                                                                                                        the nucleic
                                                                                                                            nucleic acid
                                                                                                                                     acid encoding
                                                                                                                                          encoding
    (7heniother. 13(6):345-52); inhibitors ofIMPDH
    Chemother.                                 of1MPDl Iblock hepa- 35    ss Nrk. Stably transformed cells can be generated by stable
    tilis B
    titis Breplicon colony-fornling
                      colony-forming efficiency (Zhou, et a1. al. (2003)     integration into the genome of the organism or by expression
     Hro/ogy 310(2):333-42); and tiazofurin (Cooney, et al.
    Virology                                                          al,    from aastably maintained episome (e.g., Epstein Barr Virus
    (1983) ,4dv. Enzyme Regnl.
    (1983)Adv.             Regul. 21 21:271-303)
                                       :271-303) and benzamide ribo-         derived episomes).
                          (1992)1
    side (Krohn, et al. (1992)     J. Med. Chem.
                                           C/iein. 35:511-517), when             Suitable methods for determining cell viability are well-
    activated, inhibit IMP dehydrogenase; it is contemplated by 40 established in the art. One such method uses non-permeant
    using Nrk and the nicotinamide riboside pathway for drug                                propidiwn iodide, 7-Amino Actinomycin D)
                                                                             dyes (e.g., propidium                                          0) that
    screening, anticancer and antiviral agents will be identified.                                                      membranes or active cell
                                                                             do not enter cells with intact cell membralleS
    Accordingly, the present invention provides methods for                                               damaged plasma membranes or with
                                                                             metabolism. Cells with danlaged
    identifying aanicotinamide riboside-related prodrug. As used             impaired/no cell metabolism are unable to prevent the dye
    herein, aanicotinamide riboside-related prodrug is any analog 45 from entering tlle         the cell. Once inside the cell, the dyes bind to
    of nicotinamide riboside (e.g., tiazofurin ,md;uid benzamide ribo-       intracellular structures producing llighlyhighly fluorescent adducts
    side) that, when phosphorylated by Nrk, ultimately can result             which identify the cells as non-viable.
                                                                                                                 non-viable, Alternatively, cell
    in cell death or antiviral activity.                                                            determined by assaying for active cell
                                                                             viability can be detennined
        In one embodiment, aanicotinamide riboside-related pro-              metabolism which results in the conversion ofa       of a non-fluores-
    drug is identified in aa cell-free assay using isolated Nrk 50        so cent substrate into a  ahighly fluorescent product (e.g., fluores-
    polypeptide. The steps involved in aathis screening assay of                    diacetate).
                                                                             cein diacetate    ).
    the invention include, isolating or purifying an Nrk polypep-                                        screening method of the invention Call
                                                                                 The test cells of the screelling                               can
                                               nicotinamide riboside-
    tide; contacting or adding at least one nicotinanlide                     be cultured lUlder
                                                                                             wider stalldard
                                                                                                    standard conditions of temperature, incu-
    related test agent to aapoint of application, such as aawell, in         bation time, optical density, plating density and media com-
    the plate containing the isolated Nrk and aasuitable phosphate 55     55 position corresponding to the nutritional and physiological
                    ATP. Mg-ATP, Mn-ATP, Mg-GTP or Mn-GTP;
    donor such as ATP,                                                       requirements of the cells.cells, However, conditions for mainte-
          determining whether said test agent is phosphorylated by
    and deternlining                                                         nance and growth of the test cell can be different from those
                                         phosphorvlation of said test
    said Nrk polypeptide wherein phosphorylation                             for assaying candidate agents in the screening methods of the
                         ofaa nicotinamide riboside-related prodmg.
    agent is indicative of                                      prodrug.     invention. Any techniques known in the art can be applied to
    The phosphate donor can be added with or after the agent and 60       so establish the optimal conditions.
    the assay can be carried out under suitable assay conditions                 Screening assays of the invention can be performed in any
    for phosphorylation, such as those exemplified herein.                   format that allows rapid preparation and processing of mul-
        With respect to the cell-free assay, test agents can be syn-                                        for exaniple, multi-well plates of
                                                                             tiple reactions such as in, forexanlple,                         ofthe
                                                                                                                                                the
    thesized or otherwise affixed to aa solid substrate, such as              96-well variety. Stock solutions of the agents as well as assay
    plastic pins, glass slides, plastic wells, and the like. Further, 65 components are prepared manually and all subsequent pipet-
    isolated Nrk can behe free in solution, affixed to aa solid support,      ting, diluting, mixing, washing, incubating, sample readout
    or expressed on aacell surface.                                                                                       conunercially available
                                                                             and data collecting is done using commercially




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                                     21                                                                           22
    robotic pipetting equipment, automated work stations, and                   env. Those progeny found to contain at least one copy of the
                                                                               eny.
                 instruments for detecting the output of the assay.
     analytical instmments                                                      construct in their genome are grown to maturity.
                                                                               constmct
        In addition to the reagents provided above, aa variety of                  Methods of producing transgenic avians are also known in
    other reagents can be he included in the screening assays of the           the art, see, e.g., U.S. Pat. No. 5,162,215.
                                               salts, neutral proteins, 55
     invention. These include reagents like saIts,                                 Nicotinamide riboside-related test agents can be        he obtained
                                  etc Also, reagents that otherwise
    e.g., albumin, detergents, etc.                                            from aawide variety of sources including libraries of synthetic
     improve the efficiency of the assay, such as protease inhibi-                            compowids. Such agents can include analogs or
                                                                               or natural compolUlds.
     tors, nuclease inhibitors, anti-microbial agents, and the like             derivatives of nicotinamide riboside as well as tiazofurin and
    can be used.                                                               benzamide riboside and analogs or derivatives thereof.
        Screening assays can also be carried out in vivo in animals.
                                                                animals, 10 to     Alternatively, the isolated Nrk polypeptide can be used to
                                                            non -
     Thus, the present invention provides aatransgenic non-human  human        generate aacrystal stmcture
                                                                                                       structure ofNrk
                                                                                                                 of Nrk and synthetic nicotinamide
     animal containing an isolated nucleic acid encoding Nrk,                  riboside analogs can be designed. Based on the crystal stmc-       struc-
    which can be produced according to methods well-known in                   ture of K      co/i panK, Asp127
                                                                                          E. coli           Asp 127 appears to playa
                                                                                                                                   play akey role in
    the art. The transgenic non-human animal can be any species,               transition-state stabilization of the transferring phosphoryl
     including avians and non-human mammals. IN accordance 15               ts group of a   apantothenate kinase (Yun, et al. (2000)   (20(X)) J. BioI.
                                                                                                                                                   Biol.
    with the invention, suitable non-human manmlals mammals include             Chem. 275:28093-28099). Accordingly, it is contemplated
                                                                                Chern.
                          guinea pigs, goats, sheep, pigs and cattle.
    mice, rats, rabbits, gninea                                    cattle,     the corresponding Nrk mutant, e.g.,      e.g.. NRK2-ElOOQ,
                                                                                                                              NRK2-E100Q. can be
     Mammalian models for cancer, bovine diarrhoea viral infec-                used to generate aa stable complex between an Nrk and aa
    tion or hepatitis CC viral infection can also be used.                                             Nrk2-E 100Q+nicotinamnide riboside+ATP
                                                                               nucleotides (i.e., Nrk2-ElOOQ+nicotinamide
        A nucleic acid encoding Nrk is stably incorporated into 20          20 can be stable enough to crystallize). Alternatively, Nrk can
     cells within the transgenic animal (typically, by stable inte-             produce a  astable complex in the presence of an inhibitor such
     gration into the genome or by stably maintained episomal  episonial       as an ATP-mimetic compound (e.g.,      (e.g.. AMP-PNHP and AMP-   AMi'-
     constructs). It is not necessary that every cell contain the
    constmcts).                                                                 PCE-1 22P). For metabolite kinases, bisubstrate inhibitors have
                                                                                PCH
     transgene,
    trans  gene, and the animal can be aachimera of modified and               been very successfully employed. For example, thymidylate
     unmodified cells, as long as a
    ullinodified                    asufficient number of  ofcells
                                                              cells con- 25 25 kinase, which
                                                                                          w16ch pedorms
                                                                                                   performs the reaction, dTMP+ATP->dTDP+
                                                                                                                               dTMP+ATP->d'i'DP+
     lain and express the Nrk trans
    tain                          transgene
                                       gene so that the animal is aa            AMP, is k strongly
                                                                                           orI ,iigly inhibited by dTpppppA (Bone, et al. (1986)
     useful screening tool (e.g., so that administration of test
    usefiJl                                                                    I
                                                                               J. B/ui.   Chnn,. 261:
                                                                                   BioI. Chern.    261:16410-16413)                    structures were
                                                                                                         1641 0-16413) and crystal stmctures
     agents give rise to detectable cell death or anti-viral activity).        obtained with this inhibitor (Lavie, et al. (1998) Biochemistry
                                                                                                                                         Biochemistry
        Methods of making transgenic animals are known in the                  37:3677-3686).
                constructs can be introduced into the germ line of an 30
     art. DNA constmcts                                                     30     It has been shown that the best inhibitors typically contain
     avian or mammal to make aatransgenic animal. For example,                 one or two more phosphates than the two substrates combined
                                   construct can be incorporated into
    one or several copies of the constmct                                      (i.e., dTppppA is not as good aasubstrate as dTpppppA). On
                                                            techniques.
    the genome of an embryo by standard transgenic teclmiques.                 the basis of the same types of results with adenosine kinase
        In an exemplary embodiment, aa transgenic non-human                     (Bone, et al. (1986) supra), it is contemplated that NrppppA
     animal is produced by introducing aatransgene into the geml    gel 111 35
                                                                            35 (i.e., an NAD+ analog with two extra phosphates) will be             he aa
     line of the non-human animal. Transgenes can be     he introduced         better inhibitor than NrpppA (i.e., an NAD+ analog with an
     into embryonal target cells at various developmental stages.              extra phosphate, or, indeed, nicotinamide riboside+App-
     Different methods are used depending on the stage of devel-               NHp). NAD+ analogs with extra phosphates can be generated
    opment of the embryonal target cell. The specific line(s) of               using standard enzymatic methods (see, e.g.,      e.g.. Guranowski, et
     any animal used should, if possible, be selected for general 40 al. (1990) FEBS         FEBSLctt.      271:215-218)
                                                                                                      Lett. 271 :215-218) optimized for making aa
     good health, good embryo yields, good pronuclear visibility               wide variety of adenylylated dinucleoside polyphosphates
     in the embryo, and good reproductive fitness.                                           al. (2003)
                                                                                (Fraga, et a1.   (2003)FEBSLett.
                                                                                                          FEBS Lett. 543:37-41), namely reaction
        Introduction of the transgene into the embryo can be           he      of Nrpp (nicotinamide riboside diphosphate) and Nrppp
    accomplished by any of aavariety of means known in the art                  (nicotinamide riboside triphosphate) with firefly luciferase-
     such as microinjection, electroporation, lipofection or aaviral 45     45 AMP.
                                                                                AMP.'ftediphosphorylated
                                                                                        The diphosphorylated foml form ofNMN (Nrpp) is prepared
     vector, For example, the transgene can be introdnced
    vector.                                          introduced into a   a            either uridylate kinase orcytidylate
                                                                               with eitheruridylate              or cytidylate kinase (NMN+ATP-
     mammal by microinjection of the constmct
                                          construct into the pronuclei          >Nrpp). The triphosphorylated form ofNMN     of NMN (Nrppp) is sub-
    of the fertilized mammalian egg(s) to cause one or more                     sequently prepared with nucleoside diphosphate kinase
                      construct to be retained in the cells of the
    copies of the constmct                                                      (Nrpp+ATP-Nrppp). The resulting inhibitors are then used
                                                                                (Nrpp+ATP->Nrppp).
     developing mammal(s). Following introduction of the trans- 50          5u in crystallization trials and/or are soaked into Nrk crystals.
     genie construct into the fertilized egg, the egg can be incu-
     genic                                                                                                           structure ofNrk
                                                                                   Once the three-dimensional stmcture          of Nrk is determined,
    bated in vitro for varying amounts of time, or reimplanted into            aa potential test agent can be examined through the use of
                                         common method is to incu-
    the surrogate host, or both. One conml0n                                   computer modeling using aadocking progranl   program such as GRAM,
              embryos in vitro for
    bate the emhryos            far about 1-7 days, depending on the            DOCK, or   orAUIODOCK
                                                                                              AUTODOCK (Dunbrack, et al. (1997) Folding     i-6/ding & &
                         reimnplant them into the surrogate host.
     species, and then reimplant                                            55 Design
                                                                            55            2:27-42).
                                                                                Design 2:27     -42). This procedure cancan include computer fitting
        The progeny of the transgenically manipulated embryos
        T11e                                                                   of potential agents to Nrk to ascertain how well the shape and
                                                       (e.g.. by South-
    can be tested for the presence of the construct (e.g.,                      the chemical structure of the potential ligand will interact
     em blot analysis) of aasegment of tissue. An embryo having                with Nrk. Computer programs can also be employed to esti-
    one or more copies of the exogenous cloned construct stably                mate the attraction, repulsion, and steric hindrance of the test
     integrated into the genome can be used to establish aapenna-perma- 60  so agent.
                                                                                agemit. Generally the tighter the fit (e.g., the lower the steric
    nent transgenic animal line carrying the transgenically added              hindrance, and/or the greater the attractive force) the better
     construct,
    constmct.                                                                   substrate the agent will be since these properties are cons     consis-
                                                                                                                                                      is-
        Transgenicallv altered animals can be assayed after birth
        Transgenically                                                         tent with aatighter binding constraint. Furthermore, the more
                                    construct into the genome of the
     for the incorporation of the constmct                                      specificity in the design of aa potential test agent the more
     offspring. This can be done by hybridizing a                               likely that the agent will not interfere with related mammalian
                                                        a probe corre- 65 likelythattheagentwillnotinterferewithrelatedmammalian
     sponding to the DNA sequence coding for the polypeptide or                             This will mitumize
                                                                               proteins. Tlus             minimize potential side-effects due to
    aasegnlent
       segment thereof onto chromosomal material fr0111 from the prog-         unwanted interactions with other proteins.




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        The invention is also aa method of treating cancer in aa                                                      cancer cells by induction of apop-
                                                                                       tiazofurin selectively kills cmlcer
                            suspected of having cancer, with an isolated
    patient, having or suspectcd                                                       tosis: the activity has been attributed both to the increased
    nucleic acid, delivery vector, or polypeptide of the invention                     dependence of actively replicating cells on dGTP and to the
    in combination with aanicotinamide
                                  nicotinamidc riboside-related prodmg.  prodrug.      addiction of many transformed genotypes to signaling
    Administration of the nucleic acid, delivery vector, or 5 through low molecular weight G                                  U proteins (Jayaram, et a!. al.
    polypeptide ofthe of the present invention to a      ahuman subject or an          (2002) Curr. Med. Chem. 9:787-792). Examination of the
    animal can be by any memlS   means known in the art for administer-                sensitivity of the NCI-60 panel of cancer cell lines and the
     ing nucleic acids, vectors, or polypeptides. A patient, as used                   literature on tiazofnrin
                                                                                                       tiazofurin indicates that particular breast, renal,
    herein, is intended to include any mammal such as aahuman,                         CNS, colon and non-small cell lung-derived tumors are
    agriculturally-important animal, pet or zoological animal.         animal, A 10 to among the most sensitive while others from the same organ
    patient having or suspected of having aacancer is aapatient who                    sites are among the most resistant (Johnson, et al. (2001) Br.
    exhibits signs or symptoms of aacancer or because of inher-                        J. Cancer 84:84:1424-1431).
                                                                                                        1424-1431). As was demonstrated herein, the
    itance, environmental or natural reasons is suspected ofhav-          of hav-      function of nicotinamide riboside as an NAD+ precursor is
    ing cancer. Nucleic acids encoding Nrk, vectors containing                         entirely dependent on Nrkl and hUlllan human Nrks have at least as
    the same, or Nrk polypeptides cml            can be administered to the 15      is high specific activity in tiazoUlrin
                                                                                                                  tiazofurin phosphorylation as in nico-
    subject in an amount effective to decrease, alleviate or elimi-                    tinamide riboside phosphorylation. Because Nrk2 expression
    nate the signs or symptoms of aa cmIcer         cancer (e.g., tumor size,              muscle-specific (Li, et a!.
                                                                                       is muscle-specifIc               al. (1999) snpra),
                                                                                                                                      supra), and Nrkl is
    feelings of weakness, and pain perception). The amount of the                      expressed at aavery low level (Boon, et a!. al. (2002) supra), while
    agent required to achieve the desired outcome of decreasing,                       NMN/NaMNAT is not restricted, it is contemplated that
    eliminating or alleviating aasign or symptom of aacancer will 20                2o stratifIcation
                                                                                       stratification of tumors by Nrk gene expression will largely
     be dependent on the pharnlaceutical
                               pharmaceutical composition of the agent,                predict and account for tiazoUlrin
                                                                                                                   tiazofurin sensitivity.
    the patient and the condition of the patient, the mode of                             Accordingly, the present invention is ulrtherfurther a
                                                                                                                                               amethod for
    administration, the type of condition or disease being pre-                        identifying an individual or tumor which is susceptible to
    vented or treated, age and species of the patient, the particu     particular
                                                                                lar    treatment with aa nicotinamide riboside-related prodmg.   prodrug. In
    vector, and the nucleic acid to be delivered, mId         and can be deter- 25  2S one embodiment, the level ofNrk of Nrk protein in an individual or
    mined in aaroutine manner.                                                         tumor is detected by binding of aaNrk-specifIc
                                                                                                                               Nrk-specific antibody in mlan
                       prodrug and the Nrk nucleic acid, delivery vec-
        While the prodmg                                                               immunoassay. In another embodiment, the level of Nrk
    tor, or polypeptide can be delivered concomitantly, in an                          enzyme activity is determined using, for example, the nico-
    alternative embodiment the Nrk nucleic acid, delivery vector,                      tinamide riboside phosphorylation assay disclosed herein. In
    or polypeptide is provided fIrst,   first, followed by administration of 30     3o another embodiment, the level ofNrk RNA transcript is deter-
          prodrug to precondition the cells to generate the activated
    the prodmg                                                                         mined using any number of well-known RNA-based assays
    or toxic dmg.drug.                                                                 for detecting levels of RNA. Once detected, the levels ofNrk   of Nrk
        Types of cmlcers
        'lypes        cancers which can be treated in accordmlce
                                                               accordance with         are compared to aaknown standard. A chmlge   change in the level of
          method of the invention include, but are not limited to,
    the mcthod                                                                         Nrk, as compared to the stmldard,
                                                                                                                    standard, is indicative of an altered
     pancreatic cancer, endometrial
    pmlcreatic                endoinetrial cancer, small cell and non- 35           3 level of susceptibility to treatment with a      al1icotinml1ide
                                                                                                                                         nicotinamide ribo-
    small cell cancer of the lung (including squamous, adneocar-                                      prodnmg. In a
                                                                                       side-related prodmg.        astill further embodiment, mutations
    cinoma mld  and large cell types), squamous cell cancer of the head                or polymorphisms in the Nrk gene cml       can be identifIed
                                                                                                                                           identified which
    and neck, bladder, ovarian, cervical, breast, renal, CNS, and                                an altered level of susceptibility to treatment with a
                                                                                       result in ml                                                         a
              cancers. myeloid and Iymphocyltic
    colon cancers,                            lymphocyltic leukemia, lym-              nicotinamide riboside-related prodrug.
    phoma, hepatic tumors, medullary thyroid carcinoma,        carcinoma. mul- 40   4o    Optimized treatments for cancer and other diseases with
    tiple myeloma, melanoma, retinoblastoma, and sarcomas of                           nicotinamide riboside-related prodmgsprodrugs are directed toward
    the soft tissue and bone.                                                          cells with naturally high levels of an Nrk provided herein or
                                                                                  3
        Typically, with respect to viral vectors, at least about 10            iO      toward cells which have been recombinantly engineered to
     virus particles, at least about 10
    vims                                       5 virus particles, at least about
                                           105 vims                                    express elevated levels of an Nrk. Safety, specificity and
     l(f
     l0 vims
           virus particles, at least about 10      i099 vims
                                                        virus particles, at least 4545 efficacy of these treatments can be   he modulated by supplemen-
                 ll                                           12
    about 10         virus particles, at least about 10
              1011 vims                                           virus particles,
                                                           1012 vims                   tation with or restriction of the amounts of mlY   any of the NAD+
     or at
    or   at least
             least about
                    about 10  13 virus particles
                           1013 vims      particles areare administered
                                                           administered to  to the
                                                                                the    precursors, nmnely
                                                                                       precnrsors,   namely tryptophan, nicotinic acid, nicotinamide,
    patient per treatment. Exemplary doses are vims               virus titers of         nicotinanude riboside.
                                                                                       or nicotinamide
    about 10   io 7 to about 10    15                           7
                                i0' particles, about 10 to about 10           iO
                                                                                 14                            of Nrk protein levels, antibodies which
                                                                                          For the detection ofNrk
    particles, about 10    l0 8 to about 1013  10 13 particles, about 10     '0
                                                                          1010      5o specifIcally
                                                                                 to 50 specifically recognize Nrk are generated. These antibodies
    about 10  1015
                 15 particles, about 10     11
                                         1011 to about 10  1015
                                                             15 particles, about       can be either polyclonal or monoclonal. Moreover, such anti-
     1012
     10 12
            to about 10   14
                        1014 particles, or about 10
                                                          12
                                                        1012 to about 10
                                                                           13
                                                                        1013 par-      bodies can be natural or partially or wholly synthetically
    ticles.                                                                            produced. All fragments or derivatives thereof (e.g., Fab,
        In particular embodiments of the invention, more than one                             F(ab') 2,scFv, Fv, or Fd
                                                                                       Fab', F(ab')2'                I'd fragments) which maintain the
    administration (e.g., two, three, four, or more administra-      adniinistra- 55SS ability to specifically bind
                                                                                                                  hind to mldand recognize Nrk are also
    tions) can be   he employed over a      avariety of time intervals (e.g.,                      The antibodies can be a
                                                                                       included. TIle                         amember of   or any immuno-
    hourly, daily, weekly, monthly, etc.) to achieve therapeutic                       globulin class, including any of the human classes: IgG,    lgG, IgM,
                                                                                                                                                        1gM,
    levels of nucleic acid expression.                                                 IgA, IgD, and IgE.
        Tiazofurin is aanucleoside analog initially synthesized to be                          Nrk-specific antibodies can be generated using c1assi-
                                                                                          The Nrk-specifIc                                            classi-
    aacytidine deaminase inhibitor. Tiazofurin Tiazofi.mrin was shown to be a     a 60
                                                                                    6o cal cloning and cell fusion teclmiques.
                                                                                                                          techniques. See, for example,
     prodrug that is converted by cellular enzymes to TAD, an
    prodmg                                                                                                                       256:495-497: Harlow and
                                                                                       Kohler and Milstein (1975) Nature 256:495-497;
    analog of NAD+, that inhibits IMP dehydrogenase, the rate                          Lane (1988) Antibodies: A Laboratory Manual, Cold Spring
    limiting enzyme in producing GTP and dGTP             dGf P(Cooney, et al.         Harbor Laboratory, New York. Alternatively, antibodies
    (1983) supra). In phase IIlI   1/Il trials of
                                                ofacute
                                                    acute leukemia, tiazofurin         which specifically hindbind Nrk are derived by aaphage display
    produced response rates as high as 85% and was granted 65                       6 method. Methods of producing phage display antibodies are
    orphan dmg  drug status for treatment ofCML ot'CMI in accelerated phase                                      (e.g.. Huse, et a!.
                                                                                       well-known in the art (e.g.,                al. (1989) Science
                                                                                                                                                S'';'    246
    or blast crisis. Treatment of cultured cells has shown that                        (4935):1275-81).
                                                                                       (4935):1275-81     ).




                                                                                                                                                CDXDE 000000045
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                                    25                                                                         26
       Selection of Nrk-specific antibodies is based on binding                               Nrk nucleic acid sequences provided herein. The
                                                                               san from the Nrknucleic
    affinity and can be determined by various well-known inunu-    immu-       term primer, as defined herein, is meant to encompass any
                                                                               tenn
                                              immunosorhent, innnun-
    noassays including, enzyme-linked inununosorbent,            immun-        nucleic acid that is capable of priming the synthesis of aa
                  chem ilunsinescent, ilmnunofluorescent,
    odiffusion chemiluminescent,       inununofluoreseent, ilmmmo-
                                                                immuno-        nascent nucleic acid in aatemplate-dependent process. Iypi-     Typi-
    histochemical,           radioirnnTlunoassay.
                            radioilmnunoassay,                                                      oligonucleotides from ten to twenty base
                                                          agglutination, 5 cally, primers are oligonuck-otides
                              immunoeleetrophoresis, and immuno-
    complement fixation, inununoelectrophoresis,                               pairs in length, but longer sequences can be employed. Prim-
    precipitation assays and the like which can be performed in                ers can be provided in double-stranded or single-stranded
    vitro, in vivo or in situ. Such standard teclmiques
                                                   techniques are well-        form. Probes are defined differently, although they can act as
    known to those of skill in the art (see, e.g., "Methods in                 primers. Probes, while perhaps capable of priming, are
    Immunodiagnosis", 2nd Edition, Rose and Bigazzi,
    InmlUnodiagnosis",                                Bigazzi. eds. John 10 to designed for binding to the target DNA or RNA and need not

    Wiley &  & Sons,
                Sons. 1980;
                       1980: Campbell et a!.,
                                            al.. "Methods and Immu-            be used in an amplification process. In one embodiment, the
    nology", W. A. Benjamin, Inc.,   Inc.. 1964; and Oellerich,
                                                          Oellerich. M.        probes or primers are labeled with, for example, radioactive
    (1984)J.
    (1984)      C/in. Chem.
             1. Clin.  Chen,. Clin. Biochern.
                                    Biochem. 22:895-904).                      Species ('21>,
                                                                               species         '4C, 35S,
                                                                                         ( P, 14C,
                                                                                         32          35 S. 3H,
                                                                                                            3H, or other label) or a  a fluorophore
       Once fully characterized for specificity, the antibodies can            (rhodamine, fluorescein). Depending on the application, the
    he used in diagnostic or predictive methods to evaluate the 15
    be                                                                      is probes or primers can be used cold, i.e., lmlabeled,
                                                                                                                                 unlabeled, and the
            of Nrk- in healthy and diseased tissues (i.e., tumors) via
    levels ofNrk                                                                         eDNA molecules are labeled.
                                                                               RNA or cDNA
    techniques such as ELISA, westemwestern blotting, or inu11Lmohis-
                                                            immunohis-                                                                performed by
                                                                                   Depending on the format, detection can be perfornled
    tochemistry.                                                                                     ethidiumn bromide staining of a
                                                                               visual means (e.g., ethidium                            agel). Alter-
       The general method for detecting levels of Nrk protein                  natively, the detection can involve indirect identification of
    provides contacting aasample with an antibody which specifi-  speeifl- 20 fue
                                                                               the product via chemiluminescence,
                                                                                                 chemi luminescence, radio
                                                                                                                         radiolabel
                                                                                                                                label or fluorescent
    cally binds Nrk, washing the sample to remove non-specific                 label or even via aasystem using electrical or thermal impulse
    interactions, and detecting the antibody-antigen complex                   signals (Bellus (1994) 1.   J. Macromol.
                                                                                                              Macrornol. Sci. Pure Appl.      Che,n.
                                                                                                                                       Appl. Chem.
            any one of the innnunoassays
    using anyone            immunoassays described above as well a        a    .4311:1355-1376).
                                                                               A311  :1355-1376).
                                immunoassays used to detect and/or
    number of well-known inununoassays                                            After detecting mutations in Nrk or the levels of Nrk
    quantitate antigens (see, for example, Harlow    Barlow and Lane 25 present in an individual or tumor, said mutations or levels are
    (1988) supra). Such well-known immunoassays include anti-                  compared with aaknown control or standard. A        A known control
                              antigen capture assays, and two-anti-
    body capture assays, <mtigen                                               can be aastatistically significant reference group of individuals
    body sandwich assays.                                                      that are susceptible or lack susceptibility to treatment with aa
       For the detection of nucleic acid sequences encoding Nrk,                                                   prodrug to provide diagnostic
                                                                               nicotinamide riboside-related prodnlg
    either aaDNA-based or RNA-based method can be employed. 30 or predictive infonnation        information pertaining to the individual or
    DNA-based methods for detecting mutations in an Nrk locus                  tumor upon which the analysis was conducted.
           franieshift mutations, point mutations, missense muta-
    (i.e., frameshift                                                             As described herein, nicotinamide riboside isolated from
    tions, nonsense mutations, splice mutations, deletions or                  deproteinized whey fraction of cow's milk was sufficient to
    insertions of
    insertions   of induced,
                    induced, natural
                              natural or
                                      or inherited
                                         inherited origin)
                                                     origin) include,
                                                             include, but
                                                                       but               NRKl-dependent growth in
                                                                               support NRK1-dependent                   maa qns
                                                                                                                            qnsl1 mutant. Accord-
                                microarray
    are not limited to, DNA micro            technologies, oligonucle- 35
                                      array technologics,                   ss ingly, mutant strains generated herein will be     he useful in iden-
    otide hybridization (mutant and wild-type),wild-type). PCR-based           tifying other natural or synthetic sources for nicotinamide
                                     conformational polymorphism
    sequencing, single-strand confornlational                                  riboside for use in dietary supplements. Thus, the present
    (SSCP) analysis, heteroduplex analysis (HET), pCR,     PCR, or dena-       invention also encompasses is aamefuodmethod for identifying such
    turing gradient gel electrophoresis. Mutations can appear, for             natural or synthetic sources. As aafirst step of fue   the method, a a
    example, as aadual base call on sequencing chromatograms. 40 first cell lacking aa functional glutamine-dependent NAD+
                                                 multiple. independent
    Potential mutations are confirmed by multiple,                             synthetase is contacted with an isolated extract from a
                                                                               synfuetase                                                   anatural
    PC reactions. Exemplary single nucleotide polymorphisms
    pCR                                                                        or synthetic source. In one embodiment, the first cell is aaqnsl
    which can be identified in accordance with the diagnostic                  mutant (i.e., having no NAD+ synthetase) carrying the QNSI
    method of the invention include, but are not limited to,    to. NCBl
                                                                    NCBI       gene on aa URA3 plasmid. While any cell can be           be used, in
    SNP Cluster ID Nos. rs3752955, rsl045882,rs1045882, rs11519,
                                                           rsll5l9, and 45 particular embodiments a          ayeast cell is used in this method of
    rs3 185880 for human Nrkl
    rs3185880                  Nrk] and Cluster ID Nos.Nos, rs2304190,
                                                              rs2304 190,      the invention. A qns!
                                                                               tile                qnsl mutant strain has normal growth on
    rs4807536, and rsl
    rs4807536.          rs1055767
                           055767 for human Nrk2.                              5-fluoroorotic acid (i.e., cured of the URA3 QNSI plasmid)   plasmnid)
       To detect the levels of RNA transcript encoding the Nrk,                as long as it is supplied with nicotinamide riboside.
    nucleic acids are isolated from cells of the individual or                    As aasecond step of the method, aasecond cell lacking aa
    tumor, according to standard methodologies (e.g., Sambrook 50           su fimctional
                                                                               functional glutamine-dependent NAD+ synthetase and a                 a
       al. (1989) Molecular
    et a!.         Molecular Cloning, aaLaboratory Manual,Manual. Cold         functional nicotinamide riboside kinase is contacted with the
                                                                               fimctional
    Spring Harbor Laboratories, New  NewYork).
                                           York). The nucleic acid can         same isolated extract from the natural or synthetic source of
    be whole cell RNA or fractionated to Poly-A+. It may be                    the prior step. Using aaqnsl and nrkl double mutant, it was
    desirable to convert the RNA to aa complementary DNA                       demonstrated herein that the NRKI gene is necessary for
    (eDNA). Normally, the nucleic acid is amplified.
    (cDNA).                                                                                nicotinamuide riboside: qnsl and nrkl are syntheti-
                                                                            55 growth on nicotinamide
       A variety of methods can be used to evaluate or quantitate              cally lethal even with nicotinamide riboside. TIlis    This deletion
    the level of Nrk RNA transcript present in the nucleic acids                                    this screening assay of the invention as it
                                                                               strain is useful in tlus
    isolated from an individual or tumor. For example, levels of               allows one to distinguish between nicotinamide riboside,
    Nrk RNA transcript can be evaluated using well-known meth-                 NMN and NAD+ as the effective nutrient.
    ods such as northern blot analysis (see,(see. e.g., Sambrook et  ci al. 60
                                                                            oo    As aasubsequent step of the method, the growth of the first
    (1989) Molecular Cloning, aa Laboratory Manual,      Manual, Cold          cell and second cell are compared. If the isolated extract
    Spring Harbor Laboratories, New York);  York): oligonucleotide or          contains aanicotinamide riboside,
                                                                                                             ribosidc, the first cell will grow and
    eDNA fragment hybridization wherein the oligonucleotide or
    cDNA                                                                       the second cell will not.
    cl)NA is configured in an array on a
    cDNA                                     achip or wafer; real-time             Synthetic sources of nicotinamide riboside can include any
           analysis. or RT-PCR analysis.
    PCR analysis,                                                           65 library of chemicals commercially available from most large
       Suitable primers, probes, or oligonucleotides usefiIl   useful for                 companies including Merck, Glaxo, Bristol Meyers
                                                                               chemical compmues
    such detection methods can be    he generated by the skilled arti-         Squibb, Monsanto/Searle, Eli Lilly and Pharmacia. Natural




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                                    27                                                                         28
                                                                                                               28
    sources which can be tested for the presence of a nicotinamide            condition associated with the nicotinamide riboside kinase
    riboside include, but are not limited to, cow's milk, serum,                          of NAD+ biosynthesis by administering an effective
                                                                              pathway ofNAD+
    meats, eggs, fruit and cereals. Isolated extracts of the natural          amount of aanicotinamide riboside composition. Diseases or
    sources can be    he prepared using standard methods. For                 conditions which typically have altered levels of NAD+ or
    example, the natural source can be  he ground or homogenized in 5 NAD+ precursors    precursors or could benefit from increased NAD+
    aabuffered solution, centrifuged to remove cellular debris, and           biosynthesis by treatment with nicotinamide riboside
                                                          polvpeptides,
    fractionated to remove salts, carbohydrates, polypeptides,                include, but are not limited to, lipid disorders (e.g., dyslipi-
     nucleic acids, fats and the like before being tested on the               demia, hypercholesterolaemia
                                                                                         hypereholesterolaemia or hyperlipidemia), stroke,
    mutants strains of the invention. Any source of nicotinamide              neurodegenerative diseases (e.g., Alzheimer's,
                                                                                                                       Alzheimer'S, Parkinsons
    riboside that scores positively ininthe               inventioncan
                                        the assay ofthe invention          to and Multiple Sclerosis), neurotoxicity
                                                                      can 10                               neurotoxicitv as observed with che-
    be further fractionated and confirmed by standard methods of              motherapies, Candida glabrata infection, and the general
     HPLC and mass spectrometry.                                              health declines associated with aging. Such diseases and con-
        Nicotinic acid is an effective agent in controlling low-              ditions can be prevented or treated by supplementing aadiet or
    density lipoprotein cholesterol, increasing high-density lipo-            aatherapeutic treatment regime with aanicotinamide riboside
                                reducing triglyceride and lipoprotein 15
    protein cholesterol, and redncing                                      is composition.
                                                      icloyo Clin.
    (a) levels in humans (see, e.g., Miller (2003) Mayo      6'lin. Proc.         The source of nicotinamide riboside can be from aanatural
     78(6):735-42). Though nicotinic acid treatment effects all of
    78(6):735-42).TIlOugh                                                     or synthetic source identified by the method of the instant
    the key lipids in the desirable direction and has been shown to           invention, or can be chemically synthesized using established
    reduce mortality in target populations, its use is limited                methods (Tanimori (2002) Bioorg. Med. Chem. Lett.                Let!.
     because of a aside effect of heat and redness termed flushing,
                                                                flushing. 20 12:1135-1137;
                                                                               12:1135-1137: Franchetti (2004) Bioorg. Med. Chem. Lett.
     which is significantly effected by the nature of formulation.             14:4655-4658). In addition, the nicotinamide riboside can be
     Further, nicotinamide protects against stroke injury in model            aaderivative (e.g., L-valine or L-phenylalanine esters) of nico-
     systems : due to multiple mechanisms including increasing
    systems,                                                                  tinamide riboside. For example, an L-valyl (valine) ester on
     mnitochondrial NAD+ levels and inhibiting PARP
    mitochondrial                                    PARI' (Klaidman,         the 5'5'0
                                                                                      0 of acyclovir (valacyclovir) improved the pharmaco-
        al. (2003) Pharmacology 69(3):150-7). Altered levels of
    et a1.                                                             of 25 kinetic properties of the drug by promoting transport and
    NAD+ precursors have been shown to effect the regulation of               allowing cellular delivery of the nucleoside after hydrolysis
    aa number of genes and lifespan in yeast (Anderson, et a1.         al.    by an abundant butyryl esterase (Han, et al. (1998) Pharm.
                      423(6936):181-5).
    (2003) Nature 423(6936):      181-5).                                     Res. 15:1382-1386; Kim, et al. (2003) J.          Biol. Chem. 278:
                                                                                                                            J. Bioi.
        NAD+ administration and NMN adenylyltransferase (Nm-                   25348-25356) Accordingly, tlle
                                                                              25348-25356).                        the present invention also
     nati) expression have also been shown to protect neurons 30 encompasses derivatives of nicotinamide riboside, in partiCll-
    nat!)                                                                                                                                  particu-
    from axonal degeneration (Araki, et a1.    al. (2004) Science 305:        lar L-valine or L-phenylalanine esters of nicotinamide ribo-
     1010-1013). Because nicotinamide riboside is a
     lOW-lOB).                                               a soluble,        side, which are contemplated as having improved pharmaco-
    transportable nucleoside precursor of NAD+,   NAD+. nicotinamide          kinetic properties (e.g., transport and delivery). Such
     riboside can
    riboside   can he   used to
                    be used  to protect
                                protect against
                                        against axonopathies
                                                  axonopathies such
                                                                 such as
                                                                       as      derivatives can be used aloue
                                                                                                           alone or fommlated
                                                                                                                     formulated with a  aphanna-
                                                                                                                                           pharma-
     those that occur in Alzheimer's Disease, Parkinson's Disease 35 ceutically acceptable carrier as disclosed herein.
    tllOse
    and Multiple Sclerosis. Expression of the NRKI or NRK2                                      amn iii ofnieotinamide
                                                                                  An effective amount     'I': icotinomide riboside is one which
    genes, or direct administration of nicotinamide riboside or aa                                  allc\ Ilc- or eliminates tlle
                                                                              prevents, reduces, alleviates                    the signs or symp-
    stable nicotinamide riboside prodrug, could also protect                  toms of the disease or condition being prevented or treated
    against axonal degeneration.                                              and will vary with the disease or condition. Such signs or
        NMN adenylytransferase overexpression has been shown 40 symptoms can be evaluated by the skilled clinician before and
    to protect neurons from the axonopathies that develop with                after treatment with the nicotinamide riboside to evaluate the
    ischemia and toxin exposure, including vincristine treatment              effectiveness of the treatment regime and dosages can be
                 al. (2004) Science 305:1010-1013). Vincristine is
    (Araki, et a1.                                                            adjusted accordingly.
    one of many chemotherapeutic agents whose use is limited by                                   of NAD+ metabolism may need to be opti-
                                                                                  As alterations ofNAD+
    neurotoxicity. Thus, administration of nicotinamide riboside 45 mized for particular conditions, it is contemplated that nico-
    or an effective nicotinamide riboside prodrug derivative conld  could     tinamide riboside treatments can further be used in combina-
    be used to protect against neurotoxicity before, during or after           tion witll
                                                                                     with other NAD+ precursors, e.g., tryptophan, nicotinic
    cytotoxic chemotherapy.                                                          and/or nicotinamide.
                                                                              acid andlor
                                            Cana'ida glabrata to the
        Further, conversion of benign Candida                                     Polypeptides, nucleic acids, vectors, dietary supplements
    adhesive, infective form is dependent upon the expression of 50 (i.e. nicotinamide riboside), and nicotinamide riboside-re-
     EPA genes encoding adhesins whose expression is mediated                 lated prodrugs produced or identified in accordance with the
    by NAD+ limitation, which leads to defective Sir2-dependent               methods of the invention can be conveniently used or admin-
                                   (Domergue, et al. (March 2005)
    silencing of these genes (Domerguc,                                       istered in aacomposition containing the active agent in com-
    Science, 10.1 I126/science.1108640).
                       26/science.l 108640). Treatment with nico-             bination with aa pharmaceutically acceptable carrier.  carrier, Such
    tinic acid reduces expression of ofadhesins
                                        adhesins and increasing nico- 55   ss compositions can be  he prepared by methods and contain carri-
    tinic acid in mouse chow reduces urinary tract infection by               ers which are well-known in the art. A generally recognized
     Candia'a glabrata. Thus, nicotinamide riboside can
    Candida                                               canbe
                                                              be used in      compendium of such methods and ingredients is Remington:
                     of fungal infections, in particular, those of Can-
    the treatment offlmgal                                                     The Science and Practice of Phamlacy,
                                                                              TIle                              Pharmacy, Alfonso R. Gelmaro,
                                                                                                                                          Gennaro,
     dicta species by preventing expression of adhesins.
     dida                                                                     editor, 20th ed. Lippingcott Williams &      & Wilkins: Philadel-
        Accordingly. agents (e.g., nicotinamide riboside) that work 60
        Accordingly,                                                       so phia, Pa., 2000. A carrier, phannaceutically
                                                                                                               pharmaceutically acceptable car-
    through the discovered nicotinamide riboside kinase pathway                rier. or vehicle, such as a
                                                                              rier,                       aliquid or solid filler, diluent, excipi-
    of NAD+ biosynthesis could have therapeutic value in                      ent, or solvent encapsulating material, is involved in carrying
    improving plasma lipid profiles, preventing stroke, providing             or transporting the subject compound from one organ, or
    neuroprotection with chemotherapy treatment, treating TI.Ill-    fun-     portion of the body, to another organ, or portion ofthe  of the body.
    gal infections, preventing or reducing neurodegeneration, or 65 Each carrier must be acceptable in the sense of being com-
                                              Thus, the present inven-
    in prolonging health and well-being. 'TIms,                                                                             formulation and not
                                                                              patible with the other ingredients of the fommlation
    tion is further aametllOd
                       method for preventing or treating a  adisease or       injurious to the patient.




                                                                                                                                        CDXDE 000000047
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                                     29
                                     29                                                                           30
                                                                                                                  30
        Examples of materials which can serve as carriers include                               form of the solid unit dosage form. For instance,
                                                                                 the physical fornl
                                               sucrose: starches, such as
    sugars, such as lactose, glucose and sucrose;                                tablets, pills, or capsules can be coated with gelatin, wax,
    corn starch and potato starch; cellulose, and its derivatives,               shellac or sugar and the like.
                        carhoxyrnethyl cellulose, ethyl cellulose and
    such as sodium carboxymethyl                                                     A symp
                                                                                     A  syrup or elixir can contain the active agent, sucrose or
    cellulose acetate; powdered tragacanth; malt;     malt: gelatin; talc; 5 fructose as aasweetening agent, methyl aIld      and propylparabens as
    excipients, such as cocoa butter and suppository waxes; oils,                preservatives, aadye and flavoring such as cherry or orange
    such as peanut oil, cottonseed oil, safflower oil, sesame oil,               flavor. Of course, any material used in preparing any unit
    olive oil,
    olive   oil, corn
                 corn oil
                      oil and
                           and soybean
                               soybean oil;
                                         oil; glycols,
                                              glycols, such
                                                       such as
                                                             as propylene
                                                                 propylene       dosage form
                                                                                 dosage    form should
                                                                                                 should be
                                                                                                         be substantially
                                                                                                             substantially non-toxic
                                                                                                                            non-toxic in
                                                                                                                                       in t1Je
                                                                                                                                          the amounts
                                                                                                                                               amounts
                                                      mannitol and poly-
    glycol; polyols, such as glycerin, sorbitol, maIllitol                       employed. In addition, the active compounds can be incorpo-
                                                                                 employed,
                                                             ethyl laurate; 10
    ethylene glycol; esters, such as ethyl oleate and ethyllaurate;           to rated into sustained-release preparations and devices includ-
    agar: buffering
    agar;    buffcring agents, such as magnesium hydroxide and                   ing, but
                                                                                       but not limited to, those relying on osmotic pressures to
    aluminum hydroxide; alginic acid; pyrogen-free water; iso-                   obtain aadesired release profile.
             saline: Ringer's solution; ethyl alcohol;
    tonic saline;                                  alcohol: pHp14 buffered           Formulations of the present invention suitable for
    solutions: polyesters, polycarbonates and/or polyanhydrides;
    solutions;                                                                   parenteral administration contain sterile aqueous and non-
    and other non-toxic compatible substances employed in for- 15             is aqueous injection solutions of the compound, which prepa-
    mulations. Wetting agents, emulsifiers and lubricants, such as               rations are generally isotonic with the blood of the intended
    sodium lauryl sulfate and magnesium stearate, as well as                                         preparations CaIl
                                                                                 recipient. These prepamtions       can contain aIlti-oxidants,
                                                                                                                                  anti-oxidants, buff-
    coloring agents, release agents, coating agents, sweetening,                 ers, bacteriostats and solutes which render the formulation
    flavoring and perfuming agents, preservatives and antioxi-                              withthe
                                                                                 isotonic with   the blood of the intended recipient. Aqueous and
    dants can also be present in the compositions.                               non-aqueous
                                                                              20 non  -aqueous sterile suspensions can include suspending
        Polypeptides, nucleic
        Polypeptides,     nucleic acids,
                                  acids, vectors,
                                          vectors, dietary
                                                    dietary supplements,
                                                             supplements,        agents and
                                                                                 agents   and tllickening
                                                                                               thickening agents.
                                                                                                             agents. The
                                                                                                                     The formulations
                                                                                                                           formulations cancan bebe pre-
                                                                                                                                                     pre-
    and nicotinamide riboside-related prodmgsprodrugs produced oriden-
                                                                    or iden-                  unit\dose or multi-dose containers, for example
                                                                                 sented in llllit\dose
    tified in accordance with the methods of the invention, here-                sealed ampoules and vials, and can be stored in aafreeze-dried
    after referred to as compounds, can be      be administered via aIly any     (lyophilized) condition requiring only tile     the addition of the
    route include, but not limited to, oral, rectal, topical, buccal 25 ste.rile sterile liquid carrier, f()r
                                                                                                           for example, saline or water-for-injec-
    (e.g., sub-lingual), vaginal, parenteral (e.g., subcutaneous,                      immediately prior to use.
                                                                                 tion inlllediately
    intramuscular including skeletal muscle, cardiac muscle, dia-                    Formulations suitable for topical application to the skin
                                                                                    FormL1lations
                                               intradernial, intravenous,
    phragm muscle and smooth muscle, intradermal,                                can take the form of an ointment, creaIn, cream, lotion, paste, gel,
    intraperitoneal), topical (i.e., both skin and mucosal surfaces,             spray, aerosol, or oiL oil. Carriers which can be used include
                                                    transdermal. intraar- 30 petroleum jelly, lanoline, polyethylene glycols, alcohols,
    including airway surfaces), intranasal, transdernlal,
    ticular, intrathecal and inhalation administration, administra-              transdermal enhancers, and combinations of two or more
                                                                                 traIlsdennal
    tion to the liver by intraportal delivery, as well as direct organ           thereof.
    injection (e.g., into the liver, into the brain for delivery to the                                            transdermal administration can
                                                                                    Formulations suitable for transdern131
    central nervous
    central   nervous system).
                        system). The
                                  The most
                                       most suitable
                                              suitable route
                                                       route inin any
                                                                  any given
                                                                      given      he presented as discrete patches adapted to remain in intimate
                                                                                 be
    case will depend on the nature and severity of the condition 35 contact with the epidermis of the recipient for aaprolonged
    being treated and on the nature of the particular compound                                     Formulations suitable for transdennal admin-
                                                                                 period of time. FomlUlations
    which is being used.                                                         istration can also be delivered by iontophoresis (see, for
        For injection, the carrier will typically be aaliquid, such as           example, Pharmaceutical Research 3
                                                                                 eXaInple,                                    3 (6):318 (1986)) and
                              water. pyrogen-free phosphate-buffered
    sterile pyrogen-free water,                                                  typically take the form of an optionally buffered aqueous
    saline solution, bacteriostatic water, or Cremophor (BASF,      (BASE, 40 solution of the compound. Suitable formulations contain cit-
    Parsippany, N.J.). For other methods of administration, the                  rate or bis\tris buffer (pH 6) or ethanol/water and contain from
    carrier can be bc either solid or liquid.                                    0.1 to 0.2 M of the compound.
        For oral therapeutic administration, the compound can be                    A compound can alternatively be formulated for nasal
    combined with one or more carriers and used in the form of                   administration or otherwise administered to t1Je      the lungs of a   a
    ingestible tablets, buccal tablets, troches, capsules, elixirs, 45 subject by any suitable means. In particular     particularembodiments,
                                                                                                                                   embodiments, the
    suspensions, syrups, wafers, chewing gums, foods and fbe             the     compound is administered by     by an aerosol suspension of res   respi-
                                                                                                                                                      pi-
    like. Such
    like.   Such compositions
                   compositions andand preparations
                                        preparations should
                                                        should contain
                                                                 contain atat    rable particles
                                                                                 rable   particles containing
                                                                                                   containing thethe compound,
                                                                                                                     compound, which
                                                                                                                                   which thethe subject
                                                                                                                                                 subject
            0.1%
    least 0.1   % of active compound. The percentage of the com-       cons-     inhales. The respirable particles can be liquid or solid. The
    pound and preparations
                    preparations can, of course, be varied and can               term aerosol includes any gas-borne suspended phase, which
    conveniently be between about 0.1 to about 100% of fbe                the 50
                                                                              so is capable of being inhaled into the bronchioles or nasal
    weight of aagiven unit dosage fonn.    form. The amount of active            passages. Specifically, aerosol includes aagas-borne suspen-
    compound in such compositions is such that an effective                               droplets. as can be produced in aametered dose inhaler
                                                                                 sion of droplets,
    dosage level will be obtained.                                               or nebulizer, or in aamist sprayer. Aerosol also includes aadry
        The tablets, troches, pills, capsules, and the like CaIl
        'I11e                                                      can also      powder composition suspended in air or other carrier gas,
    contain the following: binders such as gum tragacanth, aca- 55            ss which can be delivered by insufflation from an inhaler device,
    cia, corn starch or gelatin; excipients such as dicalcium phos-   phos-                            (ianderton &
                                                                                 for example. See Ganderton         & Jones, Drug Delivery
                                                                                                                                      Deliver)' to the
    phate; aa disintegrating agent such as com       corn starch, potato         Respiratory Tract, Ellis Horwood (1987); Gonda (1990)
    starch, alginic acid and the like; aalubricant such as magne-                Critical Reviews in Therapeutic Drug Carrier Systems 6:273-      6:273-




    sium stearate; and aasweetening agent such as sucrose, fruc-                                              (1992)1.
                                                                                 313; and Raeburn, et al. (1992)      J. Pharmacol. Toxicol,
                                                                                                                                       Toxicol. Meth-
    tose, lactose or aspartame or aaflavoring agent such as pep- 60           so ods 27:143-159. Aerosols of liquid particles containing the
                        wintergreen. or cherry flavoring. The above
    permint, oil of wintergreen,                                                 compound can be produced by any suitable means, such as
    listing is merely representative and one skilled in the art could            with aa pressure-driven aerosol nebulizer or an ultrasonic
    envision other binders, excipients, sweetening agents and the                                                                       See. e.g., U.S.
                                                                                 nebulizer, as is known to those of skill in the art. See,
    like. When the unit dosage fornlform is a acapsule, it can contain, in       Pat. No. 4,501,729. Aerosols of solid particles containing the
    addition to materials of the above type, aaliquid carrier, such 65 compound can likewise be                he produced with any solid partiCll-
                                                                                                                                                particu-
    as aa vegetable oil or aa polyethylene glycol. Varions  Various other        late medicament aerosol generator, by techniques known in
    materials can be  he present as coatings or to otherwise modify              the pharmaceutical art.
                                                                                 tile




                                                                                                                                            CDXDE 000000048
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                                           31I                                                                                       32
       Alternatively, one can administer the compound in aalocal           GTA TTG GGT         GOT AA.c
                                                                                                      AAC CCA CTT TTA GAT TTC CAA GCA
                           manner, for example, in a
    rather than systemic maIller,                     adepot or sus-       OAT TGTACT
                                                                           GAT      TG'i' ACT GAG AGT GCA C-3                        C-3': 1
                                                                                                                                             ; SEQ ID   II) NO:]l)
                                                                                                                                                            NO: ll)and    and
    tained-release formulation.                                            plasmid pRS413  pRS4 13 as a    atemplate. Yeast strain BY165            BY 165 was trans-
       Further, the present invention provides liposomal
                                                 liposomalfonnula-
                                                            fOTInula-      formed with this PCR product, and homologous recombina-
    tions of the compounds disclosed herein aIld   and salts thereof. 55 tion in histidine prototrophic transformants was confirmed by
    The technology for forming liposomal suspensions is well-              PCkwith
                                                                           PCR     with primers 7042 (5           (5'-AAG
                                                                                                                      1
                                                                                                                        -AAG CIA GAG GGAACA           UGAACA CGT        001
    known in the art. When the compound or salt thereof is an       all    AGA G-3   G-3';   1
                                                                                               ; SEQ ID NO:l2)NO: 12) and 7043 (5                (5'-TTA
                                                                                                                                                    1
                                                                                                                                                     -TTA TCT TGT       TOT
                                   conventional liposome technol-
    aqueous-soluble salt, using conventionalliposome                       GCA GGG TAG AAC C-3                   C-3':  1
                                                                                                                          ; SEQ ID NO: 13). This strain was

    ogy, the same can be incorporated into lipid vesicles. In such         transformed with plasmid pBl75 and snbjected
                                                                           traIlsformed                                                   subjected to sporulation
        instance, due to the water solubility of the compound or 1()
    an instaI1Ce,                                                       10 and tetrad dissection. Haploid strain BY237, carrying qnsl                                   qnst
                                             substantially entrained
    salt, the compound or salt will be substaJ1tially                      and adol deletions and plasmid, was selected for further
    within the hydrophilic center or core of the liposomes. The                                           urki deletion was introduced into strain
                                                                           experiments. The urkl
                           can be of any conventional composition
    lipid layer employed CaIl
                                                                                               transformation with the product of the PCR
                                                                           BY237 by traIlsiormation                                                          PCRampii-
                                                                                                                                                                   ampli-
         can either contain cholesterol or can be cholesterol-free.
    and CaJ1                                        cholesterol-free,
                                                                        15 fication that used pRS415      pRS4l5 as a            a template and PCR primers
    When the compound or salt of interest is water-insoluble, 1
                                                                           7051 (5   (5'-CGA
                                                                                          1
                                                                                           -CGA TCT TCA TCA TTT ATT TCA ATT TTA
                        conventional liposome formation technol-
    again employing conventionalliposome
                                                                           GAC GAT GAAACAAGA    GAA ACAAGA GACACA             GAC ACA 'ITA     TTA GAT TGT ACT
    ogy, the salt can be substantially entrained within the hydro-
                                   forms the structure of the lipo-
    phobic lipid bilayer which fOTIns                                      GAG AGT GCA C-3               C-3':1
                                                                                                                ; SEQ ID NO: 14) aJ1d             and 7052 (5    (5'-AAA
                                                                                                                                                                   1
                                                                                                                                                                     -AA.A.
                      instance, the liposomes which are produced
    some. In either instaJ1ce,                                             AlA     CTT       TGA      ATC   AAA
                                                                           AIA CIT TGA ATC AAA A.A.ATCT GGT CAA TGC CCA   AAA      'FE"!'   GG'I'     CAA     'l'GC    ('CA
    can be reduced in size, as through the use of staJ1dard
    CaJ1                                            standard sonica- 20 2o TTT GTA TTG ATG ATC TGT GCG GTA TTT CAC ACC
                                techniques.
    tion and homogenization techniqnes.                                    G-3';
                                                                           G-3  1
                                                                                  ; SEQ ID NO:15).   NO: 15). Disruption was confirmed by PCR
                     formulation containing a
       A liposomal fOTInulation               acompound disclosed          with primers 7053 (5           (5'-ATG
                                                                                                            1
                                                                                                              -ATG 'ICC     TCC CAT CGT       CUT ATA GCA CCT           CCI
    herein or salt thereof, can be lyophilized to produce aa Iyo- lyo-     TCC-3' ; SEQ ID N0:16)       NO:] 6) and 7054 (5             (5'-GCCICTAA'i'IAT
                                                                                      1                                                    1
                                                                           TCC-3                                                             -GCC TCT .I\..AT TAT
    philizate which can be reconstituted with a
    phili72te                                      acarrier, such as       TCT CAA TCACA.A.CC-3
                                                                           TCTCAA               TCA CAA CC-3';             1
                                                                                                                               SEQ ID NO: 17), and the result-
                                                                                                                             ; SEQIDNO:17),

    water, to regenerate aaliposomal suspension.                        25 ing strain was designated BY247. The rbkl disruption cas-
                                                                        25
       In particular embodiments, the compound is administered             sette was constructed by PCR with primers 7063 (5                                     (5'-AAA
                                                                                                                                                                   1
                                                                                                                                                                     -.1\..1\..<\
                       an effective amount, as that term is defined
    to the subject in all                                                  CII TCA GGG
                                                                           CTT                 QUO CIAACC
                                                                                                       CU AGO ACT TCG AAA CAC ATG                             AIG CTG   CIG
                                 compounds can be determined by
    herein. Dosages of active compouuds                                             GTA AUG GAT
                                                                           GTG GTAAGG                  OAT TGA GAT TGT ACT GAG AGT GCA
    methods known in the art, see, e.g., Remington: The Science            C-3'1 ; SEQ ID NO: 18) aJ1d
                                                                           C-3                                    and 7065 (5       (5'-GAA
                                                                                                                                       1
                                                                                                                                         -G.I\..A. CAG AAA AGC          AGO
    and Practice
    and  Practice of
                  of Pharmacy,
                      Pharmacy. Aif'onso   R. Gennaro,
                                  Alfonso R.   Gcnnaro, editor,
                                                         editor, 20th
                                                                 20th 3030
                                                                           ACC CCT  CCI' eIC    CTC GAA CCC .I\..A..A.      AAA GTC AI:A.      ALA, ACC ACA ArT         AFT
    ed. Lippingcott Williams &  & Wilkins: Philadelphia, Pa., 2000.
                                                                20(X).
                                                                           CC'I' crcCTC TcrT    TGT GCG GTA       G'IA TTT     'FIT CAC ACC G-3          0-3':; SEQ II)     ID
                                                                                                                                                               1
                                                                           CCT
    The selected effective dosage level will depend upon aavariety         NO: 19) and plasmid pRS4ll
                                                                           NO:19)                            pRS411 as aatemplate. Disruption was
    of factors including the activity ofthe particular compound of
    offactors
                                                                           introduced into strain BY242 by traJ1sformation             transformation with the
    the present invention employed, the route of administration,
                                                                           product of this reaction and confirmed by PCR with primers
    the time of administration, the rate of excretion or metabolism 35  3
                                                                           7062 (5  (5-QUA
                                                                                        1
                                                                                          -CrGA TAG '[AG ArrAlT ACC TAA CGC TGG                    lUG AG-3 A(3-3';1
                                                                                                                                                                      ; SEQ
                       compound being employed, the duration of
    of the particular compouud
                                                                           ID  NO:20)            and 7064 (5
                                                                                                 aIld            (5'-TTG
                                                                                                                    1
                                                                                                                     -TTG         TAC      TTC       AUG GCT TTC
                                                                                                                                                     AGG                TIC
    the treatment, other drugs, compounds and/or materials used
                                                                           GTG C-3   C-3'1; SEQ 10      ID NO:2l).
                                                                                                             NO:21). The resulting strain, carrying
    in combination with the particular compound employed, the
                                                   and prior medical       deletions of     ot'qnsl.
                                                                                                 qnsl, adol, urkl  urki and rbkl genes was designated
    age, sex, weight, condition, general health aIld
    history of the patient being treated, aJ1dand like factors well- 40 4 BY252. A yeast strain carrying dismption               disruption of the NRKllocusNRKI locus
    known in the medical arts.                                                                    transformation of the
                                                                           was made by traIlsformation                           tile strain BY165-1d
                                                                                                                                                  BY165- Id with the
       A physician
          physiciaIl or veterinarian having ordinary skill in the art      HIS3 marker introduced into disruption cassette by PCR with
    can readily determine and prescribe the effective amount of            primers 4750 (5'-AATAGC GTG CAAk<\GCIA                   CAAAAG CIA TCGAAG
    the pharmaceutical composition required for prevention or              TGT GAG CTA          CIA GAG TAG .I\..<\C        AAC CTC AAAA.TA   AAA AU GAr       GAl TGT  TOT
    treatment in an animal subject such as aahuman,
                                                 human. agricultur- 45 ACT GAG AGT GCA C-3                        C-I:1 ; SEQ ID NO:22) and 4751 (5                        (5'-1
                                                                                                                                                                                 -

                     animal, pet or zoological animal.
    ally-important aJ1imal,                                                CTA ATC CIT         CU ACA .I\..<\GAAG CIT      CU TAG AAI       .I\..<\T CTC ITG  TTG GCA
       The invention is described in greater detail by the following       CAC CCA GCT          GCI TI\..A.
                                                                                                       TAA AGG TCT GTG CGG TAT TTC ACA
    non-limiting examples.                                                 CCG-3';
                                                                           CCG-3       1
                                                                                         ; SEQ 10   ID NO:23). Correct integration of the HIS3
                                                                           marker into NRKllocus NRKI locus was confiTIned     confirmed by PCR with primers
                              EXAMPLE I1                                50 4752 (5  (5'-ACC
                                                                                        1
                                                                                                    AAC 'I"I'G CAT'I'TT AUG CTG 'I"1'C-3';
                                                                                          -ACCA.A.CTTGCATTTTAGGCTGTrC-3                                             1
                                                                                                                                                                      ; SEQ

                                                                               NO 24) aJ1d
                                                                           ID NO:24)             and 4753 (5 1-1M       IAA GTr   Cr11 At('A'TC TAT   I'i/1 CGA
                                                                                                                                                             CIlIA GGT (iGl
                          S. cerevisiae Strains                            ACA CAr  CA!''FC-3': TC-3 1 ; SEQ ID   II) NO:25).

                            BY165, heterozygous tor
       Yeast diploid strain BYl65,                 for qnsl dele-                                 EXAMPLE 22
                     BY 165-Id carrying a
    tion and haploid BY165-1d            achromosomal deletion 55
    of qnsl gene, transfornled
    of             transformed with plasmid pB175
                                              pBI75 containing                  Nicotinamnide Riboside
                                                                                NicotinaInide   Rihoside and Whey Preparations
    QNS1 and URA3 is known in the art (Bieganowski, et al.
    QNSI
    (2003) supra). Genetic deletions were introduced by direct                                Sigma. St. Louis, Mo.) was treated with
                                                                            NMN (39.9 mg; Sigma,
                    with PCR products (Brachmmll,
    transformation with                 (Brachmaim, et al. (1998)        1250 units of calf intestinal alkaline phosphatase (Sigma) for
          14:115-132)
    Yeast 14: 115-132) generated from primers. After 24 hours of 60 11hour at 37°  37C.C. in 11mL
                                                                                               nIL 100 mMm    NaCl, 20 mM
                                                                                                              NaCI,     m             8.0.
                                                                                                                             Tris pH 8.0,
    growth on complete media, cells were plated on media con-  coil-    55mM
                                                                           mnM MgC1
                                                                                 MgCl,.              of NMN to nicotinamide riboside
                                                                                      2 • Hydrolysis ofNMN
    taming 5-fluoroorotic acid (Boeke, et al. (1987) Methods
    taining                                                             was verified by HPLC and phosphatase was removed by
    Enzyinol. 154:164-175). The adol disruption cassette was
    Enzymol.                                                            centrifuging the reaction through aa5,000 Da filter (Millipore,
                                                                                                                              (Millipore.
    constructed by PCR with primers
                                pruners 7041 (5
                                             (5-CIA
                                                1
                                                       ITT AGA
                                                 -CTA TIT                Billerica. Mass.). A whey vitaJ11in
                                                                        Billerica,                     vitamin fraction of commercial
          AUG ATA
    GTA AGG     AI'A TTT TTT
                          TI'F CGG
                                COG AAG GGTGG'f AAG AGGAUG GACGAO 65 os nonfat cow's milk was prepared by adjusting the pH   pl Ito
                                                                                                                                 to 44with
    CAA CIT
    CA.A. CTT CTT
               (,TTCTG    TGC GGT
                     CTGTGC      GGTATT
                                      ATT TCA CAC CG-3CG-3':
                                                           1
                                                             ; SEQ       HCI, stirring at 55° C. for 10 minutes, removal of denatured
                                                                        HCl,
    ID NO: 10) and 7044 (5 (5'-AIG
                             1
                               -ATG ACC GCA CCA TTG    ITO GTA          caseimi by centrifugation, aIld
                                                                        casein                       and passage through
                                                                                                                    throimgh aa 5,000 Da




                                                                                                                                                                    CDXDE 000000049
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    filter. In yeast media, nicotinamide riboside was used at 10              TTC GAA AAA AGT GAT ATT            iVfT AGT
                                                                                                                        ACT TGC-3'; SEQ ID
    0M and whey vitamin fraction at 50% by volume.
    flM                                                                                            (5'-CC(i TCT
                                                                              NO:26) and 7449 (5'-CCG         FCI ,CGA GCT OCT AAT CCTCC1 ..TAC
                                                                                                                                             ..AC
                                                                              AAA GCTOCTTTA      GAATCT
                                                                                           TTA GA-,\         CTT GG-3';
                                                                                                       TCT CIT      00-3'; SEQ ID NO:27). The
                               EXAMPLE 33                                     amplified DNA fragment was cloned in vector pSG04
                                                                              (Ghoshand
                                                                              (Ghosh        Lowenstein(]
                                                                                       and Lowenstein       997) Gene 176:249-255) for
                                                                                                         (1997)                        forE. co/i
                                                                                                                                          E. coli
                         Yeast GST-ORF Library
                                                                              expression using restriction    sites for NdeI
                                                                                                  restriction sites     Ndel and XhoI
                                                                                                                                  Xhol included

       Preparation of the fusion protein library was in accordance            in primer sequences and the resulting plasmid was designated
    with well-established methods (Martzen, et al. (1999) supra;              pB446. Samples of eDNA made from human lymphocytes
    Phizicky, et al. (2002) Methods Enzymol.
    Phizickl',                           Enzv,nol. 350:546-559) at a    a     and spleen were used as aatemplate for amplification of human
                                                                          [I)
                                     ofthc
    0.5 liter culture scale for each of               of 90-96 protein 10 NRKI
                                        the 64 pools 01'90-96                 NRK1 using primers 4754 (5'-CCG (5'-CC(j GCC
                                                                                                                         0CC CAT GGC GCA    (}CA
    constructs. Ten percent of each pool preparation was assayed              CCA CCA TCA CCA CCA TCA TAT GAA AAC ATT TAT
                          overnight incubations.
    for Nrk activity in ovemight                                              CAT TGG A-,\T AAT CAG TGG-3';
                                                                                                         TGG-3': SEQ ID NO:28) and 4755
                                                                              (5'-GCG GGG ATC CTT ATG CTG TCA crr              CTT GCA AAC
                               EXAMPLE 44
                                                                              AC'l''ITI'
                                                                          15 ACT    TTT    O(-3'; SEQ ID
                                                                                           GC-3';         II) NO:29). For E. F. coli
                                                                                                                                co/i expression,
                                                                          15
                                                                                    aniplicons from this reaction were cloned into restric-
                                                                              PCR anlplicons
           Nicotinamide Riboside Phosphorylation Assays
                                                                                         Ncol and BamHI of vector pMRl
                                                                              tion sites NcoI                          pMR103 03 (Munson, et al.
       Reactions (0.2 mL) containing 100 mM NaC!,       NaCl, 20 mM           (1994) Gene 144:59-62) resulting in plasmid pB449. Subse-
    NaHEPES pH 7.2,5  7.2, 5mM 3-rnercaptoethanol, 1     ImMATp,
                                                           mM ATP, 5    5     quently, plasmid pB449
                                                                                                  p13449 was used as a  a template for PCR with

    mM MgCl z2,,and 500 flM   FM nicotinamide riboside or alternate 20 primers 7769 (5'-CCG    (5'-CCO CGG
                                                                                                        COG ATC CAT GA-,\   GAA AAC ATT TAT
    nucleoside, were incubated at 30° 30'C.C. and terminated by addi-         CAT TGG AAT CAG TGG-3'; SEQ ID NO:30) and 7770
    tion of EDTA to 20 mM and heating for 22minutes at 100°     100°C.C.      (5-0CC GCT
                                                                              (5'-GCC    OCT CGA GTT  OTT ATG em    010 TCA CTT GCA AAC
    Specific activity
    Specific   activity assays,
                         assays, containing
                                 containing 5050 ng
                                                  ng to
                                                      to 6
                                                         6 ftg enzyme
                                                               CLI/\ iiie
                                                                              ACTT-3';
                                                                              ACT                   NO:31 ). The product of this amplification
                                                                                    T-3'; SEQ ID NO:31).
    depending on the enzyme and substrate, were incubated t(X        I
                                                                              was cloned between BamBI   BamH1 and XhoI  Xhol sites of vector
                    30°C.
    30 minutes at 30°                                            Reac 25
                         C. to maintain initial rate conditions. Reac-
                                                                              p425GAL1 (Mumberg,
                                                                          25 p425GALl        (Mumbem. et al. (1994) Nucleic Acids Res.
    tion products were analyzed by I-IPLC  ll['LC on a a strong anion
                                                                  ajli'n
                                                                              22:5767-5768) and the resulting plasmid carrying human
                column with a
    exchange colunm            a10
                                10mM       750mM
                                   mM to 750                  of KPO 44
                                                mM gradient ofKP0
    pH 2.6.                                                                   NRK1
                                                                              NRKI     gene under GALl promoter control was designated
                                                                              pB450. Human NRK2 eDNA was amplified with primers
                               EXAMPLE 55                                     7777 (5'-GGC AGG  AGO CAT ATG AAG CTC ATC GTG GGC             00€
                                                                          30
                                                                          30 ATC G-3'; SEQ ID NO:32) and 7776 (5'-GCT       (5-OCT CGC
                                                                                                                                     CCC TCG
              NRK Gene and cDNA eDNA Cloning and Enzyme                       ACT CAC ATG CTG TCC
                                                                              AGT                         ICC TGC TGG GAC-3'; SEQ ID
                                Purification                                            '['he amplified fragment was digested with NdeI
                                                                              NO:33). The                                              Ndel and
                                                                              Xhol enzymes and cloned in plasmid pSOA04
                                                                              XhoI                                          pSGA04 for E. F. coli
                                                                                                                                             co/i
       The S. cerevisiae NRKI
       ]]le                  NRK1 gene was amplified from total                             Ilis-tagged enzymes were purified witl1
                                                                              expression. His-tagged                               with Ni-NIA
                                                                                                                                        Ni-NTA
    yeast DNA with primers 7448 (5'-CGC TGC ACA TAT GAC                       agarose.


                                               SEQUENCE LISTING


       <160> NUMBER OF SEQ ID NOS, 34


       <210<
       <210>   SEQ ID NO 11
       <211>   LENGTH, 1199
       <212>   TYPE, DNA
       <213>
       <213>   ORGANISM, Saccharomyces cerevisiae

       <400> SEQUENCE,
       <400>                1


                  gtatatatet gacataaaaa
       tagcacctga gtatatatct gaeataaaaa gatttctgaa gttatcgtca gataagaaga                           60

                  atgtaaaeaa taactttaac
       tggagtcaaa atgtaaacaa taaetttaae ctatataaat
                                        etatataaat tttcttacat
                                                   tttettaeat ttgcttttaa
                                                              ttgettttaa                         120

       ataetegaag
       atactcgaag    atttgcattg    aacgatcgtt     geegttgaet
                                                  gccgttgact    eatttgaaae
                                                                catttgaaac     agaaaaaeaa
                                                                               agaaaaacaa        180


       tacacgca9g aaaggaacgg cagttggtct
       tacacgcagg            eagttggtct gagaaacaaa
                                        gagaaaeaaa accaacttgc
                                                   aeeaaettge attttaggct
                                                              attttagget                         240

                                       aatagegtge aaaagctatc
      gttccgatag tttatcagag taagggaaaa aatagcgtgc aaaagetate gaagtgtgag                          300

                  accteaaaat atgacttcga
       ctagagtaga acctcaaaat atgacttega aaaaagtgat attagttgca
                                                   attagttgea ttgagtggat                         360

      getcetecag tggtaagacg
      gctcctccag tggtaagaeg acaattgcga
                            aeaattgega aacttacagc
                                       aaettaeage aagtttattc
                                                  aagtttatte acgaaggcta
                                                             aegaaggeta                          420

       eattaattea tgaagatgac
       cattaattca tgaagatgae ttttacaaac
                             ttttaeaaae atgataatga agtgccagta
                                                   agtgeeagta gatgctaaat
                                                              gatgetaaat                         480

       ataaeattea aaattgggat tcgccagaag
       ataacattca            tegeeagaag ctcttgattt
                                        etettgattt taaacttttc
                                                   taaaetttte ggtaaagaat                         540

       tagatgtgat    eaaaeaaaet
                     caaacaaact    ggtaaaatag     eeaeeaaaet
                                                  ccaccaaact    tataeaeaat
                                                                tatacacaat     aaeaaegtag
                                                                               aacaacgtag        600


       atgatceett tacaaagttc
       atgatccctt taeaaagtte cacattgata
                             eaeattgata gacaagtttg ggacgagtta
                                                   ggaogagtta aaggctaagt                         660

       atgaetetat taatgacgac
       atgactctat taatgaegae aaatatgaag ttgtaattgt agatgggttt atgattttca
                                                              atgattttea                         720




                                                                                                                                      CDXDE 000000050
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                                   12558


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                                 35                                                     36
                                                            continued
                                                           -continued
                                                           -




     ataatactgg aatatcaaaa aaatttgatt tgaagatatt agtgcgtgct ccctatgaag            780

     tactaaa9aa aaggagggct tccagaaaag
     tactaaaaaa            tecagaaaag gataccagac tttggattct ttctgggtgg            840

    atccgccgta ttatttcgac gaatttgtgt atgaatctta tcgtgcaaat catgcgcagt             900

     tatttgttaa tggagacgta gaaggtttac tagacccaag gaagtcaaag aatataaaag            960

     agttcataaa tgatgatgac actccaattg cgaaaccttt aagctgggtg tgccaagaga           1020

     ttctaaagct ttgtaaggat taggaaagcg ccacaaaatc gatgagaagt ataaaaaaaa           1080

     aaaagtaaaa acaataaaaa taagaatgtg tacctcgata gataacttaa ataagacaat           1140

                                                            Ltggtgtaa
     ttcagaacca caatattgat aacaccatcc cgatttttga aattattttt ttggtgtaa            1199


     <210> SEQ ID NO 2
                     2
           LENGTH: 1172
     <211> LENGTH,
           TYPE: DNA
     <212> TYPE,
     >213> ORGANISM,
     <213> ORGANISM: Homo sapiens


     >400> SEQUENCE,
     <400> SEQUENCE:   2


    aaaggggcct ctggtgaccg cccctacctg gcatccctct aacccaggag gagcgtgggg              60

    aaaggggctg tgggcctctc ggggagcgag ctgcgggtag cggcgcactg ggtacaggcg             120

    cgcgcttggc tgtcgcctct tccgctgtgt ttgggaggac tcgaactggc gccaggaaat             180

    attaggaagc    tgtgattttc   aaagctaatt   atgaaaacat   ttatcattgg aatcagtggt    240


                                                agaaaeacet cccaaattgc
    gtgacaaaca gtggcaaaac aacactggct aagaatttgc agaaacacct                        300

     agtgtcatat ctcaggatga tttcttcaag ccagagtctg agatagagac agataaaaat            360

    ggatttttgc agtacgatgt gcttgaagca cttaacatgg aaaaaatgat gtcagccatt             420

                Lggaaagcgc aagacactct gtggtatcaa cagaccagga aagtgctgag
     tcctgctgga tggaaagcgc                                                        480

    gaaattceca ttttaatcat cgaaggtttt cttcttttta
    gaaattccca                       cttettttta attataagcc ccttgacact             540

                           cetgactatt ccatatgaag
     atatggaata gaagctattt cctgactatt ecatatgaag aatgtaaaag gaggaggagt            600

                                                 atggceatgt gtggcccatg
     acaagggtct atcagcctcc agactctccg ggatactttg atggccatgt gtggeccatg            660

     tatctaaagt acagacaaga aatgcaggac atcacatggg aagttgtgta cctggatgga            720

    acaaaatctg aagaggacct ctttttgcaa gtatatgaag atctaataca agaactagca             780

                                     agaeggaaca caacaaatcc ttcctgaagt
    aagcaaaagt gtttgcaagt gacagcataa agacggaaca                                   840

    gaattaggaa actccaagga gtaatttaag aaccttcacc aagatacaat gtatactgtg             900

    gtacaatgac agccattgtt tcatatgttt gatttttatt gcacatggtt ttcccaacat             960

    gtggaacaat    aaatatccat gccaatggac aggactgtac cttagcaagt tgctccctct         1020


    ccagggagcg catagataca gcagagctca cagtgagtca gaaagtctcc actttctgaa            1080

    catagctcta taacaatgat tgtcaaactt ttctaactgg agctcagagt aagaaataaa            1140

                                     99
    gattacatca caatccaaaa aaaaaaaaaa aa                                          1172


     <210>   SEQ ID NO 33
     <211>   LENGTH: 1134
             LENGTH,
     <212>   TYPE: DNA
             TYPE,
     <213>
     <213>   ORGANISM: Homo sapiens
             ORGANISM,

           SEQUENCE:
     <400> SEQUENCE,   3


    aatcatcttg ttggccctga cctcgttgga aaacgaagct ccccgcaggg tcccggcctc              60

                                                 CaLLC9gCgg cgggaacagg
     tagggctgct gtgcgggcgg gggtggcctg gagctatttc cattcggcgg                       120

     tgccggcgcc tccgccccat ccccaggggc cgcctccccc ggggcggcct ccaggctgcc            180

               aaggcgccay gttttctcaa tgaagccggg
    gagacctata aaggcgccag            Lgaagccggg acgcactccg gagcgcactg             240




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                                   12559


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                               37                                               38
                                                    -continued
                                                    -continued



    egtggtcgca ccctacccgg
    cgtggtcgca 000ta000gg gctgccttgg aagtcgtccc
                                     aagtcgt000 cgccgcccct
                                                cgecg0000t ccgcaccggc     300

     atgaagctea tcgtgggcat c9gaggcatg
     atgaagctca            cggaggcatg accaacggcg gcaagaccac gctgaccaac    360

                gag000tgce caactgctgc gtgatccatc aggatgactt cttcaagccc
     agcctgctca gagccctgcc                                  cttcaagecc    420

                                                gggacgtget ggagtctctg
    caagaccaaa tagcagttgg ggaagacggc ttcaaacagt gggacgtgct                480

                                                           gaagttt9cc
    gacatggagg ccatgctgga caccgtgcag gcctggctga gcagcccgca gaagtttgcc     540

                ggtcagcgt ccagccagag gcctcggaca
    cgtgcccacg gggtcagcgt            gcctcgaca cccacatcct cctcctggaa
                                                          cctcctgaa       600

               tctaca9cta caagcccctg gtggacttgt
    ggcttcctgc tctacagcta            9t996cttgt acagccgccg
                                                acagccccg gtacttcctg
                                                           9tacttcctg     660

                at9aa9a5t9 caagtggagg
     accgtcccgt atgaagagtg 0aa5155a55 agaagtaccc gcaactacac agtccctgat
                                                            a5t000t9at    720

    ccccccggcc tcttcgatgg ccacgtgtgg cccatgtacc agaagtatag gcaggagatg     780

    gagccaacg gtgtggaagt ggtctacctg gacggcatga agtcccgaga ggagctcttc
    gaggccaacg                                                            840

    cgtgaagtcc tggaagacat tcagaactcg ctgctgaacc gctcccagga atcagccccc     900

     t0000gyctc gcccagccag gacacaggga
     tccccggctc            gacacagyga cccggacgcg gatgcggcca cagaacggcc    960

     aggcctgcag cgtcccagca ggacagcatg tgagcgtttc cctatggggg tgtctgtacg   1020

     taggagagtg gaggccccac tcccagttgg gcgtcccgga gctcagggac tgagccccaa   1080

    gacgcctctg taacctcgct gcagcttcag tagtaaactg ggtcctgttt tttt          1134


     <210,
     <210>        ID NO 4
             SEQ lD     4
     >211>
     <211>   LENGTH: 240
             LENGTH,
     <212>   TYPE
             TYPE,  PET
                    PRT
     >213>
     <213>   ORGANISM: Saccharomyces cerevisiae

     <400> SEQUENCE,
     dOO>  SEQUENCE:   4


                Lye Lys
    Met Thr Ser Lys Lye Val lIe
                            Ile Leu Val Ala Leu Ser Gly Cys
                                                        Cye Ser Ser
    11              55                  10                  15

        Gly Lys
    Ser G1y Lye Thr Thr lle
                        Ile Ala Lys
                                Lye Leu Thr Ala Ser Leu
                                                    Leo Phe Thr Lys
                                                                Lye
                20                  25                  30

                Ile His Glu Asp Asp Phe Tyr Lys
    Ala Thr Leu lIe                         Lye His Asp Asn Glu Val
            35                  40                  45

                     Lye Tyr Asn lIe
     Pro Val Asp Ala Lys         Ile GIn
                                     Gin Asn Trp Asp Ser Pro Glu Ala
         50                  55                  60

                 Lye Leu Phe Gly Lys
     Leu Asp Phe Lys             Lye Glu Leu Asp Val lIe
                                                     Ile Lys
                                                         Lye GIn
                                                             Gin Thr
     65                  70                  75                  80

        Lye lIe
    Gly Lys Ile Ala Thr Lys
                        Lye Leu lIe
                                Ile His Asn Asn Asn Val Asp Asp Pro
                    85                  90                  95

             Lye Phe His lIe
     Phe Thr Lys         Ile Asp Arg GIn
                                     Gin Val Trp Asp Glu Leu Lys
                                                             Lye Ala
                 100                 105                 110

     Lye Tyr Asp Ser lIe
     Lys             lie Asn Asp Asp Lys
                                     Lye Tyr Glu Val Val lIe
                                                         Ile Val Asp
             115                 120                 125

                Ile Phe Asn Asn Thr Gly lIe
    Gly Phe Met lIe                     Ile Ser Lys
                                                Lye Lys
                                                    Lye Phe Asp Leu
        130                 135                 140

        Ile Leu
    Lys lIe Leo Val Arg Ala Pro Tyr Glu Val Leu Lys
                                                Lye Lys
                                                    Lye Arg Arg Ala
    145                 150                 155                 160

    Oar Arg Lys
    Ser     Lye Gly Tyr GIn
                        Gin Thr Leu
                                Leo Asp Ser
                                        Set Phe Trp Val Asp Pro Pro
                    165                 170                 175


    Tyr Tyr Phe Asp Glu Phe Val Tyr Glu Ser Tyr Arg Ala Asn His Ala
                180                 185                 190

    Gin Leu Phe Val Asn Gly Asp Val Glu Gly Leu Leu Asp Pro Arg Lys
    GIn
            195                 200                 205

        Lye Asn lIe
    Ser Lys     Ile Lys
                    Lye Glu Phe lIe
                                Ile Asn Asp Asp Asp Thr Pro lIe
                                                            Ile Ala
        210                 215                 220




                                                                                     CDXDE 000000052
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                                   12560


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                                    39
                                    39                                             40
                                                              continued
                                                             -continued
                                                             -




     Lye Pro Leu Ser Trp
     Lys             Tip Val eys
                             Dye Gln
                                 Gin Glu lIe
                                         Ile Leu Lys
                                                 Lye Leu eys
                                                         Dye Lye Asp
     225                      230                    235                     240


     <210> SEQ ID NO 5S
     <21i> LENGTH, 199
     <211>
     <212> TYPE, PRT
     <212>
     <213< ORGANISM, Homo
     <213>           Ilonlo sapiens


     <400> SEQUENCE,
     <400>               55

        Lye Thr Phe lIe
    Met Lys          lie lIe
                         lie Gly lIe
                                 Ile Ser Gly Val Thr Asn
                                                     Ann Ser
                                                         See Gly Lys
                                                                 Lye
    11              55                   10                  15

                    Lye Asn
    Thr Thr Leu Ala Lys Ann Leu
                            Lee Gln
                                Gin Lys
                                    Lye His Leu Pro Asn
                                                    Ann eys
                                                        Dye Ser
                                                            Set Val
                   20                          25                      30

     Ile Ser
     lIe Set Gln
             Gin Asp Asp Phe Phe Lye Pro Glu Ser Glu
                                                 Ole lIe
                                                     Ile Glu Thr Asp
             35                          40                      45

     Lye Asn
     Lys Aen Gly Phe Leu Gln
                         Gin Tyr Asp Val Leu Glu Ala Leu Asn
                                                         Ann Met Glu
         50                  55                  60

     Lye Met Met Ser
     Lys         Set Ala Ile Ser Cys
                                 Dye Trp
                                     Tip Met Glu Ser
                                                 Set Ala Arg His Ser
     65                  70                  75                  80

            Set Thr Asp GIn
    Val Val Ser         Gin Glu Ser
                                Set Ala Glu Glu Ile Pro Ile Leu Ile
                                                                lie
                    85                  90                  95

     Ile Glu Gly Phe Leu Leu Phe Asn
     lIe                         Ann Tyr Lys
                                         Lye Pro Leu Asp Thr
                                                         The lIe
                                                             Ile Trp
                                                                 Tip
                 100
                 100                 105
                                     105                 110
                                                         llO

    Aen Arg Ser
    Asn     Set Tyr Phe Leu Thr Ile Pro Tyr Glu Glu eys
                                                    Dye Lys Arg Arg
             US
             115                         120                     125

        Set Thr Arg Val Tyr GIn
    Arg Ser                 Gin Pro Pro Asp Ser
                                            Set Pro Gly Tyr Phe Asp
        130                 135                 140

    dy His Val Trp
    Gly        Tip Pro Met Tyr Leu Lys
                                   Lye Tyr Arg GIn
                                               Gin Glu
                                                   Giu Met Gln
                                                           Gin Asp
    145                       150                    155                     160

     Ile Thr Trp
     lIe     Tip Glu Val Val Tyr Leu Asp Gly Thr Lys
                                                 Lye Ser
                                                     Set Glu Glu Asp
                     i65
                     165                 170                 175

                Gin Val Tyr Glu Asp Leu Ile Gln
    Leu Phe Leu Gln                         Gin Glu Leu Ala Lys
                                                            Lye Gln
                                                                Gin
                   iSO
                   180                         185                     190

     Lye Cys
     Lys Dye Leu GIn
                 Gin Val Thr
                         The Ala
             195


     <210> SEQ ID NO 66
     <21i> LENGTH, 230
     <211>
     <212> TYPE, PRT
           ORGANISM, Homo sapiens
     <213> ORGANISM:      saDie


     <400> SEQUENCE,     6


        Lye Leu lIe
    Met Lys     Ile Val Gly lIe
                            Ile Gly Gly Met Thr Asn Gly Gly Lys
                                                            Lye Thr
    1i              55                  10                  15

    The Leu
    Thr Lou Thr Asn
                Ann Ser
                    See Leu Leu Arg Ala Leu Pro Asn
                                                Ann eys
                                                    Cys Cys
                                                        Dye Val lIe
                                                                lie
                   20                          25                      30

        Gin Asp Asp Phe Phe Lys
    His GIn                 Lye Pro GIn
                                    Gin Asp GIn
                                            Gin Ile Ala Val Gly Glu
            35                  40                  45

                Lye GIn
    Asp Gly Phe Lys Gin Trp Asp Val Leu Glu Ser
                                            Set Leu Asp Met Glu Ala
        50                  55                  60

                The Val GIn
    Met Leu Asp Thr     Gin Ala Trp
                                Tip Leu Ser
                                        See Ser
                                            Set Pro GIn
                                                    Gin Lys
                                                        Lye Phe Ala
    65                  70                  75                  80

                        See Val GIn
    Arg Ala His Gly Val Ser     Gin Pro Glu Ala Ser
                                                Set Asp Thr
                                                        The His Ile
                                                                lie
                    85                  90                  95

                 Giu Gly Phe Leu Leu Tyr Ser
     Leu Leu Leu Glu                     See Tyr Lys
                                                 Lye Pro Leu Val Asp
                   100                         IDS
                                               105                     110




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                                         41
                                         41                                                        42
                                                                                                   42
                                                                            continued
                                                                           -continued
                                                                           -




                                         Vii Pro Tyr Glu Glu Cys Lys
     Leu Tyr Ser Arg Arg Tyr Phe Leu Thr Val                     Lye
             itS
             115                 120                 125

                                        Vii Pro Asp Pro Pro Gly Leu
    Trp Arg Arg Ser Thr Arg Asn Tyr Thr Val
           130                           135                          140

                                        Gin Lys
    Phe Asp Gly His Val Trp Pro Met Tyr GIn Lye Tyr Arg GIn
                                                        Gin Glu Met
    145                 150                 155                 160

                    Vii Glu Val Val
    Glu Ala Asn Gly Val         Vii Tyr Leu Asp Gly Met Lys
                                                        Lye Ser
                                                            Set Arg
                    165                 170                 175

                                Lou Glu Asp lIe
    Glu Glu Leu Phe Arg Glu Val Leu         Ile GIn
                                                Gin Asn Ser Leu Leu
                       180                           185                             190

                Gin Glu Ser
    Asn Arg Ser GIn     5cr Ala Pro Ser Pro Ala
                                            Ale Arg Pro Ala Arg
                                                            Axg Thr
                 195                           200                             205

    Gin Gly Pro Gly Arg Gly Cys Gly His Arg Thr Ala Arg Pro Ala
    GIn                                                     Ale Ala
        210                 215                 220

        Gin Gln
    Ser GIn Gin Asp Ser Met
     225                           230


               ID NO 7
     <210> SEQ lD    7
           LENGTH: 229
     <211> LENGTH,
           TYPE: PRT
     <212> TYPE,
                     Schizosaceharomyces pombe
     <213> ORGANISM: Schizosaccharomyces

           SEQUENCE: 7
     <400> SEQUENCE, 7


                Lye Thr lIe
    Met Thr Arg Lys     lie lIe
                            lie Val Gly Val Ser Gly Ala Ser Cys Ser
                                                                Set
    11              55                  10                  15

    Gly Lys
    Gly Lye Ser Thr Leu eys
                        Dye GIn
                            Gin Leu Leu
                                    Lou His Ala lIe
                                                Ile Phe Glu Gly Ser
                       20                            25                              30

                                        Lye Thr Asp Ala Glu lIe
    Ser Leu Val His Glu Asp Asp Phe Tyr Lys                 Ile Pro
            35                  40                  45

        Lye Asn Gly Ile Ala Asp Trp Asp Cys
    Val Lys                             Dye Gln
                                            Gin Glu Ser Leu Asn Leu
           50                            55                           60

    Asp Ala      Phe Leu Glu Asn         Leu His     Tyr   Ile Arg Asp His
                                                           lIe                       Gly Val Leu
                                                                                             Leo
     65                            70                            75                          80

                                         Lye Asn Val Ala Pro Glu Ala
     Pro Thr His Leu Arg Asn Arg Glu Asn Lys
                             85                            90                              95

         Ile Glu Tyr Ala Asp lIe
     Leu lIe                 lie lIe
                                 lie Lys
                                     Lye Glu Phe Lys
                                                 Lye Ala Pro Ala lIe
                                                                 lie
                 100                 105                 iii
                                                         110

                     Gin His Leu Val Phe Val Asp Gly Phe Met Met Tyr
     Pro Thr Leu Glu GIn
                 iii
                 115                           120                             125

    Vii Asn Glu Asp Leu
    Val             Lou Ile Asn Ala Phe Asp lle
                                            Ile Arg Leu Met Leu Val
           130
           130                           135
                                         135                          140


                            Lye Arg Arg Arg Glu Ala Arg Thr Gly Tyr
    Thr Asp Phe Asp Thr Leu Lys
    laS
    145                 iSO
                        150                 155                 160

                                 Gin Asp Pro Pro His Tyr Phe Glu Asn
     Ile Thr Leu Glu Gly Phe Trp Gln
                             165                           170                             175

                            Vii His Gly His Ser
    Tyr Val Trp Pro Gly Tyr Val             See His Leu Phe Val Asn
                180                 185                 190

                        Lye Leu Leu Asp Lys Arg lIe
    Gly Asp Val Thr Gly Lys                     Ile GIn
                                                    Gin Leu Ser Pro
                 195                           200                             205

            Lye Met Ser
    Ser Ser Lys     See Val Arg Asp Asn Val
                                        Vii GIn
                                            Gin Trp Ala lIe
                                                        Ile Asn Ser
           210                           215                          220

     Ile Leu Asn Ala Leu
     lIe
     225


    <210< SEQ lD
    <210>     ID NO 8
                    8
          LENGTH: 243
    <211> LENGTH,




                                                                                                        CDXDE 000000054
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                                   12562


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                                        43                                                        44
                                                                        continued
                                                                       -continued
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     >212> TYPE,
     <212> TYPE: PRT
                     Saccharornyces cerevisiae
     <213> ORGANISM: Saccharomyces

     >400> SEQUENCE,
     <400> SEQUENCE: 8
                     8


                lie lIe
    Thr Pro Tyr lIe  lie Gly lIe
                             Ile Gly Gly Ala Ser
                                             See Gly Ser Gly Lys Thr
    11              55                   10                  15

                    Lye lIe
    Ser Val Ala Ala Ly" Ile Val Ser Ser Ile Asn Val Pro Trp Thr Val
                20                  25                  30

                                                                 Ar9
     Leu Ile Ser Leu Asp Asn Phe Tyr Asn Pro Leu Gly Pro Glu Asp Arg
             35                  40                  45

                The Lys Asn Glu Tyr Asp Phe Asp Glu Pro Asn Ala lIe
    Ala Arg Ala Phe                                             lie
        50                  55                  60

                                    Ile Leu Asn Leu
    Asn Leu Asp Leu Ala Tyr Lys Cys lIe         Lea Lys Glu G1y
                                                            Gly Lys
    65                  70                  75                  80

                Ile Pro Val Tyr Ser Phe Val His His Asn Arg Val Pro
    Arg Thr Asn lIe
                    85                  90                  95

    Asp Lys Asn Ile Val Ile Tyr Gly Ala Ser Val Val Val Ile Glu Gly
                100                 uS
                                    105                 110

     Ile Tyr Ala Leu Tyr Asp Arg Arg Leu Leu Asp Leu Met Asp Leu Lys
     lIe
                 uS
                 115                          120                          125

     Ile Tyr Val Asp Ala Asp Leu Asp Val Cys Leu Ala Arg Arg Leu Ser
     lIe
         130                 138
                             135                 140

            Ile Val Ser Arg Gly Arg Asp Leu Asp Gly Cys lIe
    Arg Asp lIe                                         Ile GIn
                                                            Gin GIn
                                                                Gin
    145                 150                 155                 160

                                                        Lye Pro Thr
    Trp Glu Lys Phe Val Lys Pro Asn Ala Val Lys Phe Val Lys
                    165                 170                 175

        Lye Asn Ala Asp Ala Ile
    Met Lys                 Tie Ile Pro Ser
                                        See Met Ser Asp Asn Ala Thr
                180                 185                 190

                    lie lIe
    Ala Val Asn Leu Ile lie Asn His Ile Lys
                                        Lye Ser Lys
                                                Lye Leu Glu Leu Lys
                                                                Lye
            195                 200                 205

    See Asn Glu His Leu Arg Glu Leu lIe
    Ser                             Ile Lys Leu Gly Ser Ser Pro Ser
                                                                See
           210                          215                          220

    Gin Asp Val Leu Asn Arg Asn lIe
    GIn                         lie lIe
                                    lie His Glu Leu Pro Pro Thr
                                                            The Asn
     225                          230                          235                          240

    Gin Val Leu
    Gln


     <210> SEQ ID NO 99
     >211> LENGTH,
     <211> LENGTH: 232
           TYPE: PRT
     <212> TYPE, PET
                                 coil
     <213> ORGANISM: Escherichia coli

           SEQUENCE:
     <400> SEQUENCE,         9


    Gin Thr
    Gln The Leu Met Thr Pro Tyr Leu Gln
                                    Gin Phe Asp Arg Asn
                                                    Aen Gln
                                                        Gin Trp Ala
    1i                       55                           10                           iS
                                                                                       15

            Ar9 Asp Ser
    Ala Leu Arg     See Val Pro Met Thr
                                    The Leu Ser
                                            See G1u
                                                Glu Asp G1u
                                                        Glu lIe
                                                            Ile Ala
                20                  25                  30

            Lye Gly
    Arg Leu Lys Guy lIe
                    Ile Asn Glu Asp Leu Ser Leu Glu Glu Val Ala Glu
                 35                           40                           45

     Ile Tyr Leu Pro Leu Ser
     lIe                 See Arg Leu Leu Asn Phe Tyr Ile Ser Ser Asn
         50                  55                  60


                 Gin Ala Val Leu Glu GIn
     Leu Arg Arg GIn                 Gin Phe Leu Gly
                                                 Guy Thr Asn Gly
                                                             Guy GIn
                                                                 Gin
     60
     65                  70                  75                  80

        Ile Pro Tyr lIe
    Arg lIe         lie lIe
                        lie Ser lIe
                                Ile Ala Gly Ser
                                            See Val Ala Val Gly Lys
                                                                Lye
                    85                  90                  95

    See Thr
    Ser The Thr Ala Arg Val Leu Gln
                                Gin Ala Leu Leu Ser Arg Trp Pro Glu
                       100                          105                          110




                                                                                                       CDXDE 000000055
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                                   12563


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                                 45                                           46
                                                       continued
                                                      -continued
                                                      -




                            Ile Thr Thr Asp Gly Phe Leu His Pro Asn
    His Arg Arg Val Glu Leu lIe
               115
               l15                    120                 125

    Gin Val Leu Lys
    GIn         Lye G1u
                    Glu Arg Gly Leu Met Lys Lys Lys
                                                Lye Gly Phe Pro Glu
        130                 135                 140

    Set Tyr Asp Met His Arg Leu Val Lys
    Ser                             Lye Phe Val Ser Asp Leu Lys
                                                            Lye Ser
                                                                Set
    145                 150                 155                 160

                                            Set His Leu lIe
    Gly Val Pro Asn Val Thr Ala Pro Val Tyr Ser         Ile Tyr Asp
                    165                 170                 175

        Ile Pro Asp Gly Asp Lys
    Val lIe                 Lye Thr Val
                                    V>1 Val GIn
                                            Gin Pro Asp lIe
                                                        Ile Leu lIe
                                                                lie
                190
                180                 185                 190

                     lIen Val Leu GIn
     Leu Glu Gly Leu Asn          Gin Ser Gly Met Asp Tyr Pro His Asp
               195                    200                 205

     Pro His His Val Phe Val Ser
                             Set Asp Phe Val Asp Phe Ser
                                                     Set Ile
                                                         lIe Tyr Val
         210                 215                 220

                                Gin
    Asp Ala Pro Glu Asp Leu Leu GIn
     225                   230


     <210> SEQ ID NO 10
     <211> LENGTH, 71
     <2l1>
     <212, TYPE:
     <212> TYPE, DNA
                 DMA
           ORGANISM, Artificial Sequence
     <213> ORGANISM:
     <220> FEATURE,
     <223> OTHER INFORMATION:
                 INFORMATION; Synthetic primer


     <400> SEQUENCE, 10

    ctatttagag taaggatatt ttttcggaag ggtaagaggg accaacttct tctgtgcggt    60

    atttcacacc 95                                                        71



     <210, SEQ ID NO 11
     <210>            ii
     <211, LENGTH, 70
     <211>
     <212,
     <212>   TYPE, DNA
             TYPE:
     <213,
     <213>   ORGANISM, Artificial Sequence
             ORGANISM:
     <220,
     <220>   FEATURE,
             FEATURE:
     <223,
     <223>         INFORMATION, Synthetic primer
             OTHER INFORMATION:            primer


     <400, SEQUENCE, 11
     <400>           ii


     atgaccgcac cattggtagt attgggtaac ccacttttag atttccaagc agattgtact   60

    gagagtgcac                                                           70


     <210, SEQ ID NO 12
     <210>
     <211> LENGTH, 22
     <212> TYPE, DNA
     <213, ORGANISM:
     <213> ORGANISM, Artificial Sequence
     <220> FEATURE,
     <223> OTHER INFORMATION, Synthetic primer

    <400> SEQUENCE, 12

                           aq
     aagctagagg gaacacgtag ag                                            22


     <210< SEQ ID NO 13
     <210>
     <211> LENGTH, 22
     <212, TYPE, DNA
     <212>
           ORGANISM, Artificial Sequence
     <213> ORGANISM:
     <220, FEATURE,
     <220>
     <223< OTHER INFORMATION, Synthetic pri
     <223>                              primer

     <400> SEQUENCE, 13

     ttatcttgtg cagggtagaa cc                                            22


    <210> SEQ ID NO 14
    <211, LENGTH, 70
    <211>




                                                                                   CDXDE 000000056
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                             47                                               48
                                                    continued
                                                   -continued
                                                   -




     >212> TYPE,
     <212> TYPE: DNA
     <213> ORGANISM: Artificial Sequence
     >220> FEATURE,
     <220> FEATURE:
     <223> OTHER INFORMATION: Synthetic primer

     >400> SEQUENCE,
     <400> SEQUENCE: 14


                                     qatqaaacaa gagacacatt
    cgatcttcat catttatttc aattttagac gatgaaacaa gaqacacart dgattgtact
                                                           ayattgtact    60

    gagagtgcac                                                           70


     >210> SEQ ID NO 15
     <210>            19
     >211> LENGTH,
     <211> LENGTH: 70
     >212> TYPE,
     <212> TYPE: DNA
    >213> ORGANISM: Artificial Sequence
    <213>
     >220> FEATURE,
     <220> FEATURE:
     >223> OTHER INFORMATION,
     <223>       INFORMATION: Synthetic primer


     >400> SEQUENCE,
     <400> SEQUENCE: 15


     aaaatacttt gaatcaaaaa atctggtcaa tgcccatttg tattgatgat ctgtgcggta   60

     tttcacaccg                                                          70



     >210> SEQ ID NO 16
     <210>
     >211> LENGTH,
     <211> LENGTH: 24
     >212> TYPE,
     <212> TYPE: DNA
     >213> ORGANISM: Artificial Sequence
     <213>
           FEATURE:
     <220> FEATURE,
     >223> OTHER INFORMATION: Synthetic primer
     <223>

     >400> SEQUENCE,
     <400> SEQUENCE: 16


                           ttcc
     atgtcccatc gtatagcacc ttce                                          24


    <210> SEQ ID NO 17
    >211> LENGTH,
    <211> LENGTH: 26
    >212> TYPE,
    <212> TYPE: DNA
     >213> ORGANISM: Artificial Sequence
     <213>
     <220> FEATURE:
     >223> OTHER INFORMATION: Synthetic primer
     <223>

           SEQUENCE: 17
     <400> SEQUENCE,

    gcctctaatt attctcaatc acaacc                                         26


     >210> SEQ ID NO 18
     <210>
           LENGTH: 70
     <211> LENGTH,
     >212> TYPE,
     <212> TYPE: DNA
     <213< ORGANISM: Artificial Sequence
     <213>
     >220> FEATURE,
     <220> FEATURE:
                 INFORMATION: Synthetic primer
     <223> OTHER INFORMATION,

           SEQUENCE: 18
     <400> SEQUENCE,

     aaactttcag ggctaaccac ttcgaaacac atgctggtgg taagggattg agattgtact   60

    gagagtgcac                                                           70


     <210> SEQ ID NO 19
           LENGTH: 70
     <211> LENGTH,
     >212> TYPE,
     <212> TYPE: DNA
     >213< ORGANISM: Artificial Sequence
     <213>
    >220> FEATURE,
    <220> FEATURE:
    >223< OTHER INFORMATION,
    <223>       INFORMATION: Synthetic primer


     <400< SEQUENCE,
     <400> SEQUENCE: 19


    gaacagaaaa gcacccctct cgaacccaaa gtcataacca caattcctct ctgtgcggta    60

     tttcacaccg                                                          70



    <210> SEQ ID NO 20
    <211< LENGTH,
    <211> LENGTH: 23




                                                                                   CDXDE 000000057
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                                   12565


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                                49                                             50
                                                     continued
                                                    -continued
                                                    -




     >212> TYPE,
     <212> TYPE: DNA
     <213> ORGANISM: Artificial Sequence
     >220> FEATURE,
     <220> FEATURE:
     <223> OTHER INFORMATION: Synthetic primer

     >400> SEQUENCE,
     <400> SEQUENCE: 20


    ggata9atta cctaacgctg gag
    ggatagatta                                                            23


    >210> SEQ ID NO 21
    <210>
    >211> LENGTH,
    <211> LENGTH: 22
    >212> TYPE,
    <212> TYPE: DNA
    <213> ORGANISM: Artificial Sequence
    >220> FEATURE,
    <220> FEATURE:
    >223> OTHER INFORMATION,
    <223>        INFORMATION: Synthetic primer


     >400> SEQUENCE,
     <400> SEQUENCE: 21


                           yc
     ttgtacttca gggctttcgt gc                                             22


    <210, SEQ ID NO 22
    <210>
    >211> LENGTH,
    <211> LENGTH: 70
    <212, TYPE,
    <212> TYPE: DNA
    <213> ORGANISM: Artificial Sequence
    <220, FEATURE,
    <220> FEATURE:
    >223> OTHER INFORMATION: Synthetic primer
    <223>

           SEQUENCE: 22
     <400> SEQUENCE,

    aatagcgtgc   aaaagctatc gaagtgtgag ctagagtaga acctcaaaat agattgtact   60
                                                                          60

    qagagtgcac
    gagagtgcac                                                            70



    >210, SEQ ID NO 23
    <210>
    >211> LENGTH,
    <211> LENGTH: 69
    >212> TYPE,
    <212> TYPE: DNA
    <213> ORGANISM: Artificial Sequence
    >220> FEATURE,
    <220> FEATURE:
    <223, OTHER INFORMATION: Synthetic primer
    <223>

     >400, SEQUENCE,
     <400> SEQUENCE: 23


    ctaatcctta caaagcttta gaatctcttg gcacacccag cttaaaggtc tgtgcggtat     60

     ttcacaccg                                                            69



     <210, SEQ ID NO 24
     <210>
     <211, LENGTH: 24
     <211>
           TYPE: DNA
     <212> TYPE,
     >213> ORGANISM: Artificial Sequence
     <213>
     >220> FEATURE,
     <220> FEATURE:
     >223, OTHER INFORMATION,
     <223>       INFORMATION: Synthetic primer


           SEQUENCE: 24
     <400> SEQUENCE,

                attttaqgct gttc
     accaacttgc attttaggct                                                24



    <210> SEQ ID NO 25
    >211> LENGTH,
    <211> LENGTH: 26
          TYPE: DNA
    <212> TYPE,
    >213> ORGANISM: Artificial Sequence
    <213>
          FEATURE:
    <220> FEATURE,
    <223> OTHER INFORMATION: Synthetic primer

          SEQUENCE: 25
    <400> SEQUENCE,

     taagttatct atcgaggtac acattc                                         26


    <210> SEQ ID NO 26
          LENGTH: 39
    <211> LENGTH,
    >212, TYPE,
    <212> TYPE: DNA
    >213> ORGANISM: Artificial Sequence
    <213>
    <220, FEATURE:
    <220>
                 INFORMATION: Synthetic primer
    <223> OTHER INFORMATION,




                                                                                    CDXDE 000000058
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                                                 US 8,383,086 B2
                             51                                              52
                                                                             52
                                                     continued
                                                    -continued
                                                    -




     <400> SEQUENCE, 26

    cgctgcacat atgacttcga aaaaagtgat attagttgc                          39


     <210> SEQ ID NO 27
           LENGTI-{, 41
     <211> LENGTH,
     <212> TYPE, DNA
     <213, ORGANISM:
     <213> ORGANISM, Artificial Sequence
     <220> FEATURE,
     <223> OTHER INFORMATION, Synthetic primer

    <400< SEQUENCE, 27
    <400>

                                                g
    ccgtctcgag ctaatcctta caaagcttta gaatctcttg 9                       41


    <210, SEQ ID NO 28
    <210>
    <211< LENGTH, 63
    <211>
    <212, TYPE, DNA
    <212>
          ORGANISM, Artificial Sequence
    <213> ORGANISM:
    <220> FEATURE,
    <223> OTHER INFORMATION, Synthetic primer

     <400> SEQUENCE, 28

    ccggcccatg gcgcaccacc atcaccacca tcatatgaaa acatttatca ttggaatcag   60

     tog
     tgg                                                                63


     <210> SEQ ID NO 29
     <211> LENGTH, 38
     >212> TYPE, DNA
     <212>
           ORGANISM, Artificial Sequence
     <213> ORGANISM:
     <220> FEATURE,
                 INFORMATION, Synthetic primer
     <223> OTHER INFORMATION:

     <400> SEQUENCE, 29

    gcggggatcc ttatgctgtc acttgcaaac acttttgc                           38


    <210, SEQ ID NO 30
    <210>
    <211> LENGTH, 39
    >212> TYPE, DNA
    <212>
          ORGANISM, Artificial Sequence
    <213> ORGANISM:
    <220> FEATURE,
    <223< OTHER INFORMATION:
    <223>       INFORMATION, Synthetic primer


     >400> SEQUENCE, 30
     <400>

    ccgcggatcc atgaaaacat ttatcattgg aatcagtgg                          39


    <210> SEQ ID NO 31
    >211> LENGTH, 34
    <211>
    <212> TYPE, DNA
    >213> ORGANISM:
    <213> ORGANISM, Artificial Sequence
    <220> FEATURE,
    <223< OTHER INFORMATION, Synthetic primer
    <223>

    >400< SEQUENCE, 31
    <400>

    gccgctcgag ttatgctgtc acttgcaaac actt                               34


     <210> SEQ ID NO 32
     <211> LENGTH, 31
     <212, TYPE, DNA
     <212>
           ORGANISM, Artificial Sequence
     <213> ORGANISM:
     <220> FEATURE,
     <223, OTHER INFORMATION, Synthetic primer
     <223>

     <400> SEQUENCE, 32

    ggcaggcata tgaagctcat cgtgggcatc 9g                                 31




                                                                                  CDXDE 000000059
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                                   12567


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                                53                                                                54
                                                           continued
                                                          -continued
                                                          -




     >210>
     <210>   SEQ ID NO 33
     <211>   LENGTH, 33
     >212>
     <212>   TYPE, DNA
     <213>   ORGANISM, Artificial Sequence
             ORGANISM:
     >220>
     <220>   FEATURE,
     >223>
     <223>         INFORMATION, Synthetic primer
             OTHER INFORMATION:

     <400, SEQUENCE,
     <400> SEQUENCE  33

                          gtcct gctgg gac
    gctcgctcga gtcacatgct gtcctgctgg                                                  33


    >210>
    <210> SEQ ID NO 34
    >211>
    <211> LENGTH, 99
    >212>
    <212>       PET
          TYPE, PRT
    >213>
    <213> ORGANISM, Artificial Sequence
          ORGANISM:
    >220>
    <220> FEATURE,
    >223>
    <223>       INFORMATION, Eukaryotic nicotinamide riboside kinase
          OTHER INFORMATION:
          consensus sequence
    >220> FEATURE:
    <220> FEATURE,
    <221> NAME/KEY, MISC_FEATURE
    >222> LOCATION, (1) .. (2)
    <222>
    >223> OTHER INFORMATION:
    <223>       INFORMATION, "Xaa" denotes an aliphatic amino acid residue
    >220> FEATURE,
    <220>
    <221<
    <221> NAME/KEY,  MISC_FEATURE
    >222> LOCATION, (3) .. (3)
    <222>
                INFORMATION, "Xaa" denotes His or Ser
    <223> OTHER INFORMATION:
          FEATURE,
    <220> FEATURE:
    <221> NAME/KEY, MISC_FEATURE
    <222> LOCATION, (4) .. (4)
    >223> OTHER INFORMATION:
    <223>        INFORMATION, "Xaa" denotes a
                                            a hydrophilic amino acid residue
    <220> FEATURE,
    <221> NAME/KEY, MISC_FEATURE
    <222> LOCATION, (8) .. (8)
                INFORMATION, "Xaa" denotes an aromatic amino acid residue
    <223> OTHER INFORMATION:

     <400> SEQUENCE, 34

                                    Lye
    Xaa Xaa Xaa Xaa Asp Asp Phe Xaa Lys
    11              55




       What is claimed is:                                                    The phannaceutical
                                                                           4. 'I11e pharmaceutical composition of claim 1, further
       l.A
       l.   pharmaceutical composition comprising nicotinamide
          A phannaccutical                            nicotinarnide     comprising one or more of tryptophan, nicotinic acid, or
    riboside in admixture with aacarrier, wherein said composi-         nicoiinamide.
                                                                        nicotinamide.
    tion is formulated for oral administration.                      4
                                                                     40
       2. The pharmaceutical composition of ofclaim
                                               claim 1, wherein the        5. The pharmaceutical composition of claim 11 which
    nicotinamide riboside is isolated from aanatural or synthetic       increase NAD+ biosynthesis upon oral administration.
    source.
          The pharmaceutical composition of
       3. TIle                              ofclaini
                                               claim 1, wherein the
    formulation comprises a
    fonnulation              a tablet, troche, capsule, elixir, sus-
    pension. syrup, wafer, chewing gum, or food.
    pension,                                                                                   * * * * *




                                                                                                                        CDXDE 000000060
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                                   12568

                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.
PATENT NO.                  ::8,383,086
                              8,383,086 B2
                                        B2                                                                                       Page 11of 1
APPLICATION NO.
APPLICATION NO.             ::13/445289
                              13/445289
DATED                       ::February 26,2013
                                       26, 2013
INVENTOR(S)                 ::Charles M. Brenner

                                          above -
                                                identified patent and that said Letters Patent is hereby corrected as shown below:
It is certified that error appears in the above-identified


         On the Title Page:

         At Item (57) in the Abstract:

         Please delete "prvided."
         Please insert --provided.--


         In the claims:

            column 54, line 42, please
         In colunm              please delete "increase"
            column 54, line 42, please insert --increases--
         In colmml




                                                                                 Signed and Sealed this
                                                                          Twenty-fourth Day of September, 2013
                                                                                            2




                                                                                                  Teresa Stanek Rea
                                                                            Deputy Director of
                                                                                            oft/ic        Slates Patent and Trademark Office
                                                                                               the United States




                                                                                                                           CDXDE 000000061
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                                   12569

                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.
PATENT NO.                  ::8,383,086
                              8,383,086 B2
                                        B2                                                                                       Page 11of 11
APPLICATION NO.
APPLICATION NO.             ::13/445289
                              13/445289
DATED
DATED                       ::February
                              February 26,2013
                                       26, 2013
INVENTOR(S)
INVENTOR(S)                 ::Charles
                              Charles M.
                                      M. Brenner
                                         Brenner

                                   in the above-identified
It is certified that error appears in     above -
                                                identified patent and that said Letters Patent is hereby corrected as shown below:



         In the Specification

         At Column 1, please delete Lines 14-16 and insert in its place the following:
         --This invention was made with government support under grant number CA077738 awarded by the
         National Institutes of Health. The government has certain rights in the invention.--




                                                                                    Signed and Sealed this
                                                                                Eleventh Day of February, 2020

                                                                                                           /


                                                                                                      Andrei Iancu
                                                                                                      Andrei  lancu
                                                                               Director                                           Of/ice
                                                                               Director of the United States Patent and Trademark Office




                                                                                                                          CDXDE 000000062
                                                                                                                          CDXDE
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                        EXHIBIT C
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                                   12571


                                                                      Page 1

 1                                                   VOLUME:     I
                                                     PAGES:      1-282
 2                                                   EXHIBITS:   213-220
 3                     UNITED STATES DISTRICT COURT
 4                        DISTRICT OF DELAWARE
 5                    CA No. 1:18-CV-01434-CFC-JLH
 6      ____________________________________
 7      CHROMADEX, INC., et al.,                            )
 8                              Plaintiffs,                 )
 9                        vs.                               )
10      ELYSIUM HEALTH, INC.,                               )
11                              Defendant.                  )
12      ____________________________________)
13          HIGHLY CONFIDENTIAL -- ATTORNEYS' EYES ONLY
14
15                              REMOTE VIDEOTAPED DEPOSITION OF
16      ROBERT W. SOBOL, PhD, called as a witness by and on
17      behalf of the Defendant, pursuant to the applicable
18      provisions of the Federal Rules of Civil Procedure,
19      Rule 30(b)(6), before P. Jodi Ohnemus (remotely),
20      RPR, RMR, CRR, CA-CSR #13192, NH-LSR #91, MA-CSR
21      #123193, and Notary Public within and for the
22      Commonwealth of Massachusetts, at Mobile, Alabama,
23      Colorado, on Tuesday, April 13, 2021, commencing at
24      8:30 a.m. (CDT)
25

     1-800-727-6396              Veritext Legal Solutions            www.veritext.com
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                                   12572


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12
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Case 1:18-cv-01434-CFC-JLH Document 231 Filed 05/04/21 Page 72 of 199 PageID #:
                                   12573


                                                                    Page 3

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11                              Dartmouth College
12
13      ALSO PRESENT:
14                              (Via Videoconference)
15                              Nico Martorello, Video Operator
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 1                            I N D E X
 2
 3      TESTIMONY OF:                                               PAGE
 4
 5      ROBERT W. SOBOL, PhD
 6
 7      (By Mr. Quina)                                                  8
 8      (By Mr. Krygowski)                                              277
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 1                            E X H I B I T S
 2      EXHIBIT               DESCRIPTION                           PAGE
 3       Exhibit 213           Opening Expert Report of                     22
 4                             Robert W. Sobol, PhD
 5       Exhibit 214           Rebuttal Expert Report of                    69
 6                             Robert W. Sobol, PhD,
 7                             Regarding the Validity of US
 8                             Patent Nos. 8,197,807 and
 9                             8,383,086
10       Exhibit 215           Reply Expert Report of                       73
11                             Robert W. Sobol, PhD
12       Exhibit 216           article:        "Nicotinamide                81
13                             Riboside is a Major NAD+
14                             Precursor Vitamin in Cow
15                             Milk
16       Exhibit 217           Article:        "Kinetic Alpha               99
17                             Deuterium Isotope
18                             Effects..."
19       Exhibit 197           previously marked                           117
20       Exhibit 218           email, 5/17/2019,                           145
21                             ELY_DEL0029971-976
22       Exhibit 219           document titled "D. Del.                    148
23                             18-1434-CFC," ELY_DEL
24                             0036167-169
25       Exhibit 2             previously marked                           195

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 1       Exhibit 220           Beilstein Journal of Organic               266
 2                             Chemistry,
 3                             ELY_DEL0037990-019
 4
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 1      member -- so, you know, another -- another lawyer.
 2                    So I'm just not -- I'm not saying
 3      they're -- I'm not saying they're true.               I just
 4      don't recall it off the top of my head.
 5            Q.      Okay.     So I assume you don't have any
 6      recollection of the substance of any conversation
 7      you had with an economics expert that plaintiffs
 8      were offering; correct?
 9            A.      You know, this a huge amount of
10      information here.          So it's kind of hard to remember
11      every conversation I've had, but -- so I don't
12      recall every specific word that was said in these
13      dozens of videoconferences over the past several
14      months.       I'm sorry.
15            Q.      What is your research focus?
16            A.      Mechanisms of DNA damage and repair in
17      human cancers.
18            Q.      Is your research specifically focused on
19      NAD precursors?
20            A.      No.     That's a component that we -- we
21      evaluate in how these NAD precursors impact
22      mechanisms of DNA damage and repair.
23            Q.      And you understand NR is an NAD precursor?
24            A.      Correct.
25            Q.      And you've done some research on NR?

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 1            Q.      So you've done research using nicotinamide
 2      as a -- as an NAD precursor within the last couple
 3      of years; correct?
 4            A.      I believe so.       Again, I'd have to check
 5      exactly what was used in that report from -- first
 6      author Anna Wilk.          There were a variety of
 7      precursors evaluated in that -- in that paper.
 8            Q.      Okay.     What other NAD precursors do you
 9      recall having evaluated in that paper?
10            A.      So there would have been NR; there would
11      have been NAM; you know, nicotinamide
12      mononucleotide; it would have been NMN; and
13      nicotinic acid, and nicotinamide.                    So, kind of, the
14      standard spectrum of the precursors.
15            Q.      You mentioned nicotinic acid, that's an
16      NAD precursor?
17            A.      Uh-huh.
18            Q.      Can you answer verbally, please.
19            A.      Yes, sorry.      Yeah.
20                    Again, I'd have to check exactly the --
21      the report to know -- to -- to remember exactly
22      each compound that was used, but we have used all
23      of those compounds at various times.
24            Q.      Okay.     And you've used NMN as an NAD
25      precursor; correct?

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 1      correction here.
 2            Q.      Do you understand that this case relates
 3      to a molecule called nicotinamide riboside?
 4            A.      Correct.
 5            Q.      And what is nicotinamide riboside?
 6            A.      It is a small molecule that is understood
 7      to be a NAD -- as of 2004, understood to be a
 8      precursor in the biosynthesis of NAD, for example.
 9            Q.      Is nicotinamide riboside a molecule that's
10      found in nature?
11            A.      Yes.
12            Q.      Is nicotinamide riboside a molecule that's
13      naturally found in our bodies?
14            A.      I believe so.
15            Q.      Is nicotinamide riboside a vitamin?
16            A.      As I understand it, it is now considered
17      to be a vitamin related to NAD biosynthesis, yes.
18            Q.      Does nicotinamide riboside occur naturally
19      in cow's milk?
20            A.      Yes.
21            Q.      Have you ever heard of something called a
22      biosynthetic pathway?
23            A.      Yes.
24            Q.      What is a biosynthetic pathway?
25            A.      So that would be a term used to describe

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 1      is present in the raw cow milk samples.
 2            Q.      Okay.    So you'll agree with me -- strike
 3      that.
 4                    You'll agree with me that nicotinamide
 5      appears naturally in cow's milk; correct?
 6            A.      Yes.    Correct.
 7            Q.      Look with me at the first page of
 8      Trammell, the very last paragraph.
 9            A.      Okay.    I see.
10            Q.      And Trammell in this paper reports that
11      "It has long been known that NAD+ precursors in
12      milk include nicotinamide and tryptophan."
13            A.      Correct.    I see that sentence.
14            Q.      And do you agree with that sentence, that
15      milk includes both nicotinamide and tryptophan
16      naturally?
17            A.      Correct.
18            Q.      And this Trammell paper, one of the
19      authors of this paper is Doctor Brenner; correct?
20            A.      Yes.
21            Q.      And another author of the paper is Marie
22      Migaud?
23            A.      I see that, yes.
24            Q.      And that's the same Marie Migaud that's
25      your colleague at University of South Alabama;

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 1      correct?
 2            A.      Correct.
 3            Q.      Have you ever talked to Doctor Migaud
 4      about her work on this paper?
 5            A.      No, actually.
 6            Q.      You didn't have occasion to talk to her
 7      about her work on this paper in connection with
 8      providing your opinions in this case?
 9            A.      Definitely not with regards to this case,
10      and it just so happens I never talk with her about
11      this particular paper as well, but I certainly
12      wouldn't have talked with her about the case.
13            Q.      Okay.    Doctor Migaud, that's fair to say
14      that she's somebody you have -- you have access to
15      in the course of your work?
16            A.      Yes.    She's a colleague here at the
17      university, yeah.
18            Q.      And in doing your investigation in
19      connection with this case, you didn't ask her
20      questions about her work, even though she was one
21      of the authors of the paper you cited --
22            A.      No, of course not.
23            Q.      -- we were discussing?
24            A.      No.
25            Q.      Have you heard of nicotinic acid?

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 1            A.      Yes.
 2            Q.      What is it?
 3            A.      It's also a precursor to NAD.                Some also
 4      refer to it as niacin.          So...
 5            Q.      And was it known before 2004 that
 6      nicotinic acid was an NAD precursor?
 7            A.      Yes.
 8            Q.      And is nicotinic acid orally bioavailable?
 9            A.      As far as I know, yes.
10            Q.      And was it known before 2004 that
11      nicotinic acid was orally bioavailable?
12            A.      I believe so, yes.
13            Q.      Are there dietary supplements containing
14      nicotinic acid that increase NAD biosynthesis upon
15      oral administration?
16            A.      That, I do not know.
17            Q.      Are there dietary supplements containing
18      nicotinic acid?
19            A.      That, I'm -- I would think is yes.                The
20      answer to that, I would guess, is yes, but I
21      haven't seen one in front of me.                   So...
22            Q.      Were dietary supplements containing
23      nicotinic acid available before 2004?
24            A.      Again, I don't have a document in front of
25      me, but I would guess yes.

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 1      report.
 2            Q.      Go to Exhibit 213, which is your opening
 3      report.
 4            A.      Sure.     I have it open.
 5            Q.      Uh-huh.     Can you please go to paragraph
 6      27, which is on page 11.
 7            A.      Okay.     Paragraph 27 I got.          Okay.
 8            Q.      In your report, about halfway through that
 9      paragraph, do you see there is a sentence that says
10      "In humans"?
11            A.      Yes.
12            Q.      And you say "In humans, an NAD deficit
13      causes a disease called pellagra"?
14            A.      I see that.
15            Q.      And so you will -- you agree with me that
16      pellagra is a -- a disease related to a deficit in
17      NAD in a human?
18            A.      Correct.
19            Q.      And then you continue, and you say in the
20      next sentence "Pellagra is" -- let me start over.
21                    In the next sentence you say "Pellagra is
22      treated by supplementing the diet with vitamin B3,
23      such as nicotinamide and nicotinic acid, which are
24      converted into NAD in the body."
25                    Do you see that?

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 1      that starts with "NAD+"?
 2            A.      Yes.
 3            Q.      And do you see the last sentence of
 4      that -- of that paragraph?
 5            A.      Yes.
 6            Q.      And do you see in that sentence Trammell
 7      and colleagues, including Doctor Migaud, reported
 8      that "...although pellagra is described as" a
 9      "niacin deficiency, at a cellular level, pellagra
10      is a disease of NAD+ depletion as a result of diets
11      deficient in NAD [verbatim] precursors."
12            A.      I see that.
13            Q.      So at least as of 2016 scientists were
14      still reporting in papers that pellagra was a
15      disease of NAD depletion; correct?
16            A.      Right.   But I -- just to -- just to
17      correct for the record, tryptophan is an NAD
18      precursor.       And so if you -- in going back to
19      the -- the information that I provide in the
20      report, there are reports suggesting that a more
21      accurate way of describing it is a disease in
22      tryptophan biosynthesis deficiency, so -- or
23      deficient in tryptophan biosynthesis.
24            Q.      Do you disagree that at a cellular level
25      pellagra is a disease of NAD depletion?

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 1            A.      No.     At a cellular level, that would be
 2      fair to say.
 3            Q.      Do you agree that -- strike that.
 4                    Do you agree that tryptophan is naturally
 5      present in milk?
 6            A.      Yes.
 7            Q.      And do you agree that it's the tryptophan
 8      in milk that treats pellagra?
 9            A.      That was my understanding, yes.
10            Q.      Is tryptophan orally bioavailable?
11            A.      I would say yes.
12            Q.      And tryptophan is a naturally occurring
13      molecule?
14            A.      Correct.
15            Q.      You'll agree that milk is formulated for
16      oral administration; correct?
17                    MR. KRYGOWSKI:         Objection.        Form.
18            A.      I don't know that it's formulated.                   I
19      think it's -- it can be consumed.                    I don't think I
20      would refer to it as formulated, to be honest.
21            Q.      Is milk a -- a composition that is
22      administered orally?
23            A.      Usually.
24            Q.      Okay.     And is -- is milk something that
25      humans and animals are able to consume?

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 1             A.     Most of us, yes.
 2                    Okay.   Don't need to see that paper
 3      anymore.
 4             Q.     And milk is -- strike that.
 5                    Prior to 2004 are you aware that milk had
 6      been -- had been orally administered to humans or
 7      other animals?
 8             A.     Well, I don't know about the phrase
 9      "orally administered."           I think people drank milk,
10      yes.
11             Q.     And they presumably drank milk using their
12      mouths?
13             A.     Yes.
14             Q.     Okay.   You'll agree with me that milk is a
15      food?
16             A.     Correct.
17             Q.     Have you ever heard of a disease called
18      black tongue?
19             A.     Yes, I think I referred to it in my
20      report, yes.
21             Q.     Okay.   And black tongue is a -- is a form
22      of pellagra that occurs in dogs?
23             A.     As I understand it, yes.
24             Q.     And -- and pellagra -- strike that.
25                    Black tongue is also an NAD deficiency

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 1      disease; correct?
 2            A.      At the cellular level, that sounds
 3      correct, yes.
 4            Q.      And it's the -- in your opinion,
 5      tryptophan in milk that treats black tongue in
 6      dogs?
 7            A.      I believe that was one of the conclusions
 8      drawn from a whole series of studies, yes.
 9                    MR. QUINA:     Okay.      We've been going for a
10      little while -- almost an hour -- do you want to
11      take a break?
12                    THE WITNESS:      It's up to you.
13                    MR. QUINA:     Okay.      Let's take a break.
14      Ten minutes.
15                    THE WITNESS:      Okay.
16                    VIDEO OPERATOR:        We are off the record at
17      12:23 p.m.
18                    (Recess was taken.)
19                    VIDEO OPERATOR:        It's 12:35.         We are on
20      the record.
21            Q.      Welcome back.
22                    Does nicotinamide riboside degrade over
23      time to release nicotinamide?
24            A.      In -- in what context?               In a -- in a
25      sample or in the body?

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 1      buttermilk.
 2            Q.      Okay.   Well, we'll get there.           But you'll
 3      agree with me that there's lactose in -- in cow's
 4      milk; right?
 5            A.      I agree.
 6            Q.      Okay.   And lactose is a sugar; correct?
 7            A.      Correct.
 8            Q.      Skim milk also contains lactose; correct?
 9            A.      Correct.
10            Q.      And buttermilk also contains lactose;
11      correct?
12            A.      Correct.
13            Q.      Skim milk is a food?
14            A.      Skim milk is a food, yes.
15            Q.      And butter -- buttermilk is also a food?
16            A.      Yes.
17            Q.      Skim milk is consumed orally; correct?
18            A.      Correct.
19            Q.      And buttermilk is consumed orally;
20      correct?
21            A.      Correct.
22            Q.      Okay.   Can you look at the '807 patent.
23      It's Exhibit 197.
24            A.      I got it.
25            Q.      Can you look at claim 1, please.

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 1      view of isolated would be it would be substantially
 2      free of materials from the source.
 3            Q.      And is that -- is that your -- is that
 4      your view of -- of what isolated mean or is that --
 5      is that the court's construction of isolated?
 6            A.      I'm looking at the court's construction.
 7      The term is "substantially free from at least some
 8      of the other components."            So...
 9            Q.      Okay.   Isn't it correct that the -- claim
10      construction says that the nicotinamide riboside is
11      separated or substantially free from at least some
12      of the other components?
13            A.      That -- that is correct.             That is the
14      sentence.
15            Q.      Okay.   So the question is, is -- did you
16      understand it to mean that the NR must be present
17      in any threshold amount in the composition?
18            A.      They don't speak to a threshold amount,
19      no.
20            Q.      So if a composition is free from other
21      components from the source but the NR is in only
22      trace amounts in the composition, would that be
23      isolated NR?
24                    MR. KRYGOWSKI:      Objection.         Incomplete
25      hypothetical.

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 1      are just little snippets in a box that I'm looking
 2      at, but it does -- it suggests here that the
 3      isolated nicotinamide riboside, which, again, is
 4      defined as a composition and that "...increases NAD
 5      biosynthesis upon oral administration" to an animal
 6      relative to the level if it were not --
 7            Q.      Okay.   So in -- in applying your opinions
 8      in this case, did you interpret this claim to
 9      require that the isolated nicotinamide riboside be
10      responsible for increasing NAD biosynthesis?
11            A.      Well, again, I think the way the claim is
12      constructed, it's the composition, unless I'm
13      misinterpreting that.         So, I mean, I'm just reading
14      the words.       The composition "...increases NAD
15      biosynthesis upon oral administration," etcetera.
16            Q.      And this claim is a -- the composition in
17      this claim is a composition comprising isolated
18      nicotinamide riboside with one or more of
19      tryptophan, nicotinic acid or nicotinamide; right?
20            A.      As I read it, yes.
21            Q.      Okay.   So in -- in the claim, if the
22      tryptophan nicotinic acid or nicotinamide in a
23      composition increased NAD biosynthesis upon oral
24      administration -- strike that.
25                    Let me ask it this way:              In the claim the

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 1      tryptophan, nicotinic acid, or nicotinamide can be
 2      responsible for the increase in NAD biosynthesis as
 3      a composition; correct?
 4                    MR. KRYGOWSKI:       Objection.       Incomplete
 5      hypothetical.         Calls for a legal conclusion.
 6            A.      My interpretation is that it's -- the
 7      nicotinamide riboside that is the question we're
 8      discussing here today.
 9            Q.      So is it or is it not your opinion that
10      for a composition to be within these claims, the
11      nicotinamide riboside needs to be responsible for
12      the increase in NAD biosynthesis?
13                    MR. KRYGOWSKI:       Objection.       Incomplete
14      hypothetical.
15            A.      If I'm just doing my job and -- and
16      reviewing what is being constructed here, what I
17      see in front of me that the claims state or that
18      were constructed, its composition is formulated for
19      oral administration and it increases NAD
20      biosynthesis upon oral administration.
21                    So it refers to the composition.
22            Q.      Okay.
23            A.      Not one thing over another.
24            Q.      What was the thing you just said at the
25      end there?

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 1      improve or prolong the health or well-being of
 2      humans or other animals."
 3            Q.      Okay.   Does it require any other
 4      functional properties?
 5                    MR. KRYGOWSKI:      Objection.       Asked and
 6      answered.
 7            A.      As I stated, I was simply using the terms,
 8      the court's construction terms as written.
 9            Q.      Okay.   Will you agree with me that if a
10      composition has antipellagra effects, it is a
11      composition that can be used to improve or prolong
12      the health or well-being of a human or other
13      animal?
14            A.      Can you say that again?
15            Q.      Sure.   Will you agree with me that if a
16      composition has antipellagra effects, it is a
17      composition that can be used to -- used to improve
18      or prolong health or well-being of humans or other
19      animals?
20            A.      That would be fair to say probably.
21            Q.      Turn to page 61 of your rebuttal report.
22            A.      Is this the 214?
23            Q.      Exhibit 214, yes.
24            A.      Okay.   And page number again?          Sorry.
25            Q.      Could you turn to page 61 of your rebuttal

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 1      biosynthesis upon oral administration.
 2                    So there is an outcome required based on
 3      how you -- on how the -- the isolation or the
 4      amount, however you want to refer to it; there
 5      are -- there needs to be a -- as I said before on
 6      multiple occasions, whereas there's no number here
 7      such as there needs to be one milligram or some
 8      other, you know, hypothetical number.
 9                    There is a biological implication that the
10      number needs to be sufficient and the isolation
11      needs to be sufficient to achieve that biological
12      outcome.
13            Q.      And the -- the claims don't specify any
14      particular amount that the composition must
15      increase NAD biosynthesis; correct?
16                    MR. KRYGOWSKI:       Objection.       Asked and
17      answered.
18            A.      Correct.   It doesn't indicate an amount.
19      It just indicates as -- as written, "increase the
20      NAD biosynthesis upon oral administration."                 And
21      then if you look further with regard to the court's
22      construction, that would be relative to the level
23      if the composition were not in --
24                    (Court Reporter comment.)
25            Q.      Okay.   So the biological outcome specified

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 1      by the claims of the '807 patent are -- is that the
 2      composition increases NASD biosynthesis upon oral
 3      administration; correct?
 4            A.      That's exactly what's written, yes.
 5            Q.      Let me ask that question again 'cause I
 6      might have misspoken.
 7                    The biological outcome specified by the
 8      claims of the '807 patent are that the composition
 9      increases NAD biosynthesis upon oral
10      administration; correct?
11            A.      Yes.    What's written here is "Said
12      composition is formulated for oral administration
13      and increases NAD biosynthesis upon oral
14      administration."
15                    So there -- that would be correct.
16            Q.      Okay.    Turn to Exhibit 2, the '086 patent.
17            A.      Okay.
18            Q.      Again, go to the claims.
19            A.      I'm there.
20            Q.      All right.    Where does claim 2 require
21      that the composition increase NAD biosynthesis with
22      a surety and in an amount far beyond that which can
23      be achieved from naturally occurring NR?
24            A.      So those words are not in the claim
25      construction or claims.            That was my presentation

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 1      of -- that was in my report, not in the claims as
 2      written.
 3            Q.      Okay.   Go back to your rebuttal report.
 4            A.      I have it.
 5            Q.      Can you go to paragraph 165, which is on
 6      page 71.
 7            A.      I am there.
 8            Q.      Okay.   Okay.   Go to the end of that
 9      paragraph which goes on the next page, 72.
10            A.      Okay.
11            Q.      Do you see the next-to-last sentence of
12      that paragraph you say, "The asserted claims
13      expressly rely on the resulting changes from NR as
14      it is found in nature when compared to the NR in
15      the claimed compositions"?
16            A.      Yes, I see the sentence.
17            Q.      What changes from the NR in nature do the
18      asserted claims require?
19            A.      That it's isolated and separated from --
20      to use the term specifically here --
21      "substantially free from at least some of the other
22      components associated with the source."
23                    So if we were talking about something
24      purified from a natural source, that would be free
25      from those components.          And, again, as I stated

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                                                                               Page 1


     UNITED STATES PATENT AND TRADEMARK OFFICE
     BEFORE THE PATENT TRIAL AND APPEAL BOARD


   _____________________________________
                                                     )
   ELYSIUM HEALTH, INC.,                             )
                                                     )
                    Petitioner,                      )
                                                     )
       vs.                                           )Case
                                                     )
                                                     )IPR2017-01795
                                                     )
   TRUSTEES OF DARTMOUTH COLLEGE,                    )
                                                     )
                    Patent Owner.                    )
                                                     )
   _____________________________________)




        DEPOSITION of ZHAOHUI SUNNY ZHOU, Ph.D.
                    Thursday, August 2, 2018
                             9:00 a.m.
                         Foley Hoag, LLP
                     Boston, Massachusetts




   Reported By:
   Michael D. O'Connor, RMR, CRR, CRC



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                                                      Elysium Health Exhibit 1026
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2 (Pages 2 to 5)
                                         Page 2                                               Page 4
 1                                                 1    A P P E A R A N C E S (Continued):
 2                                                 2
 3                                                 3    ATTORNEYS FOR THE PATENT OWNER:
 4                                                 4       STEPTOE & JOHNSON LLP
 5                                                 5       One Market Street
 6                                                 6       San Francisco, California 94105
 7                 Thursday, August 2, 2018        7       (415) 365-6711
 8                        9:00 a.m.                8       BY:    JAMIE L. LUCIA, ESQ.
 9                                                 9              jlucia@steptoe.com
10                DEPOSITION of ZHAOHUI SUNNY     10
11   ZHOU, Ph.D., held at Foley Hoag, LLP, 155    11
12   Seaport Boulevard, Seaport West, Boston,     12
13   Massachusetts, pursuant to notice, before    13
14   Michael D. O'Connor, Registered Merit        14
15   Reporter, Certified Realtime Reporter,       15
16   Certified Realtime Captioner, and Notary     16
17   Public in and for the Commonwealth of        17
18   Massachusetts.                               18
19                                                19
20                                                20
21                                                21
22                                                22
23                                                23
24                                                24
25                                                25

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 1   A P P E A R A N C E S:                        1                       I N D E X
 2                                                 2
 3   ATTORNEYS FOR PETITIONER:                     3   Deposition of:                              Page
 4      FOLEY HOAG LLP                             4   ZHAOHUI SUNNY ZHOU, Ph.D.
 5      155 Seaport Boulevard                      5      By Mr. Younkin                             6
 6      Boston, Massachusetts 02210                6
 7      (617) 832-3077                             7                        ******
 8      BY:    JEREMY YOUNKIN, ESQ.                8
 9             jyounkin@foleyhoag.com              9                    E X H I B I T S
10             BRENDAN JONES, Ph.D.               10
11             bjones@foleyhoag.com               11   No.                                        Page
12                                                12   Exhibit 1023   Document submitted to the
13   ATTORNEYS FOR THE PATENT OWNER:              13                  FDA, dated 3/8/16, Bates
14      STEPTOE & JOHNSON LLP                     14                  000001 - 000099               76
15      115 South LaSalle Street, Suite 3100      15
16      Chicago, Illinois 60603                   16   Exhibit 1025   Document entitled,
17      (312) 577-1264                            17                  "Nicotinic Acid,
18      BY:    JOHN L. ABRAMIC, ESQ.              18                  Nicotinamide, and
19             jabramic@steptoe.com               19                  Nicotinamide Riboside: A
20                                                20                  Molecular Evaluation of
21                                                21                  NAD+ Precursor Vitamins in
22                                                22                  Human Nutrition"           70
23                                                23
24                                                24                        ******
25                                                25


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 1   been exposed to NR in milk.                        1   their evidence in humans, yes, prevents
 2         Q.     But the sentence, does it say some    2   pellagra.
 3   humans are exposed to milk which may or may not    3         Q.      And do you agree that black tongue
 4   contain NR, right?                                 4   reflects a deficiency in NAD as well?
 5         A.     That's really what it says, right.    5         A.      Just from reading. I even know
 6         Q.     Well, that's not what it says. It     6   less about the chemistry of NAD in dogs.
 7   says, "Humans are exposed to NR via dietary        7         Q.      But based on your reading of the
 8   sources such as milk," right?                      8   literature, that's your understanding, correct?
 9         A.     As an FDA examiner, as a              9         A.      Yes.
10   scientist, that's how the sentence should be      10         Q.      And do you agree Goldberger
11   interpreted.                                      11   concluded that skim milk contains the
12         Q.     Okay. Let's look at the last         12   quote/unquote black tongue preventative?
13   sentence of this section or before the table.     13         A.      Yes, that's his statement.
14   "Thus, the estimated amount of NR ingested by     14         Q.      And that's because there's
15   humans from the equivalent of 710 milliliters     15   something in the milk that increased NAD
16   per day (three cups) of cow's milk, is            16   biosynthesis, right?
17   approximately" 345 "micrograms per day," right?   17         A.      That's the hypothesis. They may
18                MR. ABRAMIC: I think it says         18   be working through another mechanism, but at
19         "545."                                      19   least that's one of the hypothesis accepted by
20         Q.     Oh, yes. 545. Sorry.                 20   people and by reading the paper, I agree with
21         A.     Yes. That's the statement.           21   that as well.
22         Q.     So the statement is extrapolating,   22         Q.      And do you also agree with the
23   right, and drawing a conclusion about the         23   hypothesis that the buttermilk that was used in
24   amount of NR ingested by humans when they drink   24   the Goldberger and Tanner article prevented
25   three cups of cow's milk, right?                  25   pellagra because something in that buttermilk

                                            Page 83                                                 Page 85
 1         A.     Yes, it's about. We know or you       1   increased NAD+ biosynthesis?
 2   know we have documents that shows different        2         A.     Very likely that's the mechanism,
 3   milk, organic and different vendors of milk        3   yes.
 4   have different amounts of NR. So this is           4                MR. YOUNKIN: I have no further
 5   about. That's why it says "about" there.           5         questions.
 6                MR. YOUNKIN: Why don't we take a      6                MR. ABRAMIC: I have no questions.
 7         break.                                       7                (Whereupon the deposition
 8                (Recess taken at 11:02 a.m. and       8         concluded at 11:21 a.m.)
 9         reconvening at 11:19 a.m.)                   9
10   BY MR. YOUNKIN:                                   10
11         Q.     Dr. Zhou, do you agree that          11
12   pellagra is caused by a deficiency in NAD+?       12
13         A.     I'm not a medical doctor. That's     13
14   my understanding, deficiency of NAD is at least   14
15   linked to pellagra. I'm not exactly sure it's     15
16   causing that or not.                              16
17         Q.     But it's linked?                     17
18         A.     It's linked.                         18
19         Q.     So pellagra reflects an NAD          19
20   deficiency, correct?                              20
21         A.     I think so, yes.                     21
22         Q.     And do you agree that the            22
23   Goldberger and Tanner article concluded that      23
24   buttermilk prevents pellagra?                     24
25         A.     Yes. I looked at a paper and see     25


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                        EXHIBIT E
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                                    12601
               HIGHLY CONFIDENTIAL - ATTORNEY'S EYES ONLY


                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

  CHROMADEX, INC. and TRUSTEES OF          )
  DARTMOUTH COLLEGE,                       )
                                           )
            Plaintiffs,                    )
                                           )         C.A. No. 18-1434 (CFC)
            v.                             )
                                           )
  ELYSIUM HEALTH, INC. ,                   )         HIGHLY CONFIDENTIAL -
                                           )         ATTORNEY'S EYES ONLY
            Defendant.                     )




      OPENING EXPERT REPORT OF ROBERT W. SOBOL, PH.D. REGARDING
     ELYSIUM'S INFRINGEMENT OF U.S. PATENT NOS. 8,197,807 AND 8,383,086




                                                                              Exhibit
                                                                               0213
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                    1.        NAD+ is an essential co-factor in cellular metabolism.. .......................... 10

                   2.         NR is a B 3 vitamin that is converted into NAD+ in cells ... ......... ............. 12

         B.        Elysium's Basis Product.. ................................................................................. 15

 VIII.   Elysium's Infringement of the '807 Patent ................................................................... 20

         A.        Elysium Infringes Independent Claim 1 ............................................................ 20

                    1.        "A composition comprising isolated nicotinamide riboside" ...... ......... .... 20

                   2.         "in combination with one or more of tryptophan, nicotinic acid, or
                              nicotinamide," ...................................................................................... 24

                   3.         "wherein said combination is in admixture with a carrier
                              comprising a sugar, starch, cellulose, powdered tragacanth, malt,
                              gelatin, talc, cocoa butter, suppository wax, oil, glycoL polyoL
                              ester, agar, buffering agent, alginic acid, isotonic saline, Ringer's
                              solution, ethyl alcohoL polyester, polycarbonate, or
                              polyanhydride" ............................. ......... ........................................ .......26

                   4.         ''wherein said composition is formulated for oral administration" ........... 28

                   5.         "and increases NAD+ biosynthesis upon oral administration." ... ......... .... 29
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                   1.        "A pharmaceutical composition comprising nicotinamide riboside
                             in admixture with a carrier" .................... .................... ...........................43

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 Figm·e 1: The structm·e ofNAD+




                                     O crNH,
                                                            0




                                 o-U
                                   -o'ef
                                     O        OH OH         NH
                                                                2

                                                        N

                                                    (       ~I
                                     II         0           N
                                     0



                                              OH OH


 Samuel A.J. Trammell et al., Nicotinamide Riboside is uniquely and orally bioavailable in mice

 and humans , Nature Communications, vol 7, no. 1, pp. 1- 14, at 3 (2016) (ELY_DEL0010011)

 (''Brenner 2016").

                27.    Cellular metabolism utilizes numerous redox reactions that require NAD+.

 For example, NAD+ is necessary for multiple redox reactions in the citric acid cycle, which is a

 biochemical pathway in all aerobic organisms for releasing stored energy from carbohydrates, fats,

 and proteins. Consequently, a deficit ofNAD+ poses severe health consequences for organisms. In

 humans, an NAD+ deficit causes a disease called pellagra, whose symptoms include diarrhea, rash,

 hair loss, paralysis, dementia, and even death. Pellagra is treated by supplementing the diet with

 vitamin B 3 , such as nicotinamide and nicotinic acid, which are converted into NAD+ in the body.

                28.    NAD+ also plays a number of biological roles unrelated to redox reactions.

 As one example, NAD+ is consumed by a class of enzymes called sirtuins. Sirtuins help regulate

 metabolism, and some experiments suggest that enhanced sirtuin activation may extend an



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 organism's lifespan. Some scientists hypothesize that NAD+ and other sirtuin activators may have

 anti-aging properties.

                 2.       NR is a BJ vitamin that is conve11ed into NAD+ in cells

                 29.      Vitamin B 3 is a family of related compounds that are converted to NAD+ in

 the body. See, e.g.,ELY_DEL0010160 (Elysium website) at 161. Prior to Dr. Charles Brenner' s

 work on NR, there were two known members of the vitamin B 3 family: nicotinic acid (or niacin)

 and nicotinamide (or niacinamide ). Extensive research into vitamin B 3 has demonstrated its

 important benefits. See, e.g. , Brenner 2004 (BRENNER_000015192) at 495. For example,

 nicotinic   acid is prescribed to treat and prevent dyslipidemias.       See, e.g., Brenner 2004

 (BRENNER_ 000015192) at 499-500; '807 Patent at 8:61-9:9. However, nicotinic acid has the

 undesirable side effect of itchy or even painful flushing of the skin. See, e.g. , Brenner 2004

 (BRENNER_ 000015192) at 500; Brenner 2016 (ELY_DEL0010011) at 2; '807 Patent at 8:61-

 9:9.

                 30.      Dr. Charles Brenner discovered in 2004 that NR is another member of the

 vitamin B 3 family, like nicotinamide and nicotinic acid, that is converted into NAD+ in cells.

 Martha H. Stipanuk and Marie A. Caudill, Biochemical, Physiological, and Molecular Aspects of

 Human Nu trition - E-Book , p. 541 (Elsevier Health Sciences, 2013) (citing Brenner 2004

 (BRENNER_ 000015192)). Dr. Brenner's discovery was described in the February 10, 2004 patent

 application,   to which the Asserted Patents claim priority, as well as in Brenner 2004

 (BRENNER_000015192). The structures of the B 3 vitamins NR, nicotinamide (Nam), and

 nicotinic acid (Na) are shown in Figure 2.




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      XLII.   CONCLUSIONS

                     For the reasons set forth above, it is my opinion that Elysium's Basis Product meets


      each and every claim element of claims 1-3 of the '807 Patent and claim 2of the '086 Patent. It is

      therefore my opinion    that Elysium's   importation   into the United    States and/or Ely'sium's


      commercial manufacture, offers to sell, sales, or uses within the United States of the Basis Product

      would infringe each of the Asserted Claims.




       Dated:-




                                                      54
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                        EXHIBIT F
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               HIGHLY CONFIDENTIAL  12608
                                      - ATTORNEY'S EYES ONLY


                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

  CHROMADEX, INC. and TRUSTEES OF          )
  DARTMOUTH COLLEGE,                       )
                                           )
            Plaintiffs,                    )
                                           )         C.A. No . 18-1434 (CFC)
            v.                             )
                                           )
  ELYSIUM HEALTH, INC.,                    )         HIGHLY CONFIDENTIAL -
                                           )         ATTORNEY'S EYES ONLY
            Defendant.                     )



          REBUTTAL EXPERT REPORT OF ROBERT W. SOBOL, PH.D.
     REGARDING THE VALIDITY OF U.S. PATENT NOS. 8,197,807 AND 8,383,086




                                                                               Exhibit
                                                                                0214
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 V.     Claim Construction ............................................................................................................. 8

 VI.    Background .......... ............................................................................................................... 9

        A.         Scientists knew about the critical importance ofNAD+ in human health for
                   decades before the inventions of the '807 and '086 Patents ................................... 9

        B.         Prior to Dr. Brenner's 2004 publications, researchers did not recognize
                   administration ofNR as a way to increase NAD+ levels despite the
                   scientific community's keen interest in increasing NAD+ levels and
                   frequent use of other NAD+ precursors, such as nicotinic acid and
                   nicotinamide .......................................................................................................... 11

        C.         Before Dr. Brenner's invention, NR was not understood as an NAD+
                   precursor in mammals that could be used to enhance NAD+ levels through
                   oral administration ................................................................................................ 18

        D.         The scientific community was unaware of the importance ofNR as an
                   orally available B3 vitamin until Dr. Brenner's pioneering work in 2004 ............ 27

        E.         Dr. Adams' assertion that the use of isolated NR to increase NAD+
                   biosynthesis would be obvious is contrary to patent filings by Elysium that
                   treat the use ofNR to address NAD+-related disorders as patentable well
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         F.        The tryptophan in milk, not the trace amounts ofNR, is responsible for
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             2.    Bova (U.S. Patent No . 6,080,428) ............................................................ 79

             3.    Brenner Two Pathways (Brenner, Revealing Two Pathways to
                   NAD , Presentation at Dartmouth College, Hanover, New
                   Hampshire (Dec. 2002))............................................................................ 80

             4.    Capuzzi (Capuzzi et al., Niacin Dosing: Relationship to benefits
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             5.    Crowley (Crowley et al., The NAD+ precursors, nicotinic acid and
                   nicotinamide protect cells against apoptosis induced by a multiple
                   stress inducer, deoxycholate, Cell Death and Differentiation,
                   7:314-26 (2000)) ...................................................................................... 87

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                   Blacktongue-Preventative Action of 16 Foodstuffs, with Special
                   Reference to the Identity ofBlacktongue ofDogs and Pellagra of
                   Man, Public Health Reports, 43(23): 1385-454 (1928)) ........................... 89

             7.    Goldberger II (Joseph Goldberger and W.F. Tanner, A Study of the
                   Treatment and Prevention ofPellagra, Public Health Reports,
                   39(3):87- 107 (1924)) ................................................................................ 91

             8.    Holdsworth (Holdsworth et al., Aft·action derived ft-om brewer 's
                   yeast inhibits cholesterol synthesis by rat liver preparations in
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                   Synthesis of 14C-Nicotinamide Riboside, Analytical Biochemistry,
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             10.   Magni (Magni et al., Enzymology ofNAD+ homeostasis in man,
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             11.   Murray (Murray et al., Increased Plasma Tryptophan in HIV-
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             12.   Sasiak (Sasiak et al. , Purification and Properties of a Human
                   Nicotinamide Ribonucleoside Kinase, Archives ofBiochem. And
                   Biophys., 333(2):414-18 (1996)) ........................................................... 103

             13.   Saunders I (Saunders et al., Phosphorylation of 3-Deazaguanosine
                   by Nicotinamide Riboside Kinase in Chinese Hamster Ovary Cells,
                   Cancer Res., 49:6593- 6599 (1989)) ....................................................... 104




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             14.     Saunders II (Saunders et al., Tiazofurin Is Phosphmylated by
                     Three Enzymes from Chinese Hamster Ovary Cells, Cancer Res.,
                     50:5269- 5274 (1990)) ............................................................................ 105

             15.     Skim Milk ............................................................................................... 106

             16.     Tanimori (Tanimori et al., An Efficient Chemical Synthesis of
                     Nicotinamide Riboside (NAR) and Analogues, Bioorg. Med. Chem.
                     Lett., 12:1135-37 (2002)) ....................................................................... 112

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                               (1)        Skim milk is not a composition comprising NR
                                          because the NR is not isolated ........................................ 114

                               (2)        Skim milk is not a composition comprising NR
                                          because the NR is present only in trace amounts ............ 119

                               (3)        The trace amounts of NR in skim milk have not
                                          been proven to increase NAD+ biosynthesis upon
                                          oral administration .......................................................... 121

                     b)        Dependent claims 2 and 3 of the '807 Patent are not
                               anticipated by skim milk ............................................................. 124

             2.      Goldberger I does not anticipate claims 1-3 of the '807 Patent.. ...... ..... 125

                     a)        Independent claim 1 of the '807 Patent is not anticipated by
                               Goldberger I ................................................................................ 126

                               (1)        The skim milk of Goldberger I is not a composition
                                          comprising NR because the NR is not isolated ......... ...... 126

                               (2)        The skim milk of Goldberger I is not a composition
                                          comprising NR because the NR is present only in
                                          trace amounts .................................................................. 131

                               (3)        The trace amounts ofNR in the skim milk of
                                          Goldberger I have not been proven to increase
                                          NAD+ biosynthesis upon oral administration ................. 133

                     b)        Dependent claims 2 and 3 of the '807 Patent are not
                               anticipated by Goldberger I ........................................................ 136



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             3.         Goldberger II does not anticipate claims 1-3 of the '807 Patent. ...... ..... 137

                        a)         Independent claim 1 of the '807 Patent is not anticipated by
                                   Goldberger II. .............................................................................. 138

                                   ( 1)       The buttermilk of Goldberger II is not a
                                              composition comprising NR because the NR is not
                                              isolated ............................................................................ 13 8

                                   (2)        The buttermilk of Goldberger II is not a
                                              composition comprising NR because the NR is
                                              present only in trace amounts ......................................... 142

                                   (3)        The trace amounts ofNR in the buttermilk of
                                              Goldberger II have not been proven to increase
                                              NAD+ biosynthesis upon oral administration ................. 144

                        b)         Dependent claims 2 and 3 of the '807 Patent are not
                                   anticipated by Goldberger II ....................................................... 148

             4.         Holdsworth does not anticipate claims 1-3 of the '807 Patent.. ............. 149

                        a)         Independent claim 1 of the '807 Patent is not anticipated by
                                   Holdsworth .................................................................................. 150

                                   (1)        Holdsworth does not disclose a composition
                                              comprising isolated NR ................................................... 150

                                   (2)        Holdsworth does not disclose a composition in an
                                              admixture with a carrier .................................................. 153

                                   (3)        Holdsworth does not disclose isolated NR " in
                                              combination with one or more of tryptophan,
                                              nicotinic acid, or nicotinamide" ...................................... 154

                                   (4)        Holdsworth does not disclose a composition that
                                              increases NAD+ biosynthesis upon oral
                                              administration ................................................................. 155

                        b)         Dependent claims 2 and 3 of the '807 Patent are not
                                   anticipated by Holdsworth .......................................................... 156

       C.    The Asserted Claims of the '807 Patent and the ' 086 Patent Are Not
             Obvious ............................................................................................................... 157

             1.         Holdsworth would not have rendered obvious claims 1- 3 of the
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                   a)       Independent claim 1 of the '807 Patent would not have
                            been obvious over Holdsworth ................................................... 158

                            (1)      Holdsworth fails to disclose or suggest numerous
                                     limitations of claim 1 of the ' 807 Patent.. ....................... 158

                            (2)      A POSA would have had no motivation, absent
                                     hindsight, to arrive at the limitations in the Asserted
                                     Claims from the in vitro cholesterol experiments
                                     described in Holdsworth ................................................. 162

                            (3)      A POSA would not have had a reasonable
                                     expectation of achieving a composition of isolated
                                     NR with the limitations of claim 1 based on the
                                     disclosure of Holdsworth ................................................ 164

                   b)       Dependent claims 2 and 3 of the '807 Patent would not
                            have been obvious over Holdsworth ........................................... 166

             2.    Holdsworth in combination with additional references would not
                   have rendered obvious the Asserted Claims of the '807 Patent.. ............ 166

                   a)       Holdsworth and Bova would not have rendered obvious
                            claims 1-3 of the '807 Patent.. .................................................... 167

                   b)       Holdsworth and Capuzzi would not have rendered obvious
                            claims 1- 3 of the '807 Patent.. .................................................... 171

                   c)       Holdsworth and Tanimori would not have rendered obvious
                            claims 1- 3 of the '807 Patent.. .................................................... 174

                   d)       Holdsworth and Kasarov would not have rendered obvious
                            claims 1-3 of the '807 Patent.. .................................................... 179

                   e)       Holdsworth, Bova, and Tanimori would not have rendered
                            obvious claims 1-3 of the '807 Patent.. ...................................... 183

                   f)       Holdsworth, Bova, and Kasarov would not have rendered
                            obvious claims 1- 3 of the '807 Patent.. ...................................... 185

                   g)       Holdsworth, Capuzzi, and Tanimori would not have
                            rendered obvious claims 1- 3 of the ' 807 Patent ......................... 186

                   h)       Holdsworth, Capuzzi, and Kasarov would not have
                            rendered obvious claims 1- 3 of the '807 Patent.. ....................... 187

             3.    Sasiak in combination with additional references would not have
                   rendered obvious claims 1- 3 of the ' 807 Patent ..................................... 189


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                   a)    Sasiak and Murray would not have rendered obvious claims
                         1-3 of the ' 807 Patent.. ............................................................... 189

                         (1)       Sasiak and Murray fail to disclose or suggest
                                   numerous limitations of claims 1-3 of the ' 807
                                   Patent. .............................................................................. 189

                         (2)       A POSA would have had no motivation, absent
                                   hindsight, to arrive at the limitations of claims 1-3
                                   from the combination of Sasiak and Murray .................. 193

                         (3)       A POSA would not have had a reasonable
                                   expectation of achieving a composition of isolated
                                   NR with the limitations of claims 1-3 based on the
                                   disclosure of Sasiak and Murray ..................................... 195

                   b)    Sasiak and Adams would not have rendered obvious claims
                         1-3 of the '807 Patent.. ............................................................... 197

                         (1)       Sasiak and Adams fail to disclose or suggest
                                   numerous limitations of claims 1-3 of the ' 807
                                   Patent. .............................................................................. 197

                         (2)       A POSA would have had no motivation, absent
                                   hindsight, to arrive at the limitations of claims 1-3
                                   from the combination of Sasiak and Adams ................... 201

                         (3)       A POSA would not have had a reasonable
                                   expectation of achieving a composition of isolated
                                   NR with the limitations of claims 1-3 based on the
                                   disclosure of Sasiak and Adams ..................................... 204

                   c)    Sasiak and Crowley would not have rendered obvious
                         claims 1-3 of the ' 807 Patent.. .................................................... 206

                         (1)       Sasiak and Crowley fail to disclose or suggest
                                   numerous limitations of claims 1-3 of the '807
                                   Patent. .............................................................................. 206

                         (2)       A POSA would have had no motivation, absent
                                   hindsight, to arrive at the limitations of claims 1-3
                                   from the combination of Sasiak and Crowley ................. 210

                         (3)       A POSA would not have had a reasonable
                                   expectation of achieving a composition of isolated
                                   NR with the limitations of claims 1-3 based on the
                                   disclosure of Sasiak and Crowley ................................... 212



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                   d)     Sasiak, Murray, and Tanimori would not have rendered
                          obvious claims 1- 3 of the '807 Patent.. ...................................... 215

                   e)     Sasiak, Adams, and Tanimori would not have rendered
                          obvious claims 1- 3 of the '807 Patent.. ...................................... 219

                   f)     Sasiak, Crowley, and Tanimori would not have rendered
                          obvious claims 1- 3 of the '807 Patent.. ...................................... 224

                   g)     Sasiak, Murray, and Kasarov would not have rendered
                          obvious claims 1- 3 of the '807 Patent.. ...................................... 228

                   h)     Sasiak, Adams, and Kasarov would not have rendered
                          obvious claims 1-3 of the '807 Patent.. ...................................... 232

                   i)     Sasiak, Crowley, and Kasarov would not have rendered
                          obvious claims 1- 3 of the '807 Patent.. ...................................... 236

             4.    Brenner Two Pathways in combination with additional references
                   would not have rendered obvious claims 1- 3 of the ' 807 Patent ........... 240

                   a)     Brenner Two Pathways and Murray would not have
                          rendered obvious claims 1-3 of the '807 Patent ......................... 241

                          (1)      Brenner Two Pathways and Murray fail to disclose
                                   or suggest numerous limitations of claims 1-3 of
                                   the '807 Patent ................................................................ 241

                          (2)      A POSA would have had no motivation, absent
                                   hindsight, to arrive at the limitations of claims 1-3
                                   from the combination of Brenner Two Pathways
                                   and Murray ...................................................................... 245

                          (3)      A POSA would not have had a reasonable
                                   expectation of achieving a composition of isolated
                                   NR with the limitations of claims 1-3 based on the
                                   disclosure of Brenner Two Pathways and Murray .......... 247

                   b)     Brenner Two Pathways and Adams would not have
                          rendered obvious claims 1- 3 of the ' 807 Patent ......................... 249

                          ( 1)     Brenner Two Pathways and Adams fail to disclose
                                   or suggest numerous limitations of claims 1- 3 of
                                   the '807 Patent ................................................................ 249

                          (2)      A POSA would have had no motivation, absent
                                   hindsight, to arrive at the limitations of claims 1-3



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                                   and Adams ...................................................................... 253

                           (3)     A POSA would not have had a reasonable
                                   expectation of achieving a composition of isolated
                                   NR with the limitations of claims 1-3 based on the
                                   disclosure of Brenner Two Pathways and Adams .......... 255

                   c)      Brenner Two Pathways and Crowley would not have
                           rendered obvious claims 1-3 of the '807 Patent ......................... 257

                           (1)     Brenner Two Pathways and Crowley fail to disclose
                                   or suggest numerous limitations of claims 1-3 of
                                   the '807 Patent ................................................................ 257

                           (2)     A POSA would have had no motivation, absent
                                   hindsight, to arrive at the limitations of claims 1-3
                                   from the combination of Brenner Two Pathways
                                   and Crowley .................................................................... 261

                           (3)     A POSA would not have had a reasonable
                                   expectation of achieving a composition of isolated
                                   NR with the limitations of claims 1- 3 based on the
                                   disclosure of Brenner Two Pathways and Crowley ........ 263

                   d)      Brenner Two Pathways, Murray, and Tanimori would not
                           have rendered obvious claims 1-3 of the '807 Patent ................ 265

                   e)      Brenner Two Pathways, Adams, and Tanimori would not
                           have rendered obvious claims 1-3 of the ' 807 Patent ................ 269

                   f)      Brenner Two Pathways, Crowley, and Tanimori would not
                           have rendered obvious claims 1-3 of the ' 807 Patent ................ 274

                   g)      Brenner Two Pathways, Murray, and Kasarov would not
                           have rendered obvious claims 1-3 of the '807 Patent ................ 279

                   h)      Brenner Two Pathways, Adams, and Kasarov would not
                           have rendered obvious claims 1-3 of the '807 Patent ................ 283

                   i)      Brenner Two Pathways, Crowley, and Kasarov would not
                           have rendered obvious claims 1- 3 of the '807 Patent ................ 287

             5.    Brenner Two Pathways in combination with additional references
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                   a)      Brenner Two Pathways and Murray would not have
                           rendered obvious claim 2 of the '086 Patent .............................. 292


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                         (1)     Brenner Two Pathways and Murray fail to disclose
                                 or suggest numerous limitations of claim 2 of the
                                 ' 086 Patent ...................................................................... 292

                         (2)     A POSA would have had no motivation, absent
                                 hindsight, to arrive at the limitations of claim 2
                                 from the combination of Brenner Two Pathways
                                 and Murray ...................................................................... 295

                         (3)     A POSA would not have had a reasonable
                                 expectation of achieving a composition of isolated
                                 NR with the limitations of claim 2 based on the
                                 disclosure of Brenner Two Pathways and Murray .......... 297

                   b)    Brenner Two Pathways and Adams would not have
                         rendered obvious claim 2 of the ' 086 Patent .............................. 299

                         ( 1)    Brenner Two Pathways and Adams fail to disclose
                                 or suggest numerous limitations of claim 2 of the
                                 ' 086 Patent ...................................................................... 299

                         (2)     A POSA would have had no motivation, absent
                                 hindsight, to arrive at the limitations of claim 2
                                 from the combination of Brenner Two Pathways
                                 and Adams ...................................................................... 302

                         (3)     A POSA would not have had a reasonable
                                 expectation of achieving a composition of isolated
                                 NR w ith the limitations of claim 2 based on the
                                 disclosure of Brenner Two Pathways and Adams .. ........ 304

                   c)    Brenner Two Pathways and Crowley would not have
                         rendered obvious claim 2 of the ' 086 Patent .............................. 306

                         (1)     Brenner Two Pathways and Crowley fail to disclose
                                 or suggest numerous limitations of claim 2 of the
                                 ' 086 Patent ...................................................................... 306

                         (2)     A POSA would have had no motivation, absent
                                 hindsight, to arrive at the limitations of claim 2
                                 from the combination of Brenner Two Pathways
                                 and Crowley .................................................................... 309

                         (3)     A POSA would not have had a reasonable
                                 expectation of achieving a composition of isolated
                                 NR w ith the limitations of claim 2 based on the
                                 disclosure of Brenner Two Pathways and Crowley ........ 311



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                           d)         Brenner Two Pathways, Murray, and Tanimori would not
                                      have rendered obvious claim 2 of the '086 Patent.. .................... 313

                           e)         Brenner Two Pathways, Adams, and Tanimori would not
                                      have rendered obvious claim 2 of the '086 Patent.. .................... 317

                           f)         Brenner Two Pathways, Crowley, and Tanimori would not
                                      have rendered obvious claim 2 of the '086 Patent.. .................... 321

                           g)         Brenner Two Pathways, Murray, and Kasarov would not
                                      have rendered obvious claim 2 of the '086 Patent.. .................... 325

                           h)         Brenner Two Pathways, Adams, and Kasarov would not
                                      have rendered obvious claim 2 of the '086 Patent.. .................... 328

                           i)         Brenner Two Pathways, Crowley, and Kasarov would not
                                      have rendered obvious claim 2 of the '086 Patent.. .................... 331

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                 1.        The scientific community expressed skepticism that a fourth NAD+
                           biosynthetic pathway in which NR was a precursor existed ................... 335

                2.         The desire for a vitamin composition that increased NAD+
                           biosynthesis was long sought after but had not been discovered
                           until the claimed invention ...................................................................... 341

                3.         The scientific community praised the claimed invention ....................... 344

                4.        NR is unexpectedly orally bioavailable .................................................. 347

                5.         Dartmouth has licensed the Asserted Patents ......................................... 349

                6.         Elysium Copied the Asserted Claims to Manufacture and Sell its
                           Basis Product .......................................................................................... 352

                7.         ChromaDex's Tru Niagen® and Elysium's Basis products have
                           received substantial industry praise ........................................................ 354

                 8.        ChromaDex's Tru Niagen® and Elysium's Basis products have
                           enjoyed significant commercial success ................................................. 356

                9.         Nexus with ChromaDex's Tru Niagen® and Elysium's Basis
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                                                Direction Provided in the Specification .......................... 370

                                     (4)        The Level of One of Ordinary Skill in the Art.. .............. 371

                                     (5)        Claims 1 and 3 of the '807 Patent are Enabled ............... 372

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                                     (1)        Breadth of the Claims and Nature of the Invention ........ 373

                                     (2)        Quantity of Experimentation Needed to Make or
                                                Use the Invention Based on the Content of the
                                                Disclosure, Level of Predictability in the Art, and
                                                State of the Prior Art.. ..................................................... 374

                                     (3)        Existence of Working Examples and Amount of
                                                Direction Provided in the Specification .......................... 376

                                     (4)        The Level of One of Ordinary Skill in the Art.. .............. 377

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                                        ATTORNEY'S EYES
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                                                        ONLY


 VI.      Background

          A.     Scientists
                 Scientists knew
                            knew about
                                  about the critical importance
                                                     importance of
                                                                 ofNAD+
                                                                    NAD inin human
                                                                             human health for
                 decades before
                          before the
                                 the inventions
                                     inventions of
                                                 of the
                                                    the '807
                                                        '807 and
                                                             and '086
                                                                 '086 Patents
                                                                      Patents
                 35.
                 35.    Nicotinamide
                        Nicotinamide adenine dinucleotide
                                             dinucleotide (NAD
                                                           (NAD)
                                                               +) isis a
                                                                       a biological co-
                                                                                    co-factor
                                                                                        factor that
                                                                                               that

 plays a
       acentral role in cellular metabolism. As
                                             As IIdescribed
                                                  described in
                                                            in Section
                                                               Section VII.A
                                                                       VILA of
                                                                             ofmy
                                                                               my Opening
                                                                                  Opening Report,
                                                                                          Report,


 which
 which IIincorporate
          incorporate here in
                           in its
                               its entirety,
                                    entirety, NAD+
                                              NAD primarily
                                                   primarily serves
                                                             serves as aavehicle
                                                                          vehicle for
                                                                                   for transferring
                                                                                        transferring


 electrons in the redox
 electrons        redox reactions
                        reactions of
                                  of metabolism
                                     metabolism and
                                                and is
                                                     is necessary
                                                        necessary for
                                                                   for maintaining
                                                                       maintaining cellular
                                                                                    cellular energy
                                                                                              energy

                           NAD due
 levels. All cells contain NAD+ due to
                                    to its
                                       its "immeasurable
                                           "immeasurable importance in cellular metabolism." John

 W.        and Albert
 W. Foster and Albert G.
                      G. Most,
                         Most, Nicotinamide
                                Nicotinamide Adenine
                                             Adenine Dinucleotide
                                                     Din ucleotide Biosynthesis
                                                                   Biosynthesis and Pyridine


 Nucleotide
 Nucleotide Cycle Metabolism in
            Cycle Metabolism    Microbial Systems,
                             in Microbial  Systems, Microbiol.
                                                    Microbiol. Rev.,
                                                               Rev., 44:83
                                                                      44:83-105  (1980)
                                                                           -105 (1980)

 (("Foster").
   "Foster ").

                 36.    NAD's  importance to
                        NAD's importance   to cellular
                                               cellular metabolism
                                                        metabolism and
                                                                   and some
                                                                       some details
                                                                             detailsof
                                                                                     ofNAD's
                                                                                       NAD's

 biosynthesis
 biosynthesis were
              were well
                   well known
                        known decades
                              decades before
                                      before the
                                             the inventions
                                                 inventions of
                                                            of the
                                                               the '807      '086 Patents.
                                                                   '807 and '086  Patents. For
                                                                                           For

 example, by 1938,
 example,    1938, the
                    the vitamin
                         vitamin precursors
                                  precursors to
                                              toNAD
                                                 NAD,  nicotinic acid
                                                    +, nicotinic acid and
                                                                       and nicotinamide
                                                                            nicotinamide (today
                                                                                          (today


 collectively called "niacin
 collectively        "niacin"),
                             "), were
                                 were known
                                      known to
                                            to possess essential
                                                       essential nutritional
                                                                 nutritional activity,
                                                                             activity, and
                                                                                       and by
                                                                                           by 1958,
                                                                                               1958,

 nicotinic acid's
           acid's role
                   role in
                         in the
                             the synthesis
                                  synthesis of
                                             ofNAD+
                                               NAD was understood.
                                                       understood. See
                                                                   See Elvehjem et
                                                                                et al.,
                                                                                   al., The
                                                                                        The Isolation
                                                                                            Isolation


      Identification of
 and Identification  of the
                         the Anti
                              Anti-Black Tongue Factor,
                                  -Black Tongue Factor, J.J. Biol. Chem. 123:137
                                                             Biol. Chem.  123:137-149  (1938)
                                                                                 -149 (1938)

 (("Elvehjem")
   "Elvehjem ")(CDXDE_000165896)
                (CDXDE_000165896)atat145.
                                      145.Specifically,
                                           Specifically,ititwas
                                                             wasknown
                                                                known that
                                                                       that "nicotinic
                                                                            "nicotinic acid
                                                                                       acid is

 phosphosphoribosylated to nicotinic acid mononucleotide (NaMN), which is then adenylylated to
                                                                                            to

 form nicotinic
 form nicotinic acid adenine dinucleotide
                             dinucleotide (NaAD),
                                          (NaAD), which    turn is
                                                  which in turn  is amidated
                                                                     amidated to
                                                                               to form
                                                                                   form NAD
                                                                                        NAD+."
                                                                                            +."

 Brenner 2004
 Brenner 2004 ((BRENNER_000015192)
                BRENNER 000015192) atat 495. The biosynthesis
                                        495. The biosynthesis and
                                                              and degradation
                                                                   degradation of
                                                                                ofNAD+
                                                                                   NAD

 remained an area of
 remained         of research after
                              after the
                                    the 1950s.
                                        1950s. See,
                                               See, e.g.,
                                                    e.g., Kasarov
                                                          Kasarov (1971)
                                                                  (1971) (ELY_DEL0000514)
                                                                         (ELY_DEL0000S 14) at


  181 ("We
  181 ( "We have
            have been
                 been investigating
                      investigating the
                                    the enzymes
                                        enzymes involved
                                                involved in
                                                         in the                              of
                                                            the biosynthesis and degradation of

        ....
 NAD ... .");               (ELY_DEL0036272) at
          "); Ferraz (1978) (ELY_DEL0036272)  at431
                                                431 (studying
                                                     (studyingthe
                                                               thehydrolysis
                                                                   hydrolysisof
                                                                              ofNAD
                                                                                NAD).
                                                                                    +). It was


                                                     99
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                                       ATTORNEY'S EYES
                                                 -EYES ONLY
                                                       ONLY


 known in 1980
          1980 that NAD and
                        and NAD-
                            NAD-phosphate
                                 phosphate "participate
                                           "participate in
                                                        in over
                                                           over 300 enzymatically catalyzed
                                                                300 enzymatically catalyzed

 oxidation-reduction
 oxidation -reductionreactions.
                      reactions.In
                                 In addition,
                                    addition, a
                                              a number
                                                number of
                                                       of reactions
                                                          reactions have
                                                                    have been discovered in which

 NAD serves as a
               asubstrate." Foster at 83.


                37.    The scientific literature
                       The scientific literature inin the decades leading
                                                      the decades leading up
                                                                          up to the filing
                                                                             to the filing of
                                                                                           of the
                                                                                               the


 Asserted Patents
 Asserted Patents repeatedly
                  repeatedly taught
                             taughtthat
                                    that cellular
                                          cellularlevels
                                                   levelsof
                                                          ofNAD         important role
                                                            NAD play an important role in
                                                                                       in proper
                                                                                          proper

                                                                             1991 that increasing
 cellular functioning and human health. For example, Williamson disclosed in 1991

 NAD  levels protects
 NAD levels   protects against
                        against "the
                                 "the secondary
                                       secondary damaging
                                                 damaging effects
                                                          effects of
                                                                  of diabetes by affecting
                                                                                 affecting oxidation
                                                                                           oxidation

             in insulin
 of sorbitol in  insulin-independent
                        -independent cells." Williamson (ELY_DEL0000586) at Abstract.
                                                                            Abstract. Jacobson
                                                                                      Jacobson

 (filed in 1999)
 (filed    1999) described
                 described an
                           an invention
                              invention "directed
                                        "directed to
                                                  to methods
                                                     methods and
                                                             and compositions
                                                                 compositions of
                                                                              of using
                                                                                 using organic
                                                                                       organic


 molecules
 molecules termed pro-NAD
           termed pro -NAD agents
                           agents capable
                                  capable of
                                          of enhancing
                                             enhancing dermal
                                                       dermal and epidermal skin cell
                                                              and epidermal      cell NAD
                                                                                      NAD


 content with aaresulting enhancement of
                                      of DNA repair and other protective responses to genotoxic

 stress
 stress in skin." Jacobson (ELY_DEL0000607)
                           (ELY DEL00006O7) at
                                            at 1:14
                                               1:14-18.
                                                    -18.

                38.    Crowley described
                       Crowley describedinin2000
                                             2000that
                                                  that "[a]
                                                        "[a] major
                                                             major drain
                                                                   drain on
                                                                         on the
                                                                            the NAD  pool
                                                                                NAD pool
 would ... eventually compromise
        ...           compromise energy
                                 energy production,
                                        production, resulting
                                                    resulting in
                                                              in the
                                                                 the death
                                                                     death of the cell." Crowley

 (ELY DEL0000429) at
 (ELYDEL0000429)  at 314.
                     314. Crowley
                          Crowley reported
                                  reported that increasing intracellular
                                           that increasing intracellularlevels
                                                                         levelsof
                                                                                ofNAD
                                                                                   NAD can

 protect cells "against
 protect cells "against excessive
                        excessive DNA damage, ATP
                                  DNA damage,     depletion and
                                              ATP depletion and cell
                                                                cell death."
                                                                      death." Crowley
                                                                               Crowley

 (ELY DEL0000429)at
 (ELYDEL0000429)  at314
                     314-315.
                        -315.

                39.
                39.    Murray
                       Murray in 2001 observed
                              in 2001 observed that "HIV infection
                                               that "HIV infection leads
                                                                   leads to
                                                                         to aadecrease
                                                                              decrease in
                                                                                       in


 intracellular [NAD]." Murray (ELY_DEL0000552)
                              (ELY_DEL0000SS2) at 654. Murray reported experiments designed

 to increase NAD  levelsas
             NAD levels  asaatreatmentfor
                            treatment  forthe
                                           thepellagra
                                               pellagra-like symptoms observed
                                                       -like symptoms observed in
                                                                               in HIV
                                                                                  HIV infected
                                                                                      infected


               (ELY_DEL0000SS2) at
 cells. Murray (ELY_DEL0000552) at 654.
                                   654.


                40.
                40.    Even Dr. Adams
                       Even Dr. Adams recognized
                                      recognized in
                                                 in 1996
                                                    1996 that
                                                         that increasing
                                                              increasingNAD  levels could
                                                                         NAD levels could

 mitigate the
          the damage
              damage caused
                     caused by acute
                               acute neural
                                     neural trauma.
                                            trauma. Dr.
                                                    Dr. Adams'
                                                        Adams' U.S. Patent No. 5,736,529 (filed



                                                 10
                                                 10
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                 72.     Elysium's patent filings,
                         Elysium's patent filings, however,
                                                   however, reflect
                                                            reflect the
                                                                    the understanding that it was not
                                                                                                  not

 obvious, even
 obvious,      10 years
          even 10             2004, to
                  years after 2004,           in place
                                    to use NR in place of
                                                       of nicotinic
                                                          nicotinic acid,
                                                                    acid, nicotinamide,
                                                                          nicotinamide, or other


 NAD
 NAD+precursors.
      precursors.As
                  AsII described
                       describedabove,
                                 above,aa POSA
                                          POSA did
                                                did not
                                                    not understand
                                                        understandNR
                                                                   NR toto be an active
                                                                           be an active or


 significant
 significant NAD
             NAD+precursor
                  precursorprior
                            prior to
                                   to Dr.
                                      Dr. Brenner's      discovery. See
                                          Brenner's 2004 discovery. See Sections
                                                                        Sections VI.B and VI.D.

          of NR in
 The role of    in NAD+
                   NAD synthetic
                        synthetic pathways
                                  pathways was
                                           was very unclear,                from obvious
                                                    unclear, and it was far from obvious that
                                                                                         that

 NR could be administered to
                          to enhance
                             enhance NAD+
                                     NAD biosynthesis. See
                                                       See Sections
                                                           Sections VI.0
                                                                    VI.0 and VI.D. Thus, the

 use of isolated
 use of  isolated NR in
                      in compositions
                          compositions for
                                        for oral
                                            oral administration
                                                  administration to
                                                                  to increase
                                                                      increase NAD+
                                                                               NAD biosynthesis
                                                                                    biosynthesis was
                                                                                                 was

 clearly inventive in 2004.

          F.     The tryptophan
                     tryptophan in in milk,
                                      milk, not
                                            not the
                                                 the trace
                                                      trace amounts
                                                             amountsof
                                                                     ofNR,
                                                                       NR, is
                                                                           is responsible
                                                                              responsible for
                 milk's anti
                 milk's anti-pellagra  effects
                             -pellagra effects

                 73.     Milk contains aa miniscule        amount
                                                           amount of NR.
                                                                     NR. Citing Trammell            II

 (ELY DEL0000555), Dr.
 (ELYDEL0000555),  Dr. Adams
                       Adams (in
                              (in paragraph
                                  paragraph 51
                                            51 of
                                               of his
                                                  his report)   states that milk contains 4.3 +
                                                      report)55 states


     jtm01e5 of
 2.6 µmoles  of NR per liter. See
                              See Trammell II(ELY_DEL0000555)
                                             (ELY_DEL0000SSS) at 557 & Table 11(reporting the
                                                                                          the

 mean concentration of NR in 18
                             18 samples of
                                        of raw cow milk). NR has a
                                                                 amolecular weight of
                                                                                   of 255.25


 grams per mole,
 grams     mole, or 0.00025525
                    0.00025525 grams
                               grams per
                                     per micromole.
                                         micromole. Thus,
                                                    Thus, even
                                                          even using
                                                               using the
                                                                     the upper
                                                                         upper limit
                                                                               limit of NR
                                                                                        NR

 concentration, one
 concentration, one liter
                    liter of milk contains
                                  contains only
                                           only about
                                                about 1.1
                                                      1.1 milligrams        (= (4.3
                                                          milligrams of NR (=   (4.3 µcool
                                                                                      Rmol NR
                                                                                           NR

 ** 0.00025525
    0.00025525 g/mol)
               g /µmol)** 1000
                          1000mg/g).
                               mg /g).One
                                       Oneliter
                                           literisisabout
                                                     about0.264
                                                           0.264gallons
                                                                 gallons (or
                                                                          (or about
                                                                              about 3.79
                                                                                    3.79 liters
                                                                                         liters in
                                                                                                in aa

 gallon), so one gallon of milk contains about 4.17 milligrams of NR.
                                                                  NR.

                 74.
                 74.     One liter of
                                   of milk weighs just over
                                                       over 11kilogram,
                                                              kilogram, or
                                                                        or approximately
                                                                           approximately 1,030,000
                                                                                         1,030,000


 milligrams.           See,
                       See,        e.g.,
                                   e.g.,        Physical         Properties         of          Milk,


 https://www.uoguelph.calfoodscience/book!exportlhtmL'1988       (last accessed
 https:// www. uoguelph. ca /foodscience/book/export /html /1988 (last accessed March
                                                                                March 6,
                                                                                      6,        2021)



 5   Dr.
     Dr. Adams
         Adams cites
               cites Trammell
                     Trammell I
                              I at
                                at 959.
                                   959. Dr.
                                        Dr. Adams'
                                            Adams' citation does not correspond
                                                                     correspond to
                                                                                to the
                                                                                   the pagination
                                                                                       pagination
 on the
 on  the document
          document cited
                    cited in
                           in Appendix
                               Appendix A,
                                        A, which
                                            which purportedly
                                                   purportedly begins
                                                                begins with
                                                                       with bates
                                                                             bates number
                                                                                    number
 ELY_DEL0000SSS.
 ELY_DEL0000555. The   The numerical
                           numerical pages
                                     pages numbers,
                                           numbers, which
                                                    which are
                                                          are 11-7,  also do not
                                                                 -7, also    not correspond
                                                                                  correspond to
                                                                                              to
 Dr. Adams' citations.
            citations.


                                                  34
                                                  34
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                76.     Trammell IIfurther reports that the concentration of commercial skim milk

    even smaller
 is even smaller than
                 than in raw
                         raw cow
                             cow milk.
                                 milk. In
                                       In addition
                                           addition to
                                                    to raw
                                                        raw cow
                                                             cow milk,
                                                                 milk, Trammell
                                                                       Trammell IItested
                                                                                   tested the
                                                                                          the


               of NR in four samples of
 concentration of                    of organic skim milk and four samples of
                                                                           of conventional skim


 milk. See Trammell I
                    I (ELY DEL0000SSS) at 556,
                      (ELY_DEL0000555)    556, 559
                                               559 & Table
                                                     Table 3.
                                                           3. Trammell
                                                              Trammell I
                                                                       I reports
                                                                         reports that
                                                                                 that organic
                                                                                      organic

 skim
 skim milk
      milk contains
           contains just 1.9 ± 1.0
                    just 1.9   1.0 gmol
                                   itmol of
                                         of NR per liter
                                                    liter and
                                                          and conventional
                                                              conventional skim
                                                                           skim milk
                                                                                milk contains
                                                                                     contains just

 3.1 +
 3.1   1.6 gmol
     ± 1.6 Rmol of
                of NR per liter.
                          liter. The average
                                     average of
                                             of the
                                                the eight
                                                    eight skim
                                                          skim milk
                                                               milk samples
                                                                    samples is
                                                                             is 2.3855
                                                                                2.3855 micromoles
                                                                                       micromoles

       per liter,
 of NR per  liter, which
                   which is
                          is about
                              about 0.61
                                    0.61 milligrams
                                         milligrams of NR per liter.
                                                               liter. Thus,
                                                                      Thus, to
                                                                             to match
                                                                                match Elysium's
                                                                                      Elysium's


 recommended daily
 recommended daily serving
                   serving of
                           of NR,
                              NR, one
                                  one would
                                      would need
                                            need toto drink
                                                      drink about
                                                            about 109
                                                                  109 gallons
                                                                      gallons of
                                                                              of skim
                                                                                 skim milk
                                                                                      milk -

 which is, of
           of course, an impossible quantity to consume.
                                                consume. E.g., Michaelsson 2014 (concluding
                                                                                (concluding that


 high milk
 high milk intake
           intake—which
                  which was
                        was just three glasses
                            just three glasses of milk
                                                  milk per
                                                       per day
                                                            day—was associated with
                                                               was associated  with higher
                                                                                    higher


 mortality in men and women, and higher fracture incidence in women) (CDXDE_000166500);
                                                                     (CDXDE_000 166500); see
                                                                                         see


      Lama 2019
 also Lama 2019 (CDXDE_000166472)
                 (CDXDE_000166472) (describing
                                   (describing the
                                               the negative
                                                   negative effects
                                                            effects from drinking just
                                                                    from drinking just one

        of milk per day, including noting that one gallon of
 gallon of                                                of skim milk contains 1,328
                                                                                1,328 calories, which

 thus means that 109
                 109 gallons of
                             of milk would equal an impossible 144,752
                                                               144,752 calories per day).


                77.     Moreover,
                        Moreover, 11liter of
                                          of skim
                                             skim milk weighs just over
                                                                   over 11kilogram,
                                                                          kilogram, or
                                                                                    or 1,033,000
                                                                                        1,033,000


 milligrams. Thus, NR is present in skim milk at a
                                                 a concentration of approximately 0.000059% w/w

 (= (0.61
 (= (0.61 mg   1,033,000 mg)
          mg = 1,033,000        100). The
                         mg) ** 100). The NR in milk
                                                milk is
                                                      is therefore
                                                          therefore more
                                                                    more than
                                                                          than 1,500
                                                                                1,500 times
                                                                                       times less
                                                                                              less


 concentrated than the minimum 0.1% of
                                    of active
                                       active compound that the Asserted
                                                                Asserted Patents
                                                                         Patents teach
                                                                                 teach should
                                                                                       should


 be contained in an NR composition for oral
                                       oral administration.
                                            administration. '807 Patent,
                                                                 Patent, 30:23
                                                                         30:23-29.
                                                                               -29. And the NR in

 skim
 skim milk     approximately 420,000
      milk is approximately  420,000 times less concentrated
                                     times less concentrated than the minimum
                                                             than the minimum 25%
                                                                              25% w/w
                                                                                  w/w


 suggested
 suggested in
           in the
              the Asserted
                  Asserted Patents
                           Patents for "isolated" polypeptides.      Patent, 9:23
                                                  polypeptides. '807 Patent, 9:23-33.
                                                                                  -33.

                78.     Milk contains
                        Milk contains a
                                      asubstantial
                                        substantial amount
                                                    amount of tryptophan.
                                                               tryptophan. Richard
                                                                           Richard et      L-
                                                                                   et al., L-

 Tryptophan:
 Tryptophan: Basic
             Basic Metabolic
                   Metabolic Functions,
                             Functions, Behavioral
                                        Behavioral Research
                                                   Research and
                                                            and Therapeutic Indications,
                                                                            Indications, Int'l



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 J. Tryptophan
 J. Tryptophan Res., 2:45
                     2:45-60,  at 46
                          -60, at 46 (2009)
                                      (2009) (CDXDE_000166546).
                                              (CDXDE 000 166546). Whole
                                                                  Whole milk contains
                                                                             contains 732
                                                                                      732

 milligrams
 milligrams of tryptophan
               tryptophan per
                          per quart,
                              quart, or
                                     or 2.928
                                        2.928 grams of tryptophan per gallon;
                                              grams of                gallon; 2% milk contains
                                                                                      contains


 551 milligrams of
 551 milligrams of tryptophan
                   tryptophan per
                               per quart,
                                   quart, or 2.204 grams of
                                          or 2.204       of tryptophan
                                                             tryptophan per
                                                                        per gallon.
                                                                            gallon. Richard
                                                                                    Richard


 (CDXDE 000166546) at
 (CDXDE000166546)  at 46.
                      46. That
                          That is,
                                is, milk
                                    milk contains
                                          contains about
                                                    about 700
                                                          700 times
                                                               times more
                                                                     more tryptophan
                                                                           tryptophan than NR


        mg/gallon
 (2,928 mg                mg/gallon).
           /gallon =-4.17 mg /gallon).

                79.     Because
                        Because the body uses
                                the body uses tryptophan
                                               tryptophan for
                                                          for many
                                                              many purposes,
                                                                   purposes, it is generally
                                                                                   generally


                                      of tryptophan to provide 11milligram of
 accepted that it takes 60 milligrams of                                   of niacin (that is, 60 mg


 of tryptophan is viewed as 1
 of                         1mg of niacin equivalent).
                                          equivalent). E.g., Fox & McSweeney 1998 at 280;
                                                                                     280; M.K.
                                                                                          M.K.

                 Tryptopha-Niacin
 Horwitt et al., Tiyptopha- Niacin Relationships
                                   Relationships in Man: Studies with
                                                    Han: Studies with Diets
                                                                      Diets Deficient
                                                                            Deficient in
                                                                                       in Riboflavin
                                                                                          Riboflavin


     Niacin, J.
 and Niacin,  J. Nutrition
                 Nutrition 60:1
                           60:1-43,  32 (1956)
                                -43, 32  (1956) (CDXDE_000166377).
                                                 (CDXDE_000166377). Using this
                                                                          this conversion,
                                                                                conversion, aa

        of whole milk delivers about 48.8 milligram
 gallon of                                milligram of
                                                    of niacin from
                                                              from tryptophan
                                                                   tryptophan (2,928
                                                                               (2,928 mg
                                                                                      mg =,60
                                                                                           60 mg).


                                             12 times the niacin than does the NR (48.8 mg versus
 Thus, the tryptophan in milk delivers about 12

 4.17 mg).
 4.17 mg). As pellagra or black-
           As pellagra    black-tongue
                                 tonguemay
                                       maybe
                                           be seen
                                              seen as
                                                   as aaniacin
                                                        niacin deficiency,
                                                               deficiency, which Dr. Adams
                                                                                     Adams

                                                         the predominant
 acknowledges in his publications (see Yang 2004 at 43), the predominant "anti-
                                                                         "anti-pellagra
                                                                                pellagra factor" in

 milk is tryptophan.

                 80.
                 80.    The scientific
                        The scientific community
                                       community has understood for decades
                                                 has understood     decades that
                                                                            that milk's
                                                                                 milk's anti
                                                                                         anti--

 pellagra and anti
              anti-black
                   -black tongue
                          tongue effects
                                 effects are
                                         are the
                                             the direct result of
                                                               of the tryptophan in milk. Elvehjem
                                                                                          Elvehjem and
                                                                                                   and


 co-workers
 co- workers first
              first identified
                    identified anti-black
                               anti -blacktongue
                                           tonguefactors
                                                  factorswhile
                                                          while studying
                                                                 studying liver
                                                                           liver and
                                                                                 and liver
                                                                                     liver extracts.
                                                                                           extracts. See
                                                                                                     See

 Elvehjem et al., The
                  The Isolation and
                                and Identification
                                     Identification of
                                                    ofthe
                                                       the Anti
                                                           Anti-Black
                                                                -Black Tongue
                                                                       TongueFactor,
                                                                              Factor, J.
                                                                                      J. Biol. Chem.
                                                                                         Biol. Chem.

  123:137-149
  123:137 -149 (1938)
               (1938) (("Elvehjem")
                        "Elvehjem ")(CDXDE 000165896) atat145.
                                     (CDXDE_000165896)     145. Elvehjem
                                                                Elvehjem concluded
                                                                         concluded that

 "nicotinic acid
 "nicotinic          nicotinic acid
            acid and nicotinic      amide are active
                               acid amide     active in the
                                                        the cure
                                                            cure and
                                                                  and prevention
                                                                      prevention of
                                                                                 of canine
                                                                                     canine black
                                                                                            black


 tongue and that the activity in liver in the
                                          the treatment of this
                                                           this disease
                                                                disease is
                                                                        is undoubtedly
                                                                           undoubtedly due to
                                                                                           to its
                                                                                              its content

 of nicotinic acid amide." Elvehjem (CDXDE_000165896)
                                    (CDXDE 000165896) at 145.
                                                         145.




                                                   37
                                                   37
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                81.
                81.     After Elvehjem's
                              Elvehjem' sinitial
                                          initial discovery
                                                   discovery of
                                                              ofthe
                                                                 theanti
                                                                     anti-black        factors in
                                                                         -black tongue factors  in liver,
                                                                                                    liver,

      discrepancy was encountered."
 "one discrepancy     encountered." New
                                    New Research       Tryptophan in
                                        Research Casts Tiyptophan  in Role
                                                                      Role of
                                                                            ofAntipellagra
                                                                              Antipellagra


 Factor, Chem.
         Chem. Eng.
                Eng. News,
                      News,30:4947
                            30:4947-48  (1952)( "C
                                   -48 (1952)   ("C&E News 1952
                                                   &E News  1952")  (CDXDE 000165909) at
                                                                ") (CDXDE_000165909)  at


 4947. Goldberger
       Goldberger had
                  had reported
                       reportedthat
                                thatmilk
                                    milkand
                                         andeggs
                                             eggshave
                                                  haveanti
                                                       anti-pellagra  and anti
                                                           - pellagra and anti-black
                                                                               -black tongue effects,

 but milk
 but milk and
          and eggs
               eggs contain
                     contain very
                             very little
                                   little nicotinic
                                          nicotinic acid or nicotinamide.
                                                    acid or  nicotinamide. C
                                                                           C&E  News 1952
                                                                             &E News  1952

 (CDXDE 000 165909)atat4947.
 (CDXDE000165909)       4947.Indeed,
                              Indeed,milk
                                     milkcontains
                                          containseven
                                                   evenless
                                                        less NR
                                                             NR than
                                                                than nicotinamide. Trammell II


 (ELYDEL0000SSS) at
 (ELYDEL0000555)  at557.
                     557. Elvehjem
                          Elvehjem concluded
                                    concluded that
                                               that milk's
                                                    milk's high
                                                           high tryptophan
                                                                 tryptophan content
                                                                            content explained


 the "discrepancy." C
                    C&E
                      &E News 1952 (CDXDE_000165909)
                         News 1952 (CDXDE 000165909) at
                                                     at 4947. Indeed, Elvehjem reported
                                                        4947. Indeed,

 that tryptophan, which is found in large amounts
                                          amounts in
                                                  in milk, "has
                                                           "has proved
                                                                proved just
                                                                       just as
                                                                            as effective
                                                                               effective as
                                                                                         as niacin
                                                                                            niacin in
                                                                                                    in


 the prevention and treatment of
                              of pellagra." C
                                            C&E
                                              &E News 1952 (CDXDE
                                                 News 1952        000165909) at 4947.
                                                           (CDXDE_000165909)    4947. Thus,
                                                                                      Thus,

 aaPOSA would
        would have
              have understood
                   understoodfrom
                              fromCC&E News 1952
                                    &E News  1952that
                                                  thattryptophan
                                                       tryptophanisisthe
                                                                      theanti
                                                                          anti-pellagra   factor
                                                                              - pellagra factor

          C&E
 in milk. C &E News 1952 (CDXDE_000165909)
               News 1952 (CDXDE_000 165909) at
                                            at 4947 (("New
                                                      "New Research
                                                           Research Casts
                                                                    Casts Tryptophan
                                                                          Tryptophan in

      of Antipellagra
 Role of Antipellagra Factor
                      Factor").
                             ").

                82.
                82.     The scientific community's
                        The scientific community's understanding
                                                   understanding that
                                                                 that tryptophan
                                                                       tryptophan is
                                                                                  is an
                                                                                      ananti
                                                                                         anti-
                                                                                             -

 pellagra
 pellagra factor
          factor has not changed
                 has not changed since
                                 since 1952.
                                       1952. For example,
                                                 example, a
                                                          a1987
                                                            1987 case
                                                                 case study
                                                                       study described
                                                                              described the
                                                                                        the


 successful treatment of
                      of a
                         a woman suffering from pellagra using 22ggof
                                                                   of tryptophan three times aaday.

 Pellagra Treated
          Treated with
                  with Tryptophan,
                        Tryptophan, Nutrition
                                    Nutrition Reviews,
                                              Reviews, 45:142
                                                       45:142-148,  at 143
                                                              -148, at  143 (1987)
                                                                             (1987) (("Nutrition
                                                                                      "Nutrition

 Review 1987
        1987")
             ") (CDXDE 000166537). The
                (CDXDE_000166537). The author
                                       author concluded,
                                              concluded, "It
                                                         "It seems
                                                             seems clear now that
                                                                             that pellagra
                                                                                  pellagra is
                                                                                           is

 not simply
 not simply aadisease
               disease of
                        ofniacin
                           niacin deficiency,
                                   deficiency, but
                                               but more
                                                   more appropriately
                                                         appropriately aadisease
                                                                          disease of
                                                                                   oftryptophan
                                                                                      tryptophan

 metabolism." Nutrition
 metabolism." Nutrition Review
                        Review 1987
                               1987 (CDXDE 000166537) atat 144;
                                    (CDXDE_000166537)      144; see
                                                                see also D. A.
                                                                    also D. A. Bender,
                                                                                Bender,


             in Encyclopedia
 "Pellagra," in Encyclopedia of
                             ofFood
                                Food Sciences
                                     Sciences and
                                              and Nutrition,
                                                  Nutrition, pp. 4456-60
                                                             pp. 4456     (2d ed.,
                                                                      -60 (2d ed., 2003)
                                                                                   2003) (("Bender
                                                                                           "Bender

 2003")
 2003 ") (CDXDE 000 165911) at
         (CDXDE_000165911)  at 4456
                               4456 ("Pellagra
                                    ( "Pellagra isis a
                                                     a nutritional
                                                       nutritional disease
                                                                   disease due
                                                                           due to
                                                                               to deficiency of
                                                                                             of the


 vitamin niacin and the essential amino acid tryptophan.").



                                                   38
                                                   38
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                 83.
                 83.     The scientific community's
                         The scientific community's understanding
                                                    understanding that tryptophan
                                                                        tryptophan is
                                                                                   is the
                                                                                       the anti
                                                                                            anti-
                                                                                                -

 pellagra
 pellagra factor
          factor in      also has not changed
                 in milk also         changed since
                                              since 1952.
                                                    1952. A 2001
                                                            2001 case
                                                                 case study
                                                                       study of
                                                                             of the
                                                                                 the successful
                                                                                      successful


 treatment
 treatment of a
              a boy
                boy with
                    with pellagra
                         pellagra explained,
                                  explained, "Milk
                                             "Milk and
                                                   andeggs,
                                                       eggs,which
                                                             whichcontain
                                                                   contain little
                                                                           little niacin,
                                                                                  niacin, are
                                                                                          are good
                                                                                              good

 pellagra-preventive
 pellagra -preventivefoods
                      foodsbecause
                            becauseof
                                    oftheir
                                       theirhigh
                                             high content
                                                  content of
                                                          of tryptophan."
                                                             tryptophan." Ozturk
                                                                          Ozturk et
                                                                                 et al.,
                                                                                    al., Pellagra;
                                                                                         Pellagra;

            PediatricCase
 A Sporadic Pediatric Casewith
                           withaaFullTriad
                                Full  Triadofof Symptoms,CUTIS,
                                              Symptoms,   CUTIS,68:31
                                                                 68:31-34  (200 1)( ("Ozturk")
                                                                      -34 (2001)    "Ozturk ")

        000166531) at
 (CDXDE 000166531) at 33
                      33 (emphasis
                          (emphasis added);
                                    added); see
                                            see also
                                                also "Pellagra,"
                                                      "Pellagra," in
                                                                   inEncyclopaedia
                                                                     Encyclopaedia Britannica
                                                                                   Britannica


 Online, at p.     1
                   1   of 2
                     of 2 (2018)       (available          https://www.britannica.comlscience/pellagra)
                                                        at https : / /www.britannica.com/science /pellagra)

 (CDXDE_000
 (CDXDE     166535) (("Such
        000166535)    "Suchfoods
                            foodsasas milk
                                      milk and
                                           and eggs,
                                               eggs, although
                                                     although low
                                                              low in
                                                                  in niacin,
                                                                     niacin, will
                                                                             willprotect
                                                                                  protect the
                                                                                          the

 body from
 body from pellagra
           pellagra because
                    because their
                            their proteins                    tryptophan for
                                  proteins contain sufficient tryptophan         synthesis of
                                                                         for the synthesis

 niacin.")
 niacin.              added).
         ") (emphasis added).

                 84.
                 84.                                                    "[it isis now
                         Thus, IIdisagree with Dr. Adams statement that "[i]t     now known
                                                                                      known that
                                                                                            that the
                                                                                                  the

 blacktongue
 blacktongue preventative
             preventative in
                          in milk
                             milk are          precursors nicotinamide
                                  are the NAD+ precursors nicotinamide and
                                                                       and NR." See Adams

                 ¶51. As
 Opening Report, '1151. Asdescribed
                           describedabove,
                                     above,the
                                            thescientific
                                                scientificliterature
                                                           literature isis clear
                                                                           clear that
                                                                                 that tryptophan
                                                                                      tryptophan is
                                                                                                 is the
                                                                                                    the

 anti-blacktongue
 anti -blacktongue factor in milk.

         G.      The trace amounts
                           amounts of
                                   of NR in milk,
                                             milk, which
                                                   which Dr.
                                                         Dr. Brenner
                                                             Brenner first reported
                                                                           reported in
                                                                                     in 2004,
                                                                                        2004,
                               shown to increase
                 have not been shown    increase NAD+
                                                 NAD+ production
                                                        production

                 85.
                 85.     Dr. Adams' only
                         Dr. Adams'  only citation
                                           citation for
                                                     for his
                                                          hisconclusion
                                                              conclusion that
                                                                          that "the
                                                                                 "theblacktongue
                                                                                       blacktongue


 preventative in milk are the
                          the NAD+
                              NAD+ precursors
                                   precursors nicotinamide
                                              nicotinamide and NR"
                                                               NR" is
                                                                   is the
                                                                      the 2016
                                                                          2016 article
                                                                               article Trammell
                                                                                       Trammell I
                                                                                                I

 (ELYDEL0000SSS).See
 (ELYDEL0000555). SeeAdams
                      AdamsOpening Report, ¶¶
                           OpeningReport,    51. II
                                            51.    disagree that
                                                  disagree   that Trammell
                                                                  Trammell IIshows that NR


        anti-blacktongue
 is the anti-                       milk.
              blacktongue factor in milk.

                 86.
                 86.     Trammell IImeasures the amounts of
                                                         of certain compounds in milk, including
                                                                                       including

 nicotinamide
 nicotinamide and
              and NR. Trammell II(ELY_DEL0000555)
                  NR. Trammell    (ELYDEL0000SSS) at 557. Trammell
                                                  at 557. Trammell IIreports
                                                                     reports that
                                                                              that milk
                                                                                   milk


          trace amounts
 contains trace amounts of
                         ofNR
                           NR(i.
                              (i.e.,
                                 e. , 4.3 ±                              1.1 milligrams
                                          + 2.6 micromoles per liter, or 1.1 milligrams NR per liter
                                                                                               liter


    milk). Trammell
 of milk). Trammell II(ELY_DEL0000555)
                      (ELY DEL0000SSS) at
                                        at 557.
                                           557. As
                                                As I described in Section
                                                   I described    Section VI.F above,
                                                                               above, the
                                                                                      the



                                                    39
                                                    39
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        of NR in milk is small enough that one would need to drink
 amount of                                                   drink 60
                                                                   60 gallons
                                                                      gallons of
                                                                              of milk
                                                                                 milk per
                                                                                      per day
                                                                                          day to
                                                                                               to

 match     daily recommended
 match the daily recommendeddose
                             doseof
                                  ofNR
                                    NR(250
                                       (250mg)
                                           mg)in
                                               intwo
                                                  twocapsules
                                                      capsulesofofBasis ®. A
                                                                   Basis®. A person
                                                                             person could not

 safely
 safely drink anything close to this amount of
                                            of milk.


                87.
                87.     Trammell IIdoes not, however, consider the amount of
                                                                          of tryptophan in milk.


 See Trammell II(ELY_DEL0000555)
                (ELY_DEL0000S5S) at
                                 at 557;
                                    557; Baur
                                         Baur Dep.
                                              Dep. Tr.
                                                   Tr. (Elysium's
                                                        (Elysium'sexpert),
                                                                   expert),IPR2017-
                                                                            IPR2017-01795,
                                                                                    01795,

                  10:17-11:10
 Exhibit 2003, at 10:17                                              Trammell IIdoes not consider
                        -11:10 (PTAB Apr. 26, 2018) (confirming that Trammell            consider


                                                 inventions of
 tryptophan levels). Regardless, even before the inventions of the
                                                               the Asserted
                                                                   Asserted Patents,
                                                                            Patents, itit was
                                                                                          was known
                                                                                              known


 that tryptophan levels are especially high in milk. Tryptophan was known to "contribute[] roughly

 0.7 mg
 0.7 mg Niacin
        Niacin Equivalents
                Equivalents (NE)
                            (NE) per
                                 per 100g
                                      lOOg milk,"
                                            milk," while
                                                    while niacin
                                                           niacin contributes
                                                                   contributes only
                                                                                only around
                                                                                      around


 0.1 milligram
 0.1 milligram per  100 grams
                per 100          milk. P.F.
                        grams of milk. P.F. Fox
                                            Fox &
                                                & P.L.H.
                                                   P.L.H. McSweeney,
                                                          McSweeney, Dairy
                                                                     Daity Chemistiy
                                                                           Chemistry and
                                                                                     and


 Biochemistry,
 Biochemistry, at 280 (1998) (("Fox
                               "Fox &
                                    & McSweeney
                                      McSweeney 1998")
                                                1998 ")(CDXDE_000165981).
                                                        (CDXDE_000165981). Since
                                                                           Since one
                                                                                 one NE
                                                                                     NE isis

 either 11milligram
          milligram niacin
                    niacin or              tryptophan, a
                           or 60 milligram tryptophan,                                  &
                                                       a POSA would have known from Fox &

           1998 that there are about 420 milligrams of
 McSweeney 1998                                     of tryptophan
                                                       tryptophan in
                                                                   in just
                                                                      just 100
                                                                           100 grams
                                                                               grams of
                                                                                     ofmilk.
                                                                                        milk. Fox
                                                                                              Fox

             1998 (CDXDE_000165981)
 & McSweeney 1998 (CDXDE_000165981) at
                                    at 280.
                                       280.


                88.
                88.     Contrary to Dr.
                                    Dr. Adams' assertion,
                                               assertion, Trammell
                                                          Trammell IIdoes
                                                                     does not demonstrate that the


       amounts of NR in milk (-1.1
 trace amounts               (1.1 mg
                                   mg NR
                                      NRper
                                         perliter
                                             litermilk)
                                                  milk) are
                                                         aresufficient
                                                             sufficient to
                                                                         to affect
                                                                             affectNAD+
                                                                                   NAD levels.
                                                                                        levels.


 Indeed, Elysium's expert from the IPR related to
                                               to the
                                                  the '086 Patent, Dr. Joseph Baur,
                                                                              Baur, confirmed
                                                                                    confirmed that
                                                                                              that

 Trammell IIdoes not and
                     and cannot
                         cannot show
                                show an
                                     an increase
                                         increase in
                                                   inNAD+
                                                     NAD biosynthesis
                                                          biosynthesis from
                                                                       from the
                                                                             the trace
                                                                                  trace amounts
                                                                                        amounts


 of NR in milk.
 of       milk. See
                See also Baur Dep. Tr. (Elysium's
                                       (Elysium's expert),
                                                  expert), IPR2017-
                                                            IPR2017-01795,
                                                                    01795, Exhibit 2003, at 15:3-
                                                                                            15:3-

  10 (PTAB
  10 (PTAB Apr.           (not possible
           Apr. 26, 2018) (not possible to
                                         to prove
                                            prove that
                                                   that NR
                                                        NRin
                                                           inmilk
                                                             milkincreases
                                                                  increasesNAD+
                                                                           NAD biosynthesis);
                                                                                biosynthesis);


               (Elysium's expert),
 Baur Dep. Tr. (Elysium's  expert),IPR2017-
                                    IPR20 17-01795, Exhibit 2003,
                                             01795, Exhibit 2003, at
                                                                  at 46:22
                                                                     46:22-47:12   (ifaachild
                                                                           -47:12 (if   child drinks
                                                                                              drinks


 milk,          no proof
 milk, "there's no proof that
                          that the
                                the milk
                                    milk drunk
                                         drunk by
                                               by that
                                                   that child
                                                         child was
                                                               was used
                                                                    used to
                                                                          to synthesize
                                                                              synthesize NAD.
                                                                                         NAD.").
                                                                                              "). For



 example, Trammell IIincludes
 example,            includes no
                              no experiments
                                  experiments demonstrating
                                              demonstrating an
                                                            an increase
                                                                increase in
                                                                          inNAD+
                                                                            NAD biosynthesis
                                                                                 biosynthesis




                                                 40
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     • The Asserted Claims are no more inventive than routine isolation steps.
                                                                        steps. Adams Opening


         Report ¶¶J166
                   166-69,  177.
                       -69, 177.

     • The
       The Asserted
           Asserted Claims
                    Claims are
                           are no more
                                  more inventive
                                        inventive than
                                                  than the
                                                       the simple
                                                            simple practice
                                                                   practice of
                                                                            of drinking
                                                                               drinking milk.
                                                                                        milk.


                               ¶11 170
         Adams Opening Report, ¶¶  170-72,  177.
                                       -72, 177.

 For the reasons discussed below, IIdisagree.

                 141.
                 141.   IIam not
                             not aalawyer,
                                    lawyer, but
                                            but IIunderstand
                                                   understand from
                                                               from counsel
                                                                    counsel that certain
                                                                                 certain things
                                                                                         things are


 unpatentable.
 unpatentable. Specifically,
               Specifically,II understand
                                understandpatents
                                           patentsthat
                                                   thatdo
                                                        dono
                                                           no more
                                                              more than
                                                                   than claim
                                                                        claim laws
                                                                              laws of
                                                                                   of nature
                                                                                      nature or
                                                                                             or

 natural phenomena themselves are not valid. However, IIfurther understand that this should
                                                                                     should not be


                                                                          are constrained
 confused with the recognition that, by necessity, all claimed inventions are constrained by
                                                                                          by the
                                                                                             the laws
                                                                                                 laws


 of the natural world and at some level embody and incorporate them. Therefore, to the extent that

                       claims that in part
 an invention involves claims         part rely on an underlying
                                                      underlying law
                                                                 law of nature,
                                                                        nature, this
                                                                                this does
                                                                                     does not
                                                                                          not render
                                                                                              render

 aaclaim ineligible.

                 142.
                 142.   The Asserted Claims are directed to compositions that include
                                                                              include isolated
                                                                                      isolated NR
                                                                                               NR


                                     in nature,
 in quantities far beyond that found in nature, formulated
                                                formulated for
                                                            for oral
                                                                oral administration
                                                                     administration to
                                                                                     to increase
                                                                                         increase NAD+
                                                                                                  NAD


 biosynthesis with a
                   asurety and in an
                                  an amount
                                     amount far
                                            far beyond
                                                beyond that
                                                       that which
                                                            which can
                                                                  can be
                                                                      be achieved
                                                                         achieved from
                                                                                  from naturally
                                                                                       naturally

 occurring NR,
 occurring     such as by consumption
           NR, such       consumption of natural sources
                                                 sources like milk.
                                                              milk. These claims
                                                                          claims rely on
                                                                                      on the
                                                                                          the

 underlying scientific
 underlying scientific fact   discovered by
                        fact -discovered by Dr. Brenner -that
                                            Dr. Brenner   that NR
                                                               NR utilizes
                                                                   utilizes aavitamin
                                                                               vitamin pathway
                                                                                       pathway in
                                                                                                in


 humans to increase
           increase the
                    the bioavailability
                        bioavailability of
                                        ofNAD
                                           NAD,
                                              +, a
                                                 a fact
                                                   fact that
                                                        that has
                                                             has many
                                                                 many therapeutic implications and
                                                                                               and


 uses. The
 uses. The Asserted
           Asserted Claims
                    Claims do not
                              not merely
                                  merely claim
                                         claim this
                                                this underlying
                                                      underlying fact,
                                                                  fact, however,
                                                                        however, but
                                                                                 but rather
                                                                                      rather are
                                                                                              are

                          of this knowledge in order to create compositions that facilitate therapeutic
 directed to applications of

                     simply found
 uses beyond what is simply found in
                                  in nature.
                                     nature. As
                                             As such,
                                                 such, the
                                                        the Asserted
                                                            Asserted Claims
                                                                     Claims are
                                                                             are directed
                                                                                  directed toward
                                                                                            toward


 patentable subject matter.




                                                  61
                                                  61
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                                 Trammel! IIis
 actually "significant." Rather, Trammell    is merely
                                                merely reporting
                                                        reporting that
                                                                   that of
                                                                         ofthe
                                                                            thetotal
                                                                                totalamount
                                                                                      amountof
                                                                                             ofNAD+
                                                                                                NAD

 precursors
 precursors as
            as aawhole, NR represents
                           represents about 40% of
                                                of that
                                                   that amount.
                                                        amount. Similarly,
                                                                Similarly, Trammell's quoted
                                                                                      quoted


 statement that
 statement that NR is "a major
                         major component
                               component of
                                         of the
                                            the NAD+
                                                NAD+ precursor
                                                     precursor vitamin
                                                               vitamin concentration
                                                                       concentration in cow
                                                                                        cow


                            of NR relative to the small amounts of
 milk" refers to the amount of                                  of other NAD+ precursors present.


 Adams Opening Report, ¶¶150.
                         150.

                 152.
                 152.   A review
                        A  review of the
                                      the NR
                                          NR levels
                                              levels in
                                                      in milk
                                                         milk cited
                                                               cited by
                                                                      by Trammell
                                                                          Trammel! II (4.3
                                                                                      (4.3 ±+
 2.6 micromoles of
                of NR per liter) makes clear that the NR present in an
                                                                    an 88oz.
                                                                         oz. serving
                                                                             serving of
                                                                                     of milk
                                                                                        milk is
                                                                                              is not
                                                                                                 not


 aa"significant"
   "significant" amount.
                 amount. Indeed,
                         Indeed, the
                                 the presence
                                     presence of NR in milk
                                                       milk is
                                                             is miniscule
                                                                miniscule in
                                                                           in comparison
                                                                               comparison to
                                                                                          to the
                                                                                              the

 amount found
 amount found in NR
                 NR dietary
                     dietary supplements
                              supplements like
                                          like Elysium's
                                               Elysium's Basis
                                                         Basis product,
                                                                product, which
                                                                         which infringes
                                                                                infringes the
                                                                                           the


                                           liter, 11liter
 Asserted Claims. At 4.3 micromoles NR per liter,   liter of
                                                          of milk according to
                                                                            to Trammell
                                                                               Trammell IIcontains
                                                                                          contains

               1.1 milligrams NR
 approximately 1.1               (= (4.3
                              NR (=  (4.3 µmol
                                          i.xmol NR
                                                 NR**0.00025525
                                                      0.00025525gg/mol)      1000 mg
                                                                  /µmol) ** 1000  mg/g).
                                                                                     /g). At such

 aaconcentration,
   concentration, to receive the same amount of
                                             of NR as
                                                   as Elysium's
                                                      Elysium' s recommended serving
                                                                recommended   serving of
                                                                                      ofBasis
                                                                                         Basis


 (2 capsules
 (2 capsules totaling
              totaling250
                       250mg
                          mg of
                             of NR),
                                NR), one
                                     one would
                                         would have
                                               have to drink just over
                                                    to drink      over 60
                                                                       60 gallons
                                                                           gallons of
                                                                                   of milk
                                                                                      milk


 (= (250 mg
 (=      mg/(1.1
            /(1.1 mg/L)
                  mg /L)**(1(1gallon
                               gallon/
                                     / 3.785
                                       3.785 L))).
                                              L))). That
                                                    That isis 960
                                                              960 8-oz.
                                                                  8 -oz.servings
                                                                         servingsof
                                                                                  ofmilk.
                                                                                     milk. A
                                                                                           A composition
                                                                                             composition

 formulated according
 formulated according to
                      to the
                         the Asserted
                             Asserted Claims
                                      Claims is                   suggests, anything close to aa
                                             is not, as Dr. Adams suggests,

 composition found in nature.

                 153.
                 153.   A liter of
                                of milk weighs just over 11kilogram, or
                                                                     or 1,030,000
                                                                        1,030,000 milligrams.
                                                                                  milligrams. Thus,
                                                                                              Thus,


 NR is present
 NR is  present in
                 in milk
                     milk atata a concentration ofofapproximately
                                concentration         approximately 0.0000107%
                                                                     0.0000107% w/w (1.1 mg
                                                                                w/w (1.1 mg           -


  1,030,000 mg).
  1,030,000 mg). The
                 The NR
                     NR in
                        in milk
                           milk is therefore 255,000
                                is therefore 255,000 times less concentrated
                                                     times less concentrated than
                                                                             than the 25%
                                                                                      25% w/w

                         for isolated
 suggested in the patent for isolated polypeptides.
                                      polypeptides.


                 154.
                 154.   Dr. Adams cites
                        Dr. Adams  cites      to  ChromaDex documents
                                              to ChromaDex  documents and
                                                                      and statements
                                                                           statements from
                                                                                       from


 Dr. Brenner to establish
                establish that
                          that NR
                               NR may
                                  may be found
                                         found in
                                               in milk.
                                                  milk. Adams Opening
                                                              Opening Report, 11 156
                                                                      Report, ¶¶  156-57. While
                                                                                     -57. While

 I                               found in milk (in
 I do not dispute that NR may be found         (in miniscule
                                                   miniscule amounts), this does not support Dr.




                                                   65
                                                   65
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 Adams' conclusion that
 Adams' conclusion      "claim 11 is
                   that "claim    is directed
                                     directed to
                                               to the
                                                   thenaturally-
                                                       naturally-occurring
                                                                 occurring vitamins
                                                                           vitamins NR and
                                                                                    NR and

 nicotinamide, as
 nicotinamide, as they are
                       are found
                           found in natural
                                    natural compositions
                                            compositions like
                                                         like cow's
                                                              cow's milk and breast milk." Adams

                 ¶156. Dr.
 Opening Report, 11156. Dr.Brenner's
                            Brenner's claimed
                                      claimed inventions
                                              inventions apply
                                                         apply the
                                                               the discovery
                                                                   discovery of the NR vitamin

 pathway    humans to
 pathway in humans  to claimed
                        claimed compositions
                                 compositions formulated
                                               formulated for
                                                           for oral
                                                                oraladministration
                                                                     administration comprising
                                                                                     comprising


 isolated NR to achieve therapeutic
                        therapeutic effects
                                    effects beyond
                                            beyond that capable in nature alone.
                                                   that capable           alone. He explains this


 distinction himself
             himself in his deposition, as well as why milk is referenced in his studies:
                                                                                 studies:


        Q. How much nicotinamide riboside is in milk?
        Q.

            QU1NA: Objection to
        MR. QUINA:           to form.
                                form.

        A. Trace
        A. Trace amounts.
                 amounts. So
                          So there's,
                             there's, you
                                      you know,
                                          know, five micromolar
                                                     micromolar -- on order
                                                                      order of
                                                                            of five
                                                                            --  five
        micromolar nicotinamide riboside in cow's milk.


        Q. And you characterize that as trace; am IIright?
        Q.

        A. Oh, yeah.
        A.     yeah. So we
                        we would
                           would be
                                 be -- you'd
                                       you'd have
                                           --have to
                                                   to consume,
                                                       consume, IIthink,
                                                                   think, hundreds
                                                                          hundreds of
        thousands of servings of milk to get an effective amount of nicotinamide
                                                                    nicotinamide riboside.
                                                                                 riboside.
        Obviously the
        Obviously the invention
                      invention referred
                                referred to
                                         to effective
                                            effective doses
                                                      doses in order to
                                                            in order to increase
                                                                         increase NAD
                                                                                  NAD
        metabolism through the NR kinase pathway. So that's that's why we
                                                                        we talked
                                                                            talked about
                                                                                    about isolated
                                                                                          isolated
        nicotinamide riboside and its activity.
                                      activity.  We     the
                                                     -- the
                                                       --   milk  business
                                                                   business came from using our
                                                                            came   from using  our
                   of the NR kinase pathway to
        discovery of                            to assay
                                                   assay things
                                                          things for
                                                                  for milk
                                                                      milk and
                                                                           and to
                                                                                to be,
                                                                                   be, you
                                                                                       you know,
                                                                                            know,
                        of determining
        an initial way of  determining whether something
                                                   something is               doesn't make milk
                                                               is in milk. It doesn't
        equivalent to nicotinamide riboside.

        Q. Is the nicotinamide riboside that's in
        Q.                                     in milk or buttermilk or skim milk isolated?

            QU1NA: Objection.
        MR. QUINA:

        A. It is certainly not isolated.

 Brenner Dep.
 Brenner      Tr. at 330:11-
         Dep. Tr.    330:11-331:14
                             331:14 (Dec.
                                    (Dec. 21,
                                          21, 2020). Thus, while
                                              2020). Thus, while the Asserted Claims
                                                                              Claims may be

 necessarily supported
 necessarily supported by
                       by the underlying natural
                          the underlying         science, they are appropriately directed beyond
                                         natural science,

 this to innovative applications made possible by Dr. Brenner's discoveries.
                                                  Dr. Brenner's discoveries.


                155.
                155.    Dr. Adams cites
                        Dr. Adams cites to
                                        to two
                                            two court
                                                 court opinions,
                                                       opinions, Funk
                                                                 Funk Brothers and Natural
                                                                      Brother and  Natural

 Alternatives, to support
                  support his
                          his position. Adams
                                        Adams Opening
                                              Opening Report, ¶J 159
                                                      Report, ¶¶  159-62.
                                                                     -62. IIam
                                                                            am not
                                                                               not aalawyer,
                                                                                      lawyer, but
                                                                                              but II


 have been informed
 have      informed about
                    about the technology
                              technology at issue in both
                                                     both cases
                                                          cases and
                                                                and propositions
                                                                    propositions for
                                                                                 for which
                                                                                     which the
                                                                                           the


                                                   66
                                                   66
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                                        ATTORNEY'S EYES
                                                   EYES ONLY
                                                    -   ONLY


       stand. It is my opinion
 cases stand.          opinion that
                               that the
                                     the technology
                                          technology at
                                                     at issue
                                                         issue in
                                                                in the
                                                                    the Natural
                                                                        NaturalAlternatives
                                                                                Alternatives decision
                                                                                              decision is
                                                                                                        is

 much more         to the inventions
      more similar to     inventions claimed
                                     claimed in the Asserted Patents
                                                             Patents than
                                                                     than in the Funk Brothers

 decision. Similarly,
 decision. Similarly, as
                      as discussed
                         discussed further
                                   further below,
                                           below, the
                                                  the propositions
                                                      propositions from
                                                                   from the
                                                                        the Funk
                                                                            Funk Brothers
                                                                                 Brothers case
                                                                                          case do
                                                                                               do

 not seem applicable here. Applying this information, itit is
                                                           is my opinion
                                                                 opinion that
                                                                         that the
                                                                              the Asserted Claims
                                                                                           Claims are
                                                                                                  are


                        subject matter.
 directed to patentable subject

                 156.
                 156.    It is
                            is my
                               my opinion
                                  opinion that
                                          that the
                                               the technology
                                                    technology at issue in Funk Brothers was very


 different from
 different          Asserted Patents.
           from the Asserted Patents. The
                                      The patentee
                                          patentee in Funk Brothers had discovered
                                                                        discovered that mixing


 certain strains of
                 of bacteria maintained
                             maintained each strain's individual
                                                      individual inoculation effect on different plant

 species without
 species without inhibiting
                 inhibiting the
                            the effects
                                effects of the others. The inventor received
                                           the others.              received a
                                                                             a patent      claims
                                                                               patent with claims

                bacteria combinations,
 covering these bacteria combinations, and
                                       and aacourt
                                             court later
                                                   later determined
                                                         determined that
                                                                    that the
                                                                         the claims
                                                                             claims were
                                                                                    were not
                                                                                         not directed
                                                                                             directed

 to patentable subject matter.


                 157.
                 157.    I                               claims were deemed
                         I have been informed that these claims      deemed invalid
                                                                             invalid because
                                                                                     because they
                                                                                              they


                    the underlying
 attempted to claim the underlying natural,
                                   natural, non
                                            non-inhibitory
                                                -inhibitory properties of
                                                                       of the bacteria combinations,
                                                                                       combinations,

 rather than the additional efforts of
                                    of the inventor
                                            inventor in
                                                      in utilizing
                                                         utilizing that
                                                                    that knowledge
                                                                         knowledge to
                                                                                    to claim
                                                                                        claim something
                                                                                               something


 beyond
 beyond how              already acted in nature.
        how the bacteria already          nature. Dr.
                                                  Dr. Adams
                                                      Adams argues
                                                            argues that
                                                                   that this
                                                                         this bacteria
                                                                              bacteria mixture
                                                                                       mixture


                        to the Asserted
 invention is analogous to     Asserted Claims
                                        Claims because
                                               because "[t]hey
                                                       "[t]heydo
                                                               do not
                                                                  not require
                                                                      require the
                                                                               the NR
                                                                                   NRto
                                                                                      to do
                                                                                         do anything
                                                                                            anything

                                                  already does
 different in the claimed composition than the NR already does in
                                                                in natural
                                                                   natural milk."
                                                                           milk." Adams
                                                                                  Adams Opening
                                                                                        Opening


 Report, ¶
 Report,   160. I
         11160. I disagree.
                   disagree. This
                             This conclusion
                                  conclusion isis again
                                                  again premised
                                                        premised on
                                                                 on the
                                                                    the false
                                                                        false proposition
                                                                              proposition that
                                                                                          that the
                                                                                               the NR
                                                                                                   NR

 in milk has the same
                 same therapeutic benefit
                                  benefit as
                                          as the "isolated NR" in
                                                               in the
                                                                  the Asserted
                                                                      Asserted Claims.
                                                                               Claims. As IIhave
                                                                                            have

 already noted,
 already noted, the  '807 and
                the '807   and '086
                                '086Patents
                                     Patentsmake
                                             makeclear
                                                  clearthat
                                                        thatthe
                                                              theclaimed
                                                                   claimedcompositions
                                                                           compositions contain
                                                                                         contain


 therapeutic
 therapeutic concentrations
             concentrationsofofNR
                                NRbeyond
                                   beyondthat
                                          that found
                                               found in nature. IIbelieve
                                                     in nature.   believe aaPOSA
                                                                             POSA would
                                                                                   would


                                                                    such as
 immediately recognize that this is distinct from natural compounds such as milk.
                                                                            milk. As
                                                                                  As such,
                                                                                     such, it
                                                                                            it does
                                                                                               does




                                                    67
                                                    67
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 not appear to me that the technology or lessons
                                         lessons from
                                                 from Funk
                                                      Funk Brothers
                                                           Brothers are
                                                                    are applicable
                                                                        applicable to
                                                                                   to the
                                                                                      the Asserted
                                                                                          Asserted

 Claims.

                 158.
                 158.     By contrast, the technology and takeaways
                                                          takeaways from
                                                                    from the
                                                                         the Natural
                                                                             Natural Alternatives
                                                                                     Alternatives


      discussed by Dr. Adams seem
 case discussed              seem much more applicable
                                            applicable here. IIunderstand
                                                               understand that the
                                                                               the claims
                                                                                   claims at
                                                                                          at


 issue in
 issue  in the
            theNatural
                NaturalAlternatives
                        Alternatives case
                                      casecovered
                                            coveredcompositions
                                                     compositions containing
                                                                   containing beta
                                                                               beta-alanine
                                                                                   -alanine in
 concentrations greater
 concentrations greater than that found in nature. IIhave
                                                     have been
                                                          been informed
                                                                informed that
                                                                         that the
                                                                               the court
                                                                                   court determined
                                                                                         determined


                               eligible because
 that these claims were patent eligible because the claimed
                                                    claimed compositions
                                                            compositions were distinct from the


 underlying natural compounds, as they had the potential for significant utility to be used in ways
                                                                                               ways

      beta-alanine
 that beta -alanine appearing
                    appearing in
                              in nature
                                 nature cannot.
                                        cannot. This
                                                This is very similar to the Asserted Claims.
                                                                                     Claims. Just
                                                                                             Just like
                                                                                                   like


 the Natural                     claims, the Asserted Claims
     Natural Alternatives patent claims,              Claims here
                                                             here are
                                                                  are not
                                                                      not directed
                                                                          directed to
                                                                                    to NR
                                                                                       NR itself,
                                                                                           itself, but
                                                                                                   but

 rather    compositions containing
 rather to compositions containing isolated
                                   isolated NR
                                            NR that             therapeutic effects
                                               that can deliver therapeutic effects that
                                                                                    that are
                                                                                         are not

 possible from simply ingesting naturally occurring compounds containing NR.


                 159.
                 159.     Dr.                       Natural Alternatives
                          Dr. Adams argues that the Natural Alternatives technology
                                                                         technology and
                                                                                    and principles
                                                                                        principles

                                     court, in
 are not applicable here because the court, in defining
                                               defining the
                                                        the language
                                                             language used
                                                                      used in
                                                                            in the
                                                                                the claims,
                                                                                     claims, explicitly
                                                                                              explicitly


 recognized
 recognized that     high doses
            that the high  doses ofofbeta
                                      beta-alanine  increased athletic
                                          -alanine increased   athletic performance
                                                                        performance to provide
                                                                                        provide


 "significant utility   ... in aaway
                        ...      way that
                                      thatnaturally-
                                           naturally-occurring beta-alanine
                                                     occurring beta -alanine cannot."       Opening
                                                                             cannot." Adams Opening

 Report, ¶¶161
           161 (quoting Natural
                        Natural Alts. Int'l, Inc.
                                             Inc. v.
                                                  v. Creative
                                                     Creative Compounds,
                                                              Compounds, LLC,
                                                                         LLC, 918 F.3d 1338,
                                                                                       1338, 1346
                                                                                             1346


 (Fed. Cir.
 (Fed. Cir. 2019)).
            2019)). But,
                    But, again,
                         again, Dr.
                                Dr. Adams' argument
                                           argument is predicated
                                                       predicated on the false assertion
                                                                     the false assertion that
                                                                                         that "the
                                                                                              "the

 claimed compositions
 claimed compositions here do not require
                      here do     require any
                                          any increase
                                               increase in
                                                         in performance
                                                            performance that
                                                                         that differentiates
                                                                              differentiates them
                                                                                              them

 from naturally-
 from naturally-occurring
                 occurringcompositions
                           compositionsthat
                                        thatinclude
                                             includeNR
                                                    NR and nicotinamide." Adams
                                                       and nicotinamide." Adams Opening
                                                                                Opening


 Report, ¶
 Report,   162. As
         ¶ 162. As II have explained
                    have    explained above,
                                       above, this
                                               this isisincorrect.
                                                          incorrect. Like
                                                                      Like the
                                                                            theNatural
                                                                                NaturalAlternatives
                                                                                        Alternatives


 technology, the Asserted Claims claim compositions
                                       compositions containing
                                                    containing an isolated
                                                                  isolated substance
                                                                           substance (here,
                                                                                     (here, NR)
                                                                                            NR)

 beyond that found in nature to provide utility in a
                                                   a way
                                                     way naturally
                                                         naturally occurring
                                                                   occurring NR
                                                                             NR cannot.
                                                                                cannot. As
                                                                                        As I
                                                                                           I discuss
                                                                                             discuss



                                                   68
                                                   68
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 above, Elysium's Basis
 above,           Basis product shows the claimed
                                          claimed invention in action,
                                                               action, with aasingle
                                                                               single suggested
                                                                                       suggested

                              ingestion of
 dose of Basis requiring the ingestion  of approximately
                                           approximately 960
                                                         960 88-oz
                                                               -oz servings
                                                                   servings of milk to achieve the

 same
 same benefits.
      benefits. Incidentally,
                Incidentally, Dr.
                              Dr. Adams
                                  Adams acknowledges
                                        acknowledges that
                                                     that the
                                                          the court
                                                              court in the Natural
                                                                           Natural Alternatives
                                                                                   Alternatives


                      similar properties,
 case identified very similar properties, with
                                          with the
                                                the amount
                                                     amount of
                                                             ofbeta
                                                               beta-alanine         claimed technology
                                                                    -alanine in the claimed technology


                     109 Big Macs per day."
 equating to "eating 109              day." Adams
                                            Adams Opening
                                                  Opening Report, ¶161 n.
                                                          Report, 11161   170 (citing
                                                                        n.170 (citing Natural
                                                                                      Natural

 Alts. Int'l,
 Alts.        Inc., 918
       Intl, Inc.,   918 F.3d
                         F.3d at
                               at 1346).
                                   1346). Applying
                                          Applying the
                                                    the same
                                                         same principles,
                                                              principles, the
                                                                           the Asserted
                                                                               Asserted Claims
                                                                                        Claims therefore


 should
 should be
        be similarly
           similarly patent
                     patent eligible,
                            eligible, as
                                       as they
                                          they have
                                               have significant
                                                    significantutility
                                                                utilitytoto be
                                                                            be used
                                                                               used in
                                                                                    in ways
                                                                                       ways that
                                                                                            that NR
                                                                                                 NR

 appearing in nature cannot.

                 160.
                 160.     Dr. Adams argues
                          Dr. Adams argues that the recitation
                                           that the recitation in the claims
                                                               in the claims of "isolated
                                                                                "isolated NR" is
                                                                                          NR" is

 immaterial and
 immaterial and makes
                makes the compositions of
                      the compositions    the Asserted
                                       of the Asserted Claims
                                                       Claims no different
                                                                 different than
                                                                            than natural
                                                                                  natural

 compositions containing
 compositions containingNR.
                         NR. Adams
                             Adams Opening Report,¶
                                   OpeningReport, ¶ 163.
                                                    163. I
                                                         I note      Dr. Adams'
                                                           note that Dr. Adams' applied
                                                                                 applied


 interpretation, wherein
 interpretation, wherein skim
                         skim milk may be considered to practice the Asserted
                                                                     Asserted Claims
                                                                              Claims for
                                                                                     for having
                                                                                         having


 had milkfat removed as aaway of
                              of "isolating" NR, ignores
                                                 ignores the disclosures
                                                             disclosures of
                                                                         of the
                                                                            the Asserted
                                                                                Asserted Patents
                                                                                         Patents


 and incorporates an understanding of
                                   of "isolated" that was previously rejected.


                 161.
                 161.     Specifically,
                          Specifically, I
                                        I understand
                                          understand that
                                                     that Elysium
                                                          Elysium made
                                                                  madethe
                                                                       thesame
                                                                           sameargument   that skim
                                                                                argument -that

 milk contains isolated NR   beforethe
                        NR- before  thePatent
                                        PatentTrial
                                               Trialand
                                                     andAppeal
                                                         AppealBoard
                                                                Board( ("the Board")
                                                                       "the Board       an inter
                                                                                  ") in an  inter

 partes review.' As
 partes review.8 As was
                    was pointed
                        pointed out
                                out by
                                    by the
                                       the Board,
                                           Board, this
                                                  this understanding
                                                       understanding is
                                                                     is overly
                                                                        overly broad
                                                                               broad and
                                                                                     and ignores
                                                                                         ignores

 the clear scientific teachings of
                                of the patent. Though the Board included a
                                                                         adefinition of
                                                                                     of isolated NR




 8 I have
 8   have been
          been informed
               informed that
                         that an
                              an inter
                                  inter partes
                                        partes review
                                               review isis a
                                                           a trial
                                                              trial proceeding
                                                                    proceeding conducted
                                                                                conducted before
                                                                                           before the
                                                                                                   the United
                                                                                                       United
 States
 States Patent
        Patent Office,
               Office, wherein
                       wherein a a challenger may submit
                                                    submit a    a petition
                                                                  petition arguing that certain patent claims
                                                                                                        claims
                                           owner submit
 are invalid. The challenger and patent owner     submit their arguments
                                                                   arguments to
                                                                              to the
                                                                                 the Board, and
                                                                                             and then
                                                                                                 then aapanel
                                                                                                         panel
 of Administrative Patent Judges write a
 of                                        adecision either canceling or maintaining the   the patent claims.
                                                                                                       claims.
 IInote that this decision
                   decision was
                            was handed
                                 handed down
                                          down byby the
                                                     the Board
                                                          Board inin relation
                                                                     relation toto the
                                                                                   the '086   Patent. But,
                                                                                       '086 Patent.    But, as
                                                                                                            as
  Dr. Adams acknowledges, Adams Opening Report, ¶¶       ¶IJ 173
                                                             173-74,
                                                                 -74, the analysis on this
                                                                                         this issue is
                                                                                                    is largely
                                                                      understanding of "isolated NR" in
  the same with respect to both patents, given that the relevant understanding
           Patent and
  the '807 Patent and NR that "is
                               "is isolated"
                                   isolated" in the '086
                                                     '086 Patent
                                                           Patent are
                                                                   are similar.
                                                                       similar.


                                                      69
                                                      69
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 that incorporated a
                   a25% (w
                        (w/w)
                           /w) NR
                               NR standard,
                                  standard, they
                                            they explained
                                                 explained that
                                                           that the
                                                                the broadening
                                                                    broadening of the Asserted

 Claims to natural products like milk was improper even without that specific quantitative standard.

 Elysium
 Elysium Health,
         Health, Inc. v. Trustees of
                 Inc. v.          of Dartmouth College, IPR2017-
                                     Dartmouth College, IPR2017-01795,
                                                                 01795,Paper
                                                                       Paper 39
                                                                             39 at
                                                                                at 27
                                                                                   27 (PTAB
                                                                                      (PTAB

      16, 2019). The Asserted Patents clearly explain that if, for example,
 Jan. 16,                                                          example, the NR in
                                                                                   in the
                                                                                       the claimed
                                                                                           claimed


 composition were to be isolated from aanatural source,
                                                source, the
                                                        the isolation
                                                            isolation process is
                                                                               is meant
                                                                                  meant to
                                                                                         to facilitate
                                                                                             facilitate

 the creation of a composition with
                 a composition with properties
                                    properties beyond
                                               beyond that
                                                       that found
                                                            foundin
                                                                  in nature.
                                                                      nature.See
                                                                              See'086
                                                                                  '086 Patent,
                                                                                        Patent,27:4-
                                                                                               27:4-

 8
 8 (("For
     "For example,
          example, the
                   the natural
                       natural source
                               source can    ground or
                                      can be ground or homogenized
                                                        homogenized in
                                                                    in aabuffered
                                                                          buffered solution,
                                                                                    solution,


 centrifuged to
 centrifuged     remove cellular
             to remove   cellular debris,
                                  debris, and
                                          and fractionated
                                               fractionated to
                                                             to remove
                                                                 remove salts, carbohydrates,

 polypeptides,
 polypeptides, nucleic acids, fats and the
               nucleic acids,          the like
                                            like").
                                                 "). The
                                                     The Asserted
                                                         Asserted Patents
                                                                  Patents make                claims
                                                                          make clear that the claims

 are directed to NR isolated in such a
                                     a way
                                       way to
                                           to take
                                              take advantage
                                                   advantage of
                                                             of the
                                                                 the discovered
                                                                     discovered therapeutic
                                                                                therapeutic properties
                                                                                            properties

 and administer
 and administer amounts
                amounts of NR greater
                              greater than that
                                            that possible
                                                 possible from
                                                           from drinking
                                                                drinking milk.
                                                                         milk. Thus,
                                                                               Thus, properly
                                                                                     properly


 understood, in my opinion the Asserted Claims are directed to patentable subject matter.
                                                                                  matter.

                        C)
                        c)           Two: The Asserted Claims Contain an Inventive
                                Step Two:                                Inventive Concept
                                                                                   Concept

                 162.
                 162.   I
                        I have been informed that if, in the first step, it is determined that the patent

                                   ineligible subject
 claims are not directed to patent ineligible subject matter, the
                                                              the analysis
                                                                  analysis ends
                                                                           ends there
                                                                                 there and
                                                                                       and the
                                                                                            the patents
                                                                                                patents


         invalid. In step
 are not invalid.    step two,
                           two, the
                                 the analysis
                                      analysis next
                                               next considers
                                                     considers whether or not
                                                                          not there
                                                                               there is
                                                                                      is an
                                                                                          an "inventive
                                                                                              "inventive

                              claim into
 concept" that transforms the claim into aapatent
                                           patent eligible
                                                  eligible application.
                                                           application. Though
                                                                        Though itit is
                                                                                     is my
                                                                                        my opinion
                                                                                           opinion that
                                                                                                    that


 the patents are directed to patentable
                             patentable subject matter in step
                                                          step one,
                                                               one, I
                                                                    I respond
                                                                      respond to
                                                                              to Dr.
                                                                                 Dr. Adams'
                                                                                     Adams' arguments

             of the analysis as
 on step two of              as well.

                 163.
                 163.   In his report, Dr. Adams argues that the Asserted Claims do not involve
                                                                                        involve an
                                                                                                an


                         specifically:
 inventive concept, more specifically:

         • "Isolated
           "Isolated NR"  is the
                     NR" is  the product
                                 product of
                                         of no
                                             nomore
                                                morethan
                                                      thanwell-
                                                           well-understood,  routine, and
                                                                understood, routine,   and


                                         Opening Report,
            conventional activity. Adams Opening         ¶IJ 166
                                                 Report, ¶¶   166-69.
                                                                 -69.



                                                   70
                                                   70
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         • The Asserted Claims
                        Claims are
                               are no
                                   no different
                                      different than
                                                 than drinking
                                                       drinking milk,
                                                                milk,which
                                                                      whichisisaawell-understood,
                                                                                well- understood,

                                       activity. Adams
             routine, and conventional activity. Adams Opening
                                                       Opening Report, 11 170
                                                               Report, ¶¶  170-72.
                                                                              -72.

 For the reasons discussed below, IIdisagree.

                 164.
                 164.    First, Dr.
                                Dr. Adams
                                    Adams argues
                                          argues that
                                                 that "each
                                                      "each element
                                                            element recited
                                                                    recited in
                                                                            in the
                                                                               the claims
                                                                                   claims of
                                                                                          of the
                                                                                             the '807
                                                                                                 '807

 patent is found in whole milk,
                          milk, except for the
                                           the requirement
                                               requirement that the
                                                                the NR
                                                                    NR in
                                                                       in the
                                                                          the composition
                                                                              composition has
                                                                                          has been
                                                                                              been

  'isolated." Adams
  'isolated.'" Adams Opening Report, ¶¶
                     Opening Report,   167. Further,
                                       167. Further, he argues that the claims are not "limited to
                                                                                                to a
                                                                                                   a

 novel way of
           of isolating NR," and therefore
                                 therefore should
                                           should not
                                                  not be
                                                      be considered
                                                         considered an
                                                                    an inventive
                                                                        inventive concept.
                                                                                  concept. Adams
                                                                                           Adams


                 ¶168. But
 Opening Report, 11168. But Dr.
                            Dr. Adams'                             dismisses, specific
                                Adams' opinion only considers, and dismisses, specific isolation
                                                                                        isolation


 techniques as potential inventive
                         inventive concepts.
                                   concepts. This
                                             This does
                                                  does not
                                                       not properly
                                                           properly consider
                                                                    consider the
                                                                             the inventive
                                                                                 inventive concept
                                                                                           concept

 of the Asserted
        Asserted Claims.
                 Claims. It is
                            is not
                               not the
                                    the specific
                                         specific techniques
                                                   techniques of
                                                              of isolation
                                                                  isolation that
                                                                             that transform
                                                                                   transform the
                                                                                              the Asserted
                                                                                                  Asserted


 Claims beyond a
               alaw of
                    of nature or natural phenomenon - presuming
                                                      presuming for
                                                                 for this
                                                                      this step
                                                                            step two
                                                                                  two analysis
                                                                                       analysis the
                                                                                                 the


 Asserted Claims were directed to only these patent ineligible concepts in the
                                                                           the first instance.
                                                                                     instance. Rather,
                                                                                               Rather,

 the inventive concept is the pioneering decision to create aacomposition
                                                              composition comprising isolated NR


 formulated for oral
 formulated     oral administration.
                      administration. This
                                      This was
                                           was not
                                                notwell-
                                                    well-understood,  routine, and
                                                         understood, routine,   and conventional
                                                                                     conventional


 activity at the time of the
                         the invention;
                             invention; as
                                        as I
                                           I discuss
                                             discuss further
                                                     further in
                                                             in Section
                                                                Section VI,
                                                                        VI, ititwas
                                                                                wasnot
                                                                                    notuntil
                                                                                        untilDr.
                                                                                              Dr.Brenner'
                                                                                                  Brenner'ss

 work                  scientific community
 work in 2004 that the scientific community even became
                                                 became aware        importance of NR as
                                                        aware of the importance       as an
                                                                                         an


                          or what it
 orally available vitamin or      it would
                                     would do
                                           do in
                                               in the
                                                   the body.
                                                       body.

                 165.
                 165.    Dr. Adams also
                         Dr. Adams also relies on
                                               on the
                                                   the Myriad
                                                       Myriad decision
                                                              decision to
                                                                       to support
                                                                           support his
                                                                                   his argument.
                                                                                        argument.


 Adams Opening
 Adams         Report, ¶
       Opening Report,   169. Specifically,
                       ¶ 169. Specifically, he
                                            he argues
                                               argues that,
                                                      that, in
                                                            in the Myriad case, the court found

 that separating or isolating aagene from its surrounding         material was
                                              surrounding genetic material was not
                                                                               not an act of
                                                                                          of invention,

 so
 so therefore
    therefore isolating
              isolating NR
                        NR is
                           is not
                              not an
                                  an inventive
                                     inventive act.
                                               act. Adams
                                                    Adams Opening Report, ¶
                                                          Opening Report, ¶ 169
                                                                            169 (citing
                                                                                (citing Assn
                                                                                        Assnfor
                                                                                             for

 Molecular Pathology v.
                     v. Myriad Genetics,
                               Genetics, Inc., 569 U.S.      591 (2013)).
                                                   U.S. 576, 591 (2013)). 1
                                                                          Ia
                                                                           am not aalawyer, but

 IIhave been informed
             informed about
                      about the
                            the technology
                                technology at
                                           at issue
                                              issue in
                                                    in the
                                                       the Myriad
                                                           Myriad case
                                                                  case and
                                                                       and the
                                                                           the court's relevant
                                                                               court's relevant



                                                    71
                                                    71
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                                                         ONLY


                 215.                      experiment, Goldberger
                         In one particular experiment, Goldberger I reports an
                                                                  I reports    experiment using
                                                                            an experiment using a
                                                                                                a

 diet that included skim milk as aasupplement
                                   supplement to the
                                                  the basic
                                                      basic maize
                                                            maize diet
                                                                  diet used
                                                                       used in
                                                                             in the
                                                                                 the first
                                                                                      first experiment.
                                                                                             experiment.


 Goldberger II(ELY_DEL0000442) at 453
                                  453-54.
                                      -54. Of the five dogs tested, one dog developed "a well

 marked        of blacktongue"
 marked attack of blacktongue" thirty
                                thirty-seven
                                      -seven days
                                             days into the experiment,
                                                  into the experiment, and another
                                                                           another developed
                                                                                   developed


                            of an
 "slight transient evidence of an attack"
                                  attack" at
                                          at the
                                              the end
                                                  end of
                                                      ofone
                                                         one year.
                                                             year. Goldberger
                                                                   Goldberger II(ELY_DEL0000442)
                                                                               (ELY_DEL0000442)

        (p. 1404).
 at 454 (p. 1404). The
                   The remaining
                       remaining three
                                 three dogs
                                       dogs did
                                            did not
                                                not demonstrate
                                                    demonstrate evidence
                                                                evidence of
                                                                         ofblacktongue
                                                                            blacktongue during
                                                                                        during


                                months to
 test periods ranging from nine months to one
                                          one year.
                                              year. Goldberger
                                                    Goldberger II(ELY_DEL0000442)
                                                                  (ELY_DEL0000442) at 454.
                                                                                      454.


 Goldberger IIconcludes that skim milk contains the
                                                the blacktongue preventive, but only in
                                                                                     in "relatively

 small
 small amount."
       amount." Goldberger I
                           I (ELY_DEL0000442)
                             (ELY_DEL0000442) at 454,
                                                 454, 475.
                                                      475.

                 216.    Goldberger I
                         Goldberger   does not further
                                    I does     further describe
                                                       describe the character
                                                                    character or substance
                                                                                  substance of
                                                                                            of the
                                                                                                the

 blacktongue
 blacktongue preventive.
             preventive. Goldberger
                         Goldberger I
                                    I does
                                      does not
                                           not report     isolation of any
                                               report the isolation    any compound
                                                                            compound from
                                                                                     from the
                                                                                           the


                                  blacktongue preventive.
 tested foodstuffs, including the blacktongue preventive.


                 217.    Goldberger I
                         Goldberger         mentions NR.
                                    I never mentions       POSA reading
                                                     NR. A POSA reading Goldberger
                                                                        Goldberger IIwould
                                                                                     would


 obtain no understanding about NR, its properties, or effects.
                                                      effects. Moreover, as discussed in more
                                                                                         more detail
                                                                                              detail

 above in Section VI,
                  VI, in the
                         the years
                             years following
                                   following the
                                             the publication
                                                 publication of
                                                             of Dr.
                                                                Dr. Goldberger's
                                                                    Goldberger's work,
                                                                                 work, efforts
                                                                                       efforts were
                                                                                               were

 made to understand the
                    the component
                        component of
                                  ofmilk
                                     milk that
                                           that treated
                                                 treated pellagra
                                                         pellagra(and
                                                                  (and blacktongue),
                                                                       blacktongue),and
                                                                                     andby
                                                                                         bythe
                                                                                            themid
                                                                                               mid--

  1950s, it
  1950s,    was understood
         it was understood that
                           that it isis the
                                         the tryptophan
                                              tryptophan in
                                                          in milk
                                                             milkthat
                                                                  thatserved
                                                                       servedasasthe
                                                                                   the"anti-
                                                                                        "anti-pellagra"
                                                                                             pellagra"

 component. See
            See C
                C&E
                  &ENews
                    News 1952
                         1952 (CDXDE 000165909) at
                              (CDXDE_000165909) at 4947-4948.
                                                   4947 -4948. Milk
                                                               Milk contains
                                                                    contains far more

 tryptophan than
 tryptophan than niacin
                 niacin (or NR),
                            NR), and it is
                                        is widely
                                           widely accepted
                                                  accepted that milk treats
                                                                     treats pellagra
                                                                            pellagra by
                                                                                     by delivering
                                                                                        delivering

             See Ozturk (CDXDE_000166531)
 tryptophan. See        (CDXDE_000 166531) at 33
                                              33 (("Milk
                                                   "Milk and
                                                         and eggs,
                                                             eggs, which contain little niacin,

 are good pellagra-preventive
          pellagra -preventive foods
                               foods because
                                     because of their
                                                their high
                                                      high content
                                                           content of tryptophan.").
                                                                      tryptophan."). A POSA in 2004

 would thus attribute the effects described in Goldberger IIto
                                                            to the tryptophan in milk and would have




                                                   90
                                                   90
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 no expectation based on Goldberger IIthat isolated NR could
                                                       could increase
                                                             increase NAD+
                                                                      NAD biosynthesis
                                                                           biosynthesis (or
                                                                                        (or for
                                                                                            for

                            of any
 that matter an expectation of any utility
                                   utility for
                                           for isolated
                                                isolated NR).
                                                         NR).


                218.
                218     Goldberger I
                        Goldberger I was
                                     was previously cited
                                                    cited by Elysium in petitions
                                                                        petitions for inter partes


 review of the Asserted Patents.
 review                 Patents. The
                                 The PTAB
                                     PTAB declined
                                          declined to
                                                   to institute
                                                      institute review
                                                                review of
                                                                       of the      Patent over
                                                                          the '807 Patent over


 Goldberger IIbecause Elysium had not shown
                                      shown that
                                            that there was aareasonable
                                                             reasonable likelihood
                                                                         likelihood that
                                                                                     that itit would
                                                                                               would

 prevail in showing that the '807
                              '807 Patent
                                   Patent is
                                           is unpatentable
                                              unpatentable over
                                                           over Goldberger
                                                                Goldberger I.I. Elysium
                                                                                Elysium Health Inc.
                                                                                               Inc. v.
                                                                                                    v.


 Trustees
 Trustees of Dartmouth College, No.
             Dartmouth College,     IPR2Ol7-01796,
                                No. IPR2017- 01796,Paper
                                                    Paper 9
                                                          9 (Decision
                                                            (Decision Denying
                                                                      Denying Institution
                                                                              Institution of

 U.S. Patent No.                       18, 2018). The PTAB instituted review of
             No. 8,197,807) (PTAB Jan. 18,                                   of the '086 Patent,
                                                                                         Patent,

     determined in
 but determined in its
                   its Final
                       Final Written
                             Written Decision
                                     Decision that
                                               that asserted
                                                    assertedclaim
                                                             claim22of
                                                                     of the
                                                                        the '086 Patent was
                                                                            '086 Patent was not
                                                                                            not

                Goldberger IIand
 anticipated by Goldberger   and that claim
                                      claim 2
                                            2was not unpatentable. Elysium
                                                                   Elysium Health Inc. v.
                                                                                       v. Trustees
                                                                                          Trustees

 of Dartmouth College, No. IPR2017-
 of                        IPR20l7-01795,
                                    01795, Paper
                                           Paper 39
                                                 39 (Final
                                                    (Final Written
                                                           Written Decision
                                                                   Decision of U.S.
                                                                               U.S. Patent No.

 8,383,086)
 8,383,086) (PTAB
            (PTAB Jan. 16,
                       16, 2019).


                7.                 II (Joseph
                        Goldberger II  (Joseph Goldberger
                                               GoldbergerandandW.F.
                                                                W.F.Tanner,
                                                                      Tanner,AAStudy
                                                                                Study of
                                                                                      ofthe
                                                                                         the
                        Treatment and  Prevention of Pellagra, Public Health
                        Treatment and Prevention of Pellagra, Public Health  Reports,
                        39(3):87-107
                        39(3):87 -107 (1924))

                219.     Goldberger II is aa1924
                                            1924 Public Health Report article, which reports feeding


 experiments related
 experiments  related toto the treatment and
                           the treatment and prevention
                                             prevention of pellagra
                                                           pellagra in humans.
                                                                       humans. Goldberger
                                                                               Goldberger II

 (ELY_DEL000048O) at
 (ELYDEL0000480)  at 482.
                     482. In
                           In particular,
                               particular, Goldberger
                                           Goldberger II
                                                      II reports
                                                          reports studies
                                                                   studies using
                                                                           using fresh
                                                                                 fresh meat
                                                                                       meat and
                                                                                            and


 buttermilk
 buttermilk to
            to treat    prevent pellagra
               treat or prevent pellagra in groups
                                            groups of
                                                   of patients
                                                      patients at
                                                               at the
                                                                   the Georgia
                                                                        Georgia State
                                                                                 State Sanitarium.
                                                                                        Sanitarium.


               (ELY_DEL000048O) at
 Goldberger II (ELY_DEL0000480) at 485.
                                   485.

                220.    With respect to buttermilk, Goldberger II reports an
                                                                          an experiment
                                                                             experiment performed
                                                                                        performed


          course of
 over the course of one
                    one year
                        year and
                              and which
                                  whichwas
                                        wascompleted
                                            completedwith
                                                      withtwenty
                                                           twenty-five patients. Goldberger
                                                                 -five patients. Goldberger II
                                                                                            II


 (ELY_DEL000048O)atat485.
 (ELYDEL0000480)      485.Of
                           Ofthe
                              thetwenty
                                  twenty-five,  sixteenhad
                                        -five, sixteen  hadaahistory
                                                             historyof
                                                                     ofpellagra
                                                                       pellagra and
                                                                                and nine
                                                                                    nine did
                                                                                         did not.
                                                                                             not.

 Goldberger II
 Goldberger    (ELY_DEL000048O) at
            II (ELY_DEL0000480) at 485. During the year
                                   485. During     year the
                                                        the experiment
                                                            experiment was
                                                                       was performed,
                                                                           performed, the
                                                                                       the


 patients were offered fresh, locally produced buttermilk
                                               buttermilk as
                                                          as a
                                                             abeverage at each meal, totaling a
                                                                                              adaily


                                                   91
                                                   91
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 (ELY DEL0036184)atat36186,
 (ELYDEL0036184)      36186,36188; Texas A
                            36188; Texas A&M
                                           &M (ELY_DEL0036539) at 36543
                                              (ELYDEL0036539) at  36543-44;
                                                                        -44; Kasipathy
                                                                             Kasipathy

 Kailasapathy, Dairy
 Kailasapathy,       Processing and
               Dairy Processing and Quality
                                    Quality Assurance,
                                            Assurance, Chapter
                                                       Chapter 4:
                                                                4:Chemical
                                                                   ChemicalComposition,
                                                                            Composition,


 Physical, and Function Properties
 Physical, and          Propertiesof
                                   ofMilk
                                     Milk and
                                          andMilk
                                              Milk Ingredients
                                                   Ingredients (eds.
                                                                (eds. Ramesh
                                                                      Ramesh C.
                                                                             C. Chandan
                                                                                Chandan et
                                                                                        et al.)
                                                                                           al.)


        (CDXDE 000 166420).
 (2015) (CDXDE_000166420).

                262.      Moreover, the trace amounts of
                                                      of NR in milk have not been proven sufficient

 to affect NAD+
           NAD levels
                levels upon
                       upon oral administration. Dr.
                            oral administration.           asserts that
                                                 Dr. Adams asserts  that Trammell
                                                                         Trammell demonstrates
                                                                                  demonstrates


 that the trace amounts
                amounts of
                        of NR
                           NR in
                               in milk
                                  milk are
                                        are sufficient
                                             sufficient to
                                                         toaffect
                                                            affectNAD+
                                                                  NAD levels.
                                                                       levels. Trammell
                                                                               Trammell I,I, however,
                                                                                             however,


                                  demonstrating an
 does not include any experiments demonstrating an increase
                                                    increase in
                                                              in NAD+
                                                                 NAD biosynthesis resulting from
                                                                                            from

  1.1 milligrams
  1.1 milligrams of
                 of NR.
                    NR. Indeed,
                        Indeed, Elysium's
                                Elysium's expert from the
                                                      the IPR
                                                          IPR related
                                                              related to
                                                                      to the
                                                                         the '086
                                                                             '086 Patent,
                                                                                  Patent, Dr.
                                                                                          Dr. Joseph
                                                                                              Joseph

 Baur, confirmed that Trammell IIdoes not and cannot show an increase in NAD
                                                                         NAD+ biosynthesis
                                                                               biosynthesis from
                                                                                            from

 the trace amounts of
                   of NR in milk. See Baur Dep. Tr. (Elysium's
                                                    (Elysium's expert),
                                                               expert), IPR2017-
                                                                         IPR2017-01795,
                                                                                 01795, Exhibit
                                                                                        Exhibit

 2003,    15:3-10
 2003, at 15:3 -10 (PTAB
                   (PTAB Apr.
                         Apr. 26,
                              26, 2018) (stating that
                                  2018) (stating that itit is not possible to prove that NR in
                                                                                             in milk
                                                                                                milk


           NAD biosynthesis);
 increases NAD+ biosynthesis); Baur Dep.     (Elysium's expert),
                                    Dep. Tr. (Elysium's  expert), IPR2017-
                                                                   IPR2017-01795,
                                                                           01795, Exhibit 2003,

 at 46:22-47:12
    46:22 -47:12 (if a
                     a child
                       child drinks
                             drinks milk,
                                    milk, "there's no proof
                                                      proof that
                                                            that the milk
                                                                     milk drunk
                                                                          drunk by that child was used


 to synthesize
    synthesize NAD.
               NAD.").
                    ").

                263.      In contrast to the absence of evidence showing that the NR in
                                                                                     in milk
                                                                                        milk increases
                                                                                             increases

 NAD
 NAD+ biosynthesis,
      biosynthesis, it is well
                          well-established
                               -established that the predominate antipellagra
                                                                 antipellagra and
                                                                               and anti
                                                                                    anti-blacktongue
                                                                                        -blacktongue

 factor in milk
 factor    milk is
                is tryptophan.
                    tryptophan. E.g., "Pellagra,"
                                      "Pellagra," in
                                                  in Encyclopaedia
                                                     Encyclopaedia Britannica
                                                                   Britannica Online,
                                                                              Online, at p. 11of
                                                                                      at p.   of 22


 (2018) (available
         (available at
                     athttps
                        https://www.britannica.comlscience/pellagra)
                             : / /www.britannica.com/science /pellagra)(CDXDE 000166535); D.
                                                                        (CDXDE_000166535); D. A.
                                                                                              A.

                                     of Food Sciences
 Bender, "Pellagra," in Encyclopedia of      Sciences and
                                                      and Nutrition, pp. 4456
                                                                         4456-60
                                                                              -60 (2d ed., 2003)

 (("Bender
   "Bender 2003")
           2003 ")(CDXDE 000165911) atat4456;
                   (CDXDE_000165911)     4456;Ozturk
                                               Ozturketetal.,
                                                          al., Pellagra;             Pediatric
                                                                Pellagra; A Sporadic Pediatric

 Case with a
           aFull  Triadof
             Full Triad ofSymptoms,
                          Symptoms, CUTIS, 68:31
                                           68:31-34  (2001) (("Ozturk")
                                                 -34 (2001)   "Ozturk ") (CDXDE 000166531);
                                                                         (CDXDE_000166531);

 Pellagra Treatedwith
 Pellagra Treated with Tiyptophan,
                       Tryptophan, Nutrition
                                   NutritionReviews,
                                             Reviews, 45:142
                                                      45:142-148,  at 143
                                                             -148, at  143 (1987);
                                                                            (1987); New
                                                                                    New Research




                                                  108
                                                  108
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 Casts Ttyptophan in Role ofAntipellagra
 Casts Tiyptophan         ofAntipellagra Factor,
                                         Factor,Chem.
                                                 Chem.Eng.
                                                       Eng.News,
                                                            News,30:4947
                                                                  30:4947-48  (1952)( ("C&E
                                                                         -48 (1952)   "C &E

 News 1952
      1952")
           ") (CDXDE000165909)
              (CDXDE_000165909)atat4947;
                                    4947;Elvehjem
                                          Elvehjemetetal.,
                                                       al., The
                                                            TheIsolation
                                                                Isolation and
                                                                          and Identification
                                                                              Identification of
                                                                                             of

 the   Anti-Black
       Anti -Black    Tongue   Factor,   J.
                                         J.       Biol.       Chem.      123:137-149
                                                                         123:137 -149   (1938)   ("Elvehjem")
                                                                                                 ( "Elvehjem ")

        000165896) at
 (CDXDE 000165896) at 145.
                       145.


                264.                                                                   et al.,
                        Milk contains about 700 times more tryptophan than NR. Richard et al., L-

 Tryptophan:
 Tryptophan: Basic
             Basic Metabolic
                   Metabolic Functions,
                             Functions, Behavioral
                                        Behavioral Research     Therapeutic Indications,
                                                   Research and Therapeutic Indications, Int'l
                                                                                         Int'1

 J. Tryptophan
 J. Tryptophan Res., 2:45
                     2:45-60,     46 (2009)
                          -60, at 46  (2009) (CDXDE_000166546)
                                              (CDXDE 000166546) (Whole
                                                                (Whole milk contains
                                                                            contains 732
                                                                                     732


 milligrams of
            of tryptophan per quart, or 2.928 grams of
                                                    of tryptophan per gallon; 2% milk contains 551

 milligrams of
            of tryptophan per quart, or 2.204 grams of
                                                    of tryptophan per gallon;
                                                                      gallon; 2.928
                                                                              2.928 milligrams per
                                                                                               per


 gallon = 4.17 milligrams per gallon). The evidence thus supports the conclusion that the presence

    tryptophan in milk, rather than the presence
 of tryptophan                          presence of
                                                 of trace
                                                     trace amounts
                                                           amounts of
                                                                   of NR,
                                                                      NR, is
                                                                           is responsible
                                                                               responsible for
                                                                                            for any
                                                                                                 any


             NAD levels
 increase in NAD+ levels as
                         as a
                            a result
                              result of milk consumption.

                265.    Elysium
                        Elysium admits
                                admits that
                                       that the
                                            the trace
                                                trace amount
                                                      amount of
                                                             of NR    milk is
                                                                NR in milk  is insufficient
                                                                                insufficient to


 increase NAD
          NAD+ biosynthesis.
               biosynthesis. Elysium
                             Elysium repeatedly
                                     repeatedly asserts
                                                asserts as
                                                        as much
                                                           much on
                                                                on its
                                                                   its website.
                                                                       website. For
                                                                                For example,
                                                                                    example, one
                                                                                             one

 webpage on
 webpage on Elysium's website states
            Elysium's website states "[w]hile
                                     "[w]hile NR
                                              NR and
                                                 and NMN
                                                     NMN can
                                                         can be                amounts in
                                                             be found in trace amounts

 various foods,
         foods, though,
                though, one can't eat
                                  eat enough     anything to
                                      enough of anything     boost NAD+
                                                          to boost NAD+ levels."
                                                                         levels."


 CDXDE_000165404
 CDXDE  000165404 atat 165405.
                        165405. And
                                And another webpage on Elysium's website similarly affirms
                                                                                   affirms that
                                                                                           that

 "[w]hile
 "[ w]hileNR
           NRand
              andpterostilbene
                  pterostilbeneare
                                areboth
                                    bothfound
                                         foundinintrace
                                                   traceamounts
                                                         amountsininfoods
                                                                     foods - NR in milk
                                                                             NR in milk and
                                                                                        and-




 pterostilbene
 pterostilbene in
               in certain
                  certain types
                          types of
                                of berries   the natural
                                   berries - the
                                              -  natural decline
                                                         decline of NAD+
                                                                    NAD+ in our
                                                                            our cells
                                                                                cells as
                                                                                      as we
                                                                                         we age
                                                                                             age


 suggests
 suggests that
          that diet
               diet alone
                    alone does
                          does not
                               not provide
                                   provide a
                                           a sufficient
                                             sufficient amount
                                                        amount of
                                                               of either
                                                                  either compound
                                                                         compound to
                                                                                  to make
                                                                                     make up
                                                                                          up for
                                                                                             for

 the   decline." Elysium Website,
       decline." Elysium  Website,Can
                                   Can II get
                                          get the ingredients                     in Basis
                                                                                  in       from my
                                                                                     Basis from my diet?
                                                                                                    diet?


        000165957);
 (CDXDE 000165957);        see    also   Elysium              Website,    Is   Basis    aa natural product?




                                                      109
                                                      109
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 contains 1,328
 contains 1,328 calories,
                calories, which      means that 109
                          which thus means      109 gallons
                                                    gallons of
                                                            of milk
                                                               milk would
                                                                    would equal
                                                                           equal an
                                                                                  an impossible
                                                                                      impossible

                       day).
  144,752 calories per day).

                   295.   Even Elysium confirms that only small amounts of
                                                                        of NR are present in milk.


 On its website, Elysium repeatedly
                         repeatedly states
                                    states that
                                           that only
                                                only "trace
                                                     "trace amounts"
                                                            amounts" of NR
                                                                        NR are
                                                                           are naturally
                                                                               naturally found
                                                                                         found in
                                                                                               in

 milk. CDXDE_000 165404atat165405;
       CDXDE000165404       165405;see
                                    seealso
                                        alsoElysium
                                            ElysiumWebsite,
                                                    Website, Can
                                                             Can IIget
                                                                   get the ingredients in Basis
                                                                                          Basis

 from my diet?
 from my  diet? (CDXDE_000165957);
                 (CDXDE_000 165957); Elysium
                                      ElysiumWebsite,
                                              Website,IsIsBasis
                                                           Basis a  natural product?
                                                                 a natural   product?


 (CDXDE 000165956); ELYDEL0010142
 (CDXDE000165956);  ELY DELOO1O142 at
                                   at 143.
                                      143.


                                 (3)                 amounts of
                                         The trace amounts    of NR in skim milk have not been
                                                 to increase
                                         proven to  increase NAD+
                                                             NAD biosynthesis
                                                                    biosynthesis upon
                                                                                 upon oral
                                         administration

                   296.   That the NR in milk is not isolated is further shown by the fact that the trace

 amounts of NR in
 amounts       in skim
                   skim milk
                        milk have
                              have not
                                    notbeen
                                        beenproven
                                             provento
                                                    toincrease
                                                       increaseNAD+
                                                                NAD biosynthesis
                                                                     biosynthesis upon
                                                                                  upon oral
                                                                                       oral


 administration.

                   297.   Dr. Adams argues
                          Dr. Adams argues that
                                           that the
                                                the "NR    skim milk
                                                    "NR in skim milk inherently
                                                                      inherently is capable of
                                                                                 is capable of

 increasing NAD+ biosynthesis"
                 biosynthesis" and alleges that Goldberger IIestablishes that oral administration

 of skim milk alone
 of           alone increases
                     increases NAD+
                               NAD biosynthesis. See Adams Opening
                                                           Opening Report, ¶234. There is no
                                                                   Report, 11234.


             Goldberger IIthat
 evidence in Goldberger   that the
                               the NR
                                   NR in
                                       in milk
                                          milk increases
                                                increases NAD+
                                                          NAD biosynthesis. First, the
                                                                                   the results
                                                                                       results of
                                                                                               ofthe
                                                                                                  the

 experiment with
 experiment with skim
                 skim milk    Goldberger I
                      milk in Goldberger        marginal at best. Of
                                         I were marginal          Of the
                                                                     the five
                                                                         five dogs
                                                                              dogs tested
                                                                                    tested with
                                                                                           with


 skim
 skim milk,
      milk, two
            two of
                of five
                   five dogs
                        dogs developed
                             developed symptoms
                                       symptoms within
                                                within the
                                                       the year
                                                           year of
                                                                of the
                                                                    the study   that is,
                                                                        study -that   is, nearly
                                                                                          nearly 50%
                                                                                                 50%


     the dogs
 of the   dogs developed
                developed symptoms.
                           symptoms. See
                                     See Goldberger
                                         Goldberger II (ELY_DEL0000442) at 454
                                                     (ELY_DEL0000442)      454 (p.
                                                                                (p. 1404).
                                                                                     1404).

 Goldberger I
 Goldberger   optimistically concludes
            I optimistically concludes that skim
                                            skim milk
                                                 milk contains
                                                      contains the
                                                                the blacktongue
                                                                    blacktongue preventive,
                                                                                preventive, but
                                                                                            but


 acquiesces that it must be only in "relatively small amount." Goldberger
                                                               Goldberger II(ELY_DEL0000442)
                                                                            (ELY_DEL0000442) at
                                                                                             at


 454, 475.
      475. It is my opinion that Goldberger I
                                            I cannot be read to
                                                             to show that the
                                                                          the trace
                                                                              trace amounts
                                                                                    amounts of NR
                                                                                               NR

 in skim milk had any effect on
                             on NAD+
                                NAD biosynthesis;
                                     biosynthesis; the
                                                   the reverse
                                                       reverse seems
                                                               seems likely
                                                                     likely (as
                                                                            (as noted below,
                                                                                      below, any

 effect on
 effect on NAD+
           NAD biosynthesis
                biosynthesis is
                             is likely
                                 likely attributable
                                         attributable to
                                                      to tryptophan).
                                                          tryptophan). Indeed,
                                                                        Indeed, Dr.
                                                                                Dr. Joseph
                                                                                     Joseph Baur,
                                                                                             Baur,


                                                   121
                                                   121
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                                    12643
                            HIGHLY CONFIDENTIAL
                            HIGHLY CONFIDENTIAL - ATTORNEY'S
                                                  ATTORNEY'SEYES
                                                            -EYES ONLY
                                                                  ONLY


           XII.     Conclusion
                    Conclusion
                          1051.
                          1051.   For the reasons
                                  For the reasons stated
                                                  stated above,
                                                         above, itit isis my
                                                                          my opinion
                                                                             opinion that
                                                                                     that claims
                                                                                          daims 11-3    the '807
                                                                                                  -3 of the  '807

           Patent
           Patent and claim 2
                  and claim 2 of
                              of the '086 Patent
                                 the '086 Patent are
                                                 are not
                                                     not invalid
                                                          invalid under
                                                                  under any
                                                                        any of
                                                                            of the
                                                                               the identified
                                                                                   identified grounds.
                                                                                              grounds.




           Dated:
           Dated:   319 I           1

                                                                                   Robert W. Sobol, PhD.




                                                          387
                                                          387
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                                    12644




                        EXHIBIT G
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                                    12645                                 1


     1                    IN THE UNITED STATES DISTRICT COURT

     2                    IN AND FOR THE DISTRICT OF DELAWARE

     3                                       - - -

     4
            CHROMADEX, INC. and                 :    CIVIL ACTION
     5      TRUSTEES OF DARTMOUTH               :
            COLLEGE,                            :
     6                                          :
                               Plaintiffs,      :
     7                                          :
                  vs.                           :
     8                                          :
            ELYSIUM HEALTH, INC.,               :
     9                                          :
                               Defendant.       :    NO. 18-1434-CFC
    10

    11
                                             - - -
    12
                                          Wilmington, Delaware
    13                                    Thursday, December 17, 2020
                                          9:00 o'clock, a.m.
    14                                    ***Telephone conference

    15                                       - - -

    16     BEFORE:   HONORABLE COLM F. CONNOLLY, U.S.D.C.J.

    17                                       - - -

    18     APPEARANCES:

    19
                          YOUNG CONAWAY STARGATT & TAYLOR LLP
    20                    BY: ADAM W. POFF, ESQ.

    21
                                     -and-
    22

    23

    24
                                                       Valerie J. Gunning
    25                                                 Official Court Reporter
Case 1:18-cv-01434-CFC-JLH Document 231 Filed 05/04/21 Page 145 of 199 PageID #:
                                    12646                                 2


     1     APPEARANCES (Continued):

     2

     3                   COVINGTON & BURLING LLP
                         BY: R. JASON FOWLER, ESQ. and
     4                        CHRISTOPHER N. SIPES, ESQ.
                              (Washington, D.C.)
     5

     6                            -and-

     7
                        PATTERSON BELKNAP WEBB & TYLER LLP
     8                  BY: JOSHUA R. STEIN, ESQ.
                             (New York, New York)
     9

    10                         Counsel for Plaintiffs

    11

    12                   ASHBY & GEDDES
                         BY: STEVEN J. BALICK, ESQ.
    13

    14                               -and-

    15
                         FOLEY & HOAG LLP
    16                   BY: DONALD R. WARE, ESQ. and
                              MARCO QUINA, ESQ.
    17                        (Boston, Massachusetts)

    18
                               Counsel for Defendant
    19

    20                               -    -   -

    21

    22

    23

    24

    25
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                                    12647                                 29


     1                   THE COURT:    Mr. Sipes, let me ask you this:       I

     2     agree with what you just said.       Can you live with this

     3     construction as an alternative to either proposals by the

     4     parties, and that is we would construe isolated nicotinamide

     5     riboside to mean nicotinamide riboside that is separated or

     6     substantially free from at least some of the other

     7     components associated with the source of the nicotinamide

     8     riboside.

     9                   MR. SIPES:    Your Honor, we can live with that,

    10     but I think what that will lead to is further fights over

    11     the construction down the road because --

    12                   THE COURT:    Right.

    13                   MR. SIPES:    We know --

    14                   THE COURT:    Let me interrupt.     I think I know

    15     where you are going.     What it's going to be is, we're going

    16     to have experts telling me whether something is

    17     substantially free or not.

    18                   MR. SIPES:    Correct.

    19                   THE COURT:    They're going to basically be,

    20     what's the level of impurity essentially.

    21                   MR. SIPES:    Correct.

    22                   THE COURT:    Right.   I mean, that seems to me to

    23     probably be the right thing to do.

    24                   MR. SIPES:    Your Honor, this is always a problem

    25     for me, is whether substantially free is an infringement
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                        EXHIBIT H
Case 1:18-cv-01434-CFC-JLH Document 231 Filed 05/04/21 Page 148 of 199 PageID #:
                                    12649
  CONTAINS HIGHLY CONFIDENTIAL – ATTORNEY’S EYES ONLY INFORMATION
                                            SUBJECT TO PROTECTIVE ORDER

                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


  CHROMADEX, INC. and TRUSTEES OF
  DARTMOUTH COLLEGE,

                            Plaintiffs,                           C.A. No. 18-1434-CFC

             v.

  ELYSIUM HEALTH, INC.,

                            Defendant.


   PLAINTIFFS CHROMADEX, INC. AND TRUSTEES OF DARTMOUTH COLLEGE’S
      FIRST SUPPLEMENTAL RESPONSES TO DEFENDANT’S SECOND SET OF
                     INTERROGATORIES (NOS. 14–17)

        Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiffs ChromaDex,

 Inc. (“ChromaDex”) and Trustees of Dartmouth College (“Dartmouth”) hereby provide their first

 supplemental responses to Defendant Elysium Health, Inc.’s (“Elysium’s”) Second Set of

 Interrogatories (“the Interrogatories”) to Plaintiffs as follows.

                                     RECURRING OBJECTIONS

        1.        Plaintiffs object to these Interrogatories, and to the definitions and instructions

 therein, to the extent that they seek to impose obligations and burdens on Plaintiffs beyond those

 contemplated by the Federal Rules of Civil Procedure or applicable local rules and court orders.

 Plaintiffs will comply with their discovery obligations under these rules and orders but assume no

 further discovery obligations in responding to these Interrogatories.

        2.        Plaintiffs object to these Interrogatories to the extent they attempt to impose multiple

 subparts in violation of Federal Rule of Civil Procedure 33(a).
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        3.      Plaintiffs object to these Interrogatories to the extent they are overly broad or unduly

 burdensome or to the extent they seek discovery that is not proportional to the needs of the case.

        4.      Plaintiffs object to these Interrogatories to the extent that they are vague and

 ambiguous.

        5.      Plaintiffs object to these Interrogatories to the extent that they purport to require

 Plaintiffs to provide information that is not in Plaintiffs’ possession, custody, or control.

        6.      Plaintiffs object to these Interrogatories to the extent that they seek information that

 is not relevant to any party’s claim or defense.

        7.      Plaintiffs object to these Interrogatories to the extent that they do not contain

 appropriate (or any) temporal limitations. To the extent Plaintiffs provide a response, such a

 response will be limited to the relevant timeframe.

        8.      Plaintiffs object to these Interrogatories to the extent that they seek or implicate

 disclosure of information that is protected by attorney-client privilege, work-product immunity,

 joint defense privilege, or any other applicable privilege or protection (“privileged information”).

 Plaintiffs will not produce or provide privileged information in response to these Interrogatories.

 Any inadvertent disclosure of privileged information shall not constitute a waiver of any privilege

 or immunity.

        9.      Plaintiffs object to these Interrogatories to the extent they require Plaintiffs to

 interpret patent claims, which have not yet been construed by the Court.

        10.     To the extent Plaintiffs provide any confidential information or material in response

 to these Interrogatories, they will do so subject to the stipulated Protective Order. See D.I. 44.

        11.     Plaintiffs object to these Interrogatories to the extent they seek information that is

 subject to confidentiality or non-disclosure agreements with persons or entities that are not parties



                                                    2
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 to this action. Plaintiffs will provide such information only to the extent that Plaintiffs are permitted

 to do so under their respective agreements with such third parties and only after those third parties

 receive appropriate notice, are provided with a reasonable opportunity to respond, and do not object.

         12.     Plaintiffs object to these Interrogatories to the extent they seek information that is

 subject to a protective order in another action or similar restriction.

         13.     Plaintiffs object to these Interrogatories to the extent they seek information that is

 unreasonably cumulative or duplicative of information sought in other Interrogatories or other

 discovery in this litigation.

         14.     Plaintiffs object to these Interrogatories to the extent they seek information that is

 equally accessible to Defendant through public sources or records, or can be obtained from some

 other source that is more convenient, less burdensome, or less expensive.

         15.     Plaintiffs object to these Interrogatories to the extent that they seek information

 more easily or appropriately ascertained through document production or deposition testimony.

         16.     Plaintiffs object to these Interrogatories as premature to the extent they seek

 disclosure of information in advance of the deadlines identified in the Scheduling Order ordered by

 the Court. Plaintiffs’ responses to these Interrogatories are based on Plaintiffs’ investigation to date.

 Discovery in this matter remains ongoing. Accordingly, additional information about facts and

 witnesses may be discovered. Plaintiffs reserve the right to use at trial and in any other proceeding

 in this action any such additional witnesses and evidence that may have been omitted from these

 responses for one of the foregoing reasons or otherwise and, without obligating Plaintiffs to do so,

 Plaintiffs reserve the right to further supplement these responses in the future.

         17.     Plaintiffs object to these Interrogatories to the extent they seek information regarding

 activity occurring outside of the United States.



                                                    3
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        18.     Plaintiffs object to the definition of “ChromaDex” as vague, ambiguous, overbroad,

 and unduly burdensome. For purposes of these responses, Plaintiffs will define this term to refer to

 Plaintiff ChromaDex, Inc.

        19.     Plaintiffs object to the definition of “Dartmouth” as vague, ambiguous, overbroad,

 and unduly burdensome. For purposes of these responses, Plaintiffs will define this term to refer to

 Plaintiff Trustees of Dartmouth College.

        20.     Plaintiffs object to the definition of “Documents” to the extent that it extends beyond

 the meaning of that term as used in Rule 34 of the Federal Rules of Civil Procedure.

        21.     Plaintiffs object to the definition of “Identify” “with respect to Documents” to the

 extent it requests Plaintiffs to provide “the author(s),” the “addressee(s),” and the “recipient(s) of

 the Document.” These aspects of the definition are overbroad and lead to unduly burdensome

 requests for information and documents not within Plaintiffs’ possession, custody, or control.

        22.     Plaintiffs object to the definition of “Communication” to the extent it includes

 “persons seeing or hearing any information by any means” as overbroad and unduly

 burdensome.

        23.     Plaintiffs object to the definition of “relate to,” “related to,” “relating to,”

 “regarding,” and “concerning” as overbroad, unduly burdensome, and seeking information that is

 not relevant to the claims or defenses of any party.

        24.     These recurring objections are continuing in nature and are incorporated by

 reference in response to each of the Interrogatories set forth below. By responding to the

 Interrogatories, Plaintiffs do not waive any of the foregoing objections.




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                       SPECIFIC RESPONSES TO INTERROGATORIES

 INTERROGATORY NO. 14:

         For each Asserted Claim that You contend is not invalid under 35 U.S.C. § 101, state the
 complete factual and legal basis for Your contention, including Your detailed response to Elysium’s
 Invalidity Contentions regarding invalidity under Section 101. For the sake of clarity, if you
 disagree with any aspect(s) of Elysium’s Invalidity Contentions regarding invalidity under 35
 U.S.C. § 101, Your response should include Your rebuttal to Elysium’s contentions.

 RESPONSE:

         Plaintiffs expressly incorporate their Recurring Objections as objections to this

 Interrogatory. Plaintiffs further object to this Interrogatory on the ground that it purports to require

 Plaintiffs to prove that the Patents-in-Suit are valid. Elysium carries the burden to prove that the

 Patents-in-Suit are invalid. Accordingly, Plaintiffs will respond only to the invalidity arguments

 made in Elysium’s May 29, 2020 Invalidity Contentions. In addition, Plaintiffs object to this

 Interrogatory as premature to the extent it seeks the disclosure of information, including expert

 testimony, that is not yet required to be disclosed under the Court’s Scheduling Order. Plaintiffs

 further object to this Interrogatory to the extent it seeks information that is protected by the attorney-

 client privilege, work-product doctrine, or any other applicable privilege or protection.

         Subject to and without waiving these objections, Plaintiffs respond as follows. The Patents-

 in-Suit were duly issued by the U.S. Patent & Trademark Office and therefore are presumed to be

 valid. See 35 U.S.C. § 282. As a result, Elysium carries the burden to show invalidity by “clear and

 convincing evidence.” See Microsoft Corp. v. i4i Ltd. P’ship, 131 S. Ct. 2238, 2242 (2011). Elysium

 has failed to meet its burden. Elysium’s argument that the Patents-in-Suit are invalid under § 101

 is vague and conclusory. Notably, Elysium fails to acknowledge, much less address, the Federal

 Circuit’s recent decision in Natural Alternatives Int’l, Inc. v. Creative Compounds, LLC, 918 F.3d

 1338, 1348 (Fed. Cir. 2019). That decision renders baseless Elysium’s argument that the Patents-

 in-Suit are invalid under § 101 because “NR existed in nature before Dartmouth claimed it as an


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 invention,” Elysium Invalidity Contentions at 59. See, e.g., Natural Alternatives, 918 F.3d at 1346

 (finding claims patent-eligible because although the claimed component “may exist in nature … the

 quantities being administered do not, and … the claimed consumption greatly exceeds natural

 levels”).

         Discovery is ongoing and Plaintiffs reserve the right to supplement their response to this

 Interrogatory.

 INTERROGATORY NO. 15:

         For each Asserted Claim that You contend is not invalid under 35 U.S.C. § 102 or 35 U.S.C.
 § 103, state the complete factual and legal basis for Your contention, including your detailed
 response to Elysium’s Invalidity Contentions regarding invalidity under Sections 102 or 103. For
 the sake of clarity, if You disagree with any aspect(s) of Elysium’s Invalidity Contentions, Your
 response should include Your rebuttal to Elysium’s contentions including, for example, Your
 contention as to why any asserted prior art reference does not constitute prior art under Section 102,
 why each asserted prior art reference or combination of references does not render any claim
 anticipated or obvious, and why the Asserted Patents are not invalid under Section 102(f) for failure
 to name the correct inventors.

 RESPONSE:

         Plaintiffs expressly incorporate their Recurring Objections as objections to this

 Interrogatory. Plaintiffs further object to this Interrogatory on the ground that it purports to require

 Plaintiffs to prove that the Patents-in-Suit are valid. Elysium carries the burden to prove that the

 Patents-in-Suit are invalid. Accordingly, Plaintiffs will respond only to the invalidity arguments

 made in Elysium’s May 29, 2020 Invalidity Contentions. In addition, Plaintiffs object to this

 Interrogatory as premature to the extent it seeks the disclosure of information, including expert

 testimony, that is not yet required to be disclosed under the Court’s Scheduling Order. Plaintiffs

 further object to this Interrogatory to the extent it seeks information that is protected by the attorney-

 client privilege, work-product doctrine, or any other applicable privilege or protection. Plaintiffs




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 35 U.S.C. § 112. A person having ordinary skill in the art would understand from the disclosures

 of the Patents-in-Suit that the inventor was in possession of the claimed invention, and how to make

 and use the claimed invention without undue experimentation. Elysium’s contentions to the

 contrary are unsupported.

        Elysium’s contention that the term “increases NAD+ biosynthesis upon oral administration”

 in the ’807 patent is indefinite is vague and conclusory, comprising a mere paragraph in its

 Invalidity Contentions, and fails to meet Elysium’s burden to show by clear and convincing

 evidence that the Asserted Claims are invalid. Among other reasons, Elysium’s contention lacks

 merit because the claim language, read in conjunction with the patent specifications and prosecution

 histories “inform, with reasonable certainty, those skilled in the art about the scope of the

 invention.” Nautilus, Inc. v. Biosig Instruments, Inc., 134 S.Ct. 2120, 2124 (2014). Elysium’s

 contention to the contrary is unsupported.

        Discovery is ongoing and Plaintiffs reserve the right to supplement their response to this

 Interrogatory.



  Dated: January 26, 2021                          YOUNG CONAWAY STARGATT
                                                   & TAYLOR, LLP

  Of Counsel:                                      /s/ Adam W. Poff
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                         EXHIBIT I
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                                    12658
    Trials@uspto. gov                                          Paper No. 39
    571-272-7822                                   Entered: January 16, 2019


            UNITED STATES PATENT AND TRADEMARK OFFICE


             BEFORE THE PATENT TRIAL AND APPEAL BOARD


                           ELYSIUM HEALTH INC.,
                                 Petitioner,

                                       v.

                   TRUSTEES OF DARTMOUTH COLLEGE,
                              Patent Owner.


                            Case No. IPR2017-0l 795
                              Patent 8,383,086 B2



    Before SUSAN L.C. MITCHELL, CHRISTOPHER G. PAULRAJ, and
    JOHN E. SCHNEIDER, Administrative Patent Judges.

    SCHNEIDER, Administrative Patent Judge.




                        FINAL WRITTEN DECISION
                    35 US.C. § 318(a) and 37 C.F.R. § 42.73




                                                                        ELY DEL0001334
Case 1:18-cv-01434-CFC-JLH Document 231 Filed 05/04/21 Page 158 of 199 PageID #:
                                    12659
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    Patent 8,383,086 B2

    Dec. 6-7. The parties have not challenged this construction during trial.
    Response 6-19; Reply 2-18. We find no reason in view of the full trial
    record before us to revise this construction and apply it in our analysis in this
    final decision.

       B. Anticipation
           "Anticipation requires that all of the claim elements and their
    limitations are shown in a single prior art reference." In re Skvorecz, 580
    F.3d 1262, 1266 (Fed. Cir. 2009). "A single prior art reference may
    anticipate without disclosing a feature of the claimed invention if such
    feature is necessarily present, or inherent, in that reference." Allergan, Inc.
    v. Apotex Inc., 754 F.3d 952, 958 (Fed. Cir. 2014).
           "Inherency may not be established by probabilities or possibilities.
    The mere fact that a certain thing may result from a given set of
    circumstances is not sufficient to establish inherency." Scaltech Inc. v.
    Retec/Tetra L.L.C., 178 F.3d 1378, 1384 (Fed. Cir. 1999) (citations omitted).
           A product is inherently anticipated where it is the natural result of the
    prior art process, even though it would be possible to prevent the formation
    of the product through extraordinary measures. See Allergan, 754 F.3d at
    961.

           1. Goldberger et al.
           Goldberger et al. discloses a study of foodstuffs for the prevention of
    blacktongue in dogs. Ex. 1005, 1385. Blacktongue is a canine condition
    similar to pellagra in humans. Id. at 1385-86. Like pellagra, blacktongue is
    caused by a deficiency ofNAD+. Ex. 1010, 2. In the study, dogs were fed a
    blacktongue producing diet along with several candidates for preventing
    blacktongue. Ex. 1005, 1387-88. Among the candidates evaluated by
                                           15



                                                                                  ELY DEL0001348
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    Patent 8,383,086 B2

    Goldberger et al. was milk, including skim milk. Id. at 1402-05.
    Goldberger et al. concluded that skim milk exercised a blacktongue
    preventative action. Id. at 1404.
          Subsequent research has shown that one of the components in milk is
    nicotinamide riboside, a precursor ofNAD+. Ex. 1007, 3 (Table 1), 5
    (Table 3); Ex. 1008, 2 (milk a source ofNR); Ex 1018, 838 (NR is found in
    milk); Ex. 1023, 22 (humans exposed to NR via dietary sources such as
    milk). Later studies also show that nicotinamide riboside increases the
    biosynthesis ofNAD+. Ex. 1008, 6; Ex. 1018, 840.
          Petitioner contends that all of the limitations of the claims of the '086
    patent are disclosed by Goldberger et al. Pet. 8-18. Patent Owner contends
    that Goldberger et al. does not anticipate any of the claims of the '086
    patent. Resp. 20-30.
          Based on the full trial record before us, we conclude that Petitioner
    has established by a preponderance of the evidence that claims 1 and 3-5 are
    anticipated by Goldberger et al. A preponderance of the evidence, however,
    does not support the conclusion that claim 2 is anticipated by Goldberger et
    al.
          a. Claim 1
          Claim 1 is directed to a pharmaceutical composition comprising
    nicotinamide riboside in admixture with a carrier and formulated for oral
    administration. We consider each of these claim limitations in tum.




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                                                                                ELY DEL0001349
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    Patent 8,383,086 B2

          Patent Owner also contends that the skim milk used by Goldberger et
    al. is not a pharmaceutical composition. Resp. 21-22. Patent Owner
    contends that not all food qualifies as a pharmaceutical composition since a
    pharmaceutical composition must contain an active agent. Resp. 22. Patent
    Owner argues that since there is no evidence that the NR in milk is active,
    Petitioner has not shown that the skim milk of Goldberger et al. is a
    pharmaceutical composition under the proper claim construction. Resp. 22.
          We have considered the parties' arguments as well as the evidence of
    record and conclude Petitioner has established by a preponderance of the
    evidence that the skim milk administered by Goldberger et al. is a
    "pharmaceutical composition" as we have construed that term.
          Goldberger et al. report an experiment to determine if skim milk is
    effective in preventing blacktongue. Ex. 1005, 1404. Black tongue is
    caused by a deficiency ofNAD+. Ex 1010, 2. Dr. Baur interprets the
    results of the experiment as establishing that milk alone improves the course
    of or prevents blacktongue. Ex. 1002 ~ 21. Thus, the skim milk used by
    Goldberger et al. was administered to dogs "having a disease or condition
    associated with the nicotinamide riboside kinase pathway ofNAD+
    biosynthesis ... such that the signs or symptoms of the disease are
    prevented or reduced" by the Goldberger's administration of the skim milk.
    Ex. 1001, col. 4, 11. 20-24.
          As we previously addressed, Patent Owner's contention that foods are
    not pharmaceutical compositions is unpersuasive. Although we agree with
    Patent Owner that not all foods are necessarily pharmaceutical compositions,
    the Specification of the '086 patent expressly teaches that the
    pharmaceutical composition of the present invention can include food. Ex.

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          Trammell II reports a study of the bioavailability ofNR taken orally.
    Ex. 1008, 1. In the background discussion, the researchers report that milk
    is a source of such NR. Id. at 2.
          Canto reports a study using NR to enhance oxidative metabolism and
    protect against high fat induced obesity. Ex. 1018, 838. In the introduction,
    Canto states that "NR is found in milk . . . constituting a dietary source for
    NAD+ production." Id.
          Bogan, a literature review ofNAD+ precursors, teaches that "NR is a
    newly discovered salvageable precursor ofNAD+ that occurs in cow's
    milk." Ex. 1025, 119. Bogan also teaches that milk is a source ofNR in
    vertebrates. Id. at 120. Bogan goes on to teach that milk, a natural source of
    NR, was shown to be effective in treating pellagra-like symptoms in
    animals. Id. at 121-122 (citing Ex. 1005)
          A filing with the Food and Drug Administration relating to the safety
    of an NR supplement Niagen teaches that "[h]umans are exposed to NR via
    dietary sources such as milk." Ex. 1023, 22.
          Dr. Baur states in his declaration:
                 As it is now known that blacktongue in dogs is a disease
          caused by NAD+ deficiency, it follows that the resolution or
          prevention ofblacktongue by milk supplementation, as shown
          in Goldberger et al., is direct evidence that the milk stimulated
          greater NAD+ biosynthesis upon oral administration. (Ex.
          1005, Goldberger et al., at 1404.) This conclusion is confirmed
          by later studies, discussed above in paragraphs 13-14, directly
          demonstrating that oral intake ofNR increases NAD+
          concentration in multiple tissues. Thus, Goldberger et al.
          teaches the oral administration of a composition containing NR
          that necessarily increases NAD+ biosynthesis upon oral
          administration
    Ex. 1002, ~ 36.

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    of the increase in NAD+ biosynthesis as the milk contained other NDA+
    precursors. Id. at 28. Patent Owner argues that the references cited by
    Petitioner do not demonstrate that any NR that is present in milk increases
    biosynthesis ofNAD+. Resp. 29.
          We have considered the parties' arguments and conclude that a
    preponderance of the evidence supports the conclusion that claim 5 is
    anticipated by Goldberger et al.
          As Petitioner points out, claim 5 calls for the composition of claim 1
    to increase the biosynthesis ofNAD+ production. Reply 26-27. The claim
    does not call for the NR present in the composition to necessarily cause the
    increased biosynthesis. Id.
          Goldberger et al. demonstrates that feeding skim milk to dogs
    prevents blacktongue. Ex. 1005, 1404. Blacktongue is caused by a
    deficiency ofNAD+. Ex. 1010, 2. We agree with Petitioner that the
    evidence of record demonstrates that the consumption of milk increases
    NAD+ biosynthesis. See also Ex. 1026, 84:3-85:3 (Dr. Zhou agreeing that
    literature teaches that black tongue reflects a deficiency in NAD and NAD+
    biosynthesis in dogs increased with oral administration of milk).
          We also find that Petitioner has shown sufficiently based on the
    evidence presented at trial that the skim milk used by Goldberger et al.
    increases NAD+ biosynthesis.
          As discussed above with respect to claim 1, the evidence of record
    demonstrates that NR is an active agent in milk. Ex. 1007, 1; Ex. 1008, 1;
    Ex. 1018, 838; Ex. 1025, 119-120. The evidence of record also
    demonstrates that the NR in milk is used to produce NAD+ in vivo. For
    example, Canto teaches that NR is found in milk, "constituting a dietary

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    Goldberger and Tanner study was published. Tr. 69. Patent Owner argues
    that there is nothing in the present record that shows that NR was present in
    the buttermilk used by Goldberger and Tanner or that it was active.
    Resp. 33.
          We have considered Patent Owner's arguments and find that there is
    sufficient evidence in the present record to establish that NR was necessarily
    present as an active agent in the buttermilk used by Goldberger and Tanner.
    Our conclusion is based on the teachings of the same post-filing references
    (Trammell I, Tramell II, Cato, Bogan, and the Niagen FDA filing) discussed
    above with regard to the anticipation ground based on Goldberger et al. Ex.
    1007; Ex. 1008, Ex. 1018, Ex. 1025; Ex. 1023. Furthermore, Dr. Baur states
    in his declaration:
                 As it is now known that pellagra is a disease caused by
          NAD+ deficiency, it follows that the prevention of pellagra by
          buttermilk supplementation demonstrated in Goldberger and
          Tanner is direct evidence that the buttermilk stimulated greater
          NAD+ biosynthesis upon oral administration. (Ex. 1006,
          Goldberger and Tanner, at 93.) This conclusion is confirmed by
          later studies, discussed above in paragraphs 13-14, directly
          demonstrating that oral NR increases NAD+ concentration in
          multiple tissues. Thus, although the authors did not know it at
          the time, Goldberger and Tanner inherently discloses an NR-
          containing composition that can be orally administered and
          increases NAD+ biosynthesis upon oral administration.

    Ex. 1002 ~ 43. The evidence of record establishes that NR is also present in
    buttermilk. NR is a water soluble component of milk. Ex. 1002, ~ 12.
    Buttermilk is what remains when butter is removed from milk. Ex. 1011, 6.
    Thus buttermilk contains the same water soluble components of milk as
    skim milk. Ex. 1002, ~ 12. Moreover, Goldberger and Tanner teach that for


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    treating pellagra, fresh milk and buttermilk are interchangeable. Ex. 1006,
    95. Thus, we find that NR was present in the buttermilk used by Goldberger
    and Tanner. Additionally, for the reasons already discussed above, we are
    unpersuaded by Patent Owner's arguments that the NR in milk is not active
    because Trammell I teaches that NR in milk is bound to other components in
    milk. Resp. 33. Goldberger and Tanner expressly states that the buttermilk
    used was "fresh, locally produced, and of fair quality." Ex. 1006, 93. As
    such, there is no basis for us to speculate that the NR in such buttermilk
    Based on the foregoing analysis, we conclude Petitioner has established that
    the buttermilk used in Goldberger and Tanner was a pharmaceutical
    composition comprising NR as an active agent in an amount effective for the
    treatment or prevention of a disease or condition associated with the
    nicotinamide riboside kinase pathway ofNAD+ biosynthesis.
          zz.    In admixture with a carrier.
          Petitioner contends that the buttermilk used in Goldberger and Tanner
    meets this limitation in that the NR is in a mixture with lactose and other
    components in milk that bind and stabilize the compound. Pet. 24.
    Petitioner relies on the Declaration of its expert Dr. Baur to support this
    contention. Ex. 1002 ~ 32.
          For the same reasons provided with regard to the skim milk used in
    Goldberger et al., Patent Owner contends that the buttermilk in Goldberger
    and Tanner does not comprise an admixture ofNR with a carrier, i.e.,
    because the milk was not specifically prepared as an admixture ofNR and a




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    biosynthesis. Resp. 33. Patent Owner also contends that even if NAD+
    biosynthesis was increased by the administration of buttermilk by
    Goldberger and Tanner, there is no evidence that the NR in the milk was the
    cause of the increase in NAD+ biosynthesis as the milk contained other
    NDA+ precursors. Id. at 34. Patent Owner argues that the references cited
    by Petitioner do not demonstrate that any NR occurring in milk increases
    biosynthesis ofNAD+. Resp. 34.
          We have considered the parties' arguments and conclude that a
    preponderance of the evidence supports the conclusion that claim 5 is
    anticipated by Goldberger and Tanner.
          As Petitioner points out, claim 5 calls for the composition of claim 1
    to increase the biosynthesis ofNAD+ production. Reply 26-27. The claim
    does not call for the NR present in the composition to cause the increased
    biosynthesis. Id.
          Goldberger and Tanner demonstrates that feeding buttermilk to
    humans prevented pellagra. Ex. 1006, 8. Pellagra is caused by a deficiency
    ofNAD+. Ex. 1010, 2. The evidence of record demonstrates that the
    consumption of milk increases NAD+ biosynthesis.
          Moreover, even if we accept Patent Owner's argument that claim 5
    calls for the NR present in the composition to increase NR biosynthesis, we
    find that a preponderance of the evidence supports the conclusion that the
    skim milk used by Goldberger and Tanner increases NAD+ biosynthesis.
          As discussed above with respect to claim 1, the evidence of record
    demonstrates that NR is an active agent in milk. Ex. 1007, 1; Ex. 1008, 1;
    Ex. 1018, 838; Ex. 1025, 119-120. The evidence of record also
    demonstrates that the NR in milk is used to create NAD+ in vivo. For

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    example, Canto teaches that NR is found in milk, "constituting a dietary
    source for NAD+ production." Ex. 1018, 1.
          We, therefore, conclude that Petitioner has established by a
    preponderance of the evidence that claim 5 is anticipated by Goldberger and
    Tanner.
                               III. CONCLUSION
          For the foregoing reasons, we determine that Petitioner has shown by
    a preponderance of the evidence that: 1) claims 1 and 3-5 are unpatentable
    as anticipated by Goldberger et al.; and 2) claims 1 and 3-5 are unpatentable
    as anticipated by Goldberger and Tanner.
          We also determine that Petitioner has not shown by a preponderance
    of the evidence that claim 2 is anticipated by either Goldberger et al. or
    Goldberger and Tanner.
                                        IV. ORDER
          Accordingly it is ORDERED that claims 1 and 3-5 have been shown
    by a preponderance of the evidence to be unpatentable; and
          FURTHER ORDERED that, because this is a Final Written Decision,
    parties to the proceeding seeking judicial review of the decision must
    comply with the notice and service requirements of 37 C.F.R. § 90.2.




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                         EXHIBIT J
             Case: 19-1630
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                           Document  17 Filed
                                          Page: 1 Filed:
                                              05/04/21   08/14/2019
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                               NO. 19-1630, 19-1682


               United States Court of Appeals
                   for the Federal Circuit

                            ELYSIUM HEALTH, INC.


                                                   Appellant,
                                        v.

                    TRUSTEES OF DARTMOUTH COLLEGE,


                                                   Cross-Appellant.



            Appeal from the United States Patent and Trademark Office,
          Patent Trial and Appeal Board in proceeding No. IPR2017-01795

         UNOPPOSED MOTION TO TERMINATE CROSS-APPEAL

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                                             Counsel for Cross-Appellant,
 August 14, 2019                             Trustees of Dartmouth College
             Case: 19-1630
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                                          Page: 2 Filed:
                                              05/04/21   08/14/2019
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                                    12671



       Pursuant to Fed. Cir. R. 27 and Fed. R. App. P. 42(b), Cross-Appellant,

 Trustees of Dartmouth College (“Cross-Appellant” or “Dartmouth”), by and

 through its counsel, respectfully moves for an order dismissing the above-

 captioned cross-appeal, Case No. 19-1682.

       Cross-Appellant contacted counsel for Appellant, Elysium Health, Inc., who

 confirmed that they consent to the motion. Accordingly, Cross-Appellant

 respectfully requests that the Court dismiss the cross-appeal (Case No. 19-1682)

 and that each party bear its own costs and fees related to the cross-appeal.



 Dated: August 14, 2019                      /s/ John L. Abramic
                                             John L. Abramic
                                             STEPTOE & JOHNSON LLP
                                             115 S. LaSalle Street, Suite 3100
                                             Chicago, IL 60603
                                             Telephone: (312) 577-1264
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                                             Counsel for Cross-Appellant,
                                             Trustees of Dartmouth College
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                                    12672




                        EXHIBIT K
             Case: 19-1630
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                           Document  18 Filed
                                          Page: 1 Filed:
                                              05/04/21   08/19/2019
                                                       Page  172 of 199 PageID #:
                                    12673




                          NOTE: This order is nonprecedential.

                United States Court of Appeals
                    for the Federal Circuit
                                __________________________

                                ELYSIUM HEALTH, INC.,
                                      Appellant

                                                  v.

                   TRUSTEES OF DARTMOUTH COLLEGE,
                                  Appellee
                         __________________________

                                        2019-1630
                                __________________________

                 Appeal from the United States Patent and Trademark
             Office, Patent Trial and Appeal Board in No. IPR2017-
             01795


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                                ELYSIUM HEALTH, INC.,
                                      Appellant

                                                  v.

                   TRUSTEES OF DARTMOUTH COLLEGE,
                             Cross-Appellant
             Case: 19-1630
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              2       ELYSIUM HEALTH, INC. V. TRUSTEES OF DARTMOUTH COLLEGE




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                                      2019-1682
                              __________________________

                   Appeal from the United States Patent and Trademark
               Office, Patent Trial and Appeal Board in No. IPR2017-
               01795
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                                       ORDER
                   Trustees of Dartmouth College moves unopposed to
               voluntarily dismiss Appeal No. 19-1682, pursuant to Fed.
               R. App. P. 42(b).
                   Upon consideration thereof,


                   IT IS ORDERED THAT:
                   (1) The motion is granted. Appeal No. 19-1682 is
                       DISMISSED under Fed. R. App. P. 42 (b).
                   (2) Each party shall bear its own costs in 19-1682.
                   (3) The revised official caption for 19-1630 is reflected
                       above.



                                              FOR THE COURT

               August 19, 2019                /s/ Peter R. Marksteiner
                                              Peter R. Marksteiner
                                              Clerk of Court

               ISSUED AS A MANDATE: August 19, 2019 (as to 2019-
               1682 only)
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                        EXHIBIT L
Case 1:18-cv-01434-CFC-JLH Document 231 Filed 05/04/21 Page 175 of 199 PageID #:
         The Journal of Nutrition. First published12676
                                                   ahead of print April 6, 2016 as doi: 10.3945/jn.116.230078.

                                                                                                                                                   The Journal of Nutrition
                                                                                                                         Genomics, Proteomics, and Metabolomics




                              Nicotinamide Riboside Is a Major NAD
                              Precursor Vitamin in Cow MiIk 1
                              Samuel AT Trammell, 4'
                                                   5 Liping Yu, 4'
                                                                 6 Philip Redpath, 7 Marie E Migaud, 4'
                                                                                                      7 and Charles Brenner 4,
                                                                                                                             1


                              4Department of Biochemistry,   Carver College of Medicine, 5lnterdisciplinary Graduate Program in Genetics, and 6Nuclear Magnetic
                              Resonance Facility Carver College of Medicine University of Iowa Iowa City IA and 7Queen's University Belfast School of Pharmacy,
                              Belfast, Northern Ireland, United Kingdom




                              Abstract

                              Background: Nicotinamide riboside (NH) is a recently discovered NAD* precursor vitamin with a unique biosynthetic




                                                                                                                                                                                         Downloaded from jnnutrition.org at UNIVERSITY OF IOWA LIBRARIES on April 13, 201€
                              pathway. Although the presence of NH in cow milk has been known for more than adecade, the concentration of NH with
                              respect to the other NAD       precursors was unknown.

                              Objective: We aimed to determine NAD precursor vitamin concentration in raw samples of milk from individual cows and
                              from commercially available cow milk.
JN THE JOURNAL OF NUTRITION




                              Methods: LC tandem mass spectrometry and isotope dilution technologies were used to quantify NAD                 precursor vitamin
                              concentration and to measure NH stability in raw and commercial milk. Nuclear magnetic resonance (NM HI spectroscopy

                              was used to test for NH binding to substances in milk.
                              Results: Cow milk typically contained —12 p.mol NAD precursorvitamins/L, of which 60% was present as nicotinamide and

                              40% was present as NH. Nicotinic acid and other NAD* metabolites were below the limits of detection. Milk from samples

                              testing positive for Staphylococcus aureus contained lower concentrations of NH (Spearman p= —0.58, P= 0.014), and NH
                              was degraded by S. aureus. Conventional milk contained more NH than milk sold as organic. Nonetheless, NH was stable in

                              organic milk and exhibited an NMR spectrum consistent with association with aprotein fraction in skim milk.
                              Conclusions: NR is amajor NAD* precursor vitamin in cow milk. Control of S. aureus may be important to preserve the
                              NAD    precursor vitamin concentration of milk.         JNutrdoi: 10.3945/jn.116.230078.


                              Keywords:          LC-MS, metabolomics, milk, nicotinamide adenine dinucleotide, pellagra-preventive factor




                              Introduction
                                                                                                                  precursor of NAD*, requiring 7 enzymatic steps (5). Largely
                              One hundred years ago, pellagra was common in the rural
                                                                                                                  because tryptophan can be incorporated into protein, oxidized
                              American South. One of the early treatments for pellagra was
                                                                                                                  as a fuel, and converted to many other metabolites such as
                              consumption of a 1.5 -2 pints of cow milk (1). In 1937,
                                                                                                                  serotonin, 50 -60 mg tryptophan is considered the niacin
                              nicotinamide and nicotinic acid (NA) 8 were identified as
                                                                                                                  equivalent of 1 mg nicotinamide or NA. In addition, much of
                              pellagra-preventive (PP) factors (2, 3), and tryptophan was
                                                                                                                  the niacin equivalent in food is, in fact, NAD (6).
                              subsequently discovered as a molecule with PP activity (4).
                                                                                                                     NAD and its phosphorylated and oxidized derivatives,
                              Nicotinaniide and NA, which are collectively termed niacin,
                                                                                                                  NAD(P)* , NAD(H), and NAD(P)H, are essential hydride
                              contain a pyridine ring that can be salvaged to form NAD* in
                                                                                                                  transfer cofactors in hundreds of oxidoreductase reactions and
                              2 or 3 enzymatic steps, whereas tryptophan is the de novo
                                                                                                                  consumed substrates of several classes of enzymes with activities
                                                                                                                  required for DNA repair, gene expression, regulation of energy
                                                                                                                  metabolism, and calcium mobilization (7). NAD* is one of the
                                Supported by the Roy J. Carver Trust.
                                Author disclosures: C Brenner is an inventor of intellectual property enabling    most abundant metabolites in the human body and is turned
                              commercial development of nicotinamide riboside. He is also amember of the          over at arapid pace (8), requiring near-constant replenishment.
                              Scientific Advisory Board and astockholder of Chromaoex, Inc., which develops       Hence, although pellagra is described as niacin deficiency, at a
                              and sells nicotinamide riboside, SAJ Trammell, L. Yu, PRedpath, and ME Migaud,
                                                                                                                  cellular level, pellagra is adisease of NAD depletion as aresult
                              no conflicts of interest.
                                Supplemental Tables 1 and 2 are available from the Online Supporting              of diets deficient in NAD precursors.
                              Material" link in the online posting of the article and from the same link in the      It has long been known that the NAD            precursors in milk
                              online table of contents at http://jn.nutrition.org.                                include nicotinamide (9) and tryptophan (10). More recently, it
                                Abbreviations used: NA, nicotinic acid; NH, nicotinamide riboside; PP, pellagra
                                                                                                                  has been discovered that milk also contains nicotinamide riboside
                              preventive; WaterL.OGSY, water-ligand observed via gradient spectroscopy.
                              *To whom correspondence should be addressed. E-mail: charles-brenner@               (NR), another salvageable NAD* precursor vitamin (11). Boost-
                              uiowa.edu.                                                                          ing NAD* concentrations with NR extends life span in yeast (12)

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                              Manuscript received January 14, 2016. Initial review completed February 12, 2016. Revision accepted March 1, 2016.                                 1of 7
                              doi: 10.3945/in.1 16.230078.
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                                                                                                                                        Elysium Health Exhibit 1007
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                                                                                                                                                                   ELY_0EL0000555
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                              and has been shown to prevent and treat metabolic (13-16) and                were processed with the NMR-Pipe package software (22) and analyzed
                              neurodegenerative (17, 18) conditions in mouse models. Although              with NMRView (23).
                              these studies suggest that dairy products as a source of NR could
                              be beneficial to many aspects of human health, the amount of NP.             Ni? stability assays. [
                                                                                                                                 18 0]-labeled and [
                                                                                                                                                   13 C1,D1]-NR were synthesized
                                                                                                           as described (24) (S Tranimell, M Schmidt, B Weidemann, P Redpath,
                              in milk has not been established. In this work, we determine the
                                                                                                           Fjaksch, R Dellinger, M Migaud, C Brenner, unpublished results, 2016).
                              complete   NAD*     precursor vitamin concentration in individual
                                                                                                           [' SO] NR was suspended in conventional and organic milk samples or in
                              and pooled commercial samples of cow milk with the use of an LC
                                                                                                           water at pH 5, 7, or 11 at aconcentration of 10 i.mollL and allowed to
                              tandem MS (LC-MS/MS)—based method (19). Our results show
                                                                                                           sit at room temperature. In total, 20-p.L aliquots were collected at 0, 0.5,
                              that milk from Staphyloc occus aureus—positive samples contained             1, 2, 4, and 8h and extracted as described above.
                              lower concentrations of NR and nicotinan1ide, and that milk
                              sold as organic milk contained lower concentrations of NP. than              S. aureus growth experiments. Strain RN3170 was akind gift from
                              conventionally sourced milk. Moreover, we show that NP. is                   Patrick Schlievert (University of Iowa) (25). Bacteria were streaked onto
                              stable in milk and bound by substances in milk and that -40% of              Todd-Hewitt (Becton & Dickinson) 2% agar plates, incubated overnight
                              the NAD precursor vitamin concentration of cow milk is present               at 37°C, and then stored at 4°c. S. anreus was then inoculated into Todd-
                              as NR.                                                                       Hewitt media containing 50 mmol/L Bis-Tris (pH 6.7) and 10 p.mollL
                                                                                                           [13 C1,D1]-NR at a starting 0D 650         of 0.1. Noninoculated medium
                                                                                                           was used as control for NP. stability. All cultures were incubated at 37°C
                              Methods                                                                      with constant shaking at 220 rpm, and 15-mL aliquots were collected at
                                                                                                           0, 1,2,4, 6, and 8h. 0D 600     and pH values were recorded at each time




                                                                                                                                                                                            Downloaded from jnnutrition.org at UNIVERSITY OF IOWA LIBRARIES on April 13, 201€
                              Milk quality and herd health measurements. Milk flows and                    point. Aliquots were centrifuged at 2060 X gfor 30 min at 4°C, at which
                              representative samples were obtained from 19 conventionally raised           time 1 mL culture medium was collected and snap-frozen in liquid
                              cows with aDairy Herd Improvement Association testing meter. Samples         nitrogen. The remainder of culture medium was aspirated and cell pellets
                              were dispensed into 2-oz snap-
                                                           cap Dairy Herd Improvement Association          were washed with 1ml. ice-cold PBS and centrifuged at 16,100 X gfor
                              vials containing liquid bronopol for analysis by Dairy Lab Services of       10 min at 4°C. PBS was aspirated and pellets were flash frozen. Then,
                              fat, protein, lactose, other solids, milk urea nitrogen, and somatic cells   50 l.LL media was analyzed with LC-MSIMS as described below. Cells
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                              (FOSS). Additional aseptic individual milk samples were obtained for         were extracted with buffered ethanol (3 parts ethanol to 1part 10 mmol/L
                              bacterial analysis after teats were sterilized with 70% ethanol before       HEPES, pH 7.1) heated to 80°C for 3 min with constant shaking at
                              collecting 3mL milk from each teat into 12)< 75—mm culture tubes. All        1050 rpm. Extracts were clarified by centrifugation (16,100 )< g, 10 mm,
                              samples were frozen before further analysis. Blood agar culture plates       4°C). Pellets were extracted again following the same procedure as
                              were inoculated with sample and then incubated at 37°C and evaluated         above. Supernatants from both rounds of extraction were combined
                              for bacterial growth at 24 and 48 h. Bacterial growth was characterized      and dried via speed vacuum. Extracts were analyzed with LC-MS as
                              by morphology, and samples were subjected to confirmatory tests to           described below.
                              identify genus and species.
                                                                                                           LC-MS and LC-MS/MS. Media samples were diluted 11 with double-
                              Milk sample acquisition and preparations. Nineteen milk samples              distilled H20. Standard solutions in double-distilled H20 were diluted
                              from individual cows plus 8 skim milk samples (4 organic and 4               1:1 with noninoculated Todd-Hewitt media containing 50 mmol/L Bis-
                              conventional) purchased in the Iowa City area were analyzed by               Tris and [
                                                                                                                    13 C1,D1]-NR, producing a standard curve with the final

                              LC-MS/MS. Two 50-pl. aliquots were extracted from each milk                  concentrations of 0,0.1,0.3,0.5,1,3,5, and 10 p,mol/L. Quality control
                              sample Each aliquot was dosed with either solution A [18.75 pmol             samples at a final concentration of 0.75 and 7.5 i.mol/L were also
                              [18 0 1]-NR, 18.75 pmol [
                                                      18 O 5j-nicotinamide, 18.75 pmol [D 3,"0 1]—         prepared by diluting standard 1:1 with media. Then, 10 p.L of media
                              I-methyl nicotinamide, and 150 pmol [D 4]-NA] or solution B, a               samples, quality controls, and standards was injected and quantified
                              '
                              3C labeled yeast extract at 1:50 dilution Aliquots were extracted with       with a Waters TQD mass spectrometer with the use of the acid
                              0.5 ml. of 1.5% formic acid at room temperature. Each aliquot was            separation chromatographic conditions described previously (19). Me-
                              vortexed for 10 sand then sonicated for 10 min in a bath sonicator.          dia were quantified with raw peak areas and converted to micromoles
                              Aliquots were then centrifuged at aspeed of 16,100 x gfor 10 min at          per liter with background-subtracted standard curves.
                              room temperature. Extracts were transferred to fresh 1.5-nil, centrifuge         For cow milk, standards (final concentrations of 0.08, 0.24, 0.8,
                              tubes and dried overnight via speed vacuum. Recovery was >90% for            2.4, 8, 24, 80, and 120 imolfL) and 2 quality control samples (final
                              all metabolites of interest.                                                 Concentration of 2.5 and 25 p.molfL) were treated in the same manner as
                                                                                                           the samples and as described above. In total, 5 p.L of samples, quality
                              NMR spectroscopy. NR 1H resonances were assigned with 'H/ 13C                controls, and standards containing solution A or 10 iL of those
                              2-dimensional heteronuclear multiple-quantum coherence and hetero-           containing solution Bwas loaded onto the column and quantified with a
                              nuclear multiple-bond coherence experiments. NR binding to skim              Waters TQD mass spectrometer according to the procedures previ-
                              milk was analyzed with the use of water-ligand observed via gradient         ously described (19). Newly quantified metabolites in the acidic separa-
                              spectroscopy )WaterLOGSY) (20, 21). To analyze fractions of milk for         tion, N-methyl-nicotinamide, N-methyl-2-pyridone-5-carboxamide, and
                              NR-binding activity, 2mL total milk was centrifuged for Ihat 4°C at          N-methyl-4-pyridone-5-carboxamide, were assayed with the following
                              16 ,
                                 100 )< g The supernatant was termed the soluble fraction whereas          transitions   1-methyl nicotinamide    (mfz   =   137    >   94)   N methyl 2
                              the pellet resuspended in 2mL 50 mmol/L sodium phosphate (pH 7) was          pyridone-5-carboxamide (miz = 153 > 107), and N-methyl-4-pyridone-
                              termed the particulate fraction. NMR samples were prepared by adding         5-carboxamide (m/z = 153> 136). Analyte peak areas were normalized to
                              150 i.L skim milk, skim milk soluble fraction, or resuspended skim           internal standard peak areas and converted to imol/L with the standard
                              milk particulate fraction to 352,2 p.L buffer that contained 300 p.L         curve. S. anrens cell pellets were suspended in 50 iL of 10 nimolfL
                              50 mmol/L sodium phosphate (pH 7), 50 p.L D20, and 2.2 J.L NR                ammonium acetate in LC-MS grade water. A260       mm    values for each sample
                              stock, giving a final NR concentration in the NMR samples of                 were measured with aThermo Scientific 2000c Nanodrop spectropho-
                              0.3 mmol/L. For the WaterLOGSY experiment, aT 2 relaxation filter of         tometer operated in nucleic acid mode. Samples at 0- and 1-h time points
                              100 ms was used just before data acquisition to suppress signals derived     were diluted 1:1 with either solution A or solution B. Samples at all
                              from macromolecules, and a water nuclear Overhauser effect mixing            remaining time points were diluted to afinal A260 value of 14 and then
                              time of 1swas used in the experiment. All NMR data were acquired             diluted 1:1 with solution A or B. All samples were analyzed according to
                              with aBroker Avance II 800-MHz NMR spectrometer equipped with a              the chromatography protocols previously described (19) and detected and
                              sensitive cryoprobe and recorded at 25°C. The 1H chemical shifts were        quantified with aWaters Q-Tof Premier mass spectrometer operated in
                              referenced to 2,2-dimethyl-2-silapentane-5-sulfonate. NMR spectra            positive full-scan mode. The alkaline separation was altered by increasing

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                              the flow rate to 0.55 mLlmin and shortening the runtime to 11.6 mm.                             metabolites, if present, would contribute to the peaks of NAD*
                              Separation was performed with the use of amodified gradient with initial                        and NAD(P)* .
                              equilibration at3% B; a0.9-mm hold; agradient to 50% B over 6.3 mm,                                As shown in Table 1, in all 19 samples, nicotinamide and NR
                              followed by a1-min wash at 90% B; and a3-nun reequilibration at 3% B.
                                                                                                                              and no other NAD* metabolite were quantifiable. Thus, neither
                              When performing the alkaline separation, the scanningwindow was set to
                                                                                                                              NAD nor NA is aPP factor in milk. Excluding one unusual milk
                              mit = 120-800 with ascan rate of 0.1 and an interscan rate of 0.01. When
                                                                                                                              sample that contained 24 p.mol nicotinamide/L and 27 p.mol
                              performing the acid separation, the scanning window was set to mit =
                              120-600 with ascan rate of 0.5 and an interscan delay of 0.05. In both
                                                                                                                              NR/L (Supplemental Table 1), milk samples contained 7.3 ±
                              cases, leucine enkephalin was infused and used for mass accuracy                                1.5 !i.mol nicotinamide/L and 4.3 ± 2.6 lJ.mol NR/L. To
                              correction. Analyte peak areas were normalized to internal standard                             determine whether other parameters correlate with NAD
                              peak areas and converted to i.molfL with the standard curve. Nicotin-                           precursor vitamin concentrations in the 18 remaining samples,
                              amide concentrations were corrected for the contribution of [
                                                                                          12 C1]-                             breed was recorded and metrics of the health and milk quality
                              nicotinamide and [' 3C1]-nicotinamide to the [18 01]-nicotinamide internal                      of each cow were measured (Supplemental Table 2). As shown
                              standard area counts. Enrichment for all metabolites was corrected for the                      in Table 2, concentrations of NR positively correlated with
                              natural abundance of the analyte, 13 C abundance, and the purity of the
                                                                                                                              concentrations of lactose (P = 0.013) and milk urea nitrogen
                              doubly labeled NR (95/5% [
                                                       13 C1,D5 -NR/[ 13 C5 -NR). The corrected
                                                                                                                              (P = 0.018), whereas nicotinamide negatively correlated
                              concentrations of each analyte were converted to intracellular concentra-
                                                                                                                              with somatic cell count (P = 0.029) and positively correlated with
                              tions by calculating the total intracellular volume of S. aureus with an
                              intracellular volume of 0.28 fL (26) and an assumption of 1)< 10 9 cells/mL                     NR (P = 0.011). NR concentration negatively correlated
                              per OD oe = (27).                                                                               with S. aureus infection (P = 0.014). Nicotinamide concentra-




                                                                                                                                                                                                                      Downloaded from jnnutrition.org at UNIVERSITY OF IOWA LIBRARIES on April 13, 201€
                                                                                                                              tion also negatively correlated with S. aureus infection, but the
                              Statistical analysis. Unless otherwise stated, all values are expressed as                      correlation was not significant (P = 0.09). When we recalculated
                              means ± SDs. Two -
                                               tailed, unpaired ttests were performed on all com-                             concentrations of NR and nicotinamide in the 12 samples
                              parisons involving 2 groups. Outliers were identified with the robust                           without S. aureus infection or extremely high concentrations of
                              regression and outlier removal method (28). Two-factoi repeated-                                NAD* precursor vitamins, nicotinamide rose to 7.7 ± 1.2 pmolIL
                              measures ANOVA followed by Holm-Sidak's multiple-comparisons test
                                                                                                                              and NR rose to 5.1 ± 2.6 imot/L. Thus, although it was clear
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                              was performed on experiments involving S. aureus. Media samples were
                                                                                                                              from previous work that there is no NA in cow milk (9), there has
                              compared with noninoculated medium within time points. Intracellular
                                                                                                                              been asubstantial underreporting of NAD* precursor vitamin on
                              samples were compared with initial concentrations within condition.
                              Spearman rank correlation coefficient was calculated for the concentra-
                                                                                                                              account of lack of an assay for NR.
                              tion of nicotinamide and NR compared with the milk quality, herd
                              health metrics, and breed. P < 0.05 was considered significant. Statisti-                       S. aureus depletes NR and nicotinamide. Because the
                              cal analyses were performed with GraphPad Prism version 6.00 for                                presence of S. aureus was associated with lower concentrations
                              Windows (GraphPad Software).                                                                    of NR and nicotinamide, we tested whether S. aureus growth
                                                                                                                              might directly alter the concentrations of these metabolites in
                                                                                                                              rich media. Before testing stability in the presence of S. aureus,
                                                                                                                              we investigated the stability of [  °8 0]-NF.. in pasteurized cow
                              Results
                                                                                                                              milk or in water adjusted to pH values of 5.0, 7.0, and 11.0. As
                              NR is a major component of the NAD precursor vitamin                                            shown in Figure 1A, [180] -NR was stable in pasteurized milk and
                              concentration in cow milk. The NAD metabolome of 19                                             in water at neutral pH but exhibited lesser stability at pH 5.0 and
                              individual cow milk samples was determined with LC-MS/MS                                        pH 11.0, with pH 11.0 producing nearly complete hydrolysis
                              and isotope dilution techniques. We define the NAD* precursor                                   within 1h. We measured the pH of cow milk in 4 store-bought
                              vitamin concentration as the concentrations of salvageable                                      milk brands and determined the pH to be 6.72 ± 0.01.
                              NAD precursor (nicotinamide, NA, and NR) plus concentra-                                            Bacteria might alter concentrations of NR found in milk by
                              tions of the higher molecular weight species [nicotinic acid                                    incorporating NR intact into NAD and/or by converting NR
                              riboside, nicotinic acid mononucleotide, NAD, nicotinic acid                                    into nicotinamide or NA, either of which could be subsequently
                              adenine dinucleotide, and NAD(P)'] from which avitamin can                                      incorporated into NAD. To distinguish between these possibil-
                              be released by enzymatic or chemical decomposition. NAD(H)                                      ities, we synthesized adouble-labeled NR containing a'     3C in the

                              and NAD(P)H are oxidized in extraction, such that these

                                                                                                                              TABLE 2            Correlations of cow milk NR and nicotinamide
                              TABLE I           Mean NAD          metabolomes of 18 raw cow milk                              concentrations with breed and indicators of milk quality 1
                              samples'
                                                                                                                                                                      NR, jimol/L        Nicotinamide, jimol/L
                                                                                  S. aureus               S. aureus
                                                                                                                              Breed                                       0.28                    0.21
                              Metibolome, jimol/L         Total In   -   18)   negative In   -   12)   positive In   -   6)
                                                                                                                              Fat, %                                      0.14                    0.39
                              Nicotinamide                  7        1.1 °        77 ± 1.2                6.4 ± 1.]           Protein, %                                  0.21                    0.13
                              NB                            43 * 2.6              5.1 * 2.5               2.7 * 1.9           Lactose, %                                  0.58"                   0.5
                              NA                              <1.0                  <1.0                   <1.0               Nonfat solids, %                            0.13                    0.07
                              NMN                             <0.4                  <0.4                   <0.4               Total solids, %                             0.08                    0.2
                              NAD                             <0.08                 <0.08                  <0.08              Somatic cell count, X10 3cells!mL           0.38                    0.52'
                              NAB                             <0.04                 <0.04                  <0.04              Urea nitrogen, mg/dL                        0.55"                   0.27
                              NADIP)                          <0.02                 <0.02                  <0.02              S. aureus                                   0.57"                   0.41
                              NAAD                            <0.01                 <0.01                  <0.01              NB, pmol!L                                                          0.58'

                              1   NA, nicotinic acid; NAAD, nicotinic acid adenine dinucleotide; NAP, nicotinic acid          '   Spearman   correlation coefficients were determined   between   NAD     precursor
                              riboside; NMN, nicotinarride mononucleotide: NP, nicotinamide riboside.                         vitamins and milk quality and cow breed with data from Supplemental Table 1(except
                              2   Mean    SD (all such values).                                                               cow 3) and Supplemental Table 2.    7< 0.05. NP, nicotinamide riboside.


                                                                                                                                                Nicotinamide riboside concentrations in cow milk            3 of 7




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                                    12679
                                                                                                                                      B
                                                                                                                                                                  1500
                                                                                                                o pH 5* p1411                                                                   M+1




                                                                                                                                      Intracellular Nam
                                                                                                                n pH 7 Milk

                                                                                                                                                                  1000
                                                                                                                                                              0
                              FIGURE 1 NR is stable in milk and is                                                                                            E
                              degraded by S. aureus. (A) Stability of                                                                                     -        500
                              [15 01-NR in 4 store-bought brands of

                              skim milk and in water at pH 5, 7, and
                              11 In = 3) was assessed with LC-MSI
                                                                                                           4        6           10                                           4         6              10
                              MS. NH metabolism by S. aureus was
                                                                                                           Time (h)                                                          Time (h)
                              determined with [ 15C1, D11-NH    and
                              LC-MS (B—H). (B—F) Extracellular con-       C                                                           D
                              centration of [ 13 C1,D11-NR, nonlabeled                                              * Vehicle                                                               *Vehicle
                                                                                   0                                • RN3170                                                                • RN3170
                              Nam, [  13 C1]-Nam, nonlabeled NA, and

                              [15 C1]-NA in Todd-Hewitt + 50 mmollL

                              Bis-Tris (pH   6.7)   media   containing
                                                                              0z
                              10   mol/L [
                                         13 C1, D11-NR incubated
                              at 37C without or with S. aureus
                                                                              w
                              RN3170 inoculation In = 3 for inocu-




                                                                                                                                                                                                           Downloaded from jnnutrition.org at UNIVERSITY OF IOWA LIBRARIES on April 13, 201€
                              lated media). In each panel, the con-
                              centration of the metabolite is shown                                        4        6     8     10                                                                    10
                              in the noninoculated media In = 1). (GI                                      Time (h)
                              Intracellular concentration of endoge-      E                                                           F
                              nous or '
                                      3C1 enriched Nam. (H) Intra-
                                                                                            1.5
                              cellular concentration of endogenous                 -J
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                              '3C1-, or 13 C1,D1—enriched NADfrom
                              extracts of S. aureus 6N3170 cell                         .   1.0
                              pellets In = 3/time point). For intra-          w
                                                                              U
                              cellular measurements, a Holm-Sidak
                              multiple-comparisons post hoc test                            0.5
                                                                              LU
                              was performed to test for statistical
                                                                                                                                                                                     Vehicle • RN3170
                              significance compared with time point
                                                                                                                                                                                 *

                                                                                            0.0
                              zero for each metabolite (B and G). For                                                                                                        4         6        a     10
                              extracellular measurements, a Holm-                                                                                                            Time (h)
                              Sidak multiple-comparisons test was         G                                                           H
                              performed to test for statistical signif-                 4000                                                                                           • Vehicle
                              icance compared with noninoculated me-      +                                                                                                            • RN3170
                              dium within each time point (C—F and H).                  3000
                              Data are represented as means it SEMs.
                              'P< 0.05, "P< 0.01, and            P<                     2000
                              0.001. NA, nicotinic acid; Nam, nicotin-
                              amide; NH, nicotinamide riboside.
                                                                                            450
                                                                                              0    •   -    U       U      U

                                                                                               0           4     6         8     10                                      2   4     6            8     10
                                                                                                           Time (h)                                                          Time (h)




                              nicotinamide moiety and aD 1in the ribose. Incorporation of NR                     within 1hand eliminated the presence of NR as an extracellular
                              into the bacterial NAD pooi would be accompanied by a2-Da                          metabolite within 4 h. As shown in Figure 1C, singly labeled
                              mass shift (m/z 664      -666), whereas breakdown of NR to                         nicotinamide appeared in growth media within 1h. As shown in
                              nicotinamide or NA would be accompanied by appearance of                           Figure ID—F, at 4 h, there was a simultaneous rise in singly
                              1-Da shifts in the peaks of these metabolites and a 1-Da mass                      labeled cellular NAD', singly labeled cellular nicotinamide, and
                              shift in bacterial NAD.                                                            extracellular NA.
                                  Three individual colonies of S. aureus strain RN3170 were                         Todd-Hewitt media contain beef heart extract, nicotina-
                              cultured separately in Todd-Hewitt media supplemented with                         mide, and NA (29). As shown in Figure 1G, H, nonlabeled
                              10 p.mol 13 C1,D 1]- NR/L and buffered at pH 6.7 with 50 mmol                      nicotinamide was exhausted within 4 h, whereas the non-
                              Bis-TristL. The inoculated media and a noninoculated medium                        labeled NA slowly declined. Thus, S. aureus principally uses
                              control were incubated at 37 0C with constant shaking over an                      NR as an extracellular source of nicotinamide. Consistent with
                              8-h period. Clarified media and cell pellets were collected and                    nicotinamide deamination (30-32), S. aureus can also degrade
                              analyzed by LC-MS/MS and LC-MS. The pH of the clarified                            NR and nicotinamide to NA. Because NR was eliminated by
                              media was also recorded at each time point. The pH consistently                    4 h and the rise in pH occurred after 6 h, pH-mediated
                              remained between 6.5 and 6.7 until between the 6- and 8-h                          mechanisms cannot be responsible for S. aureus—mediated NR
                              time points, at which time the pH rose to 7.8. As shown in Figure                  instability.
                              1B, ' 3C1, D1]-NR was stable in noninoculated medium over the
                              time course of the experiment. However, S. aureus inoculation                      NR concentration as a function of organic certification.
                              significantly decreased the concentration of extracellular NR                      Milk with organic certification requires avoidance of synthetic

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                                             TABLE 3 NAD 5 precursor concentrations in commercial cow milk'

                                                                                         Organic                                           Conventional
                                                                    Brand A Brand B Brand C Brand 0               All      Brand A Brand B Brand C Brand 0         All

                                              Nicotinamide, mol/L     2.4       7.1         5.0         7.9    5.6 ± 2.5     5.0    0.67       8.9        5.4   5.2 ± 3.4
                                              NH, timol/L             3.1       0.84        2.2         1.4    1.9 ± 1.0    2.5     1.7        9.4        2.]   3.1 ± 1.6


                                              ¶Values are expressed as means ± SOs, a = 4. NR, nicotinamide riboside.




                              chemical inputs, irradiation, genetically modified seed, and ad-                   could potentially account for lower concentrations of NR in
                              herence to certain standards of feed, housing, and breeding (33).                  organic milk, there was no change in nicotinamide and no
                              Because one or more of these variables could affect NAD*                           appearance of NA that would be consistent with bacterial
                              precursor vitamin concentrations in milk, we purchased 4 brands                    exposure. As shown in Figure 1, NR is more stable in milk than
                              of conventional and 4 brands of organic milk and quantified the                    in water, suggesting that the metabolite might be complexed to
                              NAJ)° metabolome. As observed in milk samples from individual                      aprotective factor.
                              cows, only nicotinamide and NR were above the limit of                                 Organic dairies frequently ultrapasteurize milk at 135°C for
                              quantification (Table 3). In 3of 4conventional samples and 3of                     2 s, whereas most conventional dairies pasteurize at 72°C for
                              4organic samples, the concentration of nicotinamide exceeded that                  15 s (34). Although ultrapasteurization is employed to kill




                                                                                                                                                                                      Downloaded from jnnutrition.org at UNIVERSITY OF IOWA LIBRARIES on April 13, 201€
                              of NR. Moreover, the concentration of nicotinamide was similar in                  bacterial spores, it might damage amacromolecule responsible
                              conventional (5.2 ± 3.4 imolfL) and organic (5.6 ± 2.5 i.mol/L)                    for the stabilization of NP.. WaterLOGSY NJVIR measurements
                              milk. In the samples we obtained, NP. tended to have a higher                      were used to detect and map protons in NP. (Figure 2A, E) that
                              concentration in conventional (3.1 ± 1.6 !i.molfL) compared with                   are potentially bound by slower rotating macromolecules in
                              organic (1.9 ± 1.0 mol/L) milk. We note that only one brand of                     milk (20, 21). As shown in Figure 2B and 2F, when NR was
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                              store-bought milk had a combined NAD* precursor vitamin                            added to conventional or organic skim milk, 4aromatic protons
                              concentration (8.9 !imol nicotinamidelL plus 5.4 p.mol NEIL)                       (H2, H4, HS, and H6) from the nicotinamide moiety of NR
                              that was higher than the mean of S. aureus-negative individual                     produced positive WaterLOGSY signals consistent with protein
                              cow 5an1p1e5 (7.7 p.mol nicotinamidetL plus 5.1 p.naol NRIL). NR                   binding from both sources of milk. Interestingly, when conven-
                              concentration may be lower as afunction of organic dairy practices,                tional and organic milk were separated into soluble and
                              but sample sizes were too small for adequate assessment. Future                    resuspended particulate fractions, the conventional soluble
                              work following NP. concentration before and after processing in                    fraction retained more NR-binding activity than did the or-
                              conventional and organic dairies will be necessary to assess NP.                   ganic soluble fraction (Figure 2C and 2G). Consistent with
                              concentration as afunction of dairy practices.                                     denaturation of an NR-binding protein by heat, the solubilized
                                                                                                                 organic particulate fraction produced stronger NR Water-
                              NR is a bound metabolite in cow milk. Although ahigher                             LOGSY signals than did the solubilized conventional particulate
                              level of S. aureus infection in organic milk production (32)                       fraction (Figure 2D and 2H).



                                                                                                    0




                                                                                       OH   OH




                                                                                                                 F

                                                                                                                 G
                              C

                              D
                               10.0                                                                               10.0               9.0                  8.0               7.0

                                                                                                          1H   (ppm)
                              FIGURE 2 NR binding to milk demonstrated by NMH. Organic and conventional skim milk was separated into soluble and resuspended
                              particulate fractions. NH was added to the nonfractionated milk and to the fractions. NH binding was analyzed with NMH as described. (A, El
                              Normal 1-dimensional 1H NMH spectra of NH. (B-D, F-H) WaterLOGSY spectra of NH in the presence of milk. (Al NH alone. (BI NH + total
                              conventional milk (Cl NH + conventional milk (soluble fraction). (DI NH + conventional milk (particulate fraction). (El NH alone (El NH + total
                              organic milk. (G) NH + organic milk (soluble fraction). (HI NH ± organic milk (particulate fraction). The assigned 1Hresonances of the nicotinamide
                              ring aromatic protons are labeled 'H, proton NH nicotinamide riboside ppm parts per million WaterLOGSY water ligand observed via gradient
                              spectroscopy.
                                                                                                                         Nicotinamide riboside concentrations in cow milk 5of 7




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                              Discussion                                                                      10. Sutton TS, Esh GC. The nutrition of the newborn dairy calf: I. Changes
                                                                                                                  in the tryptophan content of the blood plasma following birth and the
                              The data presented in this article show that -60% of the NAD                        ingestion of colostrum. JDairy Sci 1947;31:183-7.
                              precursor vitamin concentration of cow milk is present as                       11. Bieganowski P, Brenner C. Discoveries of nicotinamide riboside as a
                              nicotinamide, whereas -40% is present as NR. Although we                            nutrient and conserved NRI( genes establish a Preiss-Handler inde-
                                                                                                                  pendent route to NAD+ in fungi and humans. Cell 2004;117:495-
                              occasionally detected cow milk samples with higher concentra-
                                                                                                                  502.
                              tions of NR than nicotinamide, we did not detect NAD, NA, or
                                                                                                              12. Belenky P, Racett5 FG, Bogan KL, McClure JM, Smith JS, Brenner
                              any other NAD* metabolite in any sample. In samples from                             C. Nicotinamide riboside promotes Sii-2 silencing and extends
                              individual cows, the presence of S. aureus, the most common                          lifespan via Nrk and Urhl/Pnpl/Meul pathways to NAD+_ Cell
                              cause of cattle mastitis (35, 36), was associated with lower                         2007;129:473-84.
                              concentrations of NR and nicotinamide. We also showed that                      13, Canto C, Houtkooper RH, Pirinen E, Youn DY, Oosterveer MIT, Cen Y,
                              S. aureus degraded NP. into nicotinamide and NA and used the                        Fernandez-Marcos PJ, Yamamoto H, Andreux PA, Cettour-Rose P,
                                                                                                                  et al. The NAD)+) precursor nicotinamide riboside enhances oxidative
                              nicotinamide as aprecursor of intracellular NAD*. These data
                                                                                                                  metabolism and protects against high fat diet induced obesity. Cell
                              are consistent with the ability of S. aureus to use either nic-                     Metab 2012;15:838-47.
                              otinamide or NA for NAD synthesis (37) with nicotinamide                        14. Khan NA, Auranen M, Paetau I, Pirinen E, Euro L, Forsstrom 5, Pasila
                              utilization requiring deamination to NA (30-32).                                    L, Velagapudi V. Carroll CJ, Auwerx J, et al. Effective treatment
                                  Multiple aspects of cow nutrition are expected to contribute                    of mitochondrial myopathy by nicotinamide riboside, a vitamin B3.
                              to concentrations of nicotinamide and NP. in milk. In particular;                   EMBO Mol Med 2014;6:721-31.

                              feeding of herds with nicotinamide and NA (38, 39) is likely to                 15. Gariani K, Menzies KJ, Ryu D, Wegner QT, Wang X, Ropelle ER, Moullan




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                              produce cows that transmit higher concentrations of nicotina-
                                                                                                                  unfolded protein response via NAD+ repletion reverses fatty liver disease.
                              mide and NP. into milk. In addition, it will be interesting to                      Hepatology 2015 Sept 24 )Epuh ahead of print; DOI:).
                              determine whether NR is actively transported by mammary                         16. Xu W, Barrientos T, Mao L, Rockman Howard A, Sauve Anthony A,
                              glands (40).                                                                        Andrews Nancy C. Lethal cardioinyopathy in mice lacking transferrin
                                  Although PP factors in food include NAD* , NAD* precur-                         receptor in the heart. Cell Rep 2015;13:533-45-
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                              sors, and tryptophan, high doses of NR appear to have some                      17. Gong B, Pan Y, Vempati P, Zhao W Knable L, Ho L, Wang J, Sastre M,
                              protective activities for metabolic and neurodegenerative con-                      Ono K, Sauve AA, et al. Nicotinamide riboside restores cognition
                                                                                                                  through an upregulation of proliferator-activated receptor-gamma
                              ditions. The ability of milk to bind and preserve the integrity of
                                                                                                                  coactivator lalpha regulated beta-secretase 1 degradation and mito-
                              NP. makes dairy products potentially good sources of supple-                        chondrial gene expression in Alzheimer's mouse models. Neurobiol
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                                                                                                                       Nicotinamide riboside concentrations in cow milk      7 of 7

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                     What Does "Nature-Identical"
                     Mean?
                     Imagine two molecules. One molecule exists in the natural world. The other is
                     made in a lab. There is no structural or chemical difference between the two.
                     Under a microscope and in the body, they look and behave the same. despite
                     their contrasting origins.

                     When a man-made molecule structurally mirrors a naturally occurring molecule.
                     it is referred to as "nature-identical."




                     Why are nature-identica l compounds
                     important?

                     Our cells can do it all- repair. rebuild. defend , and energize. They're our smallest.
                     hardest working parts.

                     Surprisingly. our cells are also a bit naive. While cells' nuclei act as command
                     centers. cells are guided by biological signals rather than a formal
                     consciousness.

                     Cells can't tell the difference between a natural molecule and its man-made
                     doppelganger.

                     However. scientists have extensive experience with naturally-occurring
                     nutrients. They understand the risks. benefits. and chemistry that defines these
                     molecules. They understand how the human body typically responds. And they
                     can use this knowledge to amplify the power of a natural molecule.




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                    The potential of nature~identical substrates can be of enormous _b enefit to your    r::::::\
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                    more easily obtainable.



                    Natural and nature-identical sources of
                    nutrients.

                    The human body rarely produces m icronutrjents in ideal quantities. A nutrient
                    must often be obtained externally (as food or a supplement) to achieve
                    adequate levels. Commercial vitamins and supplements are typically nature-
                    identical molecules that help to provide the sufficient quantity of a nutrient your
                    body needs.

                    Take vitamin C, for example. "Humans. unlike most animals. are unable to
                    synthesize v ita min C endogenously" (within their own bodies). Vitamin C is a
                    vital dietary component for immune function and protein metabolism. It is
                    widely used and is available in dietary supplements and in foods like oranges.
                    strawberries. and broccoli. Your cells. and your body at large, uses nature-
                    identical and citrus-sourced vitamin C in the exact same way.

                    Some nutrients can be more challenging to obtain solely through organic
                    material.

                    Nicotinamide riboside is an example of a naturally-occurring nutrient whose
                    nature-identical form may offer a unique convenience.

                    Nicotinamide riboside is a form of vitamin 83. This molecule increases the
                    production of NAO+ in all ce lls. Your mitochondria. the powerhouses within each
                    cell, use NAO+ to generate the energy that powers cellular function and repair.
                    Every cell needs NAO+ to perform properly. and as natural NAO+ production
                    declines with age, our energy and functions experience the same slow-down.

                    Nicotinamide riboside is naturally present in milk (and avocados to a lesser
                    extent). To receive an ideal serving of nicotinamide riboside from purely natural
                    sources. you would have to drink more than 1000 glasses of milk per day.

                    This quota would be difficult to achieve. Also. for lactose-intolerant consumers.
                    even a single glass of milk can be unpleasant. Fortunately, nicotinamide riboside
                    is commercially available for the consumer in a nature-identical form called
                    Niagen®. A single. 300mg serving of Niagen® provides a sufficient daily value of
                    nicotinamide riboside for any adult.




                    Doesn't nature-identical just mean
                    synthetic?

                    Nature-identical molecules are synthesized in a laboratory and are created by
                    scientists. Yet nature-identical is not a perfect synonym for synthetic.

                    While molecules like Niagen® are synthesized , they are identical chemical
                    replicas of a naturally-occurring molecule. The same is true for the most popular
                    nutrients on the market. like vitamin C and vitamin E.

                    However. new molecules can be created without using an existing ingredient as
                    a guide.




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                     Whether a synthetic molecule is nature-identical depends on the process             r::::::\
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                     Are synthetics unhealthy?

                     Synthetic molecules are not inherently unhealthy.

                     Many of the health products we rely on are synthetic, from vitamins to
                     medications. to sports products.

                     In fact. most medications are entirely synthetic. When you reach for an over-
                     the-counter painkiller like acetaminophen or ibuprofen. you are easing
                     symptoms with a man-made product.

                     The safety of a product will depend on the characteristics of the substance. A
                     question you need to ask yourself as you shop: "Is this molecule's compatibility
                     with my health fostered by rigorous science?"

                     Clinical testing, quality control. and good manufacturing practices all lower the
                     margins of error on a health product.

                     Synthetic is a neutral term. Whether a synthetic ingredient is healthy or
                     unhealthy depends on the characteristics of the ingredient. the manufacturing
                     process. and the unique needs of the consumer. Synthetic molecules can be
                     genuinely beneficial, as long as they are scientifically validated.



                     How do nature-identical molecules benefit
                     me?

                     Used correctly, nature-identical ingredients can add another line of support to
                     your health routine.

                     To get the most out of your nutrients. increase your consumption of vitamin-
                     rich whole foods. Where further aid is needed , opt for a nature-identical
                     supplement to fill in nutritional gaps. Natural and synthetic micronutrients can
                     work together to give your system the best support.

                     When it comes to your health. always trust expert information . and remain
                     curious about your unique nutritional needs.

                     Ultimately, nature-identical substances contribute to the accessibility of good
                     health.




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                                Is Nicotina mide                                Micronut rient vs.
                                Riboside Safe?                                  Macro nutrient vs.
                                                                                Cel lular Nutrient
                                Nicotinamide riboside comes in
                                many forms. Learn which types to                Macronutrients and
                                trust and why.                                  micronutrients are the pillars of
                                                                                nutrition. But what are cellular
                                Exp lore
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                        EXHIBIT N
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                                           TruNiagen® for Mother and Child
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                                                                   TruNiagen is GRAS, Found Naturally in Milk
                                                                                                                                                                      S. aureus          S. aureus
                                                                                                                 Metabolome, jLrnoVL              Total In = 18)   negative (n = 12)   pos i
                                                                                                                                                                                           ti
                                                                                                                                                                                            ve (n = 6)

                                                                                                                 Nicotinamide                       7.3   1.52        7.7 t 1.2          6.4      1.7
                                                                                                                 NR                                 4.3   2.6         5.1 ± 2.6          2.7 ± 1.9
                                                                                                                 NA                                   <1.0              <1.0               <1.0
                                                                                                                 NMN                                  <0.4              <0.4               <0.4
                                                                                                                 NAB                                  <0.08             <0.08              <0.08
                                                                                                                 NAR                                  <0.04             <0.04              <0.04
                                                                                                                 NAD(P)*                              <0.02             <0.02              <0.02
                                                                                                                 NAAO                                 <0.01             <0.01              <0.01

                                                                                                                  1   NA, nicotinic acid; NAAD, nicotinic acid adenine dinucleotide; NAR, nicotinic acid
                                                                                                                 ribosido; NMN, nicotiriamide mononucleolide; NR, nicotinamide riboside.
                                                                                                                 2 Mean           SD (all such values).

                                                                                                                                                          Trammell et al 2016 JNutrition
                                                           Organic                                          Conventional

                                       Brand A   Brand B Brand C Brand 0           All      Brand A Brand B Brand C Brand D              All

                Nicotinamide ijmol/L     2.4      7.1        5,0        7.9     5.6 ± 2,5     5.6    0.67       8.9         5.4       5.2 ± 3.4
                NR. prnol/L              3.1      0.84       2.2        1.4     1.9 ± 1.0     2.5    1.1        5.4         2.1       3.1 ± 1.6

                 VaI:ues are expressed as means ± SDs. n= 4. NH, nicotinamide riboside.


                                                                                                NR is Also Present in Human Breast Milk (Unpublished Data)
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                        EXHIBIT O
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                               Small Molecule Production Questionnaire

       Date:                           August 13, 2005

       Principal Investigator:         Charles Brenner

       Project Title:      Protective Targeting of Sirtl in the Peripheral Nervous
       System: Synthesis, Formulation and Pre-clinical Dosing of Nicotinamide Riboside
       as an Agent to Ameliorate Chemotherapy-Induced Neuropathy

       Institution/Affiliation:        Dartmouth Medical School

       Address:                        Norris Cotton Cancer Center
                                       Rubin 733-HB7937
                                       Lebanon, NH 03756
       Phone Number:                   603-653-9922

       Published Literature:
              Discovery of nicotinamide riboside as "V Factor" in blood, supporting growth of
              Haemophilus influenza:
       Gingrich, W. and Schlenk, F. 1944. Codehydrogenase I and other pyridinium
              compounds as V factor for Haemophilus influenzae and Haemophilus
              parainfluenzae. J. Bact. 47: 535-550.

             Discovery of the nicotinamide riboside pathway in eukaryotes:
       Bieganowski, P. and Brenner, C. 2004. Discoveries of nicotinamide riboside as a nutrient
             and conserved NRK genes establish a Preiss-Handler independent route to
             NAD+ in fungi and humans. Ce// 117: 495-502.

               NAD and NAD biosynthesis as protective agents against vincristine-induced
               axonopathy:
       Araki, T., Sasaki, Y., and Milbrandt, J. 2004. Increased nuclear NAD biosynthesis and
               SIRT1 activation prevent axonal degeneration. Science 305: 1010-1013.

              Efficient synthesis of nicotinamide riboside:
       Franchetti, P., Pasqualini, M., Petrelli, R., Ricciutelli, M., Vita, P., and Cappellacci, L.
             2004. Stereoselective synthesis of nicotinamide beta-riboside and nucleoside
             analogs. Bioorg Med Chem Lett 14: 4655-4658.




                                                                                             BRENNER 000022837
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          1. Provide the Chemical Structure of the development candidate.

                            0

                    ~NH 2
                      N
                      +

          HO~
              HO      OH            (1) nicotinamide beta-riboside
                                    molecular weight 255.25
                                    Pubchem 940, CAS Number 1341-23-7



          2. Estimate the amount of small molecule required:
                 a. For preclinical tasks included in the application 50 grams.

                 b. For clinical studies (if this level of support is requested). Estimate should
                    be based on dose, schedule,# of patients, and duration of treatment.
                    Support for clinical studies has not been requested.

          3. If the small molecule is a natural product, give the details of collection
             procedures, location, and details on purification of crude material. The compound
             is a natural product that we have found in bovine milk at ~ 10 µM. Thus,
             purification of 50 grams of nicotinamide riboside from 25.000 liters of milk
             would be impractical. It has been asserted that bovine milk. essentially a quasi-
             industrial product, is a poor source of compounds that had not previously been
             detected and selected for and that there mav be milk sources that are 10-100 times
             richer in nicotinamide riboside. While this would change the economics of
             extraction from a natural source versus synthesis, the search for better natural
             sources of nicotinamide riboside is not part of this request.

          4. What is the estimated cost of collecting and purifying sufficient material for the
             tasks proposed in your application? Not applicable.




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          5. If the small molecule is a synthetic compound, provide the complete synthetic
             procedure including copies of notebook pages. The following are details of
             Palmarisa Franchetti' s published procedure:

          N-(2, 3, 5- Tri-O-benzoyl-f3-D-ribofuranosyl-3-aminocarbonyl)pyridinium
          triflate (5). To a stirred suspension of nicotinamide (2) (3 .28 mmol, dried at 80°C
          for 12 h) in HMDS (54 mL), TMSCl (6.56 mmol) was added and the resulting
          mixture was refluxed for 5 h. Evaporation of the solvent gave the crude silylated
          compound 3. 1-0-acetyl-2,3,5-tri-O-benzoyl-f)-D-ribofuranose (4, 3.28 mmol) and
          then TMSOTf (4.26 mmol) were added dropwise to a solution of 3 in dry 1,2-
          dichloroethane (60 mL). The reaction mixture was heated at 45 °C for 2 h. The
          solvent was removed in vacuo to provide a residue which was dissolved in EtOAc
          and washed with saturated NaHC03 (3 x 10 mL). The organic layers dried over
          anhydrous Na2S04 were evaporated to dryness to give 5 as a white solid (2.2 g,
          93%).
          f3-Nicotinamide riboside (1).
          5 (0.88 mmol) in methanolic ammonia (20 mL) was stirred at -5 °C for 24 h. The
          solvent was removed in vacuo, and the resulting oil was purified by chromatography
          on activated charcoal (Darco, 12-20 mesh) eluting with water to 10% methanol. The
          obtained oil was washed with methanol to obtain 1 as a white foam.

                                                                                             0

                                                                                   ~NH 2
          ~NH2 ~N(Si(CH 3),), BzO~Ac BzO~+
            +                +                           BzO         OBz    BzO      OBz

           (2)               (3)                               (4)                 (5)


          6. Please provide all available information on solubility of the small molecule.
             Greater than 100 mM in water. The triflate salt of the tribenzyl compound (5) is
             also highly soluble in water.

          7. Please provide all available information on the stability of the small molecule in
             storage and in solution. The small molecule is stable in phosphate buffer at -20
             °C for months. The molecule can be detected in milk that has been homogenized.
             Pasteurized. defatted. shipped. etc. Additionally. we know that nicotinamide
             riboside is stable in blood because the compound was first described as "Factor
             V" from blood that supports growth of Haemophilus influenza. an organism that
             cannot make NAD from nicotinamide. nicotinic acid. or de novo.




                                                                                         BRENNER 000022839
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          8. Please provide all available information on the safe handling of the small
             molecule including known toxicities. If you have handled milk, you have handled
             nicotinamide riboside.

          9. Please provide analytical data for identity and purity of the small molecule used in
             your biological assays.

          In our laboratory, we purify and characterize by retention time on HPLC (2.86 min)
          and electrospray MS (2SS.2 Da). We then evaluate the activity of the compound by
          adding it at 10 btM to synthetic dextrose complete+ S-fluoro-orotic acid yeast plates.
          As first shown in Cell 117(2004), pp. 49S-S02, nicotinamide riboside allows loss of
          the NAD synthetase gene (scored as S-fluoro-orotic acid resistance) in a strain
          containing. but not deleted for, the nicotinamide riboside kinase gene. In addition.
          Palmarisa Franchetti has published the following TLC. proton and 13 C NMR data.

          TLC (BuOH/H20/AcOH, S:3:2) Rf= 0.38.
          1
           H NMR (300 MHz DMSO-d6): d (ppm) 3.60-3.80 (double q, J = 12.2 Hz, 2H, HS
          0), 4.10 (m, lH, H3 0), 4.20-4.3S (m, lH, H4 0, H2 0), S.40 (t, J 4.4 Hz, lH, OH),
          S.SO (d, J = S.1 Hz, lH, OH), S.90 (d, J = S.9 Hz, lH, OH), 6.18 (d, J = 4.4 Hz, IH,
          Hl 0), 8.20 (br s, lH, NH), 8.3S (t, J = 7.1 Hz, lH, HS), 8.60 (br s, lH, NH), 9.0 (d, J
          = 8.4 Hz, lH, H4), 9.3S (d, J = 6.2 Hz, lH, H6), 9.SS (s, lH, H2).
          1
           H NMR (300 MHz D 20): d (ppm) 3.7S (dd, J = 3.6, 12.8 Hz, IH, HS 0), 3.90 (dd, J
          = 2.9, 13.2 Hz, lH, HS 0), 4.20 (t, J = 4.6 Hz, lH, H3 0), 4.2S-4.40 (m, 2H, H2 0,
          H4 0), 6.08 (d, J 4.2 Hz, lH, Hl 0), 8.10 (dd, J = 6.2, 8.0 Hz, lH, HS), 8.80 (d, J =
          7.7 Hz, lH, H4), 9.10 (d, J = S.9 Hz, lH, H6), 9.4S (s, lH, H2).
          13
            C NMR (300 MHz D20): d (ppm) 60.3S (CS O), 69.91 (C3 O), 77.61 (C2 O), 87.80
          (C4 0), 100.10 (Cl 0), 128.S9 (CS), 134.10 (C3), 140.S3 (C2), 142.78 (C6), 14S.81
          (C4).

          10. What is the greatest amount of material produced in your laboratory in a single
              batch? 2 grams

          11. How much of the small molecule can you provide as a reference standard? Gram
              amounts.

          12. If required, what quantity of material can you supply as bulk drug for preclinical
              pharmacology and toxicology studies? We can provide gram amounts as a
              reference for toxicology.

          13. What is the anticipated route of administration for preclinical in vivo studies?
              This remains to be determined but, as the compound is in milk. we expect it to be
              orally available.




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          14. What is the anticipated route of administration for clinical studies? This remains
              to be determined but, as the compound is in milk, we expect it to be orally
              available.

          15. Are there commercial sources of the small molecule? If yes, provide details. No.

          16. Have attempts been made to develop a clinically acceptable formulation for the
              drug candidate? If yes, provide details of the formulations developed. No.

          17. Have attempts been made to develop an assay to measure drug levels in a relevant
              human fluid? If yes, provide details. Not yet.




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                        EXHIBIT P
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    And we understand the importance of increased AT~g~ergy levels and its impact on
    helping the body to heal mutations and diseases and stress conditions related to energy
    metabolism. When you add all those things up it tends to flatter up all the conditions that
    we associate with age.

    Combine that with the fact that ChromaDex has put a very, very strong patent portfolio
    together around nicotinamide riboside and it represents an opportunity that's not big, it's
    extremely big because you have a compound here that has an impact on the way we age,
    that we can perhaps be helpful to the general public and general public as they grow older
    and losing less of the function that we tend to associate with age, and that's an important
    public good. But it also represents a very, very, very significant opportunity.

    If we have 170 m ii lion people presently buying supplements in America and who knows
    the actual number worldwide, there is a percentage of that community that would be
    interested in a safe compound which is derived from milk. Look the thing that moms get to
    their kids milk, the elixir that has exist in a high concentration in human vestigial [ph] There
    is a percentage of the population that would be interested in taking that compound, it has
    a positive effect.

    The market opportunity is not a market opportunity, one thing compared to pterostilbene.
    The market opportunity is quite, quite significant and it's just about managing it properly.
    We are appreciative of those retail customers with whom we work, who do a good job,
    who represent the science properly, whose distribution clients is responsible or able to
    price it appropriately, generate a profit who are healthy well-run companies .

    And we are open to having conversations with those, presently though there are too many
    companies misrepresenting the science, misrepresenting the benefits and presenting it in
    a manner that makes the ingredient look more common than indeed it is. It's a very rare
    and unique compound, a very rare and unique opportunity. We are going to price it in a
    way that is consumer friendly but not inexpensive. That's my answer to your question, I
    hope it's helpful.

    Michael Kay

    Well, it's somewhat helpful, but I guess time will tell. Because you know, we'll see what
    happens. I hope things turn out well for consumers, as well as for the company of course.

    Operator

    Thank you. And our final question for today comes from the line of Brant Snelson, a
    Private Investor.
                                               Cieslak Deel. Page019




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